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                                         EXHIBIT P


(SCHEDULE OF ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  AND PROPOSED CURE AMOUNTS)

       The Debtors reserve all rights to amend, revise, or supplement the Schedule of Assumed
Executory Contracts and Unexpired Leases, and any of the documents and designations
contained therein.
                                                                        Case 23-11131-TMH                                           Doc 1193-8                          Filed 01/22/24                            Page 2 of 98
                                     The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                     Contract/Lease                                                                                                                                 Date of            Cure
                                    Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                      Debtor Party                                                                                                                               Contract/Lease       Amount
10K Advertising                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/23/2022             $0.00
1185 Design                                                                                                                 Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                               4/15/2010             $0.00
2nd Watch, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/11/2023             $0.00
3 Model Management                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/4/2023             $0.00
334 W Consulting Cop                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/13/2022             $0.00
3M Innovative Properties Company                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement Amendment                                                         10/13/2009              $0.00
3M Innovative Properties Company                                                                                            Amyris, Inc.                                    Amendment to CDA # C254379                                                                                                         $0.00
3M Innovative Properties Company                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/1/2009            $0.00
3M Innovative Properties Company                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement C254379 Effective                                                            7/4/2023            $0.00
5150 Craft Chocolate                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/17/2019            $0.00
5w Public Relations, LLC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/7/2022            $0.00
A. Patterson                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/18/2011            $0.00
A. UNILEVER GLOBAL IP LIMITED; Unilever UNILEVER GLOBAL IP LIMITED                                                          Amyris, Inc.                                    Second Amending Agreement                                                                                     10/5/2023            $0.00
A.N. DERINGER, INC.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/15/2010            $0.00
Aaron Heil                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/28/2022            $0.00
Aaron Hernday                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/22/2011            $0.00
AB Mauri Food Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              2/21/2019            $0.00
AB Mauri Food Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             10/26/2015            $0.00
AB Mauri Food, Inc.                                                                                                         Amyris, Inc.                                    Indemnification Agreement                                                                                     5/28/2021            $0.00
AB Mauri Food, Inc.                                                                                                         Amyris, Inc.                                    Material Transfer Agreement                                                                                  12/15/2022            $0.00
AB Mauri Food, Inc.                                                                                                         Amyris, Inc.                                    First Amendment to Purchase Agreement                                                                         6/30/2020            $0.00
Abbott Laboratories                                                                                                         Amyris, Inc.                                    Assignment of Non-Disclosure Agreement                                                                        9/13/2012            $0.00
Abbott Laboratories                                                                                                         Amyris, Inc.                                    Bilateral Confidential Disclosure Agreement                                                                   3/19/2010            $0.00
AbbVie Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/8/2018            $0.00
ABCO Laboratories, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/18/2015            $0.00
Abimanyu Raja                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00
ABITEC Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                           2/20/2017            $0.00
Abunda Nutrition, Inc.                                                                                                      Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                3/14/2011            $0.00
Acceleration Partners, LLC                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/28/2023            $0.00
Accelrys Software Inc.                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure and Confidentiality Agreement                                                            3/6/2013            $0.00
ACCESS BUSINESS GROUP INTERNATIONAL LLC; Centerchem, Inc.                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/27/2015            $0.00
ACF FinCo I LP                                                                                                              Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                                  9/15/2015            $0.00
Acme Press. Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/26/2022            $0.00
ACORN NMR, Inc.                                                                                                             Amyris, Inc.                                    Amendment No. 1 to Material Transfer and Confidentiality Agreement                                            8/23/2019            $0.00

ACORN NMR, Inc.                                                                                                             Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                5/3/2018            $0.00
ACT Solutions Corporation                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/17/2012            $0.00
Acticar Guarani S.A.                                                                                                        Amyris, Inc.                                    MOU and Confidentiality Agreement                                                                              9/8/2009            $0.00
Action Letter, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/2/2022            $0.00
ACUCAR GUARANI S.A.; TOTAL GAS & POWER VENTURES SAS.                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/16/2010            $0.00
AcuTech Group, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/9/2015            $0.00
ADAM ELHOFY                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/6/2011            $0.00
Adam Navidi                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
Adam Rubin                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00
Adam Safir                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/13/2010            $0.00
Adam Thomason                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/24/2010            $0.00
Adams & Chittenden Scientific Glass Coop                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/14/2022            $0.00
ADAPTIVE INSIGHTS, INC.                                                                                                     Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               3/23/2015            $0.00
Addivant USA, LLC.                                                                                                          Aprinnova, LLC                                  Bilateral Confidential and Sample Disclosure Agreement                                                       10/30/2017            $0.00
Adele Jackson-Gibson                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/17/2022            $0.00
Adesis, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/20/2021            $0.00
Adesis, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2018            $0.00
Adia Betts                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/24/2022            $0.00
Aditya Dighe                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/19/2010            $0.00
Adjuvance Technologies Inc.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       1/4/2017            $0.00
Adjuvance Technologies, Inc.; GlaxoSmithKline Biologicals SA                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/15/2017            $0.00
ADL Bionatur Solutions SA                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/7/2020            $0.00




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                                     The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                     Contract/Lease                                                                                                                                 Date of            Cure
                                    Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                      Debtor Party                                                                                                                               Contract/Lease       Amount
ADP, Inc.                                                                                                                   Amyris, Inc.                                    Business Services Agreement                                                                                11/29/2010              $0.00
Adrich Inc                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/1/2022             $0.00
Adrienne Alvord                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                      8/28/2007             $0.00
ADSORPTION RESEARCH INC.                                                                                                    Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                        11/7/2011             $0.00

Advaccine (Suzhou) Biopharmaceuticals Co., Ltd.                                              Amyris, Inc.                                                                   Material Transfer Agreement                                                                                   2/19/2021            $0.00
Advanced Lubrication Specialties                                                             Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       4/8/2011            $0.00
Advanced Science Laboratories, Inc.                                                          Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       9/7/2021            $0.00
Advantage Sales & Marketing LLC                                                              Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                      11/2/2020            $0.00
AEA Investors SBF LP                                                                         Amyris, Inc.                                                                   Amyris, Inc. Confidential Disclosure Agreement                                                               10/12/2023            $0.00
AFTON CHEMICAL CORPORATION                                                                   Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       3/9/2011            $0.00
AGECOM AMERIC INC.                                                                           Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                      5/26/2011            $0.00
Agilent Technologies Automation Solutions                                                    Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                             11/1/2010            $0.00
Agilent Technologies Inc                                                                     Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                             11/3/2014            $0.00
Agilent Technologies Inc.                                                                    Amyris, Inc.                                                                   First Amendment to Confidential Disclosure Agreement                                                          10/1/2015            $0.00
Agilent Technologies Inc.                                                                    Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                              9/1/2013            $0.00
Agilent Technologies Inc.                                                                    Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                              9/1/2013            $0.00
Agilent Technologies, Inc.                                                                   Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                                                  $0.00
Agilent Technologies, Inc.; ARZEDA CORPORATION; Bruker Corporation; M2P-LABS GMBH; RUPRECHT- Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                      7/15/2015            $0.00
KARLS-UNIVERSITAT HEIDELBERG
AgraQuest, Inc.                                                                              Amyris, Inc.                                                                   Non-Disclosure Agreement                                                                                       5/7/2011             $0.00
Agriodor                                                                                     Amyris, Inc.                                                                   Mutual Non-Disclosure Agreement                                                                                                    $0.00
Ai Ai Chen                                                                                   Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       2/8/2022             $0.00
AIBMR Life Sciences, Inc.                                                                    Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     10/16/2019             $0.00
Aimee Eyvazzadeh                                                                             Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       4/1/2022             $0.00
AIR FORCE RESEARCH LABORATORY MATERIALS AND MANUFACTURING DIRECTORATE                        Amyris, Inc.                                                                   Material Transfer Agreement                                                                                   9/18/2022             $0.00
AIR PRODUCTS AND CHEMICALS, INC.                                                             Amyris, Inc.                                                                   Confidential Information/Sample Agreement                                                                     12/1/2016             $0.00
AJINOMOTO FOODS EUROPE                                                                       Amyris, Inc.                                                                   Confidentiality & Non-Disclosure Agreement                                                                     6/1/2023             $0.00
Ajinomoto Health & Nutrition North America, Inc.                                             Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     12/26/2018             $0.00
Ajinomoto Health & Nutrition North America, Inc.                                             Amyris, Inc.                                                                   Material Sampling and Confidentiality Agreement                                                               9/17/2018             $0.00
AKER SOLUTIONS AS.                                                                           Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       3/9/2010             $0.00
AKI, Inc.                                                                                    Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                             3/15/2019             $0.00
AKI, Inc.                                                                                    Amyris, Inc.                                                                   Mutual Confidentiality Agreement                                                                               1/7/2015             $0.00
Akia D. Chiappelli                                                                           Amyris, Inc.                                                                   Nondisclosure Agreement                                                                                       3/24/2010             $0.00
AKLERGISA PESQUISA DERMATO COSMÉTICA LTD                                                     Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       3/1/2021             $0.00
AKN & SONS LTD                                                                               Amyris, Inc.                                                                   Confidential Disclosure Agreement                                                                             1/27/2021             $0.00
Akron Polymer System, Inc.                                                                   Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                      8/13/2013             $0.00
Akron Rubber Development Laboratory, Inc.                                                    Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     10/14/2013             $0.00
Akzo Nobel Surface Chemistry LLC                                                             Amyris, Inc.                                                                   Confidentiality Agreement                                                                                      1/4/2017             $0.00
Alan Ronald                                                                                  Amyris, Inc.                                                                   Nondisclosure Agreement                                                                                      10/21/2010             $0.00
Alana Cavanzo                                                                                Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                      2/23/2022             $0.00
Alaska Airlines, Inc.                                                                        Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                       8/7/2015             $0.00
Alation, Inc.                                                                                Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     12/15/2022             $0.00
ALBANY MOLECULAR RESEARCH, INC.                                                              Amyris, Inc.                                                                   Exhibit A-3                                                                                                   8/31/2020             $0.00
ALBANY MOLECULAR RESEARCH, INC.                                                              Amyris, Inc.                                                                   Exhibit A-1                                                                                                   8/11/2020             $0.00
Albany Molecular Research, Inc.                                                              Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     10/31/2017             $0.00
Albany Molecular Research, Inc.                                                              Amyris, Inc.                                                                   Mutual Confidential Disclosure Agreement                                                                     10/31/2017             $0.00
Albemarle Corporation                                                                        Amyris, Inc.                                                                   Re: Letter Amendment — 2" Extension of Standard Confidentiality                                               1/31/2010             $0.00
                                                                                                                                                                            Agreement
ALBEMARLE CORPORATION                                                                                                       Amyris, Inc.                                    Re: Letter Amendment — 1S1 Extension of Standard Confidentiality                                              1/31/2010            $0.00
                                                                                                                                                                            Agreement
Albemarle Corporation                                                                                                       Amyris, Inc.                                    Re: Letter Amendment — 3Rd Extension of Standard Confidentiality                                              1/31/2010            $0.00
                                                                                                                                                                            Agreement
Albemarle Corporation                                                                                                       Amyris, Inc.                                    Standard Confidentiality Agreement                                                                            1/31/2010            $0.00
Alconox Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/8/2020            $0.00
Alder BioPharmaceuticals, Inc.                                                                                              Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                10/3/2018            $0.00
Alder BioPharmaceuticals, Inc.                                                                                              Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                10/3/2018            $0.00




                                                                                                                                                     Page 2 of 48
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                                            The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                            Contract/Lease                                                                                                                                 Date of           Cure
                                          Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                             Debtor Party                                                                                                                               Contract/Lease      Amount
Alexandre du Sartel                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011            $0.00
Alfa Global Holdings Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/19/2020            $0.00
Alfa Laval Inc.                                                                                                                    Amyris, Inc.                                    Field Test Equipment Rental Proposal No. Rwft20140                                                           12/7/2011            $0.00
Alfa Laval, Inc.                                                                                                                   Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                        9/22/2011            $0.00
Alice Smellie                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/15/2021             $0.00
Aline Cornells                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/2/2010            $0.00
Alison Brod Public Relations                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/9/2014            $0.00
ALLCAPCORP, LTD. CO.                                                                                                               Amyris, Inc.                                    RE: Confidentiality Agreement for Project As-299201                                                          5/20/2015            $0.00
Allen Julian                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/31/2012            $0.00
Allen Lin                                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/24/2011            $0.00
ALLERGISA PESQUISA DERMATO COSMÉTICA LTDA                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/1/2021            $0.00
ALLERGISA PESQUISA DERMATO-COSMETICA LTD                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/18/2021            $0.00
Alliance for Sustainable Energy, LLC                                                                                               Amyris, Inc.                                    Bilateral Non-Disclosure Agreement                                                                            6/8/2023            $0.00
Alliance for Sustainable Energy, LLC; Ceres, Inc.; ICM, Inc.                                                                       Amyris, Inc.                                    Bilateral Non-Disclosure Agreement                                                                            2/4/2010            $0.00
Almac Group Limited                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/31/2021            $0.00
Almac Group Limited                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/31/2021            $0.00
Alsara Investment Group                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/4/2023            $0.00
Altimmune, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/27/2021            $0.00
Altimmune, Inc.; Lonza Houston, Inc.                                                                                               Amyris, Inc.                                    Confidentiality Agreement                                                                                    9/24/2021            $0.00
Alvin Tiu                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                    12/17/2010             $0.00
AMAIA                                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/29/2021            $0.00
Amanda Chai                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/1/2010            $0.00
Amanda K. Duisman                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/27/2010            $0.00
Amazon.com, Inc.                                                                                                                   Amyris, Inc.                                    Customer Nondisclosure Agreement                                                                             8/30/2012            $0.00
Amber International                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/31/2021            $0.00
American Chemical Society                                                                                                          Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      8/8/2011            $0.00
American Custom Drying                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/18/2020            $0.00
AMERICAN REFINING GROUP INC.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/9/2011            $0.00
American Type Culture Collection                                                                                                   Amyris, Inc.                                    Biorepository Services Agreement                                                                             3/16/2020            $0.00
Ameridia Innovative Solutions, Inc.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/21/2020            $0.00
AMETEK SAS                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            8/30/2012            $0.00
AMG ENGINEERING, INC.                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            4/21/2011            $0.00
AMG, Inc.                                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/3/2013            $0.00
Amoolya Singh                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/17/2011            $0.00
AMP Printing Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/11/2018            $0.00
AMPAC FINE CHEMICALS                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/7/2010            $0.00
AMPAC Fine Chemicals LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/13/2020            $0.00
Amrit Saxena                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/3/2012            $0.00
AMTECOL, INC                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/14/2011            $0.00
AMY ANDREWS                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            4/19/2018            $0.00
Amy Rowat                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/7/2010            $0.00
Amyris                                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/2/2011            $0.00
Amyris Brasil Ltda                                                                                                                 Amyris, Inc.                                    Free Lease Agreement Contrato DE Comodato                                                                    4/25/2013            $0.00
Amyris RealSweet, LLC                                                                                                              Amyris, Inc.                                    Shared Services Agreement                                                                                     6/1/2021            $0.00
ANA KERTESZ                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/27/2022            $0.00
Analytical Technologies Group, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/18/2018            $0.00
AnalytiCon Discovery GmbH                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/20/2023            $0.00
Anandia Laboratories Inc.                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/22/2015            $0.00
And Sales Inc                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/5/2022            $0.00
AND! SALES INC                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/26/2022            $0.00
Anderson Merchandisers, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/13/2022            $0.00
Andrea Slayton                                                                                                                     Amyris, Inc.                                    First Amendment Nondisclosure Agreement                                                                       1/1/2013            $0.00
Andrea Slayton                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/17/2011            $0.00
Andrew Horwitz                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/29/2011            $0.00
Andrew Horwitz                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/19/2010             $0.00
Andrew McFarland                                                                                                                   Amyris, Inc.                                    'Amyris Biotechnologies, Inc. Nondisclosure Agreement                                                        6/29/2010            $0.00
ANDREW MURLEY                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/25/2013            $0.00




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                                                                   Case 23-11131-TMH                                           Doc 1193-8                          Filed 01/22/24                            Page 5 of 98
                                The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                Contract/Lease                                                                                                                                 Date of            Cure
                               Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                 Debtor Party                                                                                                                               Contract/Lease       Amount
Andrew Phillips                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/27/2012              $0.00
Andrew Utada                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/5/2010              $0.00
ANDRITZ Separation Technologies Inc.                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/1/2018              $0.00
Angela Wong                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/26/2012              $0.00
ANIMAL NUTRI CONSULTORIA EM NUTRICAO ANIMAL LTDA.                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/20/2018              $0.00
Animal Nutri Consultoria em Nutricao Animial Ltda                                                                      Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              4/20/2018              $0.00
Anisa International                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/19/2020               $0.00
Anisa International Inc.                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/27/2020              $0.00
Anna Twigg                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/12/2010              $0.00
Anne Fishman                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/25/2010              $0.00
Annie Le                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                      8/12/2011              $0.00
Antea USA Inc, a Minnesota Corporation                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                    $0.00
Anthony Chi                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/7/2011             $0.00
Anthony Spizvoca                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/28/2011             $0.00
Antibioticos de Leon, S.L.U.                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              10/31/2017             $0.00
Antibioticos de Leon, S.L.U.                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               5/12/2017             $0.00
Antibioticos de Leon, SLU                                                                                              Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                           8/1/2016             $0.00
Antibioticos de Leon, SLU                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/5/2015             $0.00
ANTIBIOTICOS S.A.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/16/2010             $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Pilot Fermentation Agreement                                                                                                        $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Appendix 2                                                                                                                          $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Toll Manufacturing Agreement                                                                                                        $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Pilot Fermentation Agreement                                                                                                        $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Pilot Fermentation Agreement                                                                                                        $0.00
Antibioticos, S. A.                                                                                                    Amyris, Inc.                                    Pilot Fermentation Agreement                                                                                                        $0.00
Antibioticos, S.A.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/17/2013             $0.00
Antibioticos, S.A.; Zean Consultores                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/1/2011             $0.00
Anton Paar USA, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/13/2021             $0.00
AOC LLC                                                                                                                Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/31/2016             $0.00
AON CORPORATION                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/3/2011             $0.00
Aon Risk Insurance Services West, inc.                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/6/2019             $0.00
Apex International Mfg., Inc.                                                                                          Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               12/9/2014             $0.00
Apex International Mtg.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
Apiscent Labs, LLC                                                                                                     Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               1/11/2018             $0.00
Apiscent Labs, LLC                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/30/2017             $0.00
APOTEX INC                                                                                                             Amyris, Inc.                                    Agreement                                                                                                    11/10/2015             $0.00
APOTEX INC.                                                                                                            Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              11/8/2016             $0.00
Applied Research Associates, Inc.                                                                                      Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                6/6/2014             $0.00
AptarGroup, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/31/2021             $0.00
Apttus Corporation                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/15/2011             $0.00
Arc'hant Consult                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/29/2013             $0.00
Archer Daniels Midland Company                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2022             $0.00
Archer Daniels Midland Company                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/4/2019             $0.00
Archer Daniels Midland Company                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/14/2015             $0.00
Archer Daniels Midland Company                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/23/2012             $0.00
Archer Daniels Midland Company                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
Archer-Daniels-Midland Company                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/12/2023             $0.00
Archer-Daniels-Midland Company                                                                                         Amyris, Inc.                                    Amended and Restated Confidential Disclosure Agreement                                                        9/26/2023             $0.00
Archer-Daniels-Midland Company                                                                                         Amyris, Inc.                                    Confidentiality Agreement (Mutual)                                                                             1/8/2018             $0.00
ARD                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/1/2016             $0.00
ARD                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/1/2013             $0.00
AREA 17                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/5/2022             $0.00
Arena Investors, LP                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              9/6/2016             $0.00
Arizona Board of Regents                                                                                               Amyris, Inc.                                    Confidentiality Agreement                                                                                     4/20/2011             $0.00
Arizona Nutritional Supplements                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/1/2022             $0.00
Armelle Pin                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/11/2010             $0.00
Aromatic Fillers                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/25/2022             $0.00




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                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
Aron Filkey                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/3/2021              $0.00
Art Partner Inc                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/9/2021              $0.00
Arthur D. Little Benelux sa/nv                                                                                                   Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                         4/13/2012              $0.00
Arthur D. Little Benelux sa/nv                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/14/2011               $0.00
Arthur J. Gallagher & Co. Insurance Brokers of California, Inc.                                                                  Amyris, Inc.                                    Client Services Agreement                                                                                     5/7/2021              $0.00
ARTISAN INDUSTRIES, INC.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/23/2010              $0.00
Arul Daniel                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/1/2011              $0.00
Arxada AG                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/16/2022              $0.00
Arxada LLC                                                                                                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/3/2023              $0.00
Arxada LLC                                                                                                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/3/2023              $0.00
Arxada LLC                                                                                                                       Amyris, Inc.                                    Confidentiality Agreement (The "Agreement")                                                                   8/3/2023              $0.00
Arxada Ltd                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/3/2022              $0.00
Aryaka Networks, inc.                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/15/2013              $0.00
ARZEDA Corp.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/16/2019               $0.00
Arzeda Corporation                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/11/2014               $0.00
Ascend Performance Materials Operations LLC                                                                                      Aprinnova, LLC                                  Confidentiality Agreement                                                                                    9/12/2017              $0.00
Ashland Inc.                                                                                                                     Amyris, Inc.                                    Amendment #1 to Secrecy Agreement                                                                            8/17/2010              $0.00
Ashlee Nunes                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/1/2011              $0.00
Ashley Abramson                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/23/2022              $0.00
Ashley Lee                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/1/2011              $0.00
Aspen Technology, Inc.                                                                                                           Amyris, Inc.                                    Re: Proposal for Private Virtual Tutoring Training                                                         12/17/2012               $0.00
Asteroid, Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/12/2021              $0.00
AstraZeneca UK Limited                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/21/2019              $0.00
Asymchem Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/18/2020              $0.00
AT&T Corp.                                                                                                                       Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     3/26/2015              $0.00
ATEL VENTURES, INC.                                                                                                              Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                3/9/2010              $0.00
Athea Laboratories, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/15/2014               $0.00
Aubri Balk Inc                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/1/2018              $0.00
Aura FX Studios, Inc                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/21/2022              $0.00
Aurisco Pharmaceutical Limited                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/1/2016              $0.00
Autajon Packaging Boston                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/20/2022              $0.00
Automation Partnership ( Cambridge ) Limited                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/12/2014               $0.00
Avanti Polar Lipids, Inc.                                                                                                        Amyris, Inc.                                    Confidential Non-Disclosure Agreement                                                                                               $0.00
Avanti Polar Lipids, LLC                                                                                                         Amyris, Inc.                                    Material Transfer Agreement                                                                                    6/7/2022             $0.00
Avanti Polar Lipids, LLC                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/19/2021             $0.00
Avanti Polar Lipids, LLC, an Alabama limited liability company                                                                   Amyris, Inc.                                    Materials Transfer Agreement                                                                                                       $0.00
AVANTIUM CHEMICALS B.V.                                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                      4/1/2010             $0.00
Avery Dennison Corporation                                                                                                       Amyris, Inc.                                    Confidentiality/Non-Disclosure Agreement                                                                     11/15/2011             $0.00
Avista Pharma Solutions, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/1/2017             $0.00
Avocados and Coconuts                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2021             $0.00
Avomeen, LLC                                                                                                                     Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               2/28/2018             $0.00
Avon Products, Inc.                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/2/2022             $0.00
AVR Consulting Limited                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/6/2021             $0.00
AXIM Biotechnologies, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/1/2016             $0.00
AXIS Insurance Company                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/6/2019             $0.00
AXYS Industrial Solutions, Inc.                                                                                                  Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/23/2012             $0.00
Ayton Global Research Ltd                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/10/2021             $0.00
Azfar Qureshi                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/13/2010             $0.00
Azimuth Corporation                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/11/2022             $0.00
Baby Center LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/8/2019             $0.00
Balance Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidentiality and Nondisclosure Agreement                                                            10/6/2021             $0.00
BAM Federal Institute for Materials Research and Testing; Panolin AG                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/23/2012             $0.00
BaM Productions Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/11/2022             $0.00
Bamboo HR LLC                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/25/2017             $0.00
Bambuser AB                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2021             $0.00
Banco Itau BBA S.A.                                                                                                              Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      2/17/2010             $0.00
Bank of America, N.A.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/2/2012             $0.00




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                                                                                                                                        Contract/Lease                                                                                                                                 Date of           Cure
                                       Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease      Amount
Bann Quimica, Ltda.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/15/2014            $0.00
Banner Technology, Inc                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/27/2011            $0.00
BAOSHENG LTD                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/5/2020            $0.00
Barnet Products LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/14/2022            $0.00
Barnum Mechanical Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/14/2017            $0.00
Barnum Mechanical Inc.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/3/2013            $0.00
barrettSF                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/2/2021            $0.00
Bart Oud                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/1/2013            $0.00
BARTRAM SPONSORSHIP STRATEGIES, LLC.                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/24/2011            $0.00
BASF Corporation                                                                                                               Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              6/23/2014            $0.00
BASF S.A.                                                                                                                      Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/5/2016            $0.00
BASF SE                                                                                                                        Amyris, Inc.                                    Second Amendment to Secrecy Agreement                                                                        8/22/2012            $0.00
BASF SE                                                                                                                        Amyris, Inc.                                    First Amendment to Secrecy Agreement                                                                          7/9/2012            $0.00
BASF SE                                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/5/2013            $0.00
BASF SE                                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                    11/2/2010            $0.00
BATEMAN ADVANCED TECHNOLOGIES, LTD.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/11/2011             $0.00
Battelle Memorial Institute                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/6/2012            $0.00
Battelle Memorial Institute                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/3/2010            $0.00
Bay Area Graphics                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/25/2022            $0.00
Bay Cities Container Corp.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/5/2022            $0.00
Bayer CropScience LP                                                                                                           Amyris, Inc.                                    Non-Disclosure Agreement                                                                                   11/23/2010             $0.00
BCENE Public Relations                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/24/2021            $0.00
BEAUTYPASTE, Inc.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/26/2022            $0.00
Beazley USA Services, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/12/2019            $0.00
Beckman Coulter, Inc.                                                                                                          Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                                 1/19/2012            $0.00
Bedoukian Research, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/1/2016            $0.00
Bedoukian Research, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/26/2010            $0.00
Beekman Social LLC                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/11/2022            $0.00
Beiersdorf AG                                                                                                                  Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                        9/23/2016            $0.00
Beiersdorf AG                                                                                                                  Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                               10/1/2015            $0.00
Beiersdorf AG; Safic-Alcan Deutschland GmbH                                                                                    Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     1/10/2014            $0.00
Beijing Holley-Cotec Pharmaceuticals Co., Ltd.                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/17/2014            $0.00
Beijing Jiyao Biotech Ltd                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/7/2019            $0.00
Bella PR                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/25/2014            $0.00
Ben Sandmann                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/22/2011            $0.00
Ben Shirey                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      7/27/2012            $0.00
Benchling, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/1/2020            $0.00
Benchling, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/14/2014            $0.00
Benchling, Inc.                                                                                                                Amyris, Inc.                                    Benchling, Inc. Change Order                                                                                  1/1/2024            $0.00
Benchmark Asset Appraisals                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/28/2016            $0.00
Benchmark Cosmetic Laboratories, Inc.                                                                                          Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                             11/28/2011             $0.00
Benchmark Cosmetic Laboratories, Inc.                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/27/2011            $0.00
BENEO GmbH                                                                                                                     Amyris, Inc.                                    Confidentiality Agreement                                                                                    3/20/2017            $0.00
Benjamin Kaufmann                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/27/2011            $0.00
Bentley Laboratories, LLC                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/2/2018            $0.00
Bentley Laboratories, LLC                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/17/2015            $0.00
Benz Technology International                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/9/2016            $0.00
Benz Technology International, Inc                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/23/2021            $0.00
Berkeley Lights, Inc.                                                                                                          Amyris, Inc.                                    Amendment No. 17O Mutual Confidential Disclosure Agreement                                                 11/25/2019             $0.00
Berkeley Lights, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/26/2018             $0.00
Berkeley Lights, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/11/2017            $0.00
Berkley Professional Liability                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/13/2019            $0.00
Berlin Packaging, LLC                                                                                                          Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              12/8/2014            $0.00
Berma, LLC                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/8/2022            $0.00
Bernard Cerles                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/25/2012            $0.00
Berniedette A. Flores                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/20/2010            $0.00
Best Ever Baby, LLC                                                                                                            Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                               10/1/2015            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                          Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
Beta Analytic Inc.                                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                    3/23/2011              $0.00
Beth Peterson Enterprises, Inc.                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/17/2010               $0.00
Bettie Lee                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/4/2011              $0.00
Beyond Meat                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/30/2013              $0.00
Bic Violex S.A.                                                                                                                   Amyris, Inc.                                    MNDA                                                                                                          1/9/2024              $0.00
BICO Group AB                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/17/2023              $0.00
Bill & Melinda Gates Foundation                                                                                                   Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                 4/23/2021              $0.00
Bill & Melinda Gates Foundation                                                                                                   Amyris, Inc.                                    Mutual Confidentiality Disclosure Agreement                                                                                        $0.00
Bill & Melinda Gates Foundation                                                                                                   Amyris, Inc.                                    Letter Agreement                                                                                                                   $0.00
Bill and Melinda Gates Foundation                                                                                                 Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                          6/8/2016             $0.00
Bill and Melinda Gates Foundation                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/8/2015             $0.00
Bin Zhang                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/23/2010             $0.00
Bin Zhang                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010             $0.00
Binita Bhattacharjee                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/27/2010             $0.00
Bio Base Europe Pilot Plant                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/31/2016             $0.00
Bio Base Europe Pilot Plant VZW                                                                                                   Amyris, Inc.                                    Service Agreement                                                                                            12/13/2022             $0.00
Bio Base Europe Pilot Plant VZW                                                                                                   Amyris, Inc.                                    Material Transfer Agreement                                                                                    2/6/2023             $0.00
Bio Base Europe Pilot Plant VZW                                                                                                   Amyris, Inc.                                    Material Transfer Agreement                                                                                    2/6/2023             $0.00
Bio Base Europe Pilot Plant VZW                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/22/2021             $0.00
Bio Base Europe Pilot Plant VZW                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/20/2019             $0.00
Biobent Management Services, Inc.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/12/2021             $0.00
BIOBLEND                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/17/2010             $0.00
BioCell Technology, LLC                                                                                                           Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                                  11/9/2021             $0.00
Biocon Limited                                                                                                                    Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                                  11/4/2016             $0.00
Biodiscovery LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/3/2019             $0.00
Biogen Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             10/28/2015             $0.00
Biogen MA Inc.                                                                                                                    Amyris, Inc.                                    U.S. Master Services Agreement                                                                                7/28/2016             $0.00
BIOINDUSTRIAL MANUFACTURING                                                                                                       Amyris, Inc.                                    Amendment to the Subaward Agreement                                                                            9/1/2022             $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                  Amyris, Inc.                                    Subaward Agreement (No. T-PC03-A-07-006)                                                                       9/1/2023             $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                  Amyris, Inc.                                    Subaward Agreement (No. T-DRP6-A-0006)                                                                       12/23/2022             $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                  Amyris, Inc.                                    Subaward Agreement (No. T-PC01-A-02-0006)                                                                    12/15/2021             $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                  Amyris, Inc.                                    Prime Award Agreement                                                                                         1/30/2023             $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                  Amyris, Inc.                                    Amendment to the Subaward Agreement                                                                            4/4/2023             $0.00
Bioindustrial Manufacturing and Design Ecosystem - BioMADE                                                                        Amyris, Inc.                                    Biomade Subaward Agreement (Subaward No. T-ADP11-A-0006)                                                      6/15/2023             $0.00
Bioindustrial Manufacturing and Design Ecosystem - BioMADE                                                                        Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                2/8/2021             $0.00
BIOINDUSTRIAL MANUFACTURING AND DESIGN ECOSYSTEM (BIOMADE)                                                                        Amyris, Inc.                                    Subaward Agreement (Subaward No. T-DRP7-A-0006)                                                               12/1/2022             $0.00
BIOINDUSTRIAL MANUFACTURING AND DESIGN ECOSYSTEM (BIOMADE)                                                                        Amyris, Inc.                                    Amendment to the Subaward Agreement (Number 22-RACER-A-H016-                                                  5/12/2023             $0.00
                                                                                                                                                                                  0006)
Biolding Investment SA                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/17/2012            $0.00
Biological Resource Center, National Institute of Technology and Evaluation                                                       Amyris, Inc.                                    Material Transfer Agreement 1 (Mta-1)                                                                          3/1/2017            $0.00
Biomillenia SAS                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/18/2019            $0.00
BIOMIN DO BRASIL LTDA                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/11/2010            $0.00
BIOMIN HOLDIING GmbH                                                                                                              Amyris, Inc.                                    Agreement                                                                                                     4/29/2011            $0.00
Biomin Holding GmbH                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/3/2011            $0.00
Biomin Holding GmbH                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/11/2011            $0.00
BIONOMIC INDUSTRIES                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/8/2011            $0.00
BioPlan USA                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/26/2020            $0.00
BioPlan USA                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/26/2020            $0.00
Bio-Process Group                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/3/2020            $0.00
Bio-Process Innovation, Inc.                                                                                                      Amyris, Inc.                                    Non-Disclosure/ Secrecy Agreement                                                                             4/15/2022            $0.00
Bioprocess Pilot Facility B.V.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/11/2016            $0.00
Bioprocess Pilot Facility B.V.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/19/2012            $0.00
Bioproduction Group, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/8/2014            $0.00
Biosafe — Biological Safety Solutions Ltd/Oy                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/4/2021            $0.00
Biosafe Ltd.                                                                                                                      Amyris, Inc.                                    Material Transfer Agreement                                                                                    4/1/2021            $0.00
biotech competence gmbh                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/24/2019            $0.00
Biotech Research Group, Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/3/2020            $0.00




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                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
Biotechnical Services, Inc.                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          12/22/2017              $0.00
Biotork LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/20/2012             $0.00
BLACK PONY VENTURES SL                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/7/2020             $0.00
Blacksquare, LLC                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            8/29/2014             $0.00
BlueFire Renewables Inc                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/6/2012             $0.00
Bluestem Biosciences, Inc.                                                                                                       Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                             10/14/2022              $0.00
Bluestem Biosciences, Inc.                                                                                                       Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                             10/14/2022              $0.00
BNP Paribas Securities Corp                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/22/2019             $0.00
Board of Regents of the University of Wisconsin System                                                                           Amyris, Inc.                                    Great Lakes Bioenergy Research Center Mutual Non-Disclosure                                                  3/21/2019             $0.00
                                                                                                                                                                                 Agreement
Board of Trustees of Southern Illinois University                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/13/2021            $0.00
Bob Waymouth                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/21/2010            $0.00
Bobbi Angell                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/23/2022            $0.00
BOCSCI Inc                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/9/2018            $0.00
BODY SHOP INTERNATIONAL LIMITED                                                                                                  Amyris, Inc.                                    Reciprocal Confidentiality Agreement                                                                          4/22/2022            $0.00
Boeing Company                                                                                                                   Amyris, Inc.                                    Confidentiality Agreement                                                                                     2/24/2012            $0.00
BOLD PR LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/16/2017            $0.00
BONNIE HAMES                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/1/2010            $0.00
Boox, PBC                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/9/2020            $0.00
Booyah Networks, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2020            $0.00
Born & Made LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/27/2020            $0.00
BORNY MADE LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/27/2020            $0.00
Bostik, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/22/2014            $0.00
Bounce Exchange, Inc                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/5/2018            $0.00
BP LUBRICANTS USA INC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Amendment Agreement                                                            6/12/2013            $0.00
BP LUBRICANTS USA INC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2012            $0.00
BP LUBRICANTS USA INC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2012            $0.00
BP Lubricants USA, Inc.                                                                                                          Amyris, Inc.                                    Amendment #1 to Confidential Disclosure Agreement                                                              7/8/2011            $0.00
BP LUBRICANTS USA, INC.                                                                                                          Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                7/30/2010            $0.00
BP Technology Ventures Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/20/2012            $0.00
Braidwell Partners Master Fund LP; Paul Hastings LLP; U.S. Bank National Association                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                      8/3/2023            $0.00
Brandon Johnson                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/14/2011            $0.00
BrandPie Inc                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/1/2017            $0.00
Brandshare                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreemetarr                                                                          10/13/2015            $0.00
Braskem S.A.                                                                                                                     Amyris, Inc.                                    Three-Way Confidentiality and Common Interest Agreement                                                      11/23/2013            $0.00
BRASKEM S.A.; IDEOM TECNOLOGIA LTDA.; Manufacture Francaise des Pneumatiques Michelin                                            Amyris, Inc.                                    Multiparty Confidential Disclosure Agreement                                                                  12/9/2011            $0.00
BRASKEM S.A.; MANUFACTURE FRANCAIS DES PNEUMATIQUES MICHELIN                                                                     Amyris, Inc.                                    Multiparty Confidential Disclosure Agreement                                                                   6/3/2013            $0.00
BRC The Broad Institute, Inc.                                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               4/28/2021            $0.00
BRC The Broad Institute, Inc.                                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               4/28/2021            $0.00
BREAKTHROUGH FUEL, LLC.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/25/2013            $0.00
Brenntag Schweizerhall AG                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/8/2014            $0.00
Brenton Keough                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/18/2010            $0.00
Brian Hawthorne                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/29/2010            $0.00
Brian Kirrene                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        5/2/2010            $0.00
Brian Lander                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/14/2010            $0.00
Brian Sauls                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/23/2010            $0.00
BRIDGESONE CORPORATION                                                                                                           Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                3/15/2010            $0.00
Bridgestone Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/4/2014            $0.00
Bridgestone Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/4/2014            $0.00
Bridgestone Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/21/2014            $0.00
Brigitte Keon                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/12/2010            $0.00
Brilliant Formulations                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/19/2015            $0.00
Brinkmann Instruments                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/23/2017            $0.00
Brinkmann Instruments, Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/31/2019            $0.00
Brisan Group, Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/4/2020            $0.00
British Sugar                                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                      7/1/2011            $0.00
Britta Randlev                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/21/2010            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of           Cure
                                      Contract Counterparty                                                                                                                                                         Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease      Amount
BROAD INSTITUTE, INC.                                                                                                             Amyris, Inc.                                    Nonexclusive Patent License Agreement                                                                         8/4/2023            $0.00
Bruker Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/4/2014            $0.00
BRUKER OPTICS INC.                                                                                                                Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                               2/15/2010            $0.00
Bruno Cabane                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/3/2014            $0.00
Brynne Stanton                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/24/2011            $0.00
Buckeye International, Inc.                                                                                                       Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              3/23/2014            $0.00
BUFLOVAK, LLC                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/29/2011            $0.00
BugLab, LLC                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/28/2015             $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                   Aprinnova, LLC                                  Lease                                                                                                        4/26/2021            $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                   Aprinnova, LLC                                  Lease                                                                                                         4/1/2021            $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                   Aprinnova, LLC                                  First Amendment to Lease                                                                                      8/1/2021            $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                   Aprinnova, LLC                                  First Amendment to Lease                                                                                      8/1/2021            $0.00
Business Capital                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/1/2012            $0.00
Butchershop Creative, LLC                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/7/2015            $0.00
C Cubed Biotech                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/14/2014            $0.00
C. Charles Dowk                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/22/2010             $0.00
CA Fortune Sales & Marketing, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/15/2022            $0.00
CA Fortune Sales & Marketing, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/14/2022            $0.00
Cabot Corporation                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/26/2018             $0.00
CAL WEST MASHY COMPANY, INC.                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/6/2011            $0.00
Calico Life Sciences LLC                                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                    4/21/2016            $0.00
Calumet Penreco, LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/17/2016            $0.00
Calumet Refining, LLC                                                                                                             Aprinnova, LLC                                  Nondisclosure Agreement                                                                                      5/18/2018            $0.00
Calvin Crim                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      8/19/2011            $0.00
Cambrex Charles City, Inc.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/14/2017             $0.00
Cambridge Polymer Group, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/27/2013             $0.00
Camelback Displays                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/24/2020            $0.00
Campari America LLC                                                                                                               Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                             12/10/2018             $0.00
Canaccord Genuity LLC                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/8/2023            $0.00
Cancer Insight, LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/10/2021            $0.00
Canopy Growth Corporation                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/1/2021            $0.00
CAPERVA QUIMICA S.L.                                                                                                              Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                            11/23/2018             $0.00
Caporale Consulting                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/6/2013            $0.00
Capua BioServices S.p.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/3/2018            $0.00
Carbono Quimica ltda                                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              8/26/2016            $0.00
Carbono Quimica ltda                                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              8/26/2016            $0.00
Carey Chern                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      1/22/2010            $0.00
Cargill, Incorporated                                                                                                             Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             3/28/2012            $0.00
Carine Schneider                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/21/2010             $0.00
Carmagen Engineering Inc                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            6/28/2011            $0.00
Caroline Harley                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/25/2011            $0.00
Carrot Fertility, Inc.                                                                                                            Amyris, Inc.                                    Master Services Agreement                                                                                     2/1/2022            $0.00
Carrot Fertility, Inc.                                                                                                            Amyris, Inc.                                    Master Services Agreement                                                                                     1/1/2022            $0.00
Carrot Fertility, Inc.                                                                                                            Amyris, Inc.                                    Plan Design Amendment                                                                                         1/1/2023            $0.00
Carter Dow                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/8/2011            $0.00
Cartograph LLC                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/5/2019            $0.00
Cascade Chemistry                                                                                                                 Amyris, Inc.                                    Three-Way Mutual Confidential Disclosure Agreement                                                           8/24/2021            $0.00
Cascade Chemistry                                                                                                                 Amyris, Inc.                                    Three-Way Mutual Confidential Disclosure Agreement                                                            8/2/2021            $0.00
Catalent Pharma Solutions, LLC                                                                                                    Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                          7/22/2022            $0.00
Catalent Pharma Solutions, LLC                                                                                                    Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                          7/22/2022            $0.00
Cataya Bio (Shanghai) Co Ltd.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/16/2022            $0.00
Catch, Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/20/2023            $0.00
CATHAY PACIFIC AIRWAYS LIMITED                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                     7/5/2013            $0.00
Cavalier International Air Freight, Inc.                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/7/2021            $0.00
CBA Brand Engine                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/5/2014            $0.00
Ce Yang                                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/18/2011            $0.00
Cecilia Walsh                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/29/2010             $0.00




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                                                                                                                                 Contract/Lease                                                                                                                                 Date of            Cure
                                Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                  Debtor Party                                                                                                                               Contract/Lease       Amount
Celeste Sandoval                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      8/12/2010            $0.00
CELLECTIS SA                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/18/2011            $0.00
CELSIUS HOLDINGS, INC.                                                                                                  Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                               11/13/2018             $0.00
Centauri Technologies, LP                                                                                               Amyris, Inc.                                    Third Amendment to Mutual Confidential Disclosure Agreement                                                   3/1/2015            $0.00
Centauri Technologies, LP                                                                                               Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                 2/28/2014            $0.00
Centauri Technologies, LP                                                                                               Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                  1/11/2013            $0.00
Centauri Technologies, LP                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/12/2012            $0.00
CENTAURI TECHNOLOGIES, LP                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/29/2010             $0.00
Center Design                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/28/2022            $0.00
Centre national de la recherche scientifique                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/30/2013            $0.00
Centre national de la recherche scientifique                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/21/2012            $0.00
Centro de Tecnologia Canavieira S/A                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/25/2013            $0.00
Cercone Brown Corp                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/5/2020            $0.00
CERES, INC.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/1/2010            $0.00
Cerno Bioscience, LLC                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/30/2020             $0.00
Ceruvia Lifesciences, LLC                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/27/2022            $0.00
Cesar Rodriguez                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/19/2011            $0.00
CEVA Freight Canada Corp.                                                                                               Amyris, Inc.                                    Agency Agreement                                                                                             7/13/2018        $1,845.32
Chan Li                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/24/2010             $0.00
Chance Elliott                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/21/2010            $0.00
Character SF, LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/22/2020            $0.00
Charles D. Kraft                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/10/2012            $0.00
Charles River Laboratories, Inc.                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/30/2021            $0.00
Charlie Boone                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/7/2013            $0.00
Charlotte Products LTD.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/17/2014             $0.00
Chase Products Co                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/29/2014            $0.00
CHEM Group                                                                                                              Amyris, Inc.                                    Services Agreement                                                                                           5/15/2013       $25,008.54
CHEM GROUP                                                                                                              Amyris, Inc.                                    Re: Modification to Amendment #3 to Service Agreement                                                        12/4/2014            $0.00
CHEM Group                                                                                                              Amyris, Inc.                                    Amendment #1 to Service Agreement                                                                            8/20/2013            $0.00
CHEM Group                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/14/2013            $0.00
CHEM Group                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/14/2013            $0.00
Chem Group Inc                                                                                                          Amyris, Inc.                                    Confident Ial Disclosure Agreement                                                                           7/21/2011            $0.00
CHEMDESIGN PRODUCTS INC                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/23/2010            $0.00
ChemEOR                                                                                                                 Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                12/17/2014             $0.00
ChemEOR                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/17/2013             $0.00
Chemical Search International Limited                                                                                   Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                  $0.00
Chemicals, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/18/2015           $0.00
Chemicals, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/18/2012           $0.00
ChemLogix LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/31/2011           $0.00
Chemo Biosynthesis S.r.l.                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/28/2022           $0.00
Chemol Company, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/28/2013           $0.00
ChemQuest Group, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/18/2023           $0.00
Chemtura Corporation                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/12/2010           $0.00
Chemworld Marketing Corporation                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/21/2014           $0.00
Chevron Phillips Chemical Company LP                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure and Non-Analysis Agreement                                                               6/7/2010           $0.00
Chevron Products Company                                                                                                Amyris, Inc.                                    Second Addendum to Confidentiality Agreement                                                                  3/30/2010           $0.00
Chevron Products Company                                                                                                Amyris, Inc.                                    First Addendum to Confidentiality Agreement                                                                  12/16/2009           $0.00
Chevron Products Company                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/13/2009           $0.00
Chi-Li Liu                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/10/2010           $0.00
Chilworth Technology, Inc.                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/28/2015           $0.00
CHINA GATEWAY LIFE SCIENCE (HOLDINGS) LIMITED                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/28/2011           $0.00
Chinmay Majmudar, Cipla                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/13/2011           $0.00
Chloe Productions, Inc.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/3/2023           $0.00
CHOBANI, LLC                                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               2/16/2020           $0.00
Chr. Hansen Natural Colors A/S                                                                                          Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                           5/30/2019           $0.00
Chris Bartlett                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/19/2013           $0.00
Chris Bocilla                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/25/2010           $0.00




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                                       The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                       Contract/Lease                                                                                                                                 Date of            Cure
                                      Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                        Debtor Party                                                                                                                               Contract/Lease       Amount
Chris Moore                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/3/2011              $0.00
Chris Paizis                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011              $0.00
Christian Duenas                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            6/14/2021              $0.00
Christina Capule                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/5/2012              $0.00
Christine Mwangi                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/16/2011              $0.00
Christopher B Fuller                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/15/2010              $0.00
Christopher Burns                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/13/2011              $0.00
Christopher Calderon                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/6/2013              $0.00
Christopher Calvey                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            6/17/2013              $0.00
Christopher Ryan                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/21/2013              $0.00
Christopher Scott                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/24/2011              $0.00
ChromaDex, Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/13/2017               $0.00
Chrysea Limited                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/27/2023              $0.00
Chunbo Lou                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/24/2011              $0.00
Cigna Health and Life Insurance Company                                                                                       Amyris, Inc.                                    Performance Guarantee Agreement                                                                               1/1/2023              $0.00
Cigna Health and Life Insurance Company                                                                                       Amyris, Inc.                                    Administrative Services Only Agreement                                                                        1/1/2023              $0.00
CIGNA HEALTH AND LIFE INSURANCE COMPANY                                                                                       Amyris, Inc.                                    Insurance - Stop Loss Agreement                                                                                                     $0.00
CIPLA LTD.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/29/2011             $0.00
Citibank, N.A.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/24/2012             $0.00
CJ CheilJedang Corp.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/25/2016             $0.00
CJ CheilJedang Corporation                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/18/2019             $0.00
CJ CheilJedang Corporation                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/24/2010             $0.00
CJ DO BRASIL INDUSTRIA E COMERCIO DE PRODUTOS ALIMETICIOS LTDA.                                                               Amyris, Inc.                                    Mutual Confidential Disclowite Agreement                                                                       7/4/2011             $0.00
Clariant Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/6/2022             $0.00
Clariant International Ltd                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                     7/16/2014             $0.00
Clariant International Ltd                                                                                                    Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                4/3/2012             $0.00
Clarke Mosquito Control Products, Inc.                                                                                        Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   6/20/2016             $0.00
Claude Bensoussan                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/1/2014             $0.00
Claudia Vickers                                                                                                               Amyris, Inc.                                    Amyris, Inc. . Nondisclosure Agreement                                                                        1/20/2011             $0.00
Claudia Yu                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/17/2010             $0.00
Clean Label Project, LLC                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/25/2020             $0.00
Clear Spider Inc                                                                                                              Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                2/10/2011             $0.00
CLEAR TASK, INC.                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/11/2010             $0.00
ClearWaterBay Technology, Inc                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/1/2012             $0.00
Click Bio, Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/20/2018             $0.00
Clinical Research Laboratories                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/20/2015             $0.00
Clinton Health Access Initiative, Inc.                                                                                        Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                 7/3/2014             $0.00
Clorox Services Company                                                                                                       Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               3/23/2014             $0.00
CLOSER 2021 LTD                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/15/2022             $0.00
Clover Biopharmaceuticals AUS Pty Ltd                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/9/2021             $0.00
Clover Biopharmaceuticals USA, Inc.                                                                                           Amyris, Inc.                                    Material Transfer Agreement                                                                                   8/11/2022             $0.00
Clover Biopharmaceuticals USA, Inc.                                                                                           Amyris, Inc.                                    Materials Transfer Agreement                                                                                                       $0.00
Coca-Cola Company                                                                                                             Amyris, Inc.                                    Bilateral/Multilateral Non-Disclosure Agreement                                                              10/17/2022             $0.00
Coca-Cola Company                                                                                                             Amyris, Inc.                                    Bilateral/Multilateral Non-Disclosure Agreement                                                               10/1/2011             $0.00
COFCO Nutrition and Health Research Institute Co., Ltd.                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2015             $0.00
Colorado Quality Products, LLC                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/7/2017             $0.00
ColorMatrix Group, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/24/2012             $0.00
Columbia Analytical Services, Inc                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/19/2011             $0.00
Columbia Cosmetics                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/8/2022             $0.00
Column5 Consulting Group, LLC                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement Between Column5 Consulting Group,                                              4/9/2015             $0.00
                                                                                                                                                                              Llc and Amyris, Inc.
Companhia Nacional de Aciicar e Alcool — CNAA                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                      7/5/2010            $0.00
Companhia Nitro Quimica Brasileira                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/22/2011            $0.00
COMPENSIA INC.                                                                                                                Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                2/17/2010            $0.00
Compensia, Inc.                                                                                                               Amyris, Inc.                                    Amendment to Terms of Compensia Engagement                                                                     6/1/2020            $0.00
Compliance Dynamics LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/12/2013            $0.00
CONEXUS CAPITAL ADVISORS, INC.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/20/2011            $0.00




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                                                                                                                                         Contract/Lease                                                                                                                                 Date of            Cure
                                       Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                          Debtor Party                                                                                                                               Contract/Lease       Amount
CONEXUS CAPITAL ADVISORS, INC.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/30/2010              $0.00
CONEXUS CAPITAL ADVISORS, INC.                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/26/2010              $0.00
Conservatoire National des Arts et Métiers                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/8/2018             $0.00
Conservatoire National des Arts et Métiers                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/8/2018             $0.00
Context Capital Management, LLC; Paul Hastings LLP; U.S. Bank National Association                                              Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/3/2023             $0.00
Continental Technologies LLC                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/2/2010             $0.00
Copernicus Group, Inc.                                                                                                          Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      5/1/2018             $0.00
Cordell Pharma International GmbH                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/7/2007             $0.00
Corden Pharma International GmbH                                                                                                Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                  1/16/2019             $0.00
Corporate Renaissance Group                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/19/2011             $0.00
Correlia Biosystems                                                                                                             Amyris, Inc.                                    Material Transfer Agreement                                                                                  3/31/2023             $0.00
Correlia Biosystems                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/15/2023             $0.00
COSAN S.A. INDUSTRIA E COMERCIO                                                                                                 Amyris, Inc.                                    Re: Permitted Disclosure of Agreements to Third Parties                                                      3/10/2010             $0.00
Cosmetech Co, Ltd.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/9/2014             $0.00
Cosmetech Laboratories, Inc                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/6/2012             $0.00
Cosmetix West                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/19/2015             $0.00
Cosmo Oil of U.S.A.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/14/2016             $0.00
Costco Wholesale Corporation                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/21/2016             $0.00
Coty Inc.                                                                                                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                    8/17/2016             $0.00
Couple in the Kitchen LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/1/2019             $0.00
Coury Science & Engineering, PLLC                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/18/2016              $0.00
COVANCE INC.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/18/2020             $0.00
COVANCE LABORATORIES INC.                                                                                                       Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     3/26/2018             $0.00
COVET PUBLIC RELATIONS, INC.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/31/2019              $0.00
Cowen and Company, LLC                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/17/2015             $0.00
Cowen and Company, LLC                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/7/2013             $0.00
CPI INNOVATION SERVICES LIMITED                                                                                                 Amyris, Inc.                                    Agreement                                                                                                    9/18/2012             $0.00
Craftory Ltd                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/3/2023             $0.00
Craig Reeder                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                    12/10/2010              $0.00
CRB Benelux BV                                                                                                                  Amyris, Inc.                                    First Amendment to Material Transfer Agreement                                                               5/12/2015             $0.00
CRB Benelux BV                                                                                                                  Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               1/6/2015             $0.00
Creative Drive US LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Creative Media Marketing, Inc.                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/25/2014            $0.00
Creative Sales and Marketing                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/5/2022            $0.00
Creature                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/8/2013            $0.00
Credit Suisse Securities (USA) LLC                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/21/2015            $0.00
CreditRiskMonitor.com, Inc.                                                                                                     Amyris, Inc.                                    Trade Accounts Receivable Confidentiality Agreement                                                            4/4/2012            $0.00
Croda Europe Limited                                                                                                            Amyris, Inc.                                    Squalene Purchase Agreement and Exclusive License Agreement                                                   5/18/2023            $0.00
Croda Europe Limited                                                                                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                      3/1/2016            $0.00
Croda Europe Limited; GlaxoSmithKline Biologicals SA                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/3/2023            $0.00
Croda Inc.                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/1/2012            $0.00
CROLL REYNOLDS LLC; The Clean Air Group                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/5/2011            $0.00
Crybaby Productions                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/1/2021            $0.00
CSR Cosmetic Solutions INC.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/15/2020            $0.00
CTL Packaging USA                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              3/8/2019            $0.00
CULVER CAPITAL GROUP, INC,                                                                                                      Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                 2/8/2010            $0.00
CURRENT LIFESTYLE MARKETING                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/2/2014            $0.00
Curtis Poulos                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/10/2010            $0.00
Custom Analytics LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/6/2021            $0.00
Custom Analytics LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/21/2019            $0.00
Custom Equipment Solutions Southeast, LLC                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/26/2020            $0.00
Custom Essence Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/14/2011            $0.00
Cvlt Studios, LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/10/2022            $0.00
Cyclo Industries, Inc                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/16/2017            $0.00
Cymer, LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/8/2015            $0.00
DAG Ventures                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/31/2012            $0.00
Damico                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00




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                                         The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                               Contract/Lease                                                                                                                                                                           Date of            Cure
                                        Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                Debtor Party                                                                                                                                                                         Contract/Lease       Amount
Damon Burk                                                                            Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      2/13/2011             $0.00
Dan Clements                                                                          Amyris, Inc.                                                                              Material Sampling and Confidentiality Agreement                                                              12/3/2018             $0.00
Dan McAdam                                                                            Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      10/1/2010             $0.00
Dan Wallner                                                                           Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      3/14/2011             $0.00
Danae Lucas                                                                           Amyris, Inc.                                                                              Confidential Disclosure Agreement                                                                          11/19/2013              $0.00
DanChem                                                                               Amyris, Inc.                                                                              Purchase Agreement                                                                                           7/11/2018             $0.00
DanChem                                                                               Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                     8/24/2021             $0.00
DanChem Technologies, Inc.                                                            Amyris, Inc.                                                                              Exhibit B                                                                                                  12/28/2015              $0.00
DanChem Technologies, Inc.                                                            Amyris, Inc.                                                                              Mutual Confidentiality and Non-Disclosure Agreement                                                          1/24/2017             $0.00
DanChem Technologies, Inc.                                                            Amyris, Inc.                                                                              Confidentiality Agreement                                                                                    12/9/2015             $0.00
Daniel Hollis                                                                         Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      3/31/2011             $0.00
Daniel J. Kvltek                                                                      Amyris, Inc.                                                                              Confidential Disclosure Agreement                                                                            5/14/2012             $0.00
Danielle Tullman-Ercek                                                                Amyris, Inc.                                                                              Confidential Disclosure Agreement                                                                            10/2/2013             $0.00
Danisco US Inc.                                                                       Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                      2/5/2020             $0.00
Danisco US Inc.                                                                       Amyris, Inc.                                                                              Mutual Non-Disclosure Agreement                                                                              8/20/2015             $0.00
DANONE US, LLC                                                                        Amyris, Inc.                                                                              Confidentiality Agreement                                                                                    12/2/2020             $0.00
Daptiv Solutions llc                                                                  Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                     10/3/2013             $0.00
Darktrace Holdings Limited                                                            Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                   10/28/2022              $0.00
Dash Hudson Inc.                                                                      Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                   10/25/2022              $0.00
David Benjamin                                                                        Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       8/8/2011             $0.00
David Botstein                                                                        Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                    12/15/2011              $0.00
David Dunning                                                                         Amyris, Inc.                                                                              Non-Disclosure Agreement                                                                                      6/6/2010             $0.00
David Gray                                                                            Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      9/22/2010             $0.00
David Gray                                                                            Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       9/2/2010             $0.00
David Humbird                                                                         Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      3/17/2010             $0.00
David Hustgen                                                                         Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       3/5/2010             $0.00
David Kalez                                                                           Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       2/3/2011             $0.00
David Little                                                                          Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       6/6/2011             $0.00
David Tourigny                                                                        Amyris, Inc.                                                                              Mutual Confidential Disclosure Agreement                                                                     4/17/2023             $0.00
David Wheeler                                                                         Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                      5/10/2010             $0.00
David Wilson                                                                          Amyris, Inc.                                                                              Nondisclosure Agreement                                                                                       9/7/2011             $0.00
Dawn Thomspson, Ph.D.                                                                 Amyris, Inc.                                                                              Confidential Disclosure Agreement                                                                            3/12/2015             $0.00
DBO ENGENHARIA LTDA; SAO MARTINHO S.A.; USINA BOA VISTA S.A.; USINA SAO MARTINHO S.A. Amyris, Inc.                                                                              Agreement for Confidentiality                                                                                                      $0.00

De Smet S.A Engineers & Contractors                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/28/2014            $0.00
Debjani Ghoshal                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/8/2010            $0.00
Deborah Sato Wong                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/11/2010            $0.00
Debra Thompson                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
Defense Advanced Research Projects Agency                                                                                       Amyris, Inc.                                    Modification to Technology Investment Agreement                                                                                    $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                4/4/2013            $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                       Amyris, Inc.                                    Technology Investment Agreement                                                                                                    $0.00
DEG - Deutsche Investitions- und; Entwicklungsgesellschaft mbH                                                                  Amyris, Inc.                                    LMA Confidentiality Letter                                                                                     7/4/2012            $0.00
Dehua Zhao                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00
Delfin Group USA                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/26/2011            $0.00
Delft Advanced Biofuels B.V.; Delft University of Technology                                                                    Amyris, Inc.                                    Non-Disclosure and Evaluation Agreement                                                                        7/2/2015            $0.00
Delft University of Technology                                                                                                  Amyris, Inc.                                    Non Disclosure Agreement                                                                                     10/31/2013            $0.00
Delft University of Technology                                                                                                  Amyris, Inc.                                    Non Disclosure Agreement                                                                                      3/20/2012            $0.00
Delft University of Technology                                                                                                  Amyris, Inc.                                    Non Disclosure Agreement                                                                                     12/14/2010            $0.00
Delft University of Technology                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/13/2010            $0.00
Denise Brodey                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/19/2022            $0.00
Denise Giang                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/3/2010            $0.00
Dennis Adkesson                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/16/2010            $0.00




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                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
Denver Health and Hospital Authority                                                                                             Amyris, Inc.                                    Confidentiality/Non-Disclosure Agreement                                                                     4/22/2015             $0.00
Desmet Ballestra North America, Inc.                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/3/2013             $0.00
Destination Maternity Corporation                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/25/2019             $0.00
Deutsche Lufthansa AG                                                                                                            Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              7/25/2013             $0.00
Devereux Specialties, LLC                                                                                                        Amyris, Inc.                                    Material Transfer Agreement                                                                                  2/29/2012             $0.00
Devries Global                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/25/2014             $0.00
Dewayne Bowlin                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/2/2011             $0.00
DGA CO., LTD.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/16/2021             $0.00
DHAP Digital, Inc.                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/9/2014             $0.00
Dhinakar S. Kompala                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/28/2011             $0.00
Diamond Wipes International, Inc.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Diana Herrera                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/11/2011            $0.00
Diana Lee                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/3/2012            $0.00
Dionex Corporation                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/30/2010            $0.00
Distribution Management                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/4/2022            $0.00
Dixie Chemical Company, Inc.                                                                                                     Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                          11/1/2013            $0.00
DIXIE CHEMICAL COMPANY, INC.                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             11/1/2012            $0.00
DIXIE CHEMICAL COMPANY, INC.                                                                                                     Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                3/12/2010            $0.00
DKSH International Ltd.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/12/2015            $0.00
DLH Bowles                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
DMC LIMITED.                                                                                                                     Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                10/9/2015            $0.00
DNA2.0, Inc.                                                                                                                     Amyris, Inc.                                    Confidentiality Agreement                                                                                     4/22/2010            $0.00
DOBLE ENGINEERING COMPANY                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/10/2011            $0.00
DocuSmart Inc.                                                                                                                   Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               9/23/2022            $0.00
Dollar Shave Club, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              12/6/2021            $0.00
Dome Construction Corp; Independent Project Analysis, Inc.                                                                       Amyris, Inc.                                    Exhibit A Third Party Confidentiality Agreement                                                                4/1/2010            $0.00
Dominic Lim                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/16/2010            $0.00
Domo, Inc.                                                                                                                       Amyris, Inc.                                    Domo, Inc. Mutual Nondisclosure Agreement                                                                      2/5/2019            $0.00
Don Ballard                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
Don Benoit                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/20/2011            $0.00
Donald J Misumi                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                                            $0.00
Dottikon ES America, Inc.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/9/2018            $0.00
DOTTIKON EXCLUSIVE SYNTHESIS AG.                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/4/2011            $0.00
Douglas Koshland                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              9/7/2011            $0.00
Dow AgroSciences LLC.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/8/2019            $0.00
Dow Chemical Company                                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                      4/9/2012            $0.00
DP Print Services Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/16/2021            $0.00
Dr. Brad Gibson                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/8/2013            $0.00
Dr. Bruce Novak                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/7/2010            $0.00
Dr. Elibio Rech                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/10/2010            $0.00
Dr. Ellen Yeh                                                                                                                    Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                4/29/2010            $0.00
Dr. Greg Cost                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/17/2011            $0.00
DR. JENS SCHRADER                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             7/26/2010            $0.00
Dr. Kurt Thorn                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/19/2011            $0.00
Dr. Maria Ines Tiraboschi Ferro                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/31/2011            $0.00
Dr. Nina Botto                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/28/2021            $0.00
Dr. Rachel Brem                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/10/2011            $0.00
Dr. Randy Schekman                                                                                                               Amyris, Inc.                                    Speaker Agreement                                                                                              1/6/2014            $0.00
Dr. Roland Lill                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/21/2010            $0.00
Dr. Sergio Vieira                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/16/2017            $0.00
Dr. Vassily Hatzimanikatis                                                                                                       Amyris, Inc.                                    Second Amendment to Confidential Disclosure Agreement                                                          9/4/2014            $0.00
Dr. Vassily Hatzimanikatis                                                                                                       Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                           6/1/2014            $0.00
DR. VASSILY HATZIMANIKATIS                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/17/2012            $0.00
Draths Corporation                                                                                                               Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                 5/9/2011            $0.00
DSK BIOPHARMA, Inc.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/18/2020            $0.00
DSM Bio-based Products & Services B.V.                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/27/2017            $0.00
DSM Food Specialties B.V.                                                                                                        Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               9/1/2017            $0.00




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                                                                                                                                            Contract/Lease                                                                                                                                 Date of           Cure
                                          Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                             Debtor Party                                                                                                                               Contract/Lease      Amount
DSM International B.V.                                                                                                             Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               6/1/2018
                                                                                                                                                                                                                                                                                                 $0.00
DSM IP Assets B.V. and DSM Food Specialties B.V.                                                                                   R&D                                             L-62 License Agreement                                                                                       5/15/2023
                                                                                                                                                                                                                                                                                                 $0.00
DSM Nutritional Product Ltd.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/30/2016
                                                                                                                                                                                                                                                                                                 $0.00
DSM Nutritional Product Ltd.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/21/2015
                                                                                                                                                                                                                                                                                                 $0.00
DSM Nutritional Products AG                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                    11/1/2018
                                                                                                                                                                                                                                                                                                 $0.00
DSM Nutritional Products Ltd                                                                                                       Amyris, Inc.                                    Amendment to the Mutual Confidential Disclosure Agreement Dated 9                                             3/9/2017
                                                                                                                                                                                                                                                                                                 $0.00
                                                                                                                                                                                   March 2017
DSM Nutritional Products Ltd; Mead Johnson & Company, LLC                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                        10/12/2017                   $0.00
DSM Nutritional Products, LLC                                                                                                      Amyris, Inc.                                    Non-Disclosure Agreement                                                          2/24/2022                   $0.00
DSM Nutritional Products, LLC                                                                                                      Amyris, Inc.                                    Confidentiality Agreement                                                        10/22/2020                   $0.00
DSM PTG, INC.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          7/28/2010                   $0.00
DUALFORM STUDIO                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                 8/25/2014                   $0.00
Durham Capital Corporation                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          4/15/2016                   $0.00
DYNAMICS, INC.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          1/13/2011                   $0.00
Dynasol Elastomeros, S.A. de C.V.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          4/10/2014                   $0.00
Eastman Kodak Company                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          5/16/2016                   $0.00
Ecamricert srl                                                                                                                     Amyris, Inc.                                    Material Transfer Agreement                                                       7/29/2022                   $0.00
ECOCERT GREENLIFE                                                                                                                  Amyris, Inc.                                    Confidentiality Agreement                                                                                     $0.00
Ecolab                                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                  1/3/2012                   $0.00
Ecolab USA Inc.                                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                          5/8/2012                   $0.00
Ecolab, Inc.                                                                                                                       Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                    5/5/2014                   $0.00
Ecole Superieure de Chimie et Physique Industrielles de la Ville de Paris                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          2/14/2018                   $0.00
EcoPlum                                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          8/25/2022                   $0.00
EcoSynth NV                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          8/25/2021                   $0.00
Edeniq                                                                                                                             Amyris, Inc.                                    Material Transfer and Valuation Agreement                                        12/19/2012                   $0.00
Edeniq, Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          9/18/2012                   $0.00
Edge Retail Limited                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           7/8/2020                   $0.00
Edrick Wong                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                           4/29/2011                   $0.00
Edris Afghanzada                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                          12/13/2010                   $0.00
Eduardo Baralt                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                           4/29/2011                   $0.00
Edward Hsiao                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                          10/14/2010                   $0.00
Efficient Collaborative Retail Marketing Co LLC                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           4/5/2022                   $0.00
Ei LLC                                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          9/16/2014                   $0.00
Eka Chemicals Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           7/7/2011                   $0.00
Elbow River Marketing, LLP                                                                                                         Amyris Fuels, LLC                               Mutual Confidential Disclosure Agreement                                          5/20/2012                   $0.00
Elcan Industries                                                                                                                   Amyris, Inc.                                    Services Agreement                                                                5/17/2017                   $0.00
Elcan Industries                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           5/1/2017                   $0.00
Elcan Industries, Inc.                                                                                                             Amyris, Inc.                                    Amendment No. 1 to Services Agreement                                              6/1/2020                   $0.00
ELCOS AMERICA                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           3/7/2022                   $0.00
Electrosynthesis Company, Inc.                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                10/25/2011                   $0.00
Elegen Corp.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          1/14/2022                   $0.00
Element Food Solutions, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          11/4/2021                   $0.00
Element Packaging LLC                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                 2/21/2019                   $0.00
ELEMENTAL MiCORONALYSIS LTD.                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                 12/1/2011                   $0.00
Eleven, Inc.                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                10/17/2014                   $0.00
ELICITYL S.A.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          10/7/2020                   $0.00
Elisse Gabriel                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                 1/22/2019                   $0.00
Elizabeth Exter                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                           7/19/2011                   $0.00
Elizabeth Kazda                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                           3/23/2012                   $0.00
Ellen Maldonado                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                           2/15/2010                   $0.00
EMD Millipore Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          9/27/2021                   $0.00
EMD Millipore Corporation                                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                   1/2/2013                   $0.00
Emery Pharma                                                                                                                       Amyris, Inc.                                    Amendment No. 1 to Confidential Disclosure Agreement                               5/2/2018                   $0.00
Emery Pharma                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                 11/3/2017                   $0.00
EMERYSTATION TRIANGLE, LLC                                                                                                         Amyris, Inc.                                    Certain Lease dated April 25, 2008, as amended from time to time including as amended
                                                                                                                                                                                                                                                                    12/28/2023
                                                                                                                                                                                                                                                                         by Fifth Amendment
                                                                                                                                                                                                                                                                                         $274,814.01
                                                                                                                                                                                                                                                                                            (5850 Hollist St, Eme
Emeryville Pharmaceutical Services                                                                                                 Amyris, Inc.                                    Services Agreement                                                                9/13/2013                   $0.00
Emeryville Pharmaceutical Services                                                                                                 Amyris, Inc.                                    Amendment #1 to Service Agreement                                                 8/21/2014                   $0.00




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                                                                                                                                           Contract/Lease                                                                                                       Date of                Cure
                                         Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                    Contract/Lease            Amount
Emily Coker                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                          10/13/2010                   $0.00
Empirical Labs, Inc                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          4/25/2022                   $0.00
Enakshi Singh                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                           8/18/2011                   $0.00
Endre Kallai                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                           4/29/2011                   $0.00
Endurance Risk Solutions Assurance Co.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          8/13/2019                   $0.00
Enduro Genetics ApS                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           5/2/2022                   $0.00
Engineering Biology Research Consortium                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          4/15/2020                   $0.00
ENLASO Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          11/2/2020                   $0.00
Enterprise Automation                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                 4/11/2012                   $0.00
Environmental Fluids, Inc.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          4/27/2020                   $0.00
Environmental Packaging International Ltd                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                           2/5/2019                   $0.00
Environmental Resources Management                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                12/24/2011                   $0.00
Environmental Working Group                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                         12/14/2021                   $0.00
EnviTreat, L.L.C.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          7/25/2012                   $0.00
EnzBond Limited                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          5/17/2017                   $0.00
Eppendorf North America, Inc.                                                                                                     Amyris, Inc.                                    Quotation-No: Q23000387732                                                         3/1/2023                   $0.00
Equality Translation Services, Inc.                                                                                               Amyris, Inc.                                    Services Agreement                                                               12/21/2012                   $0.00
ERAN PICHERSKY, Ph.D.                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                 1/12/2012                   $0.00
Eric Freedman                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                         11/17/2022                   $0.00
Eric Hoefstetter                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                            4/9/2010                   $0.00
Eric Strait                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                          11/28/2011                   $0.00
Ericson Marino                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                  7/1/2014                   $0.00
Erik Freer                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                           4/29/2011                   $0.00
Erik Mazmanian                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                           3/18/2011                   $0.00
ERNEST ORLANDO LAWRENCE BERKELLY NATIONAL LABORATORY                                                                              Amyris, Inc.                                    Non-Disclosure Agreement                                                           7/9/2014                   $0.00
ERS GENOMICS LIMITED                                                                                                              Amyris, Inc.                                    License Agreement                                                                  6/7/2021              $50,000.00
ERS Genomics Ltd                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                         10/21/2020                   $0.00
ES East, LLC                                                                                                                      Amyris, Inc.                                    Certain Lease dated August 22, 2007, as amended from time to time including as amended
                                                                                                                                                                                                                                                                   12/28/2023
                                                                                                                                                                                                                                                                          by Eighth Amendment
                                                                                                                                                                                                                                                                                       $1,234,520.43
                                                                                                                                                                                                                                                                                               (5885 Hollist St, E
Essential Ingredients, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          3/10/2020                   $0.00
Estee Lauder Inc.                                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                   8/25/2011                   $0.00
Eugene Antipov                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                          10/14/2010                   $0.00
Eurofins Lancaster Laboratories, Inc. Eurofins Advantar Laboratories, Inc. Eurofins BioPharma Product                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                          8/25/2021                   $0.00
Testing Columbia, Inc. Eurofins BioPharma Product Testing Toronto, Inc.
Eurofins Nutrition Analysis Center                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/15/2017   $0.00
Eurofins Scientific, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/30/2021   $0.00
Eurofins, Scientific Inc.                                                                                                         Amyris, Inc.                                    Quotation Number: Vky320180139-04                                                                             7/27/2018   $0.00
Euzonfins Biodiagnostics                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/19/2016   $0.00
Evangeline Peterson                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/22/2011   $0.00
EVE Partners LP                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/13/2012   $0.00
Evea – Evaluation et Accompagnement; Givaudan International SA                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                     10/3/2023   $0.00
Evea; Givaudan                                                                                                                    Amyris, Inc.                                    Amyris Givaudan Evea Confidentiality Agreement                                                                 6/1/2023   $0.00
Everett Graphics                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/29/2019   $0.00
Eviagenics, S.A.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/10/2012   $0.00
Evolva, Inc.                                                                                                                      Amyris, Inc.                                    Asset Purchase Agreement                                                                                      10/8/2015   $0.00
EVOLVE BIOSYSTEMS, INC.; MEAD JOHNSON NUTRITION, LLC.                                                                             Amyris, Inc.                                    Three-Way Mutual Confidential Disclosure Agreement                                                            11/1/2018   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   1/26/2022   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Amendment No.3 to Mutual Confidential Disclosure Agreement                                                     3/3/2021   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                   9/20/2019   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                   9/20/2019   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                    9/6/2019   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/3/2021   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/14/2020   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/14/2020   $0.00
Evonik Corporation                                                                                                                Amyris, Inc.                                    First Restated and Amended Mutual Confidential Disclosure Agreement                                           1/20/2020   $0.00

Evonik Corporation                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/19/2019   $0.00
Evonik Degussa Corporation                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              8/3/2011   $0.00




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                                                                                                                                             Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                        Contract/Lease Title
                                                                                                                                              Debtor Party                                                                                                                               Contract/Lease       Amount
Evonik Degussa GmbH                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/28/2010              $0.00
Evozyne, LLC                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/17/2021             $0.00
EW Biotech GmbH                                                                                                                     Amyris, Inc.                                    Amendment No. 1 to Material Transfer and Confidentiality Agreement                                           5/21/2020             $0.00

EW Biotech GmbH                                                                                                                     Amyris, Inc.                                    Material Transfer and Confidentiality. Agreement                                                              6/10/2019            $0.00
EW Nutrition GmbH                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/1/2019            $0.00
Exact Media Network Inc.                                                                                                            Amyris, Inc.                                    Reciprocal Confidentiality Agreement                                                                          3/25/2015            $0.00
EXOVA, INC.                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/19/2011            $0.00
Expeditors International of Washington, Inc.                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             12/9/2010            $0.00
Expense Reduction Analysts, Inc.                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/22/2017            $0.00
Express Tubes- a Custom Manufacturing Company                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/1/2023            $0.00
Eyal Research Consultant                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             7/12/2012            $0.00
F. Hoffmann-La Roche Ltd                                                                                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                      4/2/2015            $0.00
FabricNano Limited                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/12/2021            $0.00
Family Media Holdings LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/30/2019            $0.00
Far Eastern New Century Corporation                                                                                                 Amyris, Inc.                                    Multi-Party Confidential Disclosure Agreement                                                                 11/1/2011            $0.00
Farallon Capital Management, L.L.C.; FKG Capital-Gestao de Recursos Ltda.                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/13/2012            $0.00
Fausto Gotaire                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/4/2022            $0.00
FBR Capital Markets & Co.                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/1/2016            $0.00
Federal Insurance Company                                                                                                           Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                            8/2/2019            $0.00
FEDEX CORPORATE SERVICES, INC.                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               3/23/2011            $0.00
FEDEX FREIGHT SYSTEM, INC.                                                                                                          Amyris, Inc.                                    Mutual Non-Disclosure and Product Evaluation Agreement                                                        3/16/2010            $0.00
FedEx Trade Networks Transport & Brokerage, Inc.                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               12/1/2010            $0.00
Felipe Baratho Beato                                                                                                                Amyris, Inc.                                    Promise Contract for Employment Contrato Promessa DE Contrato DE                                              6/12/2020            $0.00

FermCo Inc.                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/29/2018            $0.00
Fermic S.A. DE C.V.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/3/2015            $0.00
Fernando Martins de Mello                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/25/2010            $0.00
Fernando Martins de Mello                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/10/2010            $0.00
Feve Chocolates LLC                                                                                                                 Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                              10/30/2018            $0.00
Fidelity Workplace Services LLC                                                                                                     Amyris, Inc.                                    Amendment to the Service Agreement Regarding Amyris, Inc. 401(K)                                              2/22/2022            $0.00
                                                                                                                                                                                    Plan
Financial Strategies Consulting Group, LLC                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/13/2011            $0.00
Finesse Solutions, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/5/2015            $0.00
Firework                                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/18/2022            $0.00
Firmenich Incorporated                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/29/2014            $0.00
Firmenich SA                                                                                                                        Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                  11/27/2012            $0.00
Firmenich SA                                                                                                                        Amyris, Inc.                                    Bilateral Confidentiality Agreement                                                                           7/24/2020            $0.00
Firmenich SA                                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                     3/23/2020            $0.00
Firmenich SA                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/9/2019            $0.00
FIRMENICH SA                                                                                                                        Amyris, Inc.                                    Amyris, Inc. and Firmenich S.A. Mutual Confidential Disclosure                                                5/10/2011            $0.00
                                                                                                                                                                                    Agreement
FIRMENICH SA                                                                                                                        Amyris, Inc.                                    Addendum #3                                                                                                   7/26/2010             $0.00
FIRMENICH SA                                                                                                                        Amyris, Inc.                                    Addendum #2                                                                                                   6/25/2009             $0.00
FIRMENICH SA                                                                                                                        Amyris, Inc.                                    Bilateral Confidentiality Agreement                                                                           4/26/2007             $0.00
Firmenich SA; Ingredion Incorporated                                                                                                Amyris, Inc.                                    Multilateral Confidentiality Agreement                                                                        1/10/2022             $0.00
Firmenich SA; SciSafe Inc.                                                                                                          Amyris, Inc.                                    Escrow Agreement                                                                                              8/22/2013             $0.00
Firmenich SA; SciSafe Inc.                                                                                                          Amyris, Inc.                                    Amendment #1 to the Escrow Agreement                                                                         12/23/2016             $0.00
First Digital                                                                                                                       Amyris, Inc.                                    Service Order Agreement                                                                                       9/12/2023            $0.00
First National Capital Corporation                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/2/2012             $0.00
Fisher Scientific Company L.L.C.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/27/2021             $0.00
Fisher Scientific Company L.L.C.                                                                                                    Amyris, Inc.                                    Biocom Pricing Confidentiality Agreement                                                                      6/16/2016             $0.00
Fivetran Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
Flavia N. Campbell                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                        2/3/2011             $0.00
FLG Partners, LLC                                                                                                                   Amyris, Inc.                                    Confidential Mutual Nondisclosure Agreement                                                                   4/12/2019             $0.00
FLO Partners Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/15/2021             $0.00
Florachem Corp                                                                                                                      Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               7/12/2018             $0.00




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                                                                                                                                          Contract/Lease                                                                                                                                 Date of           Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease      Amount
Florida Chemical Supply, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/8/2016           $0.00
Florida Crystals Corporation                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/1/2017           $0.00
Flottweg Separation Technology, Inc.                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/1/2018           $0.00
FOCUS SCIENTIFIC FACILITIES, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/30/2020           $0.00
Folio3 Software Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/27/2020           $0.00
FOODLINER INC.                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/11/2011           $0.00
Fortis Industries USA Trading INC                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/8/2022           $0.00
Fortis Industries USA Trading INC                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/8/2022           $0.00
Fortmix Comércio de Concreto Ltda                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                    6/26/2017           $0.00
FRANCESCA BATTISTA                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/17/2021           $0.00
Frank Reps                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/9/2021           $0.00
Frank Rivera                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/21/2022           $0.00
Frederic Pignault                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/30/2021           $0.00
FREE RADICAL TECHNOLOGY                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            4/18/2011           $0.00
Freedom Specialty Insurance Company                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/13/2019           $0.00
Freedom Specialty Insurance Company                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/13/2019           $0.00
Freesense Aps                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/16/2021           $0.00
Freeslate, Inc                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/3/2010           $0.00
Frenchie Group                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/16/2020           $0.00
FREY+LAU GmbH                                                                                                                    Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                              9/17/2018           $0.00
Fridays Films                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/23/2019           $0.00
Frontier Communications of America, Inc.                                                                                         Amyris, Inc.                                    Frontier Services Agreement                                                                                  3/10/2022           $0.00
Frulact S.A.                                                                                                                     Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                              9/17/2018           $0.00
Fuchs Europe Schmierstoffe                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/10/2011            $0.00
FUJIFILM Hunt Chemicals U.S.A., Inc.                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/9/2015           $0.00
Fuller Industries, LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/4/2014           $0.00
Fusion Packaging I, LLC                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/20/2020            $0.00
G.S. Cosmeceutical USA Inc.                                                                                                      Amyris, Inc.                                    Confidentiality and Nondisclosure Agreement                                                                   9/9/2014           $0.00
Gail Zauder                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/24/2022           $0.00
Galbraith Laboratories, Inc. Cascade Chemistry                                                                                   Amyris, Inc.                                    Three-Way Mutual Confidential Disclosure Agreement                                                           8/25/2021           $0.00
Gallery Media Group                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/20/2022           $0.00
GameChanger Products, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/5/2019           $0.00
Gary Doyle                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/9/2012           $0.00
Gary Loeb                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/3/2011           $0.00
Gary Piermattei                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/29/2010           $0.00
GARY PISANO                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/7/2012           $0.00
Gates Ventures LLC                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/1/2011           $0.00
Gattefosse Holding                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/10/2012           $0.00
Gavilon, LLC                                                                                                                     Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                           11/16/2011            $0.00
Gayle F. Semrad                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/24/2010            $0.00
GE Corporate Financial Services, Inc.                                                                                            Amyris, Inc.                                    Re: Confidentiality Letter                                                                                 11/17/2011            $0.00
GE Healthcare                                                                                                                    Amyris, Inc.                                    Non-Disclosure Agreement                                                                                   12/22/2018            $0.00
GEA Mechanical Equipment US                                                                                                      Amyris, Inc.                                    Re: Rental Agreement Between Gea Mechanical Equipment Us, and                                                4/28/2021       $3,948.91
                                                                                                                                                                                 Amyris
GEA PROCESS ENGINEERING, INC.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/24/2011            $0.00
Gelest, Inc.                                                                                                                     Amyris, Inc.                                    Services Agreement                                                                                           4/12/2012            $0.00
Geltor, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              5/18/2022            $0.00
GEN9, INC.                                                                                                                       Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                               8/21/2013            $0.00
GEN9, INC.                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/26/2011            $0.00
GeneFerm Biotechnology Co., Ltd.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/18/2017            $0.00
Genemarkers, LLC                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/10/2020            $0.00
Genemarkers,LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/4/2021            $0.00
GENEWIZ, Inc.                                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                    2/13/2012            $0.00
Genome Compiler Corporation                                                                                                      Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                  8/30/2014            $0.00
Genome Compiler Corporation                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/30/2013            $0.00
Genoskin Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/23/2021            $0.00
GEODIS WILSON USA, INC                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/10/2011            $0.00




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                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
Geoff Duyk                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            4/26/2012             $0.00
Gerstel, Inc.                                                                                                                    Amyris, Inc.                                    Non-disclosure Agreement                                                                                     3/27/2013             $0.00
GERSTEL, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/1/2012             $0.00
Get Fabric, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/22/2022             $0.00
Getahun Hailu                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/16/2010             $0.00
GFA Systems North America LLC                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                    2/18/2020             $0.00
Gina Kohler                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/23/2021             $0.00
Gingko Bioworks, Inc.                                                                                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                  12/12/2016              $0.00
Ginkgo Bioworks                                                                                                                  Amyris, Inc.                                    Amendment to May 11, 2016 Mutual Confidential Disclosure Agreement                                           6/15/2016             $0.00

Ginkgo Bioworks                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/11/2016            $0.00
GINKGO BIOWORKS, INC.                                                                                                            Amyris, Inc.                                    Partnership Agreement                                                                                        10/20/2017            $0.00
GitLab Inc.                                                                                                                      Amyris, Inc.                                    Renewal Order Form                                                                                           12/31/2022            $0.00
Givaudan Fragrances Corporation                                                                                                  Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              3/29/2022            $0.00
Givaudan Schweiz AG                                                                                                              Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                        11/30/2011            $0.00
Givaudan Schweiz AG                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/10/2015            $0.00
GIVAUDAN SCHWEIZ AG                                                                                                              Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         12/7/2009            $0.00

GLAXOSMITHKLINE Biologicals S.A / N.V                                                                                            Amyris, Inc.                                    Amendment Agreement 01                                                                                         9/2/2021            $0.00
GLAXOSMITHKLINE Biologicals S.A/N.V                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/13/2020            $0.00
GlaxoSmithKline Biologicals SA                                                                                                   Amyris, Inc.                                    Material Transfer Agreement (The “Agreement”)                                                                  3/4/2022            $0.00
GlaxoSmithKline Biologicals SA                                                                                                   Amyris, Inc.                                    Extension of Material Transfer Agreement of March 4Th, 2022 and                                               3/15/2023            $0.00
                                                                                                                                                                                 Sharing of Amyris Data With Eqdm
GLOBAL BIOENERGIES S.A.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/16/2011            $0.00
Global -e US Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/26/2022            $0.00
Global Life Sciences Solutions USA LLC                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/3/2021            $0.00
Global Mail, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/11/2018            $0.00
GLYCOTECH, INC.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/2/2010            $0.00
GOJO Industries, Inc                                                                                                             Amyris, Inc.                                    Amendment 1 to Material Transfer and Confidentiality Agreement                                                4/15/2015            $0.00
GOJO Industries, Inc.                                                                                                            Amyris, Inc.                                    Confidential Nondisclosure Agreement                                                                          5/13/2014            $0.00
GOJO Industries, Inc.                                                                                                            Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               5/13/2014            $0.00
Golden Arrow Technology America Inc.                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/16/2020            $0.00
Goldfish Social Inc                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/13/2022            $0.00
GOLDMAN, SACHS & CO.                                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                     12/6/2012            $0.00
Goldman, Sachs & Co.                                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                      4/9/2007            $0.00
Goncalo Guimaraes Pereira                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/22/2010            $0.00
Good Housekeeping                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/19/2022            $0.00
Google Inc.                                                                                                                      Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      6/17/2015            $0.00
Google LLC                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/31/2022            $0.00
Google LLC                                                                                                                       Amyris, Inc.                                    Google Non-Disclosure Agreement                                                                               1/16/2020            $0.00
Goop Inc.                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/8/2022            $0.00
Goop, Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/12/2020            $0.00
Gopinathan Menon                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/11/2022            $0.00
Graham Cooper                                                                                                                    Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     11/23/2011            $0.00
Granite Packaging                                                                                                                Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              12/1/2015            $0.00
Graver Technologies LLC                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/27/2017            $0.00
Green Biologics Ltd.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/1/2019            $0.00
Green Biologics, Inc.                                                                                                            Amyris, Inc.                                    Green Biologics, Inc. Mutual Confidentiality, Non-Disclosure and                                              4/19/2016            $0.00
                                                                                                                                                                                 Ownership Agreement
GREENFRESH INC.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/9/2023            $0.00
Greenhaus Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/21/2020            $0.00
Greenhill & Co., LLC                                                                                                             Amyris, Inc.                                    Letter                                                                                                         5/8/2015            $0.00
Greenwood Brands, LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/24/2021            $0.00
Gregory Owen                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/31/2011            $0.00
Gretchen W. Harnick                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/27/2021            $0.00
GRIN Technologies, Inc.                                                                                                          Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                5/11/2020            $0.00
GRO.com LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/28/2022            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of           Cure
                                         Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease      Amount
Groendyke Transport Inc                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/17/2011             $0.00
Grove LLC                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/19/2018             $0.00
GRSA CONSULTANTS AND ENGINEERS, INC.                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/15/2010             $0.00
Grzegorz Wojciechowski                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/11/2011             $0.00
GTC TECHNOLOGY US, LLC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/6/2011             $0.00
GTE Consultores, SA                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/1/2020             $0.00
Guangzhou LICA Biotech Co., LTD                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/16/2015             $0.00
Guillaume Cambray                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/24/2011             $0.00
Gulf Bayport Chemicals L.P.; Gulf Chemical International Corporation                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/24/2014             $0.00
Gulf Bayport Chemicals, LP                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/23/2011             $0.00
GW PHARMA LIMITED                                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                    9/10/2015             $0.00
H Maxwell Joseph LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/12/2021              $0.00
H.B. Puttgen                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/28/2011              $0.00
Haejeon Jessica Lee                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/14/2022             $0.00
Halal Food Council of Europe                                                                                                      Amyris, Inc.                                    Halal Supervision Agreement                                                                                  9/16/2020             $0.00
Half Helix, a Development Agency                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/29/2021              $0.00
Hangzhou Ehne Biotechnology Co. (Bota Bio)                                                                                        Amyris, Inc.                                    MNDA                                                                                                       10/20/2023              $0.00
Hannah Hilkey                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/4/2011             $0.00
Hannah Hilliar Creative Agency                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/23/2021             $0.00
Happy Farm Botanicals, Inc.                                                                                                       Amyris, Inc.                                    First Amendment to Amyris, Inc. Nondisclosure Agreement                                                       5/6/2022             $0.00
Happy Farm Botanicals, Inc.                                                                                                       Amyris, Inc.                                    Amyris, Inc. Nondisclosure Agreement                                                                         3/24/2022             $0.00
Hapy Sweet Bee Ltd                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            4/10/2019             $0.00
Hard Car Security LLC                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/17/2019              $0.00
Hardip Kalsi                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/19/2011             $0.00
Hardy Diagnostics                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/23/2012             $0.00
Harlan Laboratories, Inc.                                                                                                         Amyris, Inc.                                    First Amendment Nondisclosure Agreement                                                                      1/22/2013             $0.00
Harlan Laboratories, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/23/2012             $0.00
Haroon Rehman                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/10/2010             $0.00
Harrison Research Laboratories, Inc.                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/19/2012             $0.00
Harspring Capital Management, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/4/2018             $0.00
Haskell Company                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/22/2013             $0.00
HCP Packaging Hong Kong Ltd.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/19/2020              $0.00
HCP Packaging Hong Kong Ltd.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/21/2019              $0.00
Hearthside Food Solutions, LLC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/17/2022             $0.00
HEARTLAND AUTOMOTIVE SERVICES, INC.                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/8/2011             $0.00
Hecho Studios, LLC                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/1/2019             $0.00
HEINKEL Filtering Systems, inc.                                                                                                   Amyris, Inc.                                    Testing Services Agreement                                                                                   3/12/2021             $0.00
HEINKEL FILTERING SYSTEMS, INC.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/17/2021             $0.00
Hemanth Ramesha                                                                                                                   Amyris, Inc.                                    Amyrls Biotechnologies, Inc. Nondisclosure Agreement                                                          4/8/2010             $0.00
Henkel AG                                                                                                                         Amyris, Inc.                                    Confidentiality Agreement                                                                                  11/26/2014              $0.00
Henkel AG                                                                                                                         Amyris, Inc.                                    Confidentiality Agreement                                                                                  11/26/2013              $0.00
Henkel Corporation                                                                                                                Amyris, Inc.                                    Master Confidentiality Agreement                                                                             3/26/2010             $0.00
Hercules Technology Growth Capital, Inc.                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                    2/28/2014             $0.00
Hercules Technology Growth Capital, Inc.                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                    1/11/2013             $0.00
Heurisko Gesellschaft fur Biologische Technologien mbH                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/24/2017             $0.00
HIGHLANDS ENVIROFUELS, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/25/2010             $0.00
HighRes Biosolutions, Inc.                                                                                                        Amyris, Inc.                                    Quote Number: 00026752                                                                                       11/1/2022             $0.00
HITESH C PATEL                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/8/2012             $0.00
Hoffmann-La Roche Inc.                                                                                                            Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     10/8/2015             $0.00
Honeywell International                                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              7/16/2013             $0.00
Hornett Bros & Co Ltd.                                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                   $0.00
Hornett Bros & Co Ltd.                                                                                                            Amyris, Inc.                                    Materials Transfer Agreement                                                                                                      $0.00
Hottinguer Corporate Finance                                                                                                      Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     5/17/2016             $0.00
House Studios LTD                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/26/2022             $0.00
HOW TO LIVE IT LLC                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/19/2021             $0.00
HOWARD HANG                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/2/2011             $0.00
HowGood, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/1/2022             $0.00




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                                            The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                            Contract/Lease                                                                                                                                 Date of            Cure
                                          Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                             Debtor Party                                                                                                                               Contract/Lease       Amount
Hoyer Global Inc.                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/13/2011              $0.00
Hubbard-Hall Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/5/2015              $0.00
Hubert Chaperon                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/2/2010              $0.00
HudsonAlpha Institute for Biotechnology; The Regents of the University of California                                               Amyris, Inc.                                    Material Transfer Agreement                                                                                   2/6/2023              $0.00
HudsonAlpha Institute for Biotechnology; The Regents of the University of California                                               Amyris, Inc.                                    Material Transfer Agreement                                                                                  1/29/2023              $0.00
Huvepharma AD                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/15/2013              $0.00
Huvepharma EOOD                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/7/2015              $0.00
Huvepharma EOOD, UIC 203631745                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/23/2019              $0.00
Huvepharma Italia S.r. I.                                                                                                          Amyris, Inc.                                    Material Transfer Agreement                                                                                   3/8/2022              $0.00
Huvepharma Italia S.r.l.                                                                                                           Amyris, Inc.                                    License Agreement                                                                                                                  $0.00
Huverpharma EOOD, UIC 203631745                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/18/2016             $0.00
Hyasynth Biologicals Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/26/2021             $0.00
Hydrotex Partners, Ltd                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/3/2011             $0.00
Hyeok Hahn                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/1/2010             $0.00
Hyeok Hahn                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                        3/8/2010             $0.00
HygraTek LLC                                                                                                                       Amyris, Inc.                                    Confidential Non-Disclosure Agreement                                                                        12/29/2015             $0.00
ICF Resources, LLC                                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                5/6/2015             $0.00
ICM, Inc.                                                                                                                          Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                    4/5/2013             $0.00
ICM, INC.                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/6/2011             $0.00
ICM, inc.                                                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               6/1/2009             $0.00
IDEO LP                                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/30/2021             $0.00
IDR Marketing Partners, LLC d/b/a BrandShare                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/26/2022             $0.00
Ignacio Urbelz                                                                                                                     Amyris, Inc.                                    Amyris, Inc. Confidential Disclosure Agreement                                                                9/12/2023             $0.00
Ignite Visibility                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/27/2022             $0.00
IHS Global Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidentiality and Nondisclosure Agreement                                                           10/18/2011             $0.00
Illumina, Inc.                                                                                                                     Amyris, Inc.                                    Confidentiality Agreement                                                                                      4/9/2019             $0.00
Illumina, Inc.                                                                                                                     Amyris, Inc.                                    Confidentiality Agreement                                                                                    11/17/2011             $0.00
Illumio, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               3/12/2019             $0.00
Imperial College London                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/1/2017             $0.00
Imperial Petroleum Recovery Corp                                                                                                   Amyris, Inc.                                    Confidentiality & Non-Circumvent Agreement                                                                     2/4/2010             $0.00
InCatT BV                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/21/2011             $0.00
InChem Charlotte, LLC.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/17/2019             $0.00
InChem Rock Hill, LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2015             $0.00
INCON PROCESSING LLC.                                                                                                              Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                2/25/2010             $0.00
InCon Processing, LLC                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/21/2012             $0.00
Independent Project Analysis, Inc.                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                     2/23/2010             $0.00
Indiana Biomass Refinery, LLC; United Power Company, LLC                                                                           Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      3/10/2014             $0.00
INDUSTRIAL TOMOGRAPHY SYSTEMS PLC                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/6/2010             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 9 to Material Transfer Agreement                                                               12/18/2020             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 8 to Material Transfer Agreement                                                                 7/7/2020             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 7 to Material Transfer Agreement                                                                5/20/2020             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 5 to Material Transfer Agreement                                                                8/28/2019             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 4 to Material Transfer Agreement                                                                5/21/2019             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 2 to Material Transfer Agreement                                                                2/27/2019             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 3 to Material Transfer Agreement                                                                2/27/2019             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment to Material Transfer Agreement                                                                      8/30/2017             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              11/12/2019             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/21/2018             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/30/2017             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/24/2015             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/24/2015             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Confidentiality and Non-Disclosure Agreement                                                                  6/18/2020             $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 6 to Material Transfer Agreement                                                                                     $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 10 to Material Transfer Agreement                                                                                    $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 11 to Material Transfer Agreement                                                                                    $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Amendment No. 12 to Material Transfer Agreement                                                                                    $0.00
Infectious Disease Research Institute                                                                                              Amyris, Inc.                                    Services Agreement                                                                                                                 $0.00




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                                                                                                                                             Contract/Lease                                                                                                                              Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                              Debtor Party                                                                                                                            Contract/Lease       Amount
Infectious Disease Research Institute                                                                                                                                            Amendment to Services Agreement                                                                                                  $0.00
Influenster                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/22/2019           $0.00
Infogroup Inc.                                                                                                                   Amyris, Inc.                                    Confidentiality & Non-Disclosure Agreement                                                                    8/29/2017           $0.00
Ingenio Magdalena, Sociedad Anónima                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/19/2022           $0.00
Ingevity Corporation                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/17/2023           $0.00
Ingram & Company, Inc.                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             7/26/2016           $0.00
Ingredion Incorporated                                                                                                           Amyris, Inc.                                    Limited Guaranty                                                                                               6/1/2021           $0.00
INGREDION INCORPORATED                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/5/2021           $0.00
Ingredion Incorporated; PureCircle USA Inc.                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/28/2020           $0.00
Ingrid Keir                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       11/8/2011           $0.00
InKemia Green Chemicals, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/11/2016           $0.00
Innovasource LLC                                                                                                                 Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               4/23/2020           $0.00
Innovasource, LLC                                                                                                                Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                 4/7/2020           $0.00
INNOVATIVE RESOURCE MANAGEMENT                                                                                                   Amyris, Inc.                                    Purchase Order                                                                                                3/18/2014           $0.00
Innovative Waste Management, Inc.                                                                                                Amyris, Inc.                                    Services Agreement                                                                                            5/15/2013           $0.00
Innovative Waste Management, Inc.                                                                                                Amyris, Inc.                                    Amendment #2 to Service Agreement                                                                             3/14/2014           $0.00
INSCRIPTA, INC                                                                                                                   Amyris, Inc.                                    Mad7™ Nuclease License Agreement                                                                              5/13/2021           $0.00
INSCRIPTA, INC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure and Data Processing Agreement                                                  11/7/2021           $0.00
Inscripta, Inc.                                                                                                                  Amyris, Inc.                                    Material Transfer Agreement                                                                                    2/9/2022           $0.00
Inscripta, Inc.                                                                                                                  Amyris, Inc.                                    Material Transfer Agreement                                                                                    5/7/2021           $0.00
Inscripta, Inc.                                                                                                                  Amyris, Inc.                                    Amended and Restated Terms and Conditions Agreement                                                           8/12/2022           $0.00
INSCRIPTA, INC.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/4/2019           $0.00
Insilico Biotechnology AG                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                      5/8/2013           $0.00
Insilico Biotechnology Corporation                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/9/2020           $0.00
INSPECTORATE AMERICA CORPORATION                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/15/2011           $0.00
INSTITUTO BUTANTAN                                                                                                               Amyris, Inc.                                    Materials Transfer Agreement                                                                                                     $0.00
Instituto Butantan                                                                                                               Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                  $0.00
Integrated Engineering Services                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/27/2015           $0.00
Integrated Project Management Company                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/13/2017           $0.00
Intellectual Property                                                                                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                     6/12/2017           $0.00
Intelligen, Inc.                                                                                                                 Amyris, Inc.                                    MNDA                                                                                                         11/16/2023           $0.00
Intelli-tech                                                                                                                     Amyris, Inc.                                    Subject: Maintenance Agreement Renewal                                                                         4/1/2013           $0.00
Intergulf Corporation                                                                                                            Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/23/2012           $0.00
International Cosmetic Suppliers Ltd.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/19/2020           $0.00
International Cosmetic Suppliers Ltd.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/19/2020           $0.00
International Cosmetic Suppliers Ltd.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2019           $0.00
International Flavors & Fragrances Inc.                                                                                          Amyris, Inc.                                    Amendment to Mutual Confidentiality Agreement                                                                 5/13/2019           $0.00
International Flavors & Fragrances Inc.                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              5/14/2018           $0.00
International Flavors & Fragrances Inc.                                                                                          Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               3/5/2015           $0.00
Intertek                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/15/2015           $0.00
Intertek Health Sciences Inc.                                                                                                    Amyris, Inc.                                    Proposal                                                                                                      8/16/2023       $6,516.25
Intertek Health Sciences Inc.                                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                7/3/2017           $0.00
Intertek USA Inc                                                                                                                 Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      3/12/2012           $0.00
Intertek USA, Inc.                                                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                       8/1/2018           $0.00
Intrigo Systems, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/18/2012           $0.00
Invaio Sciences, Inc.                                                                                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                      6/1/2020           $0.00
Invention Machine Corporation                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/28/2012           $0.00
Inventure Renewables, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/14/2017           $0.00
Iogen Corporation; Novozymes Canada Limited                                                                                      Amyris, Inc.                                    Re: Mutual Confidentiality Disclosure Agreement Between Amyris, Inc.                                           6/7/2010           $0.00
                                                                                                                                                                                 and Iogen Corporation Effective June 7, 2010 (The "Agreement")

Iowa State University of Science and Technology                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/16/2018            $0.00
Ipca Laboratories Ltd                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/26/2016            $0.00
Ipca Laboratories Ltd.                                                                                                           Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                   9/25/2017            $0.00
Ipiranga Produtos de Petroleo SA                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/3/2011            $0.00
Ira Janowitz                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/20/2011            $0.00
IROA Technologies                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/12/2023            $0.00




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                                                                                                                                         Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                          Debtor Party                                                                                                                               Contract/Lease       Amount
IRON MOUNTAIN INFORMATION MANAGEMENT, INC.                                                                                      Amyris, Inc.                                    Secure Shredding Services Agreement                                                                          4/26/2012          $783.14
Irvine Pharmaceutical Services, Inc.                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               2/8/2012            $0.00
ISLAMIC FOOD AND NUTRITION COUNCIL OF AMERICA                                                                                   Amyris, Inc.                                    Halal Certification Agreement                                                                                11/1/2019            $0.00
Islamic Food and Nutrition Council of America                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/27/2017            $0.00
ITOCHU Chemicals America Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/11/2017            $0.00
ITW Chemical Products Ltda.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/27/2011            $0.00
ITW Fluids NA                                                                                                                   Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               7/9/2014            $0.00
Ivan Zamora                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                                           $0.00
Ivanhoe Industries, Inc.                                                                                                        Amyris, Inc.                                    Services Agreement                                                                                            1/18/2012           $0.00
Ivanhoe Industries, Inc.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/31/2019           $0.00
J and M Scholl, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/29/2016           $0.00
J. Michael Ritzenthaler                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/22/2010           $0.00
J.P. MORGAN SECURITIES INC.                                                                                                     Amyris, Inc.                                    Non-Disclosure Agreement                                                                                       1/8/2010           $0.00
Jack Salazar                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/29/2010           $0.00
Jacqueline E. Limary                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/20/2010           $0.00
Jaemin Lee                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/13/2011           $0.00
James Cortese                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/10/2011           $0.00
James Young Richardson                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/20/2010           $0.00
Janet Martinez                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/28/2011           $0.00
Janson Consulting                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/29/2017           $0.00
Jared W. Wenger                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                        8/2/2011           $0.00
Jared Wenger                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/11/2011           $0.00
Jason Voogt                                                                                                                     Amyris, Inc.                                    Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                         3/17/2010           $0.00
Jason Wong                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011           $0.00
Jayson Cragg                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       11/3/2011           $0.00
Jayson Cragg                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/20/2011           $0.00
JEF BOEKE                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/9/2012           $0.00
Jeff Curtis                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/20/2010           $0.00
Jefferies LLC                                                                                                                   Amyris, Inc.                                    Confidentiality Agreement                                                                                     5/11/2023           $0.00
Jefferies LLC                                                                                                                   Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/12/2019           $0.00
Jefferson Lai                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                        9/7/2010           $0.00
Jeffrey Johnson                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                        7/1/2011           $0.00
Jell Pharmaceuticals PVT. LTD.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/10/2011           $0.00
Jenna Kaminsky                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                          $0.00
Jenny Lee                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010           $0.00
JEOL USA < Inc.                                                                                                                 Amyris, Inc.                                    Material Transfer Agreement                                                                                   7/18/2022           $0.00
Jeremy J Venter                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/23/2011           $0.00
Jerry S. Zacharatos                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/29/2010           $0.00
JetBlue Airways Corporation                                                                                                     Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                5/5/2016           $0.00
Jetsoftpro LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/25/2023           $0.00
Jewish Congregations of America, Kashruth Division                                                                              Amyris, Inc.                                    Agreement                                                                                                    10/31/2020           $0.00
Jin Ki Hong                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/10/2010           $0.00
Jodi Nunnari                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/24/2013           $0.00
Joe Lee                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/31/2022           $0.00
Joel Freedman                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/23/2011           $0.00
Joel Velasco                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              3/6/2015           $0.00
JOHANN HALTERMANN LTD                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/25/2010           $0.00
Johanna Fischmann Chorfi, Weinacht & Associates Philippe Marliere Fortune S.A.                                                  Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      10/9/2012           $0.00
John E. Abdo                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/2/2016           $0.00
John Finn                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/18/2011           $0.00
John Hardt                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/7/2010           $0.00
John Jones                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/12/2010           $0.00
John Klingstiver                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/14/2013           $0.00
John P. Castle                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/8/2010           $0.00
John Reyes                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       10/6/2010           $0.00
Johnson Matthey Inc.                                                                                                            Amyris, Inc.                                    Amendment to Non-Disclosure Agreement                                                                        12/15/2010           $0.00
Johnson Matthey Inc.                                                                                                            Amyris, Inc.                                    Amendment to Non-Disclosure Agreement                                                                         12/2/2009           $0.00




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                                           The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                           Contract/Lease                                                                                                                                 Date of           Cure
                                          Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease      Amount
Johnson Matthey Inc.                                                                                                              Amyris, Inc.                                    Joint Nondisclosure Agreement                                                                                7/29/2008            $0.00
Johnson Matthey Inc.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/29/2018            $0.00
Johnson Matthey Inc.                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      8/17/2015            $0.00
Johnson Matthey Inc.                                                                                                              Amyris, Inc.                                    Joint Nondisclosure Agreement                                                                                10/4/2007            $0.00
Johnson Matthey Public Limited Company                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/8/2012            $0.00
Joint Genome Institute for the U.S. Department of Energy; The Regents of the University of California                             Amyris, Inc.                                    Material Transfer Agreement                                                                                   2/6/2023            $0.00
Jolene Mattson                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      1/20/2011            $0.00
Jon Rant                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/1/2011            $0.00
Jon Rodriguez                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/26/2011            $0.00
Jonathan Paris                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/18/2011            $0.00
Jordan Thaeler                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/29/2010            $0.00
Joseph Doolan                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/5/2011            $0.00
Joshua Kim                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/28/2011             $0.00
Joshua Noble                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/14/2012            $0.00
Joyce Lee                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/26/2013            $0.00
JP Morgan Chase Bank, N.A.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/15/2012            $0.00
J-STAR RESEARCH INC.                                                                                                              Amyris, Inc.                                    Amyris Biotechnologirs, Inc. Confidential Disclosure Agreement                                               2/25/2010            $0.00
Juan (Karen) Huang                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/11/2011            $0.00
Juan Carlos Soto                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/16/2011            $0.00
Juan Palacio                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/10/2021             $0.00
Judith Denery                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011            $0.00
Judy Cen                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/23/2012             $0.00
Julie Dearnley                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/25/2011            $0.00
Juliet Wolf                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/25/2022             $0.00
Juliette Laoyan                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/4/2011            $0.00
Just Media                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/9/2018            $0.00
Justin Gerke                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/15/2010            $0.00
Justin Regele                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/13/2010            $0.00
Justin Wedepohl                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/22/2023            $0.00
Justin Wedepohl                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      7/21/2011            $0.00
Justuno Inc                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/28/2022            $0.00
Kaiser Foundation Health Plan, Inc.                                                                                               Amyris, Inc.                                    Kaiser Permanente Health Plan Contract Printing Instruction Sheet                                             1/1/2023            $0.00
KAISER OPTICAL SYSTEMS, INC.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/16/2011            $0.00
Kalsec, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/12/2023            $0.00
Karen Weaver                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/10/2011            $0.00
Kate Howell                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            8/10/2018            $0.00
Kate Melvin Design                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/27/2022            $0.00
Katherine Cronin                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/21/2011            $0.00
Kathleen Hirano                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/20/2011            $0.00
Kathleen Monroe                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011            $0.00
Kathryn Lee                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/21/2011            $0.00
Kathryn Watson                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/18/2022            $0.00
Kathy Kobayashi                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/29/2010             $0.00
Kathy Walsh                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      1/20/2011            $0.00
Kati C. Wu                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/16/2011            $0.00
Katie Frye                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/14/2022            $0.00
KATZEN International, Inc.                                                                                                        Amyris, Inc.                                    Confidentiality & Non-Use Agreement                                                                           6/9/2011            $0.00
Kaufman Container, Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/19/2019            $0.00
Kavitha Sankar                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/5/2013            $0.00
kdm Communications Limited; Thermo Fisher Scientific Inc                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                    7/28/2023            $0.00
Kedar Patel                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/26/2010            $0.00
Kei Kitakata                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/9/2010            $0.00
Keith A. Hall                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/20/2010            $0.00
Keith Alsaker                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/30/2011            $0.00
Kelly Ibsen                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/9/2011            $0.00
Kelly Na                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/2/2022            $0.00
Kelly Services Inc.                                                                                                               Amyris, Inc.                                    Staffing Services Agreement                                                                                  5/23/2022            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                          Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
Kemin                                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Kemin Industries, Inc.                                                                                                            Amyris, Inc.                                    Material Transfer Agreement                                                                                   5/10/2023            $0.00
Ken Goldman                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/12/2012            $0.00
Kenshoo, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/20/2022            $0.00
Keri Elizabeth Zook                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/28/2011            $0.00
Kerry do Brasil, Ltda.                                                                                                            Amyris, Inc.                                    MNDA                                                                                                          9/15/2023            $0.00
Kevin Just                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/21/2010            $0.00
KFK, INC.                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure and No-Shop Agreement                                                           7/9/2010            $0.00
Kirt Stadler                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/16/2011            $0.00
KIuber Lubrication Munchen KG                                                                                                     Amyris, Inc.                                    Addendum to the Secrecy Agreement                                                                              8/2/2010            $0.00
KIVICO, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/6/2012            $0.00
Kleen Test Products Corporation                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/20/2015            $0.00
KLJ Resource LTD.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/10/2011            $0.00
Klocke of America, Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/11/2019            $0.00
KLOCKE OF AMERICA, INC.                                                                                                           Amyris, Inc.                                    Mutual Nondisclosure and Confidentiality Agreement                                                            1/22/2015            $0.00
Kluber Lubrication Munchen KG                                                                                                     Amyris, Inc.                                    Secrecy Agreement                                                                                              2/8/2010            $0.00
KM LIQUIDS TERMINALS LLC                                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                     6/24/2011            $0.00
KMCO INC.                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/13/2010            $0.00
KMCO, L.P.                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/8/2011            $0.00
Knechtel, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/1/2019            $0.00
Koch Biological Solutions, LLC                                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                3/5/2018            $0.00
Koch Modular Process Systems, LLC                                                                                                 Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                  1/15/2012            $0.00
Koch Modular Process Systems, LLC                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/13/2021            $0.00
Koch Modular Process Systems, LLC                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/6/2013            $0.00
Koch Modular Process Systems, LLC                                                                                                 Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         1/27/2010            $0.00

Koch Modular Process Systems, LLC.                                                                                                Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                         1/14/2011            $0.00
Koninklijke Nedalco B.V.                                                                                                          Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               1/17/2011            $0.00
Kovarus                                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/11/2018            $0.00
Kraft Heinz Foods Company                                                                                                         Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      5/16/2022            $0.00
Kraton Polymers LLC                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/10/2016            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                     Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                         5/23/2016            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/30/2020            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/9/2014            $0.00
Kunlun Ouyang                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/18/2011            $0.00
Kuraray America, Inc.; Kuraray Co. LTD.                                                                                           Amyris, Inc.                                    Amendment # 2 to Mutual Confidential Disclosure Agreement                                                     9/12/2011            $0.00
Kuraray America, Inc.; Kuraray Co. LTD.                                                                                           Amyris, Inc.                                    Mutual Confidential Disclsosu Re Agreement                                                                    3/17/2010            $0.00
Kuraray Co., Ltd.                                                                                                                 Amyris, Inc.                                    Re: Consent to 5 Year Confidentiality Term in Pirelli Secrecy Agreement                                       7/21/2011            $0.00

KURARAY CO., LTD.                                                                                                                 Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         9/24/2009            $0.00

KURARAY CO; Nike, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2013            $0.00
Kyle Wente                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/18/2011            $0.00
L.E.K. Consulting LLC                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/20/2023            $0.00
L’ORÉAL USA S / D, INC.                                                                                                           Amyris, Inc.                                    Exclusive Material Evaluation Agreement                                                                       6/15/2023            $0.00
L’ORÉAL USA S/D, Inc.                                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/19/2022            $0.00
LABCYTE INC.                                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               4/12/2017            $0.00
Lab-Machines, Inc.                                                                                                                Amyris, Inc.                                    Estimate 35626                                                                                                 7/5/2023            $0.00
Lab-Machines, Inc.                                                                                                                Amyris, Inc.                                    Quote 1575                                                                                                                         $0.00
Labstep Ltd.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/21/2020            $0.00
Laetitia Coudray                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/30/2011            $0.00
Laia Huerga Valles                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/17/2012            $0.00
Lallemand Specialties, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/28/2016            $0.00
Lana Spencer                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/2/2011            $0.00
Lance Hulsey                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                        7/1/2010            $0.00
LANXESS CORPORATION                                                                                                               Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential. Disclosure Agreement                                               2/11/2010            $0.00
Lanxess Deutschland GmbH                                                                                                          Amyris, Inc.                                    Confidentiality and Material Transfer Agreement                                                               7/15/2014            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
LANXESS Deutschland GmbH                                                                                                          Amyris, Inc.                                    Confidentiality and Material Transfer Agreement Between Amyris Inc.                                          7/15/2014             $0.00
                                                                                                                                                                                  and Lanxess Deutschland Gmbh
Lanxess Deutschland GmbH                                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                     2/15/2012            $0.00
Lanxess, Inc.                                                                                                                     Amyris, Inc.                                    Confidentiality and Material Transfer Agreement                                                              10/10/2014            $0.00
Lares Consulting                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             11/7/2018            $0.00
Laserson SA                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/28/2013            $0.00
Lauren McDougald                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/27/2012            $0.00
Lauren Pickens                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/18/2011            $0.00
LAVVAN Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/15/2019            $0.00
Lawrence Ha                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/27/2010            $0.00
Laxai LifeSciences                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/14/2017            $0.00
Lazard Asset Management LLC; Paul Hastings LLP; U.S. Bank National Association                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                      8/3/2023            $0.00
Lazard Capital Markets LLC; Lazard Freres & Co. LLC                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     10/28/2013            $0.00
LCS Advances Solutions, LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/19/2015            $0.00
Lede Company                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       1/3/2023            $0.00
LEK Consulting                                                                                                                    Amyris, Inc.                                    Amyris LEK NDA                                                                                                9/20/2023            $0.00
Lesaffre International S.A.R.L.                                                                                                   Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               9/23/2010            $0.00
Leslie Stanton                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        5/9/2011            $0.00
Lewis Brothers Bakeries, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/9/2021            $0.00
LG Chem Ltd.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/25/2014            $0.00
LG Chem, Ltd.                                                                                                                     Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               12/1/2022            $0.00
Lica Enterprises Corporation                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/20/2015            $0.00
Lieberman Research Worldwide                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/20/2020            $0.00
Life Technologies Corporation                                                                                                     Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      4/20/2012            $0.00
Lifetech Resources, LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/9/2019            $0.00
LIGAND PHARMACEUTICALS INCORPORATED                                                                                               Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              5/12/2023            $0.00
Lila Cheung                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/8/2011            $0.00
Linden Advisors LP; Paul Hastings LLP; U.S. Bank National Association                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                      8/3/2023            $0.00
Lindsay Flint                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                        2/8/2011            $0.00
Lindsey Oh                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/10/2011            $0.00
Linsay King-Miller                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/17/2022            $0.00
Lipo Chemicals, Inc.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/1/2011            $0.00
LIQUID AGENCY                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/15/2010            $0.00
Litmedia productions                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/17/2022            $0.00
Little Bear Studios                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/16/2022            $0.00
Livewith, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/25/2022            $0.00
LIVINGSTON INTERNATIONAL INC.                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/12/2011            $0.00
Liza Lopez                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/14/2011            $0.00
Lockheed Martin Space                                                                                                             Amyris, Inc.                                    Amendment No. 1 to Lockheed Martin Space Bilateral Nondisclosure                                              6/22/2023            $0.00
                                                                                                                                                                                  Agreement
Lockheed Martin; Sandia Corporation; The Regents of the University of California                                                  Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               9/17/2013            $0.00
logen Bio-Products Corporation                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/7/2010            $0.00
LOGISTICA Y SERVICIOS JANEZ, S.L,                                                                                                 Amyris, Inc.                                    Warehousing and Logistics Agreement                                                                           5/21/2019            $0.00
Logoplaste                                                                                                                        Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   9/12/2013            $0.00
Logoplaste                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/13/2012            $0.00
Logoplaste USA Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/11/2019            $0.00
Logos Technologies, Inc.                                                                                                          Amyris, Inc.                                    Non-Disclosure Agreement                                                                                       4/6/2010            $0.00
L'Onvie Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/30/2018            $0.00
L'Onvie Inc; Universidade Catolica Portuguesa                                                                                     Amyris, Inc.                                    Three-Way Mutual Confidential Disclosure Agreement                                                             5/4/2018            $0.00
Lonza Biologics Inc.                                                                                                              Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/10/2020            $0.00
Lonza Biologics, Inc.                                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/13/2012            $0.00
Lonza Ltd                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/13/2019            $0.00
L'Oreal USA S / D, Inc.                                                                                                           Amyris, Inc.                                    First Amendment to Confidentiality Agreement (C220407)                                                       10/18/2022            $0.00
Lorelai Robideaux                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/10/2021            $0.00
Loren Perelman                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/22/2012            $0.00
Lorna Jo Champagne                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/10/2011            $0.00
Los POGYVIPIMInZtAfiltileInnd COMPANY                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/8/2022            $0.00




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                                        The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                        Contract/Lease                                                                                                                                 Date of            Cure
                                      Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease       Amount
Lotus Labels                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/21/2020              $0.00
Love Social Media, LLC                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/8/2022             $0.00
Lovebite S L.                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/6/2014             $0.00
Lovesocial                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/6/2014             $0.00
Lubline Lubricants and additives                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/21/2011             $0.00
Lubrizol Corporation                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/5/2017             $0.00
Lubrizol Corporation                                                                                                           Amyris, Inc.                                    Secrecy Agreement Lubrizol No. 30538                                                                          7/7/2010             $0.00
Lucas Handley                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/21/2022             $0.00
Lucas Handley                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/11/2021             $0.00
Lucio and Mauricio Tomasiello                                                                                                  Amyris, Inc.                                    Instrumento Particular De Contrato De Locação De Imóvel Não                                                                        $0.00
                                                                                                                                                                               Residencial
Lurgi, Inc.                                                                                                                    Amyris, Inc.                                    Confidentiality and Restricted Use Agreement                                                                  11/3/2010             $0.00
Luuk van der Wielen                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/17/2010             $0.00
Lux Research Inc                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2021             $0.00
Lydia Wei                                                                                                                      Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      6/24/2011             $0.00
Lygos, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                6/4/2020             $0.00
M&L Laboratories                                                                                                               Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               3/19/2012             $0.00
M+H PLASTICS INC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
M2i Biocontrol                                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                    $0.00
M2i Biocontrol                                                                                                                 Amyris, Inc.                                    Materials Transfer Agreement                                                                                                       $0.00
m2p-labs GmbH                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/25/2014             $0.00
Made Thought Design Limited                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2023             $0.00
Maggie Lindsey                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/29/2018             $0.00
Magnolia Bluff Productions                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/19/2020             $0.00
Magothy Consulting Group, LLC.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/17/2022             $0.00
Magritek Inc.                                                                                                                  Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                               12/1/2020             $0.00
Magritek Inc.                                                                                                                  Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                                4/8/2019             $0.00
Mallinckrodt LLC                                                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                       7/7/2015             $0.00
Man Hong Lam                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                        8/6/2010             $0.00
Mana Products, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       1/1/2019             $0.00
Mana Products, Inc.                                                                                                            Amyris, Inc.                                    Confidentiality and Nondisclosure Agreement                                                                   4/20/2014             $0.00
Manifest LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/15/2022             $0.00
Manufacture Francaise des Pneumatiques Michelin                                                                                Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                          4/5/2011             $0.00
Marc Gottesman                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/31/2022             $0.00
Marc Roussel                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/1/2011             $0.00
Marco Falcioni                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/7/2010             $0.00
Mari Beauty Inc                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/1/2022             $0.00
Maria Francisca Lopes                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/14/2022             $0.00
Maria Salvaterra Garcia                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement 24                                                                          1/22/2013             $0.00
MARIA SANCHEZ LIERA                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2022             $0.00
Marian Corpus                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/10/2013             $0.00
Marianne Gesner                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/20/2010             $0.00
Mark Caporale                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/10/2011             $0.00
Mark Grant                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       10/2/2012             $0.00
Mark Hornor                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                                             $0.00
Mark Micklatcher                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/28/2011             $0.00
Mark Patel                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                        1/7/2010             $0.00
Mark Segal, Ph. D.                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/13/2010             $0.00
Mark Westley                                                                                                                   Amyris, Inc.                                    Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                         5/21/2010             $0.00
Markel Corporation                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/17/2015             $0.00
Marketing Arm Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/23/2019             $0.00
Marrone Bio Innovations, Inc.                                                                                                  Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                11/7/2014             $0.00
Marrs Printing 5                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/19/2020             $0.00
Martin Gresho                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/29/2010             $0.00
Mary Maxon                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/27/2013             $0.00
Mary Udoh                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/9/2010             $0.00
Mary Weston                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010             $0.00




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                                                                                                                                            Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                        Contract/Lease Title
                                                                                                                                             Debtor Party                                                                                                                               Contract/Lease       Amount
Maryborough Sugar Factory Limited; Tableland Canegrowers LTD.                                                                      Amyris, Inc.                                    Confidentiality Agreement                                                                                    9/13/2010             $0.00
Mascoma, LLC                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/5/2015             $0.00
Massachusetts Institute of Technology                                                                                              Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              5/15/2019             $0.00
Materia, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/31/2011              $0.00
Materia, Inc.                                                                                                                      Amyris, Inc.                                    Addendum to Mutual Confidential Disclosure Agreement                                                       10/31/2011              $0.00
Matt Youngblood                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/24/2011             $0.00
Matthew Ball                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/29/2016             $0.00
Matthew Burns                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                    12/13/2011              $0.00
Matthew Mattozi                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/10/2010             $0.00
Matthew Nieder                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/3/2011             $0.00
Matthew Sullivan                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011             $0.00
Maurbeni Corporation                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/29/2015             $0.00
Mawo Tominaga                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/20/2012             $0.00
Max G. Schubert                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                    11/16/2011              $0.00
Max H. Braunstein                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/10/2013             $0.00
May Nguyen                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/29/2022             $0.00
MCCAMPBELL ANALYTICAL INC                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/14/2011             $0.00
McCampbell Analytical, Inc.                                                                                                        Amyris, Inc.                                    Material Transfer Agreement                                                                                  3/13/2023             $0.00
McCampbell Analytical, Inc.                                                                                                        Amyris, Inc.                                    Amendment No. 1 to Material Transfer and Confidentiality Agreement                                           6/10/2020             $0.00

McCampbell Analytical, Inc.                                                                                                        Amyris, Inc.                                    Exhibit A-2 to Material Transfer and Confidentiality Agreement Between                                        6/11/2019            $0.00
                                                                                                                                                                                   Amyris, Inc. and Mc Campbell Analytical, Inc.,
McCampbell Analytical, Inc.                                                                                                        Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                6/8/2018             $0.00
McKinley Resources, Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/6/2015             $0.00
Mead Johnson & Company LLC                                                                                                         Amyris, Inc.                                    Two Way Confidentiality Agreement                                                                            10/19/2022             $0.00
MeadWestvaco Corporation                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/10/2015             $0.00
Mecca Allah                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/9/2021             $0.00
Medallion Laboratories                                                                                                             Amyris, Inc.                                    Services Agreement                                                                                            5/23/2012             $0.00
MEDICAL CANNABOARD, LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/1/2020             $0.00
Medley LLC                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/17/2015             $0.00
Meihua ( Shanghai ) Biotechnology Co. Ltd                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/18/2018             $0.00
Melissa Navarro                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/22/2010             $0.00
Melody Business Finance, LLC                                                                                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/22/2015             $0.00
Membrane Specialists LLC                                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               4/20/2018             $0.00
Merck & Cie                                                                                                                        Amyris, Inc.                                    Materials Transfer Agreement                                                                                                       $0.00
Merck KGaA                                                                                                                         Amyris, Inc.                                    Confidentiality Agreement                                                                                    11/19/2020             $0.00
Merck Sharp & Dohme Corp.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/26/2016             $0.00
Merja Penttila                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/27/2015             $0.00
Metabolon, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2017             $0.00
Metabolon, Inc.                                                                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                      7/6/2011             $0.00
Metagenomi.co                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/4/2020             $0.00
Metallix Refining Inc.                                                                                                             Aprinnova, LLC                                  Mutual Confidential Disclosure Agreement                                                                     10/24/2017             $0.00
METALLIX REFINING, INC.                                                                                                            Amyris, Inc.                                    Confidentiality, Non-Disclosure and Use Agreement                                                            11/19/2012             $0.00
Metalytics, LLC                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/6/2017             $0.00
Metamixis, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/19/2016             $0.00
METGEN                                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2011             $0.00
Method Products Inc.                                                                                                               Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                  10/15/2012             $0.00
Method Products, Inc.                                                                                                              Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               6/27/2011             $0.00
MetLife Legal Plans, Inc.                                                                                                          Amyris, Inc.                                    Group Legal Services Plan                                                                                      1/1/2023             $0.00
Metropolitan Life Insurance Company                                                                                                Amyris, Inc.                                    Dental Care Benefits Administrative Services Agreement                                                         1/1/2023             $0.00
Metropolitan Life Insurance Company                                                                                                Amyris, Inc.                                    Agent Deposit Account Agreement                                                                               12/7/2022             $0.00
Mettler Toledo AutoChem Inc.                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/5/2018             $0.00
Mettler-Toledo, LLC                                                                                                                Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              10/19/2018             $0.00
Michael Arbuckle                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/10/2010             $0.00
Michael Bishop                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/19/2011             $0.00
Michael Bissell                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/9/2010             $0.00
Michael Flaschen                                                                                                                   Amyris, Inc.                                    Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                         1/20/2010             $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                 Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
Michael Harris                                                                                                                    Amyris, Inc.                       Nondisclosure Agreement                                                                                                   6/24/2011             $0.00
Michael Hoehner                                                                                                                   Amyris, Inc.                       Nondisclosure Agreement                                                                                                   6/20/2011             $0.00
Michael Pailer - SSB                                                                                                              Amyris, Inc.                       Confidential Disclosure Agreement                                                                                         11/1/2011             $0.00
Michael Reichman                                                                                                                  Amyris, Inc.                       Nondisclosure Agreement                                                                                                 10/14/2010              $0.00
Michael Smyers                                                                                                                    Amyris, Inc.                       Nondisclosure Agreement                                                                                                   8/25/2010             $0.00
Michael Wachs                                                                                                                     Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                10/31/2022              $0.00
Michaela Chigango                                                                                                                 Amyris, Inc.                       Nondisclosure Agreement                                                                                                   5/19/2011             $0.00
Michelle Kanemitsu                                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                10/26/2022              $0.00
Michigan Biotechnology Institute                                                                                                  Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                  9/25/2013             $0.00
Michigan Biotechnology Institute                                                                                                  Amyris, Inc.                       Mutual Nondisclosure Agreement                                                                                             3/2/2016             $0.00
Michigan Biotechnology Institute                                                                                                  Amyris, Inc.                       Confidential Disclosure Agreement                                                                                          7/8/2014             $0.00
Michigan State University                                                                                                         Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                12/10/2021              $0.00
Michigan State University                                                                                                         Amyris, Inc.                       Confidential Disclosure Agreement                                                                                         6/20/2018             $0.00
MICROBIOGEN PTY LTD                                                                                                               Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   7/2/2010             $0.00
Microbiogen Pty Ltd.                                                                                                              Amyris, Inc.                       Materials Transfer Agreement                                                                                                                    $0.00
MICROSOFT CORPORATION                                                                                                             Amyris, Inc.                       Non-Disclosure Agreement                                                                                                   4/26/2011            $0.00
MICROVI BIOTECH, INC.                                                                                                             Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   11/9/2017            $0.00
Mid-Atlantic Technology, Research & Innovation, Inc.                                                                              Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    2/5/2018            $0.00
MIDCAP FINANCIAL TRUST                                                                                                            Amyris, Inc.                       Re: Confidentiality Agreement                                                                                              9/17/2015            $0.00
MidContinental Chemical, Inc.                                                                                                     Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   6/10/2010            $0.00
MIDI LABS, Inc.                                                                                                                   Amyris, Inc.                       Confidential Disclosure Agreement                                                                                           7/8/2011            $0.00
Midwest Laboratories Inc.                                                                                                         Amyris, Inc.                       Amendment No. 1 to the Services Agreement                                                                                  4/10/2022            $0.00
Miles Label Co., Inc.                                                                                                             Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    4/1/2022            $0.00
MILLIKEN & COMPANY                                                                                                                Amyris, Inc.                       Confidentiality Agreement                                                                                                   4/4/2016            $0.00
Minafin SARL                                                                                                                      Amyris, Inc.                       Non-Disclosure Agreement                                                                                                    4/1/2014            $0.00
Minakem SAS                                                                                                                       Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                  10/13/2020            $0.00
Mintel Group Ltd.                                                                                                                 Amyris, Inc.                       Order for Services                                                                                                         10/1/2023            $0.00
Mirco Benatti                                                                                                                     Amyris, Inc.                       Mutual Confidentiality Agreement                                                                                            3/8/2017            $0.00
Mischtechnik GmbH                                                                                                                 Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   2/26/2020            $0.00
Mitsui & Co.                                                                                                                      Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   1/15/2014            $0.00
Models Inc Talent Agency                                                                                                          Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                  12/22/2022            $0.00
Modern Meadow Inc.                                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    3/9/2016            $0.00
MOLECULAR DEVICES, LLC                                                                                                            Amyris, Inc.                       Confidential Disclosure Agreement                                                                                          9/20/2012            $0.00
Momentive Performance Materials Inc.                                                                                              Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    7/5/2013            $0.00
MommyCon LLC                                                                                                                      Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   7/30/2019            $0.00
Monnet Design                                                                                                                     Amyris, Inc.                       Confidential Disclosure Agreement                                                                                          1/20/2015            $0.00
Morgan Stanley & Co. Incorporated                                                                                                 Amyris, Inc.                       Confidentiality Agreement                                                                                                   1/7/2010            $0.00
Morgan Stanley & Co. LLC                                                                                                          Amyris, Inc.                       Confidentiality Agreement                                                                                                  4/28/2014            $0.00
Morinaga Milk Industry Co., Ltd.                                                                                                  Amyris, Inc.                       Mutual Confidentiality Agreement                                                                                           7/28/2023            $0.00
Morningside Translations, Inc.                                                                                                    Amyris, Inc.                       Services Agreement                                                                                                        10/20/2014            $0.00
Morrison B. Mac                                                                                                                   Amyris, Inc.                       Nondisclosure Agreement                                                                                                     1/3/2011            $0.00
Moss Adams LLP                                                                                                                    Amyris, Inc.                       Engagement Letter                                                                                                           6/5/2023            $0.00
Motherly, Inc.                                                                                                                    Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   7/23/2019            $0.00
MOTT CORPORATION                                                                                                                  Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   2/17/2011            $0.00
MOVERS AND SHAKERS LLC                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                  11/30/2020            $0.00
MSDSonline, Inc.                                                                                                                  Amyris, Inc.                       Customer Order Form                                                                                                       11/14/2013            $0.00
Multi Packaging Solution                                                                                                          Amyris, Inc.                       Confidential Disclosure Agreement                                                                                          1/22/2015            $0.00
Mutesix LLC                                                                                                                       Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   1/21/2022            $0.00
Myers Vacuum Repair Services, Inc.                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    7/6/2018            $0.00
Myra Lee M. Martinez                                                                                                              Amyris, Inc.                       Nondisclosure Agreement                                                                                                     6/9/2010            $0.00
Nababy LLC                                                                                                                        Amyris, Inc.; Amyris Clean Beauty, Mutual Release and Settlement Agreement                                                                                    5/19/2023            $0.00
                                                                                                                                  Inc.
NAGASE & CO., LTD.                                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                   5/21/2018            $0.00
Nalco Company                                                                                                                     Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    5/1/2012            $0.00
Nalien Vongtharangsy                                                                                                              Amyris, Inc.                       Nondisclosure Agreement                                                                                                    12/1/2010            $0.00
Namsiang Company, Ltd.                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                    2/1/2012            $0.00
Nanophase Technologies Corporation                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                  12/21/2015            $0.00




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                                                                                                                                        Contract/Lease                                                                                                                                 Date of            Cure
                                       Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease       Amount
Nanoscience Instruments, Inc.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/10/2019              $0.00
Napo Pharmaceuticals Inc                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/29/2017             $0.00
NARCHEM CORPORATION                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/9/2010             $0.00
NATION FORD CHEMICAL COMPANY                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            8/10/2010             $0.00
NATIONAL AGRICULTURAL RESEARCH INSTITUTE                                                                                       Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     3/29/2019             $0.00
NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING, INC.                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/13/2011             $0.00
National Food Laboratory, Inc.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/12/2021             $0.00
National Packaging Co., Inc.                                                                                                   Amyris, Inc.                                    Material Sampling and Mutual Confidentiality and Non-Use Agreement                                           9/13/2019             $0.00

NATIONAL POLYMER LABORATORIES                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/7/2010             $0.00
Natrium Capital Limited                                                                                                        Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                    $0.00
Natural Food Certifiers Inc                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/25/2022             $0.00
NatureWorks, LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/31/2011             $0.00
Naturochim S.A.S.; VALAGRO CARBONE RENOUVELABLE POITOU-CHARENTES                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/12/2012             $0.00
NAVAL AIR WARFARE CENTER AIRCRAFT DIVISION PATUXENT RIVER                                                                      Amyris, Inc.                                    A Limited Purpose Cooperative Research and Development Agreement                                              7/14/2014             $0.00
                                                                                                                                                                               (Lp-Crada) for Equipment or Material Transfer (From Non-Navy Provider
                                                                                                                                                                               to Navy Recipient)
Naval Air Warfare Center Weapons Division                                                                                      Amyris, Inc.                                    Non-Standard Navy Cooperative Research and Development                                                        5/10/2021            $0.00
                                                                                                                                                                               Agreement
Naval Air Warfare Center Weapons Division                                                                                      Amyris, Inc.                                    First Amendment to Non-standard Cooperative R&D Agreement                                                     4/20/2023           $0.00
Naval Air Warfare Center Weapons Division                                                                                      Amyris, Inc.                                    Second Amendment to Non-standard Cooperative R&D Agreement                                                   10/19/2023           $0.00
NAVEX Global, Inc.                                                                                                             Amyris, Inc.                                    Order Form 561351                                                                                             6/30/2022       $3,108.64
NAVEX Global, Inc.                                                                                                             Amyris, Inc.                                    ORDERFORM607532                                                                                               6/30/2023           $0.00
NAVEX Global, Inc.                                                                                                             Amyris, Inc.                                    Order Form 490557                                                                                             2/18/2021           $0.00
Navia Benefit Solutions, Inc.                                                                                                  Amyris, Inc.                                    Contract Information Page                                                                                      1/1/2019           $0.00
Navilon Inc.                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             12/5/2012           $0.00
Navin Ramachandran                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/29/2010           $0.00
NegotiumBio, LLC                                                                                                               Amyris, Inc.                                    Consulting Agreement                                                                                         11/30/2021           $0.00
NegotiumBio, LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/21/2021           $0.00
Neil Canter                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       10/7/2010           $0.00
Neil Grady                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/11/2010           $0.00
Neo-morgan laboratory                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/12/2014           $0.00
Neste Oyj                                                                                                                      Amyris, Inc.                                    Confidentiality Agreement                                                                                     5/16/2016           $0.00
Neudesic, LLC                                                                                                                  Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                4/29/2013           $0.00
Neumann Systems Group, Inc                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/28/2011           $0.00
NEUMANN SYSTEMS GROUP, INC.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/8/2011           $0.00
Neuter &Co., Inc.                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             7/30/2015           $0.00
New Engen                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/21/2020           $0.00
New Relic, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/31/2018           $0.00
Nexant, Inc.                                                                                                                   Amyris, Inc.                                    First Amendment to Mutual Confidential Disclsoure Agreement                                                   6/13/2012           $0.00
NEXANT, INC.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/6/2011           $0.00
NEXANT, INC.                                                                                                                   Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                3/17/2010           $0.00
Nguyen Tarbet LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/1/2022           $0.00
Niche Chemicals Sdn Bhd                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/1/2015           $0.00
Nick Rosser                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                          $0.00
Niekamp Law                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/18/2023           $0.00
Nikki Pratchios                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                        2/8/2011           $0.00
Nikko Chemicals Co. Ltd.                                                                                                       Amyris, Inc.                                    Amendment #1 to Material Transfer Agreement                                                                   11/1/2011           $0.00
Nikko Chemicals Co. Ltd.                                                                                                       Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                  $0.00
Nikko Chemicals Co. Ltd.                                                                                                       Amyris, Inc.; Aprinnova, LLC                    Termination Agreement                                                                                        12/15/2022           $0.00
Nikko Chemicals Co. Ltd.                                                                                                       Amyris, Inc.; Aprinnova, LLC                    Second A&R Aprinnova Operating Agreement                                                                     12/15/2022           $0.00
Nikko Chemicals Co., Ltd.                                                                                                      Amyris, Inc.                                    Third Amendment to Mutual Confidential Disclosure Agreement                                                    9/1/2014           $0.00
Nikko Chemicals Co., Ltd.                                                                                                      Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                  8/21/2013           $0.00
Nikko Chemicals Co., Ltd.                                                                                                      Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   9/21/2012           $0.00
Nikko Chemicals Co., Ltd.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/11/2014           $0.00
NIKKO CHEMICALS CO., LTD.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/18/2011           $0.00
Nilanjana Cabrera                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/19/2011           $0.00




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                                                                         Case 23-11131-TMH                                           Doc 1193-8                          Filed 01/22/24                             Page 32 of 98
                                        The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                        Contract/Lease                                                                                                                                 Date of            Cure
                                      Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease       Amount
Nina F. Del Prado                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/21/2012            $0.00
Nippon Refine                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/5/2012            $0.00
NIPPON TERPENE CHEMICALS, INC.                                                                                                 Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              12/3/2014            $0.00
Nirvana Solutions LTD Limited Company (UK)                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/4/2022            $0.00
Nisha Masharani                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/31/2011            $0.00
Nishant Patni                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/18/2011            $0.00
Nomis Bay Ltd.                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/4/2016            $0.00
North Dakota State University                                                                                                  Amyris, Inc.                                    Statement of Work No. 3                                                                                      6/14/2023            $0.00
North Dakota State University                                                                                                  Amyris, Inc.                                    Master Services Agreement                                                                                    8/26/2022            $0.00
North Dakota State University                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/23/2022            $0.00
NorthEast Products, Inc.                                                                                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                                         $0.00
Northland Laboratories                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/2/2012           $0.00
Nova Molecular Technologies, Inc.                                                                                              Amyris, Inc.                                    Services Agreement                                                                                             4/1/2014           $0.00
Nova Molecular Technologies, Inc.                                                                                              Amyris, Inc.                                    Amendment #1 to Service Agreement                                                                             5/12/2014           $0.00
Nova Molecular Technologies, Inc.                                                                                              Amyris, Inc.                                    Third Amendment to Mutual Confidential Disclosure Agreement                                                    3/1/2015           $0.00
Nova Molecular Technologies, Inc.                                                                                              Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                    3/7/2013           $0.00
NOVA MOLECULAR TECHNOLOGIES, INC.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/13/2018           $0.00
Nova Molecular Technologies, Inc.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/8/2012           $0.00
NOVA MOLECULAR TECHNOLOGIES, INC.                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/20/2010           $0.00
Novasep, Inc.                                                                                                                  Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                    3/8/2012           $0.00
Novasep, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/23/2012           $0.00
Novasep, LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/7/2020           $0.00
Novasep, LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/9/2018           $0.00
Novogy, Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/22/2015           $0.00
Novozymes Canada Limited                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/14/2015           $0.00
Novozymes Canada Limited                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/12/2013           $0.00
Novozymes Latin America Ltda                                                                                                   Amyris, Inc.                                    Confidential Disclosure and Sampling Agreement                                                               12/21/2016           $0.00
Novus International                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/3/2014           $0.00
Novus International                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/28/2011           $0.00
Novvi LLC                                                                                                                      Amyris, Inc.                                    Amendment #1 to Ip License Agreement                                                                          3/21/2016       $6,315.00
Novvi LLC                                                                                                                      Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                  11/17/2015           $0.00
Novvi LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/25/2013           $0.00
Novvi LLC                                                                                                                      Apprinova, LLC                                  Lease Agreement dated 10th of August, 2022                                                                     7/1/2022          $0.00
NPD Group, Inc.                                                                                                                Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   8/28/2014           $0.00
NPD Group, Inc.                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/5/2014           $0.00
NSF International                                                                                                              Amyris, Inc.                                    Agreement for Nondisclosure of Confidential Information                                                      11/18/2014           $0.00
Numerica Corporation                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/1/2013           $0.00
NuSil Technology LLC                                                                                                           Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                 9/5/2019           $0.00
Nutrasource Diagnostics Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/23/2019           $0.00
NUTRASWEET COMPANY                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/6/2010           $0.00
NYE LUBRICANTS, INC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/26/2011           $0.00
Nynas AB                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/10/2011           $0.00
O. Berk Company of New England                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/5/2022           $0.00
Oak Cliff Beverage Works, Inc.                                                                                                 Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                               9/17/2018           $0.00
OfficeSpace Software Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidentiality and Nondisclosure Agreement                                                           11/18/2020           $0.00
Okta, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                               10/16/2012           $0.00
Old Republic Professional, Inc.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/13/2019           $0.00
Olga Keeley                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010           $0.00
OligoCo, Inc.                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/14/2013           $0.00
OLIGOCO, INC.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/29/2011           $0.00
Oliver Liu                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                        7/6/2011           $0.00
Olon Ricerca Bioscience, LLC                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/30/2017           $0.00
ONO AGENCY                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/3/2021           $0.00
ONO Agency                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/1/2022           $0.00
Optima Chemical Group, LLC                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/22/2015           $0.00
ORACLE                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              3/1/2011           $0.00
OrbiMed Advisors LLC                                                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/23/2015           $0.00




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                               The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                               Contract/Lease                                                                                                                                 Date of            Cure
                              Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                Debtor Party                                                                                                                               Contract/Lease       Amount
Orchard International Inc.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
Oreste Fieschi                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/23/2019             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Seventeenth Amendment to Service Agreement                                                                    10/5/2020             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Sixteenth Amendment to Service Agreement                                                                      4/15/2020             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Fifteenth Amendment to Service Agreement                                                                       3/6/2019             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Fourteenth Amendment to Service Agreement                                                                    11/13/2018             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amyris Thirteenth Amendment to Service Agreement                                                              1/10/2018             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Twelfth Amendment to Service Agreement                                                                        5/10/2017             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Eleventh Amendment to Service Agreement                                                                       9/14/2016             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amended and Restated Ninth Amendment to Service Agreement                                                     3/28/2016             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Eighth Amendment to Services Agreement                                                                         1/1/2016             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #7 to Service Agreement                                                                            10/12/2015             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #6 to Service Agreement                                                                             6/23/2015             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Re: Second Modification to Amendment 43 to Service Agreement                                                   6/9/2015             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #5 to Service Agreement                                                                             1/27/2015             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #4 to Service Agreement                                                                            12/11/2014             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #4 to Service Agreement                                                                            11/13/2014             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #3 to Service Agreement                                                                             7/17/2014             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Amendment #2 to Service Agreement                                                                              4/9/2014             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Third Amendment to Mutual Confidential Disclosure Agreement                                                  11/13/2018             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                   5/3/2017             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                    1/1/2015             $0.00
ORG CHEM Group                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/3/2021             $0.00
ORG CHEM GROUP LLC                                                                                                    Amyris, Inc.                                    Material Transfer Addendum                                                                                   11/19/2021             $0.00
ORG CHEM GROUP LLC                                                                                                    Amyris, Inc.                                    21St Amendment to Service Agreement                                                                           3/29/2023             $0.00
ORG CHEM GROUP LLC                                                                                                    Amyris, Inc.                                    Nineteenth Amendment to Service Agreement                                                                      9/1/2022             $0.00
ORG CHEM GROUP LLC                                                                                                    Amyris, Inc.                                    Twentieth Amendment to Service Agreement                                                                      3/25/2022             $0.00
ORG CHEM GROUP LLC                                                                                                    Amyris, Inc.                                    Eighteenth Amendment to Service Agreement                                                                     2/15/2021             $0.00
Organic Consultants Inc.; Pressure Chemical Co                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/21/2020             $0.00
Organic Consultants Inc.; Synthonix, Inc.                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/19/2021             $0.00
Organic Consultants, Inc                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/4/2018             $0.00
ORGANIC FUELS ALGAE TECHNOLOGIES, LLC                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/14/2011             $0.00
Organic Technologies                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/14/2017             $0.00
Organic Technologies                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       1/3/2017             $0.00
Organic Technologies                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/1/2013             $0.00
Organix Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/29/2020             $0.00
Oscar Kegel                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                                             $0.00
Osuge Food                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/4/2022             $0.00
Oterra A/S                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/12/2022             $0.00
Oxford Advisory Services, LLC                                                                                         Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                    4/2/2020             $0.00
Oxford Advisory Services, LLC                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/3/2019             $0.00
OXFORD INSTRUMENTS INDUSTRIAL PRODUCTS LIMITED                                                                        Amyris, Inc.                                    Mutual Confidentiality Agreement for Possible Collaborative Venture                                           5/25/2011             $0.00
Oxford Instruments Industrial Products Ltd                                                                            Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                               12/1/2020             $0.00
Oxiteno S.A. Industria e Comercio                                                                                     Amyris, Inc.                                    Disclosure Authorization                                                                                       2/8/2010             $0.00
Oyl + Water                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              1/8/2015             $0.00
OZEN ENGINEERING, INC.                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/22/2011             $0.00
P.P.C., Inc                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/7/2021             $0.00
Pacific Biosciences of California, Inc.                                                                               Amyris, Inc.                                    Reciprocal Non-Disclosure Agreement                                                                           10/9/2015             $0.00
Pack Tech A/S                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                            $0.00
PACKAGING PROGRAMAÇÃO VISUAL LTDA                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/29/2019             $0.00
Pall Corporation                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/16/2022             $0.00
Pall Corporation                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/26/2010             $0.00
PANACEA BIOTEC LIMITED                                                                                                Amyris, Inc.                                    Materials Transfer Agreement                                                                                                       $0.00
Panacea Biotec Limited                                                                                                Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                    $0.00
PANAMA PETROCHEM LTD                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/2/2011             $0.00
Parade                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/20/2015             $0.00
PARKER HANNIFIN CORPORATION                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/31/2011             $0.00




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                                                                           Case 23-11131-TMH                                           Doc 1193-8                          Filed 01/22/24                             Page 34 of 98
                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
Partek Incorporated                                                                                                              Amyris, Inc.                                    Quotation                                                                                                  10/31/2012              $0.00
Particle Sciences, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/10/2021             $0.00
Particle Technology Group, LLC                                                                                                   Amyris, Inc.                                    Material Transfer Agreement                                                                                  2/15/2022             $0.00
Patagonia, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/4/2015             $0.00
PATH Drug Solutions                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/3/2014             $0.00
Patheon API Inc.                                                                                                                 Amyris, Inc.                                    Amendment No. 1                                                                                              10/8/2021             $0.00
Patheon API Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/22/2020             $0.00
Patil Arrmenian                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                    12/10/2010              $0.00
Patrice Yursik, DBA as Afrobella LLC                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/31/2022             $0.00
Paul Hastings LLP; Silverback Asset Management, LLC; U.S. Bank National Association                                              Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/3/2023             $0.00
Paul Hastings LLP; U.S. Bank National Association; Wolverine Flagship Fund Trading Limited                                       Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/3/2023             $0.00
Paul J. Grimmer                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/22/2010              $0.00
Paul Sun                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/3/2021             $0.00
Paula Roach Vettel                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/7/2010             $0.00
Pavan Maholtra                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/10/2010              $0.00
PAXIO, Inc.                                                                                                                      Amyris, Inc.                                    Quote No. Q000593                                                                                            5/15/2023             $0.00
PDC PROCESS DESIGN CENTER, INC.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/2/2011             $0.00
PellePharm, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/7/2017             $0.00
Penman Consulting                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/28/2013             $0.00
Penn A Kem LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/18/2016             $0.00
Penn A Kem, LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/9/2013             $0.00
PENN SCHOEN BERLAND                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          12/17/2010              $0.00
PepsiCo, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidentiality and Non-Use Agreement                                                               10/13/2020              $0.00
PepsiCo, Inc.                                                                                                                    Amyris, Inc.                                    Mutual Confidentiality and Non-Use Agreement                                                               10/24/2019              $0.00
Percy Works Ltd                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/14/2021             $0.00
Performance Based Ergonomics, Inc.                                                                                               Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                               4/20/2010             $0.00
PERIGON INTERNATIONAL, INC.                                                                                                      Amyris, Inc.                                    Confidential. Disclosure Agreement                                                                           3/29/2011             $0.00
Peter Allan                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/23/2018             $0.00
Peter Owen                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/13/2010              $0.00
Peter Sattari                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/25/2011             $0.00
Petrizzo Group, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/11/2020              $0.00
Petrobras Biocombustivel SA; Total Gas & Power Ventures S.A.S                                                                    Amyris, Inc.                                    Confidentiality Agreement                                                                                    12/6/2010             $0.00
PETRONAS BASE OIL SDN BHD                                                                                                        Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         4/2/2010             $0.00

Petroyag Kimyasallar San. Tic. A.S.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/10/2012            $0.00
Petty Cash, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2022            $0.00
Pfaudler, Inc.                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/3/2013            $0.00
PFIZER INC.                                                                                                                      Amyris, Inc.                                    Confidentiality Agreement                                                                                     2/29/2016            $0.00
Pfizer Inc.                                                                                                                      Amyris, Inc.                                    Confidentiality Agreement                                                                                     3/16/2010            $0.00
Pharma Cos S.r. I.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/30/2020            $0.00
Pharma Developability Solutions Consulting, LLC                                                                                  Amyris, Inc.                                    Material Transfer Agreement                                                                                   6/24/2021            $0.00
PharmaBioSource, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/29/2021            $0.00
PHAULDER, INC.                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/11/2011            $0.00
Phenomenex, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               10/9/2014            $0.00
Phi Pham                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/4/2010            $0.00
Phibro Animal Health Corporation                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/3/2018            $0.00
Phibro Animal Health Corporation                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              9/8/2015            $0.00
Phibro Animal Health Corporation                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/1/2011            $0.00
Phidel Digital LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/11/2022            $0.00
Phillip Lovasik                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/11/2010            $0.00
Phoenix Bio Industries, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/2/2011            $0.00
Phycus Biotechnologies Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/8/2019            $0.00
Phyto Tech Corp                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/2/2016            $0.00
picoSpin, LLC                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/31/2011            $0.00
Pierre Monsan                                                                                                                    Amyris, Inc.                                    Engagement Spécifique DE Confidentialité                                                                                           $0.00
Pierre-Alay Ceralli                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/10/2017            $0.00
Ping Wei                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00




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                                 The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                 Contract/Lease                                                                                                                                 Date of            Cure
                               Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                  Debtor Party                                                                                                                               Contract/Lease       Amount
PINOVA HOLDINGS, INC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/16/2012             $0.00
Pioneer Sales Co                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/17/2022             $0.00
PK4 Media, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/22/2019              $0.00
PlanSource Benefits Administration, Inc.                                                                                Amyris, Inc.                                    Open Enrollment Renewal Statement of Work                                                                                          $0.00
PLANSOURCE BENEFITS ADMINISTRATION, INC.                                                                                Amyris, Inc.                                    End User Services Agreement Order Form # Q-61839                                                               8/1/2023            $0.00
Plant Bioscience Limited                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/2/2016            $0.00
Plastic Technologies, Inc.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/1/2012            $0.00
Plex Systems, Inc.                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               1/24/2019            $0.00
Plotly Technologies Inc                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/30/2021            $0.00
PLZ Corp.                                                                                                               Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                          10/29/2022            $0.00
PM Group International, Inc.                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/1/2011            $0.00
PMG Worldwide, LLC                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/3/2020            $0.00
P-more Trading Co., Ltd.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/22/2014            $0.00
POET LLC                                                                                                                Amyris, Inc.                                    3-way Non Disclosure Agreement                                                                                12/3/2014            $0.00
Poet, LLC                                                                                                               Amyris, Inc.                                    First Amendment to Non-Disclosure Agreement                                                                    3/2/2016            $0.00
Poet, LLC                                                                                                               Amyris, Inc.                                    First Amendment to Non-Disclosure Agreement                                                                  11/10/2015            $0.00
POET, LLC                                                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     11/30/2015            $0.00
POET, LLC                                                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      4/10/2014            $0.00
POET, LLC                                                                                                               Amyris, Inc.                                    Poet Non-Disclosure Agreement                                                                                12/16/2013            $0.00
Poet, LLC                                                                                                               Amyris, Inc.                                    Poet Non-Disclosure Agreement                                                                                 8/19/2013            $0.00
Polar Bear Kitchen                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/27/2021            $0.00
Pollen Technologies Inc.                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/19/2022            $0.00
PolyCarbon Industries                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/1/2017            $0.00
PolyCarbon Industries Inc.                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/26/2014            $0.00
Polycom, Inc.                                                                                                           Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                9/4/2014            $0.00
POLYHEDRON LABORATORIES, INC.                                                                                           Amyris, Inc.                                    Confidential Information Agreement                                                                            7/13/2011            $0.00
PolyInsight, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/14/2014            $0.00
Polymer Diagnostic, Inc.                                                                                                Amyris, Inc.                                    Services Agreement                                                                                             1/5/2012            $0.00
Polymer Source, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/5/2013            $0.00
Polymer Source, Inc.                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/28/2010            $0.00
POLYMER STANDARDS SERVICE-USA, INC                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/15/2011            $0.00
POLYONE CORP                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/14/2011            $0.00
PolyOne Corporation                                                                                                     Amyris, Inc.                                    Amendment to Mutual Confidential Disclosure Agreement                                                        12/21/2011            $0.00
PolyOne Corporation                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/15/2017            $0.00
POLYSCIENCES, INC.                                                                                                      Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                6/22/2010            $0.00
Poly-Tainer, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/15/2018            $0.00
Poonam Saija                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/28/2011            $0.00
Pope Scientific Inc                                                                                                     Amyris, Inc.                                    Quotation                                                                                                     1/24/2022            $0.00
Pope Scientific Inc.                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/19/2015            $0.00
Pope Scientific, Inc                                                                                                    Amyris, Inc.                                    Services Agreement                                                                                            12/1/2011            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Services Agreement                                                                                            12/1/2011            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment #5 to Service Agreement                                                                             2/26/2013            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment #4 to Service Agreement                                                                             10/1/2012            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                    7/5/2020            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                    7/5/2019            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Third Amendment to Confidential Disclosure Agreement                                                          9/27/2012            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                                11/5/2010            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                               10/21/2009            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/20/2021            $0.00
Pope Scientific, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/6/2018            $0.00
Porton Pharma Solutions Ltd                                                                                             Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/28/2018            $0.00
POS Management Corp.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/16/2018            $0.00
POSITIVE EDGE SOLUTIONS                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/18/2010            $0.00
Power Digital Marketing, Inc.                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/8/2023            $0.00
POWER OFFSET                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2022            $0.00
Powerfrnot Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/28/2022            $0.00
PPG Industries, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/26/2012            $0.00




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                                                                                                                                       Contract/Lease                                                                                                                                 Date of            Cure
                                     Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                        Debtor Party                                                                                                                               Contract/Lease       Amount
PRAJ INDUSTIRES LIMITED                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/16/2012             $0.00
Praj Industries Limited                                                                                                       Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               9/8/2015             $0.00
Praneet Mungara                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/3/2012             $0.00
Praveen Kumar                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/10/2010             $0.00
Praxair, Inc                                                                                                                  Amyris, Inc.                                    Joint Nondisclosure Agreement                                                                                 4/5/2012             $0.00
Praxair, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/20/2014              $0.00
PRAXAIR, INC.                                                                                                                 Amyris, Inc.                                    Agreement to Extend Nondisclosure Agreement                                                                   4/5/2012             $0.00
PRD Tech, Inc.                                                                                                                Amyris, Inc.                                    Mutual Non•Disclosure Agreement                                                                              9/15/2010             $0.00
Premalux, LLC                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/29/2014              $0.00
Pressure Chemical                                                                                                             Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                          9/1/2012             $0.00
Pressure Chemical Co Patheon API Inc.                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/20/2021             $0.00
Pressure Chemical Co.                                                                                                         Amyris, Inc.                                    Services Agreement                                                                                            3/9/2012             $0.00
Pressure Chemical Co.                                                                                                         Amyris, Inc.                                    Statement of Work No. 3                                                                                      11/4/2021             $0.00
Pressure Chemical Co.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/21/2022              $0.00
Pressure Chemical Co.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/21/2020             $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Fifth Amendment to Services Agreement                                                                      12/10/2015              $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Fourth Amendment to Services Agreement                                                                       12/2/2015             $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Third Amendment to Services Agreement                                                                      11/11/2015              $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Amendment No. 2 To Service Agreement                                                                         4/13/2015             $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Amendment #1 to Service Agreement                                                                            8/28/2012             $0.00
Pressure Chemical Company                                                                                                     Amyris, Inc.                                    Second Amendment to Confidential Disclosure Agreement                                                         3/6/2015             $0.00
PRESSURE CHEMICAL COMPANY                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/14/2010             $0.00
Prime Sales & Marking Group, Inc.                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/7/2020             $0.00
Princeton University                                                                                                          Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              2/20/2013             $0.00
PRINOVA US LLC                                                                                                                Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             2/19/2021             $0.00
Promoveo Health LLC                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/12/2019              $0.00
ProPharma Group The Netherlands B.V.                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/26/2020             $0.00
PROQUIP INC.                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/6/2011             $0.00
ProSep, Ltd.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/19/2018             $0.00
Protein Technologies Limited; SORSO LIMITED                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/18/2012             $0.00
PT. Bahtera Adi Jaya                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/16/2014              $0.00
PT. Sinergi Multi Lestarindo                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/23/2015             $0.00
Pulse Combustion Systems                                                                                                      Amyris, Inc.                                    Material Transfer Agreement                                                                                   5/2/2023             $0.00
Purac Biochem B.V.                                                                                                            Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              9/9/2014             $0.00
Purac Biochem B.V. (Corbion)                                                                                                  Amyris, Inc.                                    MNDA                                                                                                         7/24/2023             $0.00
Purdue University                                                                                                             Amyris, Inc.                                    Material Transfer, Testing and Confidentiality Agreement                                                      5/1/2018             $0.00
PureCircle Limited                                                                                                            Amyris, Inc.                                    U.S. Assignment and Assumption Agreement                                                                      6/1/2021             $0.00
PureCircle Limited                                                                                                            Amyris, Inc.                                    Sales Agreement                                                                                               6/1/2021             $0.00
PureCircle Limited                                                                                                            Amyris, Inc.                                    Framework Supply Agreement                                                                                   12/6/2018             $0.00
PureCircle Limited                                                                                                            Amyris, Inc.                                    Intellectual Property License Agreement                                                                       6/1/2021             $0.00
PureCircle Limited                                                                                                            Amyris, Inc.                                    Common Interest Agreement                                                                                    10/2/2015             $0.00
PureCircle, Ltd.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/14/2014             $0.00
QB3/Chemistry Mass Spectrometry Facility                                                                                      Amyris, Inc.                                    Services Agreement                                                                                           12/4/2014             $0.00
QDICCI                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/29/2022             $0.00
QDiligence, LLC                                                                                                               Amyris, Inc.                                    Non-Disclosure Agreement                                                                                   12/10/2014              $0.00
Qiao Ren                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/1/2011             $0.00
Qingdao Vland Biotech Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/1/2020             $0.00
Quail Capital Corp                                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                            12/29/2015              $0.00
Qualipac America                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Quality Resourcing Services                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/17/2017            $0.00
QUALITY TECHNICAL SERVICES, LLC                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/31/2011            $0.00
Queeny Dong                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/8/2010            $0.00
Quiet Logistics, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/28/2021            $0.00
Quinn Mitrovich                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/13/2010            $0.00
R. W. Beck, Inc.                                                                                                              Amyris, Inc.                                    Confidentiality Agreement                                                                                      1/7/2010            $0.00
R2DIO, Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/5/2022            $0.00
R2DIO, Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/29/2021            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
Rachel Griggs                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/23/2018             $0.00
Rachel Shea                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/9/2022             $0.00
Radial, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/28/2021             $0.00
Radiant Genomics, Inc.                                                                                                            Amyris, Inc.                                    Asset Purchase Agreement                                                                                      7/9/2013             $0.00
Radici Chimica S.p.A.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure-Agreement                                                                      5/2/2016             $0.00
Radient Technologies Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/8/2017             $0.00
Rae Chen                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/4/2022             $0.00
Raffi Asadorian                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/4/2014             $0.00
Rainin Instrument, LLC                                                                                                            Amyris, Inc.                                    Pre-Production Nondisclosure Agreement                                                                        2/7/2011             $0.00
Raizen Energia S/A                                                                                                                Amyris, Inc.                                    Lease Agreement                                                                                                                    $0.00
Rakuten Marketing LLC                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/10/2019            $0.00
Ralph Scarborough                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/19/2010            $0.00
Ramboll Environ US Corporation                                                                                                    Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                 8/9/2017            $0.00
Randy Hampton                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/20/2012            $0.00
Randy Rigg                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/20/2022            $0.00
Rave Wireless, Inc.                                                                                                               Amyris, Inc.                                    License & Services Order Form                                                                                 1/15/2019            $0.00
Raymond James & Associates, Inc.                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/13/2023            $0.00
Raymond James & Associates, Inc.                                                                                                  Amyris, Inc.                                    Re: Confidentiality Agreement                                                                                 6/23/2015            $0.00
Razi Capital Group, Inc.                                                                                                          Amyris, Inc.                                    Confidentiality Agreement                                                                                     11/4/2016            $0.00
RCA BEAUTY LLC                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/3/2020            $0.00
Recipharm AB (publ)                                                                                                               Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/12/2020            $0.00
Recovery Technologies Corporation                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2016            $0.00
Red Antler LIC                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/9/2018            $0.00
RED SHIELD ACQUISITION LLC                                                                                                        Amyris, Inc.                                    Material Transfer and Confidential Testing Agreement                                                          9/11/2012            $0.00
Red Star Yeast Company, LLC                                                                                                       Amyris, Inc.                                    Amendment to Mutual Non-Disclosure Agreement                                                                   4/4/2011            $0.00
Redpoll, LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/24/2021            $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                           Amyris, Inc.                                    Services Agreement Between the Regents of the University of California                                        4/12/2012            $0.00
                                                                                                                                                                                  and Amyris, Inc.
Regents of the University of California                                                                                           Amyris, Inc.                                    Appendix A-1 to User Agreement No. Fp00016024                                                                  2/7/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Non-Proprietary User Agreement No. FP00016024                                                                  2/7/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Facilities User Agreement                                                                                     1/29/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Non-Proprietary User Agreement                                                                                1/29/2023            $0.00
Regents Of The University Of California                                                                                           Amyris, Inc.                                    Material Transfer Agreement                                                                                   1/29/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Material Transfer Agreement                                                                            12/8/2021            $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                           Amyris, Inc.                                    Material Transfer Agreement                                                                                   8/13/2014            $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                           Amyris, Inc.                                    ( University of California, Office of Technology Licensing                                                    1/11/2008            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Collaboration Agreement                                                                                       10/1/2019            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Industrial Membership Agreement Between the Regents of the University                                         5/30/2013            $0.00
                                                                                                                                                                                  of California for the Synthetic Biology Engineering Research Center and
                                                                                                                                                                                  Amyris, Inc.
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                           Amyris, Inc.                                    Amendment #1 to Collaboration Research Agreement                                                             11/14/2014            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Appendix A-2 to User Agreement No. FP00016024                                                                  2/7/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Appendix A-2 to User Agreement No. FP00016024                                                                  1/7/2023            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Modification No. 01 to Subcontract No. 7099141                                                                8/26/2014            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Renewal                                                                                                        6/1/2016            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/29/2014            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                5/8/2017            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/4/2016            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/9/2015            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      5/27/2015            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               7/15/2014            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/9/2014            $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/25/2014            $0.00
Regents of the University of California                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/28/2011            $0.00
Regents of the University of California Lawrence Berkeley National Laboratory                                                     Amyris, Inc.                                    Statement of Work                                                                                             5/13/2014            $0.00
Regents of the University of Minnesota                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               3/10/2015            $0.00
REGI US                                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/29/2020            $0.00




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                                        The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                        Contract/Lease                                                                                                                                 Date of            Cure
                                       Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease       Amount
Reliance Industries Limited                                                                                                    Amyris, Inc.                                    Non Disclosure Agreement                                                                                     6/19/2012             $0.00
Remilk Ltd.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/21/2022             $0.00
Renata de Abreu LLC                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/11/2021              $0.00
Renmatix, Inc.                                                                                                                 Amyris, Inc.                                    Amendment No. 1 to Material Transfer and Confidentiality Agreement                                            8/8/2018             $0.00

Renmatix, Inc.                                                                                                                 Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               7/25/2018            $0.00
Renmatix, Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/20/2016            $0.00
Renmatix, Inc.; Total Energies Nouvelles Activites USA                                                                         Amyris, Inc.                                    Confidentiality and Material Transfer Agreement                                                               8/10/2015            $0.00
Renmatix, Inc.; Total Energies Nouvelles Activites USA SAS; UPM-Kymmene Corporation                                            Amyris, Inc.                                    Confidentiality Agreement                                                                                     3/14/2016            $0.00
REPSOL NUEVAS ENERGIAS, S.A.                                                                                                   Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/24/2011            $0.00
Research Triangle Institute                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/30/2012            $0.00
Resodyn Acoustic Mixers, Inc.                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              3/7/2018            $0.00
Revieve Oy                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/11/2022            $0.00
Revolution Marketing LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/11/2022            $0.00
Rewind Software Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/28/2023            $0.00
RFIBinder Partners, Inc.                                                                                                       Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               3/13/2014            $0.00
RHODIA POLIAMIDA E ESPECIALIDADES LTDA,                                                                                        Amyris, Inc.                                    Reciprocal Confidentiality Agreement                                                                          12/3/2015            $0.00
RHODIA POLIAMIDA E ESPECIALIDADES LTDA.                                                                                        Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      3/11/2014            $0.00
Ricardo Madureira                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                        7/8/2010            $0.00
Ricerca Biosciences, LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/16/2011            $0.00
Richard Adam                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/24/2010            $0.00
Richard L. Hansen                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
Richard Lee                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/12/2011            $0.00
Richard Romack                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       11/8/2012            $0.00
Richard Wool                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/23/2011            $0.00
Richman Chemical Inc.                                                                                                          Aprinnova, LLC                                  Confidentiality and Non-Circumvention Agreement                                                                4/3/2017            $0.00
Rick Parham                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/27/2014            $0.00
Rika Regentin                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                                            $0.00
Ring Power Corporation                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2011            $0.00
Ripple Foods, PBC                                                                                                              Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                1/9/2019            $0.00
Rishi Rakhit                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/1/2013            $0.00
RJT Cornpuquest Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/22/2015            $0.00
RLI Insurance Company                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/13/2019            $0.00
Rob Dario                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010            $0.00
Robert Dahl                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/20/2011            $0.00
Robert J. Fawcett                                                                                                              Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/26/2010            $0.00
ROBERTET FLAVORS, INC.                                                                                                         Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                               10/9/2018            $0.00
Robertet USA, Inc.                                                                                                             Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                    1/9/2013            $0.00
Robertet USA, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/20/2012            $0.00
Rodrigo Gonzalez                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/20/2010            $0.00
Rogelio Denegri                                                                                                                Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      6/14/2010            $0.00
Roger Clemens                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/20/2020            $0.00
Roger Sippl                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/31/2011            $0.00
Rohner AG                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/19/2012            $0.00
ROHNER AG                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/13/2011            $0.00
Rolando Gerodias                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
Ronald F. Koniz                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/6/2011            $0.00
Rosangel Gratz                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/28/2011            $0.00
Roselyn Lima                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/16/2010            $0.00
Rosemead Oil Products, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/10/2011            $0.00
Rosemead Oil Products, Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/26/2011            $0.00
Ross D. King                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/27/2012            $0.00
Ross Eppler                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/29/2010            $0.00
Rothschild Inc.                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              2/3/2017            $0.00
Roy Kishony                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/7/2013            $0.00
ROYAL PURPLE, INC.                                                                                                             Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         4/26/2010            $0.00




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                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
RR DON ELLEY & SONS                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/17/2018              $0.00
RSC Chemical Solutions                                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               5/8/2014             $0.00
RSC Chemical Solutions                                                                                                           Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             5/16/2016             $0.00
Rubicon Results, LLC                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/25/2015             $0.00
Ruprecht-Karls- Universitat Heidelberg                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/12/2015             $0.00
RXD Nova Pharmaceuticals, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/1/2021             $0.00
Ryan Roark                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/1/2020             $0.00
S&V                                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/14/2017             $0.00
S.A. Ajinomoto Omnichem N.V.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/17/2021             $0.00
Saama Technologies, Inc.                                                                                                         Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                               3/31/2015             $0.00
Sabah International Incorporated                                                                                                 Amyris, Inc.                                    Service Contract - Fire Protection System                                                                    11/7/2011             $0.00
Saddle Creek Corporation                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/3/2021             $0.00
SafeBridge Consultants, Inc.                                                                                                     Amyris, Inc.                                    Amendment No. 1 to Agreement                                                                                  5/1/2018             $0.00
SafeBridge Consultants, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/19/2018             $0.00
SafeBridge Consultants, Inc.                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/29/2010             $0.00
SafeGuard World International Ltd.                                                                                               Amyris, Inc.                                    Global Employment Outsourcing Services Agreement                                                              7/1/2014             $0.00
Sage Bioproducts, LLC                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/12/2015             $0.00
Saira Velasquez                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                    12/14/2011              $0.00
Sammy Lee                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/18/2011             $0.00
SAMSUNG PETROCHEMICALS                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/16/2011              $0.00
Samuel D. Shelanski                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/29/2011              $0.00
Samuel Humphries                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      7/19/2010             $0.00
Sandhill Pharma, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/30/2018             $0.00
Sandia Corporation; THE REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                  Amyris, Inc.                                    Amendment No. 1 to the Mutual Non-Disclosure Agreement                                                       4/24/2014             $0.00
Sangamo BioSciences, Inc.                                                                                                        Amyris, Inc.                                    Material Transfer Agreement                                                                                11/28/2011              $0.00
Sanjay Hoskeri                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/17/2011             $0.00
SANOFI CHIMIE                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/1/2013             $0.00
SANOFI CHIMIE                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/8/2013             $0.00
Sanofi Pasteur Biologics, LLC                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            1/13/2020             $0.00
Sanofi Pasteur Biologics, LLC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/10/2017             $0.00
Sanofi Pasteur SA                                                                                                                Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               7/7/2020             $0.00
Sanofi Pasteur SA                                                                                                                Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              3/28/2020             $0.00
SantoLubes, LLC.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/19/2013             $0.00
Sanyo Chemical Industries, Ltd.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/15/2018              $0.00
SÃO MARTINHO S.A. SMA INDÚSTRIA QUÍMICA LTDA ..                                                                                  Amyris, Inc.                                    Terceiro Aditivo Ao Contrato Particular De Locação E Outras Avenças                                           1/9/2016             $0.00

SÃO MARTINHO S.A. SMA INDÚSTRIA QUÍMICA S.A.                                                                                     Amyris, Inc.                                    Segundo Aditivo Ao Contrato Particular De Locação E Outras Avenças                                            8/31/2015            $0.00

Sao Martinho S.A.; Usina Boa Vista S.A.; Usina Sao Martinho S.A.                                                                 Amyris, Inc.                                    Agreement for Confidentiality Herein Agreement for Confidentiality Is                                                              $0.00
                                                                                                                                                                                 Executed by the Parties Below:
Sao Martinho SA                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/17/2021            $0.00
Sao Martinho SA SMA Industria Quimica LTA                                                                                        Amyris, Inc.                                    Quarto Aditivo Ao Contrato Particular De Locação E Outras Avenças                                            12/26/2017            $0.00

Sarfam Comercial Importadora Ltda                                                                                                Amyris, Inc.                                    First Amendment Mutual Confidential Disclosure Agreement                                                      7/30/2013            $0.00
Sarfam Comercial Importadora Ltda                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/30/2012            $0.00
Sartorius Stedim North America, Inc.                                                                                             Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               8/15/2018            $0.00
Sarvenaz Zand                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/25/2022            $0.00
SAURABH SRIVASTAVA                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/12/2013            $0.00
SCHNEIDER NATIONAL BULK CARRIERS, INC.                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/20/2011            $0.00
Schottenfeld Opportunities Fund II LP                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/21/2023            $0.00
Schrodinger, LLC                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       6/22/2014            $0.00
Schwabe North America, Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              4/28/2016            $0.00
SCHWARTZ COMMUNICATIONS                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/14/2011            $0.00
Scienion US Inc.                                                                                                                 Amyris, Inc.                                    Material Transfer Agreement                                                                                   4/25/2023            $0.00
Scientific Research Consortium, Inc.                                                                                             Amyris, Inc.                                    Confidentiality an D Material Transfer Agreement                                                               2/3/2014            $0.00
SciSafe Inc.                                                                                                                     Amyris, Inc.; Aprinnova, LLC                    Escrow Agreement                                                                                             12/12/2016            $0.00
SciSafe Inc.                                                                                                                     Amyris, Inc.                                    Escrow Agreement                                                                                              6/30/2018            $0.00




                                                                                                                                                         Page 38 of 48
                                                                            Case 23-11131-TMH                                           Doc 1193-8                          Filed 01/22/24                             Page 40 of 98
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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
SciSafe Inc.                                                                                                                      Amyris, Inc.                                    Escrow Agreement                                                                                             12/1/2012            $0.00
ScISafe Inc.                                                                                                                      Amyris, Inc.                                    Sample Storage Proposal                                                                                       2/8/2012            $0.00
SciSafe Inc.                                                                                                                      Amyris, Inc.                                    Strain Escrow Agreement                                                                                      9/28/2018            $0.00
SciSafe Inc.                                                                                                                      Amyris, Inc.                                    Escrow Agreement                                                                                             8/22/2013            $0.00
SciSafe Inc.                                                                                                                      Amyris, Inc.                                    Escrow Agreement                                                                                             8/22/2013            $0.00
SciSafe Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/28/2021             $0.00
SciSafe Inc.; Xinfu Science & Tech Co Ltd.                                                                                        Amyris, Inc.                                    Escrow Agreement                                                                                             11/2/2019            $0.00
SciSafe Inc.; Xinfu Science & Tech Co. Ltd                                                                                        Amyris, Inc.                                    Escrow Agreement                                                                                                                  $0.00
Scott Baker                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/20/2010           $0.00
Scott Chinn                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                        9/8/2010           $0.00
SCOTT-MACON, LTD.                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/19/2010           $0.00
Scripps Institution of Oceanography                                                                                               Amyris, Inc.                                    Material Transfer Agreement                                                                                   3/30/2023           $0.00
SDG, Inc.                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/29/2021           $0.00
Sea Lion Technology, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/28/2013           $0.00
Sea Lion Technology, Inc.                                                                                                         Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              10/15/2012           $0.00
SEA LION TECHNOLOGY, INC.                                                                                                         Amyris, Inc.                                    Confidential. Disclosure Agreement                                                                            9/15/2011           $0.00
Seacliff Beauty Packaging                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/27/2020           $0.00
Securecell LLC                                                                                                                    Amyris, Inc.                                    Quotation # S00560                                                                                                                $0.00
Securecell LLC                                                                                                                    Amyris, Inc.                                    Quotation # S00385                                                                                                                $0.00
Securecell LLC                                                                                                                    Amyris, Inc.                                    Agreement for Lucullus Software, Maintenance, and Development                                                                     $0.00
Securecell LLC                                                                                                                    Amyris, Inc.                                    Quotation # S00902                                                                                                                $0.00
Securimate, Inc.; Steele International, Inc.                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                                                   $0.00
SEE ME Creative Inc                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/20/2022           $0.00
SEEK, Inc.                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/24/2014           $0.00
SENOMYX, INC.                                                                                                                     Amyris, Inc.                                    Amendment to Mutual Non-Disclosure Agreement                                                                  6/14/2016           $0.00
SENOMYX, INC.                                                                                                                     Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               6/14/2016           $0.00
Sensient Colors LLC                                                                                                               Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               8/3/2022           $0.00
Sensory Spectrum, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/15/2018           $0.00
Sensory Spectrum, Inc.                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/27/2012           $0.00
Senthil Annamabi                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/17/2007           $0.00
Sentry BioPharma Services, Inc.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/13/2021           $0.00
Separation Solutions                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/26/2014           $0.00
Sephora Mexico S. de R.L. de C.V.                                                                                                 Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               11/1/2018           $0.00
SEPPIC INC                                                                                                                        Amyris, Inc.                                    Non Disclosure Agreement                                                                                       2/9/2021           $0.00
Seppic Inc.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/10/2022           $0.00
SEPPIC, Inc.                                                                                                                      Amyris, Inc.                                    Material Transfer Agreement                                                                                   6/10/2022           $0.00
SEPPIC, Inc.                                                                                                                      Amyris, Inc.                                    Materials Transfer Agreement                                                                                                     $0.00
SEPPIC, Societe d'Exploitation de Produits pour les Industries Chimiques                                                          Amyris, Inc.                                    First Amendment to Non Disclosure Agreement                                                                    9/1/2012           $0.00
SEPPIC, Societe d'Exploitation de Produits pour les Industries Chimiques                                                          Amyris, Inc.                                    Non Disclosure Agreement                                                                                     10/10/2011           $0.00
Seqirus Inc.                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/21/2020           $0.00
Seqirus Inc.                                                                                                                      Amyris, Inc.                                    Materials Transfer Agreement                                                                                                     $0.00
Sequoia Fisher                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/16/2012           $0.00
Sergey Boyarskiy                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/2/2013           $0.00
Serus Corporation                                                                                                                 Amyris, Inc.                                    Mutual. Confidential Disclosure Agreement                                                                     1/10/2012           $0.00
Servipharma ( Beijing ) Co., Ltd.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/28/2016           $0.00
Sestina Bio, LLC                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/27/2022           $0.00
Seven Bridges Genomics Inc.                                                                                                       Amyris, Inc.                                    Services Agreement                                                                                            8/18/2021       $1,054.74
Seven Bridges Genomics Inc.                                                                                                       Amyris, Inc.                                    Proof of Concept                                                                                              6/21/2021           $0.00
Seven Bridges Genomics Inc.                                                                                                       Amyris, Inc.                                    Amendment No. 1 to Seven Bridges Genomics Inc. Services Agreement                                             8/18/2021           $0.00

Seven Bridges Genomics Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/9/2021            $0.00
SEVENTH GENERATION, INC.                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                       11/6/2015            $0.00
Sezaneh Taherian                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/31/2010            $0.00
SGS Agency, LLC                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/12/2018            $0.00
SGS North America Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/17/2022            $0.00
SGS NORTH AMERICA INC.                                                                                                            Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               6/10/2016            $0.00
SGS NORTH AMERICA INC.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/6/2011            $0.00




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                                                                                                                                         Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                          Debtor Party                                                                                                                               Contract/Lease       Amount
SGS North America, Inc.                                                                                                         Amyris, Inc.                                    Master Services Agreement                                                                                    10/3/2022             $0.00
Shahan Nazar                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/24/2019              $0.00
Shakeel Tirmizi                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      11/5/2010             $0.00
Shaklee Corporation                                                                                                             Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               2/9/2016             $0.00
Shanghai Acebright Pharmaceuticals Group Co., Ltd.                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/12/2017             $0.00
Shanghai Chicmax Cosmetic Co., Ltd                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/20/2021             $0.00
Shanghai Fanying Trading Co., Ltd.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/10/2014             $0.00
Shanghai Fosun Pharmaceutical Development Co., Ltd.                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/2/2015             $0.00
Shanghai Institute of Organic Chemistry, Chinese Academy of Sciences                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/7/2019             $0.00
Shanghai Wisecko Trading Co., Ltd                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/26/2015             $0.00
Shanghai Wisecko Trading Co., Ltd                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/26/2015             $0.00
Share Local Media, Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/6/2019             $0.00
Sharon Fernandez                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/7/2011             $0.00
Sharon Tan                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/11/2013             $0.00
Shaw Industries Group, Inc.                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     10/1/2014             $0.00
Shayri Roychoudhury                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011             $0.00
Shelley Boyd                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/2/2011             $0.00
SHERWIN-WILLIAMS COMPANY (SW)                                                                                                   Amyris, Inc.                                    Confidentiality Agreement ("Agreement")                                                                       5/7/2011             $0.00
ShipBob, Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/24/2020             $0.00
Shipman Associates, LLC                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/18/2021             $0.00
Shortlist                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Showfields                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/7/2022            $0.00
ShyaHsin Packaging USA                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/20/2021            $0.00
Siew-Loon Ooi                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/29/2011            $0.00
Siew-Loon Ooi                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00
SighWall. Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/3/2020            $0.00
Sigma-Aldrich Co LLC                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/8/2014            $0.00
SIGNIFYD, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/28/2020            $0.00
Silicon Valley Bank                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/13/2012            $0.00
SiliCycle Inc.                                                                                                                  Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      3/10/2015            $0.00
SILVERSON MACHINES, INC                                                                                                         Amyris, Inc.                                    Equipment Trial Agreement                                                                                     1/12/2012            $0.00
Silvia Sanchez-Vindas                                                                                                           Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/5/2011            $0.00
Simon B Morch                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/28/2022            $0.00
Simon Zhang                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/28/2010            $0.00
SINOVA SPECIALTIES INC.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/11/2011            $0.00
Sinova Specialties, Inc.                                                                                                        Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                          5/10/2012            $0.00
SIP, Ltd.                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/1/2016            $0.00
Sirius Automation Group Inc.                                                                                                    Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               7/14/2020            $0.00
SK Chemicals Co., Ltd.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/17/2013            $0.00
SK CHEMICALS CO., LTD.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/4/2011            $0.00
Slack Technologies, Inc.                                                                                                        Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              10/31/2018            $0.00
Slate Studios LLC                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/11/2022            $0.00
Smithers ERS Limited                                                                                                            Amyris, Inc.                                    Quotation for Studies to Be Conducted at Smithers Environmental Risk                                          10/7/2022            $0.00
                                                                                                                                                                                Sciences Division
Snapdragon Chemistry, Inc.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/1/2021            $0.00
SNECMA                                                                                                                          Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               1/18/2013            $0.00
Snjezana Uranejes                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/27/2010            $0.00
Snowflake Inc.                                                                                                                  Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               9/13/2022            $0.00
Socer Brasil Industria e Comercio Ltda                                                                                          Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                9/6/2016            $0.00
SOCIETE INDUSTRIELLE LESAFFRE S.A.                                                                                              Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                          11/4/2014            $0.00
SOCIETE INDUSTRIELLE LESAFFRE S.A. Division Fermentis                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                     11/4/2013            $0.00
SOFTA CORPORATION                                                                                                               Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                 2/8/2010            $0.00
Solid State Pharma Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/29/2021            $0.00
SOLVAY SA                                                                                                                       Amyris, Inc.                                    Reciprocal Confidentiality Agreement                                                                         12/15/2011            $0.00
Solvay USA Inc.                                                                                                                 Aprinnova, LLC                                  Unilateral Confidentiality Agreement                                                                           2/5/2018            $0.00
Solvias AG                                                                                                                      Amyris, Inc.                                    Re: Consent to Disclose Certain Information                                                                  10/26/2010            $0.00
Solvias AG                                                                                                                      Amyris, Inc.                                    Secrecy Agreement                                                                                            10/20/2010            $0.00




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                                          The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
SOLVOYO CO.                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/24/2010              $0.00
Sonic Packaging                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/21/2019             $0.00
Sonneborn Inc.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/29/2011             $0.00
Soom Creative INC                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     2/14/2022             $0.00
SORBENT TECHNOLOGIES, INC.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/17/2011             $0.00
Southwest Research Institute                                                                                                     Amyris, Inc.                                    Amendment #1 to Service Agreement                                                                            10/9/2014             $0.00
Soylent Nutrition, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/15/2019              $0.00
SPARKPR                                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/14/2011             $0.00
Sparks Marketing Corp.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/1/2019             $0.00
Spartan Chemical Company, Inc.                                                                                                   Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              3/23/2014             $0.00
Spectroscopic Solutions, LLC                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/3/2016             $0.00
Spectrum Corporation                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/26/2011             $0.00
Spinx Digital                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/22/2014             $0.00
Spirax Sarc                                                                                                                      Amyris, Inc.                                    Inspection and Preventative Maintenance Service Proposal                                                      2/5/2015             $0.00
Spirax Sarco                                                                                                                     Amyris, Inc.                                    Inspection and Prevenatitive Maintenance Service Proposal                                                     1/9/2012             $0.00
SporeGen a UK Limited Company                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/15/2018             $0.00
SPT Labtech Limited                                                                                                              Amyris, Inc.                                    Arktic® -80C Reliance Complete Service Contract                                                                                    $0.00
Square 1 Bank                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/30/2015            $0.00
Squared Circles                                                                                                                  Amyris, Inc.                                    Material Transfer Agreement                                                                                    8/1/2023            $0.00
Sriya Chadalavada                                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                      1/9/2023            $0.00
SSI Chusei, Inc.                                                                                                                 Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                               11/29/2011            $0.00
SSI Chusei, Inc.                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/12/2011            $0.00
Starr Indemnity & Liability Company                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/6/2019            $0.00
Stars Management, Inc.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
State Industrial Products                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/29/2015            $0.00
State Industrial Products                                                                                                        Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               6/16/2014            $0.00
Stefan Moser                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/2/2013            $0.00
Stepan Company                                                                                                                   Amyris, Inc.                                    First Amendment to Material Transfer Agreement                                                                 5/5/2015            $0.00
Stepan Company                                                                                                                   Amyris, Inc.                                    Third Amendment to Mutual Confidential Disclosure Agreement                                                   10/2/2014            $0.00
Stepan Company                                                                                                                   Amyris, Inc.                                    Second Amendment to Mutual Confidential Disclosure Agreement                                                  10/2/2013            $0.00
Stepan Company                                                                                                                   Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                   10/2/2012            $0.00
Stepan Company                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/3/2011            $0.00
Stephanie Morrison                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                        9/6/2011            $0.00
Stephen Gould Corporation                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              5/1/2019            $0.00
Stephen Greenberg, Ph.D.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              9/4/2012            $0.00
Stephen Owens                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       5/26/2010            $0.00
STERIS Corporation                                                                                                               Amyris, Inc.                                    Confidentiality Agreement                                                                                      6/5/2023            $0.00
STERLING CHEMICALS, INC.                                                                                                         Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               4/4/2011            $0.00
Sterling Pharma Solutions Limited                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/1/2019            $0.00
Steve Chen                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      12/13/2010            $0.00
Steve Redford                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/19/2016            $0.00
Steve Seligson                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/21/2010            $0.00
Steven C. DeFina                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                        6/6/2011            $0.00
Steven Furcich                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/26/2011            $0.00
Steven Gregory Photography                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/22/2019            $0.00
Steven Li                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
Steven Waxmonsky                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/18/2012            $0.00
Stoa Consulting LLC                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             7/18/2012            $0.00
STOLT-NIELSEN (USA) INC.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/13/2011            $0.00
Stringr                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/12/2020            $0.00
Strukmyer Medical                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/1/2021            $0.00
Stuart Miller                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/21/2011            $0.00
Studio Adele Park                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/8/2019            $0.00
Studio of Joshua Levi, Inc A New York Corporation                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/2/2022            $0.00
Stuntman PR                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/25/2014            $0.00
Submittable Holdings, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              3/20/2020            $0.00
Succession Energy, LLC                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/12/2016            $0.00




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                                                                                                                                           Contract/Lease                                                                                                                                 Date of            Cure
                                       Contract Counterparty                                                                                                                                                        Contract/Lease Title
                                                                                                                                            Debtor Party                                                                                                                               Contract/Lease       Amount
Sugati, Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/19/2016              $0.00
Suitcase Innovation                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/5/2014             $0.00
Su-Ju Lin                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            6/22/2010             $0.00
Sukhindra K. Mata                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/2/2011             $0.00
Sulzer Chemtech USA, Inc.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/15/2013             $0.00
Sumitomo Rubber Industries, Ltd                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/5/2014             $0.00
SUMITOMO RUBBER INDUSTRIES, LTD.                                                                                                  Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             7/17/2015             $0.00
Summit Partners Credit Advisors, L.P.                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/17/2015             $0.00
SUMO CREATIVE LTD                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/3/2022             $0.00
Sun Life Financial                                                                                                                Amyris, Inc.                                    Policy of Incorporation - Accident                                                                            1/1/2023             $0.00
Sun Life Financial                                                                                                                Amyris, Inc.                                    Policy of Incorporation - Accident                                                                            1/1/2023             $0.00
Sun Life Financial                                                                                                                Amyris, Inc.                                    Policy of Incorporation - Critical Illness                                                                    1/1/2023             $0.00
Sun Life Financial                                                                                                                Amyris, Inc.                                    Policy of Incorporation - Accident                                                                            1/1/2023             $0.00
Sun Life Financial                                                                                                                Amyris, Inc.                                    Policy of Incorporation - Critical Illness                                                                    1/1/2023             $0.00
Sungho Yoo                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/9/2015             $0.00
Sunny BioDiscovery, Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidentiality and Non-Disclosure Agreement                                                           9/9/2011             $0.00
Sunrise Genetics, Inc.                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/19/2019             $0.00
Sunshine Sachs                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/7/2015             $0.00
Surface Chemists of Florida, Inc.                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/16/2014              $0.00
Susan Berg                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/8/2011             $0.00
Susan Schofer                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/1/2020             $0.00
Susan Schofer                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      2/26/2010             $0.00
Sustainable Steam & Water Solutions Inc.                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/1/2012             $0.00
Suzanne Ma                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/10/2011             $0.00
Svenska Statoil AB                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/30/2010             $0.00
Svetlana Borisova                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/27/2011             $0.00
Swenson Technology, Inc.                                                                                                          Amyris, Inc.                                    Client Confidentiality Agreement                                                                             4/12/2011             $0.00
Sylvia Manman Kang                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/26/2010             $0.00
Symphony Capital, LLC                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/25/2014             $0.00
Symrise AG                                                                                                                        Amyris, Inc.                                    First Amendment to Mutual Confidential Disclosure Agreement                                                12/15/2012              $0.00
Symrise Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   10/27/2021              $0.00
SYMRSISE AG                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/16/2011              $0.00
Synergy Life Science                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/17/2021             $0.00
Syngene International Limited                                                                                                     Amyris, Inc.                                    Confidentiality and Non- Disclosure Agreement                                                                 8/2/2013             $0.00
Syngenta Crop Protection AG                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/19/2017             $0.00
Syngenta Crop Protection AG                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   11/10/2014              $0.00
Syngenta Crop Protection, LLC                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/3/2015             $0.00
Synonym Inc.                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/28/2023             $0.00
SYNTHETIC GENOMICS, INC.                                                                                                          Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                            11/20/2017              $0.00
Synthetic Genomics, Inc.                                                                                                          Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                                1/8/2013             $0.00
SYRAL Belgium N.V.                                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                    7/18/2011             $0.00
T.A. Brewer Consulting, Inc.                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/24/2012             $0.00
TA INSTRUMENTS                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/7/2010             $0.00
TA PROFESSIONAL SERVICES                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/12/2011              $0.00
Tahera Iqbal                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                                            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Feasibility Agreement                                                                                        12/27/2012            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Re: Consent Letter                                                                                           12/18/2015            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Third Amendment to Development Agreement                                                                       6/2/2015            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Second Amendment to Development Agreement                                                                      4/8/2015            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    First Amendment to Development Agreement                                                                     10/30/2014            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Third Amendment to Feasibility Agreement                                                                      8/13/2013            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Second Amendment to Feasibility Agreement                                                                     7/25/2013            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    First Amendment to Feasibility Agreement                                                                      7/15/2013            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      1/16/2020            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                               9/26/2018            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/30/2011            $0.00
Takasago International Corporation                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/13/2011            $0.00




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                                                                                                                                              Contract/Lease                                                                                                                                 Date of            Cure
                                         Contract Counterparty                                                                                                                                                         Contract/Lease Title
                                                                                                                                               Debtor Party                                                                                                                               Contract/Lease       Amount
Tammy Duong                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      7/28/2010             $0.00
Tania Pirozzi                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/12/2022             $0.00
Tara Burkhart-Grove                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/1/2012             $0.00
Tarka Group Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/31/2020             $0.00
Tasmin Meyer Ersahin                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/24/2021             $0.00
TCG Lifesciences Private Ltd.                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/24/2020             $0.00
TD RESEARCH, LTD.                                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            12/2/2011             $0.00
Technobis Crystallization Systems B.V.                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/30/2018             $0.00
Technology Finance Corporation                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/7/2018             $0.00
Techwood Consulting                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/11/2019             $0.00
Teledyne Tekmar                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/20/2011              $0.00
TEMASEK CAPITAL MANAGEMENT PTE. LTD.                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/1/2014             $0.00
Tennenbaum Capital Partners, LLC                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            7/31/2015             $0.00
Tennenbaum Capital Partners, LLC                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            5/21/2014             $0.00
TEQ Analytical Labs                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/5/2016             $0.00
Tereos                                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/14/2012              $0.00
Terrace Consulting, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/1/2018             $0.00
TerraCycle, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/23/2018             $0.00
Terranol A/S                                                                                                                         Amyris, Inc.                                    Confidential Disclosure and Sampling Agreement                                                             10/22/2012              $0.00
Terry J. Burkhardt                                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/10/2011              $0.00
Tetra Financial Group                                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/3/2011             $0.00
Tetra Pak Inc.                                                                                                                       Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               4/4/2010             $0.00
Texas A&M Engineering Experiment Station                                                                                             Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              1/19/2018             $0.00
Th3 Toolbox                                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/30/2021             $0.00
THERMAL KINETICS ENGINEERING, PLLC                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            3/25/2011             $0.00
Thermo Electron North America LLC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/3/2019             $0.00
Thermo Electron North America LLC                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/7/2011             $0.00
Thermo Finnigan LLC                                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          10/18/2017              $0.00
Thermo Fisher                                                                                                                        Amyris, Inc.                                    Amyris Cda_Signature Final Audit Report                                                                                            $0.00
Thermo Fisher Scientific Inc.                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/12/2013            $0.00
Thermo Fisher Scientific Inc.                                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                     1/11/2012            $0.00
Thibiant International, Inc.                                                                                                         Amyris, Inc.                                    Mutual Agreement Regarding Non-Disclosure, Confidentiality and Other                                          7/20/2015            $0.00
                                                                                                                                                                                     Matters
Third Party Validation and Verification LLC                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/3/2020            $0.00
Thomas D. Sharkey, Ph.D                                                                                                              Amyris, Inc.                                    First Amendment to Confidential Disclosure Agreement                                                          9/12/2013            $0.00
Thomas D. Sharkey, Ph.D.                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/13/2012            $0.00
Thomas E. Duley                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       2/10/2010            $0.00
Thomas Group                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/5/2022            $0.00
Thomas J. Scherbart                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       9/28/2011            $0.00
Thomas Pochapsky                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       1/9/2017            $0.00
Thomas Schwei                                                                                                                        Amyris, Inc.                                    Nondisclosure Agreement                                                                                       10/6/2010            $0.00
Thomas Weisel Partners LLC                                                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                      1/6/2010            $0.00
Thoro Packaging                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/22/2023            $0.00
Thu Huong Nguyen                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/8/2010            $0.00
Tiber, LLC                                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/10/2021            $0.00
Tiffany L Hughes                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/13/2020            $0.00
TIGG Corporation                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/9/2011            $0.00
Tim Brennan                                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              7/5/2011            $0.00
Timothy R Geistlinger                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                                            $0.00
Timothy Shiau                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/10/2011            $0.00
Tinuiti, Inc.                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      7/12/2022            $0.00
Tinuiti, Inc.                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/4/2021            $0.00
TIORCO, LLC                                                                                                                          Amyris, Inc.                                    Material Transfer and Mutual Confidentiality Agreement                                                        9/25/2014            $0.00
Tipton Mills Foods, LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2020            $0.00
Titan Securities                                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              6/2/2016            $0.00
TM Chemicals Limited Partnership                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/19/2012            $0.00
TM CHEMICALS LIMITED PARTNERSHIP                                                                                                     Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/13/2011            $0.00




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                                                                                                                                          Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                      Contract/Lease Title
                                                                                                                                           Debtor Party                                                                                                                               Contract/Lease       Amount
TMC INDUSTRIES INC.                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/8/2011             $0.00
Tobias Sanderson                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                      7/26/2010             $0.00
Todd Slary                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/9/2010             $0.00
Tokio Marine HCC – D&O Group                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/14/2019             $0.00
Tolstoy Interactive I                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/10/2022             $0.00
Tomas Markevicius                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/1/2021             $0.00
TOMUSIAK BIOSEPARATIONS CONSULTING LLC                                                                                           Amyris, Inc.                                    Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                               4/20/2010             $0.00
TOP Beauty                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
Topaz Biosciences, Inc                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/29/2023            $0.00
Toray Industries, Inc.                                                                                                           Amyris, Inc.                                    MNDA                                                                                                          12/8/2023            $0.00
Tornado Spectral Systems Inc.                                                                                                    Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                              10/30/2020            $0.00
Tornado Spectral Systems Inc.                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/26/2020            $0.00
Total Additifs et Carburants Speciaux                                                                                            Amyris, Inc.                                    Material Transfer Agreement                                                                                    1/5/2012            $0.00
Total Energie Developpement S.A; Total Gas & Power Ventures SAS                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/14/2011            $0.00
Total Energies Nouvelles Activites USA                                                                                           Amyris, Inc.                                    Common Interest Agreement                                                                                     6/21/2010            $0.00
Total Energies Nouvelles Activites USA                                                                                           Amyris, Inc.                                    Amended and Restated Mutual Confidential Disclosure Agreement                                                  6/1/2015            $0.00
Total Energy Ventures International; Total Gas & Power Ventures, SAS                                                             Amyris, Inc.                                    Amendment N° 1 to Mutual Confidential Disclosure Agreement                                                     3/2/2010            $0.00
Total Gas & Power USA SAS                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/12/2015            $0.00
Total Gas & Power USA SAS                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              6/1/2014            $0.00
Total Gas & Power USA SAS                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/17/2012            $0.00
Total Gas & Power USA SAS                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/16/2014            $0.00
Total Gas & Power USA SAS                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      5/17/2013            $0.00
TOTAL GAS & POWER VENTURES                                                                                                       Amyris, Inc.                                    Subject: Mutual Confidential Disclosure Agreement                                                             4/28/2010            $0.00
Total Gas & Power Ventures S.A.S                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/27/2010            $0.00
Total Gas & Power Ventures S.A.S                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                     9/27/2010            $0.00
Total Gas & Power Ventures, S.A.S                                                                                                Amyris, Inc.                                    Confidentiality Agreement                                                                                      7/7/2011            $0.00
Toyota Motor Corporation                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/13/2019            $0.00
TOYOTA MOTOR CORPORATION                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/13/2010            $0.00
TPG CAPITAL. LP.                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             11/1/2011            $0.00
Transport Service Co.                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/17/2011            $0.00
Travis Bledsoe                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/19/2010            $0.00
Treeline Companies                                                                                                               Aprinnova, LLC                                  Mutual Confidential Disclosure Agreement                                                                      3/15/2021            $0.00
Trendmood, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/4/2020            $0.00
Triclinic Labs, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/1/2018            $0.00
TRIDIAGONAL SOLUTIONS INC                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             4/21/2011            $0.00
TRI-K Industries, Inc.                                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               3/14/2012            $0.00
TRIMAC TRANSPORTATION                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/27/2011            $0.00
Tri-Pac, Inc.                                                                                                                    Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/29/2014            $0.00
TRITEST, INC.                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/17/2011            $0.00
True Beauty Digital, Inc                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/28/2022            $0.00
TRUSOUTH OIL, LLC                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/3/2011            $0.00
TULSTAR PRODUCTS, INC.                                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/19/2011            $0.00
Turn Marketon                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/21/2020            $0.00
Tuscon Media Studio                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/18/2022            $0.00
Tuttnauer USA                                                                                                                    Amyris, Inc.                                    Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal #                                             4/12/2012            $0.00
                                                                                                                                                                                 Nylikp35.
Tuttnauer USA Co. Ltd.                                                                                                           Amyris, Inc.                                    Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal # Pm                                          3/14/2014            $0.00
                                                                                                                                                                                 14-014.
Tuyet Mai T. Ho                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011           $0.00
Twincraft, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/4/2019           $0.00
Twist Bioscience Corporation                                                                                                     Amyris, Inc.                                    Master Supply Agreement                                                                                       10/1/2018      $41,978.51
Twist Bioscience Corporation                                                                                                     Amyris, Inc.                                    Api License Agreement                                                                                         10/1/2018           $0.00
Tyton BioSciences LLC                                                                                                            Aprinnova, LLC                                  Nondisclosure Agreement                                                                                        1/4/2018           $0.00
U.S. Bank Technology Banking Group                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/1/2012           $0.00
U.S. Nonwovens Corp.                                                                                                             Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                              10/9/2018           $0.00
U.S. VENTURE, INC.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/5/2015           $0.00
U.S. Venture, Inc.                                                                                                               Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              1/1/2011           $0.00




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                                                                                                                                         Contract/Lease                                                                                                                                 Date of            Cure
                                        Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                          Debtor Party                                                                                                                               Contract/Lease       Amount
U.S. VENTURE, INC.                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                   12/22/2010              $0.00
UDI INC.                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                                           $0.00
UL Verification Services Inc.                                                                                                   Amyris, Inc.                                    Statement of Work                                                                                             9/21/2021            $0.00
Ulta Beauty, Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                               6/8/2020            $0.00
Ulta Inc.                                                                                                                       Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               7/18/2022            $0.00
UMBC                                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/18/2017            $0.00
UniFirst Corporation                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/3/2015            $0.00
UniFirst Corporation; UniFirst Holdings, Inc.                                                                                   Amyris, Inc.                                    Customer Service Agreement                                                                                     4/1/2015            $0.00
Uniglo Manufacturing LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/4/2019            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                      Amyris, Inc.                                    Mutual Material Transfer Agreement                                                                             4/6/2023            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                      Amyris, Inc.                                    Confidential Amendment to MA-2021-01972N                                                                      10/6/2021            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                      Amyris, Inc.                                    Urazver First Amending Agreement                                                                              10/6/2021            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               10/6/2021            $0.00
UNILEVER U.K. CENTRAL RESOURCES LIMITED                                                                                         Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                               10/6/2020            $0.00
Unilever UK Central Resources Limited                                                                                           Amyris, Inc.                                    Second Amendment to Confidentiality Agreement                                                                 4/15/2018            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                           Amyris, Inc.                                    First Amendment to Confidentiality Agreement                                                                  7/13/2017            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                     4/16/2016            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                     8/14/2014            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                           Amyris, Inc.                                    Confidentiality Agreement                                                                                     6/16/2011            $0.00
UNIPEX INNOVATIONS INC.                                                                                                         Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               3/14/2012            $0.00
UNIQUE DISTINCTION, a INC.                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/17/2021            $0.00
United Healthcare                                                                                                               Amyris, Inc.                                    Health Care Reform Act - Public Goods Pool                                                                     1/1/2023            $0.00
United Technologies Corporation                                                                                                 Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               8/15/2013            $0.00
UNIVAR S.A.S.                                                                                                                   Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               3/14/2012            $0.00
Univar Solutions USA Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/29/2022            $0.00
Univar Solutions USA Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       7/6/2020            $0.00
Univar USA Inc.                                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                    10/12/2016            $0.00
Universal Lubricants LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       6/2/2011            $0.00
Universidade Catolica Portuguesa-Escola Superior de Biotecnologia                                                               Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               5/15/2017            $0.00
UNIVERSITAT ZURICH LABOR FUR PROZESSFORSCHUNG                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/26/2010            $0.00
UNIVERSITY OF BRITISH COLUMBIA                                                                                                  Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      6/21/2011            $0.00
University of California at Berkeley                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/22/2017            $0.00
University of California researchers Robert Leachman, Thomas Treynor, and Taras Goral                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/18/2023            $0.00
University of Hawai'i                                                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               6/29/2021            $0.00
University of Portsmouth Higher Education Corporation                                                                           Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                                9/6/2018            $0.00
University of Stuttgart                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/10/2023            $0.00
University of Texas at Austin                                                                                                   Amyris, Inc.                                    Non-Disclosure Agreement                                                                                      12/5/2014            $0.00
University of Texas at Austin                                                                                                   Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              8/7/2012            $0.00
University of Texas at Austin                                                                                                   Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               1/14/2014            $0.00
University of Tokyo                                                                                                             Amyris, Inc.                                    Mutual Confidential Nondisclosure Agreement                                                                   10/1/2022            $0.00
UNIVERSITY OF YORK                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/13/2012            $0.00
Unni Productions                                                                                                                Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/25/2015            $0.00
Urban Venture Group, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       9/7/2021            $0.00
UT-Battelle, LLC                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       10/5/2015            $0.00
UT-Battelle, LLC                                                                                                                Amyris, Inc.                                    Nondisclosure Agreement                                                                                       12/3/2014            $0.00
UTI, UNITED STATES INC.                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             5/11/2011            $0.00
UVENTO, LLC                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/26/2018            $0.00
Valent BioSciences Corporation                                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             10/7/2014            $0.00
Valentine Chemicals, LLC                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/4/2020            $0.00
Valiantys America Inc.                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/13/2023            $0.00
Vamsi Karri                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                        1/4/2012            $0.00
Van Steenwyk Ag                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            10/10/2018            $0.00
Vanderlyn Hospitality Group                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/2/2022            $0.00
Vanessa More                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/3/2002            $0.00
Vanessa Stevens and Company, Inc.                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/9/2021            $0.00
Vanguard Packaging                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      10/3/2022            $0.00
Vanton Research Laboratory, LLC                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             2/12/2015            $0.00




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                                                                                                                                        Contract/Lease                                                                                                                                 Date of            Cure
                                       Contract Counterparty                                                                                                                                                     Contract/Lease Title
                                                                                                                                         Debtor Party                                                                                                                               Contract/Lease       Amount
VenConnect LLC                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/3/2022            $0.00
Verdezyne Inc.                                                                                                                 Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             11/1/2011            $0.00
Verescence North America Inc.                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     8/22/2022            $0.00
Viavi Solutions Inc.                                                                                                           Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              2/29/2016            $0.00
VICTAULIC COMPANY                                                                                                              Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/15/2010            $0.00
Victor Galea                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      1/31/2011            $0.00
Victor Stevko                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/23/2010            $0.00
Viewstream, Inc.                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/6/2020            $0.00
Vineet Shastry                                                                                                                 Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/18/2012             $0.00
Virachack Chanthara                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                      9/21/2010            $0.00
Vision Service Plan                                                                                                            Amyris, Inc.                                    Business Associate Agreement                                                                                  6/1/2023            $0.00
Visolis, Inc.                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/16/2022            $0.00
VitalSensors Technologies LLC                                                                                                  Amyris, Inc.                                    For Bi-Lateral Disclosure Confidentiality Agreement                                                          2/23/2011            $0.00
Vitech International Inc.                                                                                                      Amyris, Inc.                                    Mutual Non-Disclosure Agreement                                                                              8/28/2015            $0.00
Viva Healthcare Packaging (USA) Inc.                                                                                           Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      6/3/2021            $0.00
Viva Marketing (Canada) Ltd.                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     4/13/2019            $0.00
Vivian Xian                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                      6/29/2010            $0.00
Vobis, LLC                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      2/7/2013            $0.00
Volkswagen Aktiengesellschaft                                                                                                  Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     4/23/2012            $0.00
Volkswagen Aktiengesellschaft                                                                                                  Amyris, Inc.                                    Non-Disclosure Agreement                                                                                     5/16/2011            $0.00
Volkswagen Group of America, Inc.                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/21/2013            $0.00
Voodoo Scientific USA                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/8/2022            $0.00
VOTORANTIM INDUSTRIAL S.A.                                                                                                     Amyris, Inc.                                    Confidentiality Agreement                                                                                     4/5/2011            $0.00
VWR INTERNATIONAL, LLC                                                                                                         Amyris, Inc.                                    Amendment #1 to Agreement Between Vwr International, Llc and Amyris                                           6/4/2021      $270,038.27
                                                                                                                                                                               Inc
W.S. Dodge Oil Co Inc.                                                                                                         Amyris, Inc.                                    Mutual Confidential. Disclosure Agreement                                                                     2/14/2011            $0.00
W20 Food Innovation                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/23/2022            $0.00
Wacker Chemie AG                                                                                                               Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       4/4/2019            $0.00
Wagner Life Science, LLC                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/6/2015            $0.00
WANHUA CHEMICAL COMPANY                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/21/2016            $0.00
Wasatch Product Developthent, LLC                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/7/2017            $0.00
WASHINGTON UNIVERSITY                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      1/13/2010            $0.00
WASHINGTON UNIVERSITY Department of Chemistry                                                                                  Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             8/31/2011            $0.00
Waters Technologies Corporation                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/22/2021            $0.00
WATERS TECHNOLOGIES CORPORATION                                                                                                Amyris, Inc.                                    Disclosure Agreement                                                                                          9/27/2011            $0.00
Watson Building, University                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/17/2023            $0.00
Wayne Szeto                                                                                                                    Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/29/2011            $0.00
WD-40 Company                                                                                                                  Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               4/15/2014            $0.00
WebFilings LLC                                                                                                                 Amyris, Inc.                                    Confidentiality Agreement                                                                                      3/1/2011            $0.00
Webgistix                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/27/2021            $0.00
Weblux Inc DBA Black & Black Creative                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     12/24/2021            $0.00
Wecircular SA.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/5/2022            $0.00
Wecircular SA.                                                                                                                 Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/5/2022            $0.00
WEIDMANN Electrical Technology Inc.                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             6/25/2012            $0.00
WELLS FARGO BANK, NATIONAL ASSOCIATION                                                                                         Amyris, Inc.                                    Confidentiality Agreement (Commercial Credit Request)                                                         3/29/2012            $0.00
WeMedia Shopping Network Technology Company Limited                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/15/2020            $0.00
Wendy Lam                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/31/2011            $0.00
Wendy Palmer Management Consulting                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             12/2/2011            $0.00
WeylChem Innotec GmbH                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/25/2019            $0.00
WeylChem Innotec GmbH                                                                                                          Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/25/2019            $0.00
WeylChem International GmbH                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      3/15/2013            $0.00
Whitney Allen                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                       3/17/2010            $0.00
WILD Flavors, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             11/30/2015            $0.00
WILDLIFE INTERNATIONAL LTD.                                                                                                    Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             9/21/2010            $0.00
Wildlife International, LTD                                                                                                    Amyris, Inc.                                    Amendment to Confidential Disclosure Agreement                                                               11/21/2011            $0.00
Wiley Companies                                                                                                                Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/15/2020            $0.00
Wiley Organics, Inc.                                                                                                           Amyris, Inc.                                    Amendment No. 1To Mutual Confidential Disclosure Agreement                                                     2/6/2019            $0.00




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                                                The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




                                                                                                                                                Contract/Lease                                                                                                                                 Date of            Cure
                                            Contract Counterparty                                                                                                                                                        Contract/Lease Title
                                                                                                                                                 Debtor Party                                                                                                                               Contract/Lease       Amount
WILEY ORGANICS, INC.                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/26/2018             $0.00
Wiley Orhganics, Inc.                                                                                                                  Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              6/11/2018             $0.00
William A. Schroeder                                                                                                                   Amyris, Inc.                                    Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                        3/15/2010             $0.00
William A. Schroeder                                                                                                                   Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/15/2010             $0.00
William Akers                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                      4/29/2011             $0.00
William J. Clinton Foundation                                                                                                          Amyris, Inc.                                    Mutual Nondisclosure Agreement                                                                               3/24/2011             $0.00
William Patrick                                                                                                                        Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/29/2016             $0.00
William S. Howarth                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      3/28/2010             $0.00
William Sippl                                                                                                                          Amyris, Inc.                                    Nondisclosure Agreement                                                                                       4/4/2011             $0.00
Willis Insurance Services of California, Inc.                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            2/17/2011             $0.00
WILLS TRANSFER LIMITED                                                                                                                 Amyris, Inc.                                    Confidential Disclosure Agreement                                                                          11/30/2001              $0.00
WILMAR INTERNATIONAL, LTD.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     5/28/2011             $0.00
Wilmer Sugar Pty Limited                                                                                                               Amyris, Inc.                                    Material Sampling and Confidentiality Agreement                                                              9/18/2018             $0.00
Wilson Chau                                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                    10/14/2011              $0.00
Win Chemicals Ltd                                                                                                                      Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                              2/27/2014             $0.00
Wingify Software Private Limited                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     7/18/2022             $0.00
Wisconsin BioProduct                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/15/2018             $0.00
Wisconsin BioProducts                                                                                                                  Amyris, Inc.                                    Material Transfer Agreement                                                                                  4/13/2020             $0.00
Wisconsin BioProducts                                                                                                                  Amyris, Inc.                                    Amendment No. 1 to Material Transfer Agreement                                                               4/16/2020             $0.00
Wisconsin BioProducts                                                                                                                  Amyris, Inc.                                    Amendment No. 1 to Confidential Disclosure Agreement                                                         6/14/2019             $0.00
Wisconsin BioProducts                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     9/17/2012             $0.00
Wisconsin BioProducts                                                                                                                  Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         3/4/2010             $0.00

Within LLC                                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       5/8/2023            $0.00
Wm Wrigley Jr Company                                                                                                                  Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      9/25/2018            $0.00
Wondersauce, LLC                                                                                                                       Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/7/2015            $0.00
World Wide Packaging, LLC                                                                                                              Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      12/3/2019            $0.00
World Wildlife Fund                                                                                                                    Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       3/8/2022            $0.00
World Wildlife Fund, Inc.                                                                                                              Amyris, Inc.                                    Confidentiality Agreement                                                                                     7/20/2011            $0.00
Worley Group, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/2/2021            $0.00
Wui Sum Willbe Ho                                                                                                                      Amyris, Inc.                                    Nondisclosure Agreement                                                                                       1/25/2011            $0.00
Wuxi AppTec                                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/3/2020            $0.00
WuXi AppTec                                                                                                                            Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/29/2014            $0.00
Wuxi AppTec (HongKong) Limited                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       8/3/2020            $0.00
Xenon Arc, Inc.                                                                                                                        Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      11/5/2015            $0.00
Xiaosi Gao                                                                                                                             Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/23/2018            $0.00
Xiaotong Zhang                                                                                                                         Amyris, Inc.                                    Nondisclosure Agreement                                                                                       8/15/2011            $0.00
Xinchang NHU Vitamins Co. Ltd.                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                       2/8/2016            $0.00
Xinfu Science & Tech Co. Ltd.                                                                                                          Amyris, Inc.                                    Material Transfer Agreement                                                                                   11/8/2021            $0.00
XL Insurance America, Inc.                                                                                                             Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/13/2019            $0.00
XPO Logistics Supply Chain, Inc.                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      4/28/2021            $0.00
Xytel, Inc.                                                                                                                            Amyris, Inc.                                    Mutual Confidential. Disclosure Agreement                                                                     1/15/2013            $0.00
Yao-ming Huang                                                                                                                         Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            11/27/2013            $0.00
Yaser Marafee                                                                                                                          Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             1/23/2018            $0.00
Yasuhara Chemical                                                                                                                      Amyris, Inc.                                    Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                   7/13/2018            $0.00
Yasuhara Chemical                                                                                                                      Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/29/2017            $0.00
Yellow Loft                                                                                                                            Amyris, Inc.                                    Confidential Disclosure Agreement                                                                              4/3/2015            $0.00
Yergeniy Yaroslavskiy                                                                                                                  Amyris, Inc.                                    Nondisclosure Agreement                                                                                        3/1/2012            $0.00
YG Laboratories, Inc                                                                                                                   Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     11/20/2015            $0.00
Yifan Pharmaceutical Co., Ltd                                                                                                          Amyris, Inc.                                    Material Transfer and Confidentiality Agreement                                                               6/13/2018            $0.00
Ying-Ja Chen                                                                                                                           Amyris, Inc.                                    Confidential Disclosure Agreement                                                                             3/24/2011            $0.00
Yue Yang                                                                                                                               Amyris, Inc.                                    Nondisclosure Agreement                                                                                       7/22/2011            $0.00
Yujiro Hata                                                                                                                            Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/18/2011            $0.00
Yutomi Corporation                                                                                                                     Amyris, Inc.                                    Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                         2/23/2010            $0.00

Yvette M. Jaquez                                                                                                                       Amyris, Inc.                                    Nondisclosure Agreement                                                                                      10/12/2011            $0.00
Zach Hogan                                                                                                                             Amyris, Inc.                                    Nondisclosure Agreement                                                                                        4/9/2010            $0.00




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                                         The Debtors explicitly reserve the right to amend this Schedule of Assumed Executory Contracts and Unexpired Leases, including by adding or removing any Executory Contract or Unexpired Lease therefrom, through the Effective Date of the Plan.




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                                        Contract Counterparty                                                                                                                                                     Contract/Lease Title
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Zeal, LLC                                                                                                                       Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     3/11/2019             $0.00
ZETON INC.                                                                                                                      Amyris, Inc.                                    Confidential Disclosure Agreement                                                                            9/21/2010             $0.00
Zeton, Inc.                                                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     1/15/2013             $0.00
Zhejiang Changhai Pharmaceuticals Co., Ltd.                                                                                     Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                      8/2/2019             $0.00
Zhejiang Raybow Pharmaceutical Co., Ltd.                                                                                        Amyris, Inc.                                    Confidentiality Agreement                                                                                    8/17/2020             $0.00
Zhilan Zeng                                                                                                                     Amyris, Inc.                                    Nondisclosure Agreement                                                                                      5/19/2010             $0.00
Zoetis LLC                                                                                                                      Amyris, Inc.                                    Mutual Confidentiality Agreement                                                                             8/24/2017             $0.00
ZPE LLC                                                                                                                         Amyris, Inc.                                    Mutual Confidential Disclosure Agreement                                                                     6/30/2020             $0.00
Zynerba Pharmaceuticals, Inc.                                                                                                   Amyris, Inc.                                    Confidentiality and Nondisclosure Agreement                                                                 9/10/2015             $0.00




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          EXHIBIT P - REDLINE
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                                            Contract Counterparty                                                                                     Debtor Party                                                      Contract/Lease Title                                                               Contract/Lease       Amount
10K Advertising                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/23/2022             $0.00
1185 Design                                                                                                                                Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         4/15/2010             $0.00
2nd Watch, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/11/2023             $0.00
3 Model Management                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 1/4/2023            $0.00
334 W Consulting Cop                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/13/2022             $0.00
3M Innovative Properties Company                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement Amendment                                                                    10/13/2009             $0.00
3M Innovative Properties Company                                                                                                           Amyris, Inc.                                     Amendment to CDA # C254379                                                                                                                   $0.00
3M Innovative Properties Company                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/1/2009             $0.00
3M Innovative Properties Company                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement C254379 Effective                                                                     7/4/2023             $0.00
5150 Craft Chocolate                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2019             $0.00
5w Public Relations, LLC                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/7/2022             $0.00
A. Patterson                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011             $0.00
A. UNILEVER GLOBAL IP LIMITED; Unilever UNILEVER GLOBAL IP LIMITED                                                                         Amyris, Inc.                                     Second Amending Agreement                                                                                              10/5/2023             $0.00
A.N. DERINGER, INC.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     12/15/2010             $0.00
Aaron Heil                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/28/2022             $0.00
Aaron Hernday                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/22/2011             $0.00
AB Mauri Food Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       2/21/2019             $0.00
AB Mauri Food Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                      10/26/2015             $0.00
AB Mauri Food, Inc.                                                                                                                        Amyris, Inc.                                     Indemnification Agreement                                                                                              5/28/2021             $0.00
AB Mauri Food, Inc.                                                                                                                        Amyris, Inc.                                     Material Transfer Agreement                                                                                           12/15/2022             $0.00
AB Mauri Food, Inc.                                                                                                                        Amyris, Inc.                                     First Amendment to Purchase Agreement                                                                                  6/30/2020             $0.00
Abbott Laboratories                                                                                                                        Amyris, Inc.                                     Assignment of Non-Disclosure Agreement                                                                                 9/13/2012             $0.00
Abbott Laboratories                                                                                                                        Amyris, Inc.                                     Bilateral Confidential Disclosure Agreement                                                                            3/19/2010             $0.00
AbbVie Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/8/2018             $0.00
ABCO Laboratories, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/18/2015             $0.00
Abimanyu Raja                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
ABITEC Corporation                                                                                                                         Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                    2/20/2017             $0.00
Abunda Nutrition, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         3/14/2011             $0.00
Acceleration Partners, LLC                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2023             $0.00
Accelrys Software Inc.                                                                                                                     Amyris, Inc.                                     Mutual Non-Disclosure and Confidentiality Agreement                                                                     3/6/2013             $0.00
ACCESS BUSINESS GROUP INTERNATIONAL LLC; Centerchem, Inc.                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/27/2015             $0.00
ACF FinCo I LP                                                                                                                             Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                           9/15/2015             $0.00
Acme Press. Inc.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/26/2022             $0.00
ACORN NMR, Inc.                                                                                                                            Amyris, Inc.                                     Amendment No. 1 to Material Transfer and Confidentiality Agreement                                                     8/23/2019             $0.00

ACORN NMR, Inc.                                                                                                                            Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         5/3/2018             $0.00
ACT Solutions Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/17/2012             $0.00
Acticar Guarani S.A.                                                                                                                       Amyris, Inc.                                     MOU and Confidentiality Agreement                                                                                       9/8/2009             $0.00
Action Letter, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/2/2022             $0.00
ACUCAR GUARANI S.A.; TOTAL GAS & POWER VENTURES SAS.                                                                                       Amyris, Inc.                                     Confidentiality Agreement                                                                                              9/16/2010             $0.00
AcuTech Group, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/9/2015             $0.00
ADAM ELHOFY                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/6/2011             $0.00
Adam Navidi                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Adam Rubin                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
Adam Safir                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/13/2010             $0.00
Adam Thomason                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/24/2010             $0.00
Adams & Chittenden Scientific Glass Coop                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/14/2022             $0.00
ADAPTIVE INSIGHTS, INC.                                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        3/23/2015             $0.00
Addivant USA, LLC.                                                                                                                         Aprinnova, LLC                                   Bilateral Confidential and Sample Disclosure Agreement                                                                10/30/2017             $0.00
Adele Jackson-Gibson                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/17/2022             $0.00
Adesis, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/20/2021             $0.00
Adesis, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2018             $0.00
Adia Betts                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/24/2022             $0.00
Aditya Dighe                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/19/2010             $0.00
Adjuvance Technologies Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                1/4/2017             $0.00
Adjuvance Technologies, Inc.; GlaxoSmithKline Biologicals SA                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/15/2017             $0.00
ADL Bionatur Solutions SA                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/7/2020             $0.00




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                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
                                                                                                                                                         Debtor Party                                                                                                                                         Contract/Lease       Amount
ADP, Inc.                                                                                                                                     Amyris, Inc.                                     Business Services Agreement                                                                                           11/29/2010             $0.00
Adrich Inc                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/1/2022            $0.00
Adrienne Alvord                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/28/2007             $0.00
ADSORPTION RESEARCH INC.                                                                                                                      Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  11/7/2011             $0.00

Advaccine (Suzhou) Biopharmaceuticals Co., Ltd.                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                            2/19/2021             $0.00
Advanced Lubrication Specialties                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/8/2011             $0.00
Advanced Science Laboratories, Inc.                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/7/2021             $0.00
Advantage Sales & Marketing LLC                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/2/2020             $0.00
AEA Investors SBF LP                                                                                                                          Amyris, Inc.                                     Amyris, Inc. Confidential Disclosure Agreement                                                                        10/12/2023             $0.00
AFTON CHEMICAL CORPORATION                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/9/2011             $0.00
AGECOM AMERIC INC.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/26/2011             $0.00
Agilent Technologies Automation Solutions                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/1/2010             $0.00
Agilent Technologies Inc                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/3/2014             $0.00
Agilent Technologies Inc.                                                                                                                     Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                   10/1/2015             $0.00
Agilent Technologies Inc.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/1/2013             $0.00
Agilent Technologies Inc.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/1/2013             $0.00
Agilent Technologies, Inc.                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                                            $0.00
Agilent Technologies, Inc.; ARZEDA CORPORATION; Bruker Corporation; M2P-LABS GMBH; RUPRECHT-                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/15/2015             $0.00
KARLS-UNIVERSITAT HEIDELBERG
AgraQuest, Inc.                                                                                                                               Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                5/7/2011              $0.00
Agriodor                                                                                                                                      Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                              $0.00
Ai Ai Chen                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/8/2022              $0.00
AIBMR Life Sciences, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/16/2019              $0.00
Aimee Eyvazzadeh                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/1/2022              $0.00
AIR FORCE RESEARCH LABORATORY MATERIALS AND MANUFACTURING DIRECTORATE                                                                         Amyris, Inc.                                     Material Transfer Agreement                                                                                            9/18/2022              $0.00
AIR PRODUCTS AND CHEMICALS, INC.                                                                                                              Amyris, Inc.                                     Confidential Information/Sample Agreement                                                                              12/1/2016              $0.00
AJINOMOTO FOODS EUROPE                                                                                                                        Amyris, Inc.                                     Confidentiality & Non-Disclosure Agreement                                                                              6/1/2023              $0.00
Ajinomoto Health & Nutrition North America, Inc.                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/26/2018              $0.00
Ajinomoto Health & Nutrition North America, Inc.                                                                                              Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/17/2018              $0.00
AKER SOLUTIONS AS.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/9/2010              $0.00
AKI, Inc.                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/15/2019              $0.00
AKI, Inc.                                                                                                                                     Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        1/7/2015              $0.00
Akia D. Chiappelli                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/24/2010              $0.00
AKLERGISA PESQUISA DERMATO COSMÉTICA LTD                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/1/2021              $0.00
AKN & SONS LTD                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/27/2021              $0.00
Akron Polymer System, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2013              $0.00
Akron Rubber Development Laboratory, Inc.                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/14/2013              $0.00
Akzo Nobel Surface Chemistry LLC                                                                                                              Amyris, Inc.                                     Confidentiality Agreement                                                                                               1/4/2017              $0.00
Alan Ronald                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/21/2010              $0.00
Alana Cavanzo                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/23/2022              $0.00
Alaska Airlines, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/7/2015              $0.00
Alation, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/15/2022              $0.00
ALBANY MOLECULAR RESEARCH, INC.                                                                                                               Amyris, Inc.                                     Exhibit A-3                                                                                                            8/31/2020              $0.00
ALBANY MOLECULAR RESEARCH, INC.                                                                                                               Amyris, Inc.                                     Exhibit A-1                                                                                                            8/11/2020              $0.00
Albany Molecular Research, Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/31/2017              $0.00
Albany Molecular Research, Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/31/2017              $0.00
Albemarle Corporation                                                                                                                         Amyris, Inc.                                     Re: Letter Amendment — 2" Extension of Standard Confidentiality                                                        1/31/2010              $0.00
                                                                                                                                                                                               Agreement
ALBEMARLE CORPORATION                                                                                                                         Amyris, Inc.                                     Re: Letter Amendment — 1S1 Extension of Standard Confidentiality                                                       1/31/2010             $0.00
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Albemarle Corporation                                                                                                                         Amyris, Inc.                                     Re: Letter Amendment — 3Rd Extension of Standard Confidentiality                                                       1/31/2010             $0.00
                                                                                                                                                                                               Agreement
Albemarle Corporation                                                                                                                         Amyris, Inc.                                     Standard Confidentiality Agreement                                                                                     1/31/2010             $0.00
Alconox Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/8/2020             $0.00
Alder BioPharmaceuticals, Inc.                                                                                                                Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         10/3/2018             $0.00
Alder BioPharmaceuticals, Inc.                                                                                                                Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         10/3/2018             $0.00




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Alexandre du Sartel                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/29/2011            $0.00
Alfa Global Holdings Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/19/2020            $0.00
Alfa Laval Inc.                                                                                                                                Amyris, Inc.                                     Field Test Equipment Rental Proposal No. Rwft20140                                                                      12/7/2011            $0.00
Alfa Laval, Inc.                                                                                                                               Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                   9/22/2011            $0.00
Alice Smellie                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/15/2021            $0.00
Aline Cornells                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  9/2/2010            $0.00
Alison Brod Public Relations                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       12/9/2014            $0.00
ALLCAPCORP, LTD. CO.                                                                                                                           Amyris, Inc.                                     RE: Confidentiality Agreement for Project As-299201                                                                     5/20/2015            $0.00
Allen Julian                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       3/31/2012            $0.00
Allen Lin                                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       3/24/2011            $0.00
ALLERGISA PESQUISA DERMATO COSMÉTICA LTDA                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/1/2021            $0.00
ALLERGISA PESQUISA DERMATO-COSMETICA LTD                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/18/2021            $0.00
Alliance for Sustainable Energy, LLC                                                                                                           Amyris, Inc.                                     Bilateral Non-Disclosure Agreement                                                                                       6/8/2023            $0.00
Alliance for Sustainable Energy, LLC; Ceres, Inc.; ICM, Inc.                                                                                   Amyris, Inc.                                     Bilateral Non-Disclosure Agreement                                                                                       2/4/2010            $0.00
Almac Group Limited                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/31/2021            $0.00
Almac Group Limited                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/31/2021            $0.00
Alsara Investment Group                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/4/2023            $0.00
Altimmune, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/27/2021            $0.00
Altimmune, Inc.; Lonza Houston, Inc.                                                                                                           Amyris, Inc.                                     Confidentiality Agreement                                                                                               9/24/2021            $0.00
Alvin Tiu                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/17/2010            $0.00
AMAIA                                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/29/2021            $0.00
Amanda Chai                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/1/2010            $0.00
Amanda K. Duisman                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 5/27/2010            $0.00
Amazon.com, Inc.                                                                                                                               Amyris, Inc.                                     Customer Nondisclosure Agreement                                                                                        8/30/2012            $0.00
Amber International                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/31/2021            $0.00
American Chemical Society                                                                                                                      Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                 8/8/2011            $0.00
American Custom Drying                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/18/2020            $0.00
AMERICAN REFINING GROUP INC.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/9/2011            $0.00
American Type Culture Collection                                                                                                               Amyris, Inc.                                     Biorepository Services Agreement                                                                                        3/16/2020            $0.00
Ameridia Innovative Solutions, Inc.                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/21/2020            $0.00
AMETEK SAS                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       8/30/2012            $0.00
AMG ENGINEERING, INC.                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/21/2011            $0.00
AMG, Inc.                                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        5/3/2013            $0.00
Amoolya Singh                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 2/17/2011            $0.00
AMP Printing Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/11/2018            $0.00
AMPAC FINE CHEMICALS                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                12/7/2010            $0.00
AMPAC Fine Chemicals LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/13/2020            $0.00
Amrit Saxena                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        2/3/2012            $0.00
AMTECOL, INC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/14/2011            $0.00
AMY ANDREWS                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/19/2018            $0.00
Amy Rowat                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  5/7/2010            $0.00
Amyris                                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/2/2011            $0.00
Amyris Brasil Ltda                                                                                                                             Amyris, Inc.                                     Free Lease Agreement Contrato DE Comodato                                                                               4/25/2013            $0.00
Amyris RealSweet, LLC                                                                                                                          Amyris, Inc.                                     Shared Services Agreement                                                                                                6/1/2021            $0.00
ANA KERTESZ                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/27/2022            $0.00
Analytical Technologies Group, LLC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/18/2018            $0.00
AnalytiCon Discovery GmbH                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/20/2023            $0.00
Anandia Laboratories Inc.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/22/2015            $0.00
And Sales Inc                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                12/5/2022            $0.00
AND! SALES INC                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/26/2022            $0.00
Anderson Merchandisers, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/13/2022            $0.00
Antibioticos de Leon, S.L.U.Andrea Slayton                                                                                                     Amyris, Inc.                                     First Amendment No. 2 to Toll ManufacturingNondisclosure Agreement                                             10/26/20181/1/2013            $0.00
Andrea Slayton                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 3/17/2011            $0.00
Andrew Horwitz                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 3/29/2011            $0.00
Andrew Horwitz                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/19/2010            $0.00
Andrew McFarland                                                                                                                               Amyris, Inc.                                     'Amyris Biotechnologies, Inc. Nondisclosure Agreement                                                                   6/29/2010            $0.00
ANDREW MURLEY                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/25/2013            $0.00




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Andrew Phillips                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/27/2012              $0.00
Andrew Utada                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/5/2010             $0.00
ANDRITZ Separation Technologies Inc.                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/1/2018             $0.00
Angela Wong                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/26/2012              $0.00
ANIMAL NUTRI CONSULTORIA EM NUTRICAO ANIMAL LTDA.                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/20/2018              $0.00
Animal Nutri Consultoria em Nutricao Animial Ltda                                                                                       Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        4/20/2018              $0.00
Anisa International                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/19/2020              $0.00
Anisa International Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/27/2020              $0.00
Anna Twigg                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/12/2010              $0.00
Anne Fishman                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/25/2010              $0.00
Annie Le                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/12/2011              $0.00
Antea USA Inc, a Minnesota Corporation                                                                                                  Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                              $0.00
Anthony Chi                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/7/2011              $0.00
Anthony Spizvoca                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011              $0.00
Antibioticos de Leon, S.L.U.                                                                                                            Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                       10/31/2017              $0.00
Antibioticos de Leon, S.L.U.                                                                                                            Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        5/12/2017              $0.00
Antibioticos de Leon, SLU                                                                                                               Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                    8/1/2016              $0.00
Antibioticos de Leon, SLU                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/5/2015              $0.00
ANTIBIOTICOS S.A.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/16/2010              $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Pilot Fermentation Agreement                                                                                                                  $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Appendix 2                                                                                                                                    $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Toll Manufacturing Agreement                                                                                                                  $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Pilot Fermentation Agreement                                                                                                                  $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Pilot Fermentation Agreement                                                                                                                  $0.00
Antibioticos, S. A.                                                                                                                     Amyris, Inc.                                     Pilot Fermentation Agreement                                                                                                                  $0.00
Antibioticos, S.A.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/17/2013              $0.00
Antibioticos, S.A.; Zean Consultores                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/1/2011              $0.00
Anton Paar USA, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/13/2021              $0.00
AOC LLC                                                                                                                                 Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/31/2016              $0.00
AON CORPORATION                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/3/2011              $0.00
Aon Risk Insurance Services West, inc.                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/6/2019              $0.00
Apex International Mfg., Inc.                                                                                                           Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        12/9/2014              $0.00
Apex International Mtg.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                      $0.00
Apiscent Labs, LLC                                                                                                                      Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        1/11/2018              $0.00
Apiscent Labs, LLC                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2017              $0.00
APOTEX INC                                                                                                                              Amyris, Inc.                                     Agreement                                                                                                             11/10/2015              $0.00
APOTEX INC.                                                                                                                             Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       11/8/2016              $0.00
Applied Research Associates, Inc.                                                                                                       Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         6/6/2014              $0.00
AptarGroup, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/31/2021              $0.00
Apttus Corporation                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/15/2011              $0.00
Arc'hant Consult                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/29/2013              $0.00
Archer Daniels Midland Company                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2022              $0.00
Archer Daniels Midland Company                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/4/2019              $0.00
Archer Daniels Midland Company                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/14/2015              $0.00
Archer Daniels Midland Company                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/23/2012              $0.00
Archer Daniels Midland Company                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                      $0.00
Archer-Daniels-Midland Company                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/12/2023              $0.00
Archer-Daniels-Midland Company                                                                                                          Amyris, Inc.                                     Amended and Restated Confidential Disclosure Agreement                                                                 9/26/2023              $0.00
Archer-Daniels-Midland Company                                                                                                          Amyris, Inc.                                     Confidentiality Agreement (Mutual)                                                                                      1/8/2018              $0.00
ARD                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/1/2016              $0.00
ARD                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/1/2013              $0.00
AREA 17                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/5/2022              $0.00
Arena Investors, LP                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/6/2016              $0.00
Arizona Board of Regents                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              4/20/2011              $0.00
Arizona Nutritional Supplements                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/1/2022              $0.00
Armelle Pin                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/11/2010              $0.00
Aromatic Fillers                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/25/2022              $0.00




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Aron Filkey                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/3/2021              $0.00
Art Partner Inc                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/9/2021             $0.00
Arthur D. Little Benelux sa/nv                                                                                                                Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                   4/13/2012              $0.00
Arthur D. Little Benelux sa/nv                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/14/2011              $0.00
Arthur J. Gallagher & Co. Insurance Brokers of California, Inc.                                                                               Amyris, Inc.                                     Client Services Agreement                                                                                                5/7/2021             $0.00
ARTISAN INDUSTRIES, INC.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/23/2010              $0.00
Arul Daniel                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  6/1/2011             $0.00
Arxada AG                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/16/2022              $0.00
Arxada LLC                                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                                8/3/2023             $0.00
Arxada LLC                                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                                8/3/2023             $0.00
Arxada LLC                                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement (The "Agreement")                                                                              8/3/2023             $0.00
Arxada Ltd                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/3/2022             $0.00
Aryaka Networks, inc.                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/15/2013              $0.00
ARZEDA Corp.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/16/2019              $0.00
Arzeda Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/11/2014              $0.00
Ascend Performance Materials Operations LLC                                                                                                   Aprinnova, LLC                                   Confidentiality Agreement                                                                                              9/12/2017              $0.00
Ashland Inc.                                                                                                                                  Amyris, Inc.                                     Amendment #1 to Secrecy Agreement                                                                                      8/17/2010              $0.00
Ashlee Nunes                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/1/2011              $0.00
Ashley Abramson                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/23/2022              $0.00
Ashley Lee                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/1/2011             $0.00
Aspen Technology, Inc.                                                                                                                        Amyris, Inc.                                     Re: Proposal for Private Virtual Tutoring Training                                                                    12/17/2012              $0.00
Asteroid, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/12/2021              $0.00
AstraZeneca UK Limited                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/21/2019              $0.00
Asymchem Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/18/2020              $0.00
AT&T Corp.                                                                                                                                    Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/26/2015              $0.00
ATEL VENTURES, INC.                                                                                                                           Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                           3/9/2010             $0.00
Athea Laboratories, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/15/2014              $0.00
Aubri Balk Inc                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/1/2018             $0.00
Aura FX Studios, Inc                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/21/2022              $0.00
Aurisco Pharmaceutical Limited                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        9/1/2016             $0.00
Autajon Packaging Boston                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/20/2022              $0.00
Automation Partnership ( Cambridge ) Limited                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/12/2014              $0.00
Avanti Polar Lipids, Inc.                                                                                                                     Amyris, Inc.                                     Confidential Non-Disclosure Agreement                                                                                                         $0.00
Avanti Polar Lipids, LLC                                                                                                                      Amyris, Inc.                                     Material Transfer Agreement                                                                                             6/7/2022              $0.00
Avanti Polar Lipids, LLC                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/19/2021              $0.00
Avanti Polar Lipids, LLC, an Alabama limited liability company                                                                                Amyris, Inc.                                     Materials Transfer Agreement                                                                                                                 $0.00
AVANTIUM CHEMICALS B.V.                                                                                                                       Amyris, Inc.                                     Confidentiality Agreement                                                                                               4/1/2010              $0.00
Avery Dennison Corporation                                                                                                                    Amyris, Inc.                                     Confidentiality/Non-Disclosure Agreement                                                                              11/15/2011              $0.00
Avista Pharma Solutions, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/1/2017              $0.00
Avocados and Coconuts                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2021              $0.00
Avomeen, LLC                                                                                                                                  Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        2/28/2018              $0.00
Avon Products, Inc.                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/2/2022              $0.00
AVR Consulting Limited                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/6/2021              $0.00
AXIM Biotechnologies, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/1/2016              $0.00
AXIS Insurance Company                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/6/2019              $0.00
AXYS Industrial Solutions, Inc.                                                                                                               Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/23/2012              $0.00
Ayton Global Research Ltd                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/10/2021              $0.00
Azfar Qureshi                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/13/2010              $0.00
Azimuth Corporation                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/11/2022              $0.00
Baby Center LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/8/2019              $0.00
Balance Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidentiality and Nondisclosure Agreement                                                                     10/6/2021              $0.00
BAM Federal Institute for Materials Research and Testing; Panolin AG                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/23/2012              $0.00
BaM Productions Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/11/2022              $0.00
Bamboo HR LLC                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/25/2017              $0.00
Bambuser AB                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2021              $0.00
Banco Itau BBA S.A.                                                                                                                           Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               2/17/2010              $0.00
Bank of America, N.A.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/2/2012              $0.00




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Bann Quimica, Ltda.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/15/2014             $0.00
Banner Technology, Inc                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/27/2011             $0.00
BAOSHENG LTD                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/5/2020            $0.00
Barnet Products LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/14/2022             $0.00
Barnum Mechanical Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/14/2017             $0.00
Barnum Mechanical Inc.                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        5/3/2013            $0.00
barrettSF                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/2/2021            $0.00
Bart Oud                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/1/2013             $0.00
BARTRAM SPONSORSHIP STRATEGIES, LLC.                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/24/2011             $0.00
BASF Corporation                                                                                                                             Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        6/23/2014             $0.00
BASF S.A.                                                                                                                                    Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          8/5/2016            $0.00
BASF SE                                                                                                                                      Amyris, Inc.                                     Second Amendment to Secrecy Agreement                                                                                  8/22/2012             $0.00
BASF SE                                                                                                                                      Amyris, Inc.                                     First Amendment to Secrecy Agreement                                                                                     7/9/2012            $0.00
BASF SE                                                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                                9/5/2013            $0.00
BASF SE                                                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                              11/2/2010             $0.00
BATEMAN ADVANCED TECHNOLOGIES, LTD.                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/11/2011             $0.00
Battelle Memorial Institute                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/6/2012             $0.00
Battelle Memorial Institute                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        6/3/2010            $0.00
Bay Area Graphics                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/25/2022             $0.00
Bay Cities Container Corp.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/5/2022             $0.00
Bayer CropScience LP                                                                                                                         Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              11/23/2010             $0.00
BCENE Public Relations                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/24/2021             $0.00
BEAUTYPASTE, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/26/2022             $0.00
Beazley USA Services, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/12/2019             $0.00
Beckman Coulter, Inc.                                                                                                                        Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                           1/19/2012             $0.00
Bedoukian Research, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/1/2016            $0.00
Bedoukian Research, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/26/2010             $0.00
Beekman Social LLC                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/11/2022             $0.00
Beiersdorf AG                                                                                                                                Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                  9/23/2016             $0.00
Beiersdorf AG                                                                                                                                Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                         10/1/2015             $0.00
Beiersdorf AG; Safic-Alcan Deutschland GmbH                                                                                                  Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               1/10/2014             $0.00
Beijing Holley-Cotec Pharmaceuticals Co., Ltd.                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2014             $0.00
Beijing Jiyao Biotech Ltd                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 1/7/2019            $0.00
Bella PR                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/25/2014             $0.00
Ben Sandmann                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/22/2011             $0.00
Ben Shirey                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/27/2012             $0.00
Benchling, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/1/2020            $0.00
Benchling, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/14/2014             $0.00
Benchling, Inc.                                                                                                                              Amyris, Inc.                                     Benchling, Inc. Change Order                                                                                             1/1/2024            $0.00
Benchmark Asset Appraisals                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/28/2016             $0.00
Benchmark Cosmetic Laboratories, Inc.                                                                                                        Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                        11/28/2011             $0.00
Benchmark Cosmetic Laboratories, Inc.                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/27/2011             $0.00
BENEO GmbH                                                                                                                                   Amyris, Inc.                                     Confidentiality Agreement                                                                                              3/20/2017             $0.00
Benjamin Kaufmann                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/27/2011             $0.00
Bentley Laboratories, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/2/2018            $0.00
Bentley Laboratories, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/17/2015             $0.00
Benz Technology International                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/9/2016            $0.00
Benz Technology International, Inc                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2021             $0.00
Berkeley Lights, Inc.                                                                                                                        Amyris, Inc.                                     Amendment No. 17O Mutual Confidential Disclosure Agreement                                                            11/25/2019             $0.00
Berkeley Lights, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/26/2018             $0.00
Berkeley Lights, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/11/2017             $0.00
Berkley Professional Liability                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019             $0.00
Berlin Packaging, LLC                                                                                                                        Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        12/8/2014             $0.00
Berma, LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 7/8/2022            $0.00
Bernard Cerles                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/25/2012             $0.00
Berniedette A. Flores                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2010             $0.00
Best Ever Baby, LLC                                                                                                                          Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         10/1/2015             $0.00




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Beta Analytic Inc.                                                                                                                            Amyris, Inc.                                     Confidentiality Agreement                                                                                              3/23/2011              $0.00
Beth Peterson Enterprises, Inc.                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/17/2010              $0.00
Bettie Lee                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/4/2011             $0.00
Beyond Meat                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/30/2013              $0.00
Bic Violex S.A.                                                                                                                               Amyris, Inc.                                     MNDA                                                                                                                     1/9/2024             $0.00
BICO Group AB                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/17/2023              $0.00
Bill & Melinda Gates Foundation                                                                                                               Amyris, Inc.                                     Second Amendment to Mutual Confidential Disclosure Agreement                                                           4/23/2021              $0.00
Bill & Melinda Gates Foundation                                                                                                               Amyris, Inc.                                     Mutual Confidentiality Disclosure Agreement                                                                                                  $0.00
Bill & Melinda Gates Foundation                                                                                                               Amyris, Inc.                                     Letter Agreement                                                                                                                             $0.00
Bill and Melinda Gates Foundation                                                                                                             Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                   6/8/2016              $0.00
Bill and Melinda Gates Foundation                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/8/2015              $0.00
Bin Zhang                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/23/2010              $0.00
Bin Zhang                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010              $0.00
Binita Bhattacharjee                                                                                                                          Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/27/2010              $0.00
Bio Base Europe Pilot Plant                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/31/2016              $0.00
Bio Base Europe Pilot Plant VZW                                                                                                               Amyris, Inc.                                     Service Agreement                                                                                                     12/13/2022              $0.00
Bio Base Europe Pilot Plant VZW                                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                             2/6/2023              $0.00
Bio Base Europe Pilot Plant VZW                                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                             2/6/2023              $0.00
Bio Base Europe Pilot Plant VZW                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/22/2021              $0.00
Bio Base Europe Pilot Plant VZW                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/20/2019              $0.00
Biobent Management Services, Inc.                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/12/2021              $0.00
BIOBLEND                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/17/2010              $0.00
BioCell Technology, LLC                                                                                                                       Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                           11/9/2021              $0.00
Biocon Limited                                                                                                                                Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                           11/4/2016              $0.00
Biodiscovery LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/3/2019              $0.00
Biogen Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                      10/28/2015              $0.00
Biogen MA Inc.                                                                                                                                Amyris, Inc.                                     U.S. Master Services Agreement                                                                                         7/28/2016              $0.00
BIOINDUSTRIAL MANUFACTURING                                                                                                                   Amyris, Inc.                                     Amendment to the Subaward Agreement                                                                                     9/1/2022              $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                              Amyris, Inc.                                     Subaward Agreement (No. T-PC03-A-07-006)                                                                                9/1/2023              $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                              Amyris, Inc.                                     Subaward Agreement (No. T-DRP6-A-0006)                                                                                12/23/2022              $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                              Amyris, Inc.                                     Subaward Agreement (No. T-PC01-A-02-0006)                                                                             12/15/2021              $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                              Amyris, Inc.                                     Prime Award Agreement                                                                                                  1/30/2023              $0.00
Bioindustrial Manufacturing and Design Ecosystem                                                                                              Amyris, Inc.                                     Amendment to the Subaward Agreement                                                                                     4/4/2023              $0.00
Bioindustrial Manufacturing and Design Ecosystem - BioMADE                                                                                    Amyris, Inc.                                     Biomade Subaward Agreement (Subaward No. T-ADP11-A-0006)                                                               6/15/2023              $0.00
Bioindustrial Manufacturing and Design Ecosystem - BioMADE                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         2/8/2021              $0.00
BIOINDUSTRIAL MANUFACTURING AND DESIGN ECOSYSTEM (BIOMADE)                                                                                    Amyris, Inc.                                     Subaward Agreement (Subaward No. T-DRP7-A-0006)                                                                        12/1/2022              $0.00
BIOINDUSTRIAL MANUFACTURING AND DESIGN ECOSYSTEM (BIOMADE)                                                                                    Amyris, Inc.                                     Amendment to the Subaward Agreement (Number 22-RACER-A-H016-                                                           5/12/2023              $0.00
                                                                                                                                                                                               0006)
Biolding Investment SA                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/17/2012             $0.00
Biological Resource Center, National Institute of Technology and Evaluation                                                                   Amyris, Inc.                                     Material Transfer Agreement 1 (Mta-1)                                                                                   3/1/2017             $0.00
Biomillenia SAS                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/18/2019             $0.00
BIOMIN DO BRASIL LTDA                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/11/2010             $0.00
BIOMIN HOLDIING GmbH                                                                                                                          Amyris, Inc.                                     Agreement                                                                                                              4/29/2011             $0.00
Biomin Holding GmbH                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/3/2011             $0.00
Biomin Holding GmbH                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/11/2011             $0.00
BIONOMIC INDUSTRIES                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/8/2011             $0.00
BioPlan USA                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/26/2020             $0.00
BioPlan USA                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/26/2020             $0.00
Bio-Process Group                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/3/2020             $0.00
Bio-Process Innovation, Inc.                                                                                                                  Amyris, Inc.                                     Non-Disclosure/ Secrecy Agreement                                                                                      4/15/2022             $0.00
Bioprocess Pilot Facility B.V.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/11/2016             $0.00
Bioprocess Pilot Facility B.V.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/19/2012             $0.00
Bioproduction Group, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/8/2014             $0.00
Biosafe — Biological Safety Solutions Ltd/Oy                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/4/2021             $0.00
Biosafe Ltd.                                                                                                                                  Amyris, Inc.                                     Material Transfer Agreement                                                                                             4/1/2021             $0.00
biotech competence gmbh                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/24/2019             $0.00
Biotech Research Group, Inc.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/3/2020             $0.00




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Biotechnical Services, Inc.                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     12/22/2017             $0.00
Biotork LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/20/2012             $0.00
BLACK PONY VENTURES SL                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 1/7/2020            $0.00
Blacksquare, LLC                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/29/2014             $0.00
BlueFire Renewables Inc                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/6/2012            $0.00
Bluestem Biosciences, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                        10/14/2022             $0.00
Bluestem Biosciences, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                        10/14/2022             $0.00
BNP Paribas Securities Corp                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/22/2019             $0.00
Board of Regents of the University of Wisconsin System                                                                                        Amyris, Inc.                                     Great Lakes Bioenergy Research Center Mutual Non-Disclosure                                                            3/21/2019             $0.00
                                                                                                                                                                                               Agreement
Board of Trustees of Southern Illinois University                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2021             $0.00
Bob Waymouth                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/21/2010             $0.00
Bobbi Angell                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/23/2022             $0.00
BOCSCI Inc                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/9/2018             $0.00
BODY SHOP INTERNATIONAL LIMITED                                                                                                               Amyris, Inc.                                     Reciprocal Confidentiality Agreement                                                                                   4/22/2022             $0.00
Boeing Company                                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/24/2012             $0.00
BOLD PR LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/16/2017             $0.00
BONNIE HAMES                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/1/2010             $0.00
Boox, PBC                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/9/2020             $0.00
Booyah Networks, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2020             $0.00
Born & Made LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/27/2020             $0.00
BORNY MADE LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/27/2020             $0.00
Bostik, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/22/2014             $0.00
Bounce Exchange, Inc                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/5/2018             $0.00
BP LUBRICANTS USA INC.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Amendment Agreement                                                                     6/12/2013             $0.00
BP LUBRICANTS USA INC.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2012             $0.00
BP LUBRICANTS USA INC.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2012             $0.00
BP Lubricants USA, Inc.                                                                                                                       Amyris, Inc.                                     Amendment #1 to Confidential Disclosure Agreement                                                                       7/8/2011             $0.00
BP LUBRICANTS USA, INC.                                                                                                                       Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         7/30/2010             $0.00
BP Technology Ventures Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/20/2012             $0.00
Braidwell Partners Master Fund LP; Paul Hastings LLP; U.S. Bank National Association                                                          Amyris, Inc.                                     Confidentiality Agreement                                                                                               8/3/2023             $0.00
Brandon Johnson                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/14/2011             $0.00
BrandPie Inc                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/1/2017             $0.00
Brandshare                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreemetarr                                                                                   10/13/2015             $0.00
Braskem S.A.                                                                                                                                  Amyris, Inc.                                     Three-Way Confidentiality and Common Interest Agreement                                                               11/23/2013             $0.00
BRASKEM S.A.; IDEOM TECNOLOGIA LTDA.; Manufacture Francaise des Pneumatiques Michelin                                                         Amyris, Inc.                                     Multiparty Confidential Disclosure Agreement                                                                           12/9/2011             $0.00
BRASKEM S.A.; MANUFACTURE FRANCAIS DES PNEUMATIQUES MICHELIN                                                                                  Amyris, Inc.                                     Multiparty Confidential Disclosure Agreement                                                                            6/3/2013             $0.00
BRC The Broad Institute, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        4/28/2021             $0.00
BRC The Broad Institute, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        4/28/2021             $0.00
BREAKTHROUGH FUEL, LLC.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/25/2013             $0.00
Brenntag Schweizerhall AG                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/8/2014             $0.00
Brenton Keough                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/18/2010             $0.00
Brian Hawthorne                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/29/2010             $0.00
Brian Kirrene                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 5/2/2010             $0.00
Brian Lander                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/14/2010             $0.00
Brian Sauls                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/23/2010             $0.00
BRIDGESONE CORPORATION                                                                                                                        Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         3/15/2010             $0.00
Bridgestone Corporation                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/4/2014             $0.00
Bridgestone Corporation                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/4/2014             $0.00
Bridgestone Corporation                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/21/2014             $0.00
Brigitte Keon                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/12/2010             $0.00
Brilliant Formulations                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/19/2015             $0.00
Brinkmann Instruments                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/23/2017             $0.00
Brinkmann Instruments, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2019             $0.00
Brisan Group, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/4/2020             $0.00
British Sugar                                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                               7/1/2011             $0.00
Britta Randlev                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/21/2010             $0.00




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BROAD INSTITUTE, INC.                                                                                                                       Amyris, Inc.                                     Nonexclusive Patent License Agreement                                                                                    8/4/2023            $0.00
Bruker Corporation                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/4/2014             $0.00
BRUKER OPTICS INC.                                                                                                                          Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         2/15/2010             $0.00
Bruno Cabane                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        1/3/2014            $0.00
Brynne Stanton                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
Buckeye International, Inc.                                                                                                                 Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/23/2014             $0.00
BUFLOVAK, LLC                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/29/2011             $0.00
BugLab, LLC                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/28/2015             $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                             Aprinnova, LLC                                   Lease                                                                                                                  4/26/2021             $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                             Aprinnova, LLC                                   Lease                                                                                                                    4/1/2021            $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                             Aprinnova, LLC                                   First Amendment to Lease                                                                                                 8/1/2021            $0.00
BURGESS GROUP CONSOLIDATED, LLC                                                                                                             Aprinnova, LLC                                   First Amendment to Lease                                                                                                 8/1/2021            $0.00
Business Capital                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/1/2012            $0.00
Butchershop Creative, LLC                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        1/7/2015            $0.00
C Cubed Biotech                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/14/2014             $0.00
C. Charles Dowk                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/22/2010             $0.00
CA Fortune Sales & Marketing, LLC                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/15/2022             $0.00
CA Fortune Sales & Marketing, LLC                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2022             $0.00
Cabot Corporation                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/26/2018             $0.00
CAL WEST MASHY COMPANY, INC.                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        4/6/2011            $0.00
Calico Life Sciences LLC                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                              4/21/2016             $0.00
Calumet Penreco, LLC                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/17/2016             $0.00
Calumet Refining, LLC                                                                                                                       Aprinnova, LLC                                   Nondisclosure Agreement                                                                                                5/18/2018             $0.00
Calvin Crim                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/19/2011             $0.00
Cambrex Charles City, Inc.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/14/2017             $0.00
Cambridge Polymer Group, Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/27/2013             $0.00
Camelback Displays                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/24/2020             $0.00
Campari America LLC                                                                                                                         Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                        12/10/2018             $0.00
Canaccord Genuity LLC                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  6/8/2023            $0.00
Cancer Insight, LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/10/2021             $0.00
Canopy Growth Corporation                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/1/2021            $0.00
CAPERVA QUIMICA S.L.                                                                                                                        Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                       11/23/2018             $0.00
Caporale Consulting                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/6/2013             $0.00
Capua BioServices S.p.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/3/2018            $0.00
Carbono Quimica ltda                                                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/26/2016             $0.00
Carbono Quimica ltda                                                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/26/2016             $0.00
Carey Chern                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/22/2010             $0.00
Cargill, Incorporated                                                                                                                       Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       3/28/2012             $0.00
Carine Schneider                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/21/2010             $0.00
Carmagen Engineering Inc                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/28/2011             $0.00
Caroline Harley                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/25/2011             $0.00
Carrot Fertility, Inc.                                                                                                                      Amyris, Inc.                                     Master Services Agreement                                                                                                2/1/2022            $0.00
Carrot Fertility, Inc.                                                                                                                      Amyris, Inc.                                     Master Services Agreement                                                                                                1/1/2022            $0.00
Carrot Fertility, Inc.                                                                                                                      Amyris, Inc.                                     Plan Design Amendment                                                                                                    1/1/2023            $0.00
Carter Dow                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/8/2011            $0.00
Cartograph LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/5/2019            $0.00
Cascade Chemistry                                                                                                                           Amyris, Inc.                                     Three-Way Mutual Confidential Disclosure Agreement                                                                     8/24/2021             $0.00
Cascade Chemistry                                                                                                                           Amyris, Inc.                                     Three-Way Mutual Confidential Disclosure Agreement                                                                       8/2/2021            $0.00
Catalent Pharma Solutions, LLC                                                                                                              Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                    7/22/2022             $0.00
Catalent Pharma Solutions, LLC                                                                                                              Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                    7/22/2022             $0.00
Cataya Bio (Shanghai) Co Ltd.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/16/2022             $0.00
Catch, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/20/2023             $0.00
CATHAY PACIFIC AIRWAYS LIMITED                                                                                                              Amyris, Inc.                                     Confidentiality Agreement                                                                                                7/5/2013            $0.00
Cavalier International Air Freight, Inc.                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/7/2021             $0.00
CBA Brand Engine                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/5/2014            $0.00
Ce Yang                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011             $0.00
Cecilia Walsh                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/29/2010             $0.00




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Celeste Sandoval                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/12/2010             $0.00
CELLECTIS SA                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/18/2011             $0.00
CELSIUS HOLDINGS, INC.                                                                                                                  Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                          11/13/2018             $0.00
Centauri Technologies, LP                                                                                                               Amyris, Inc.                                     Third Amendment to Mutual Confidential Disclosure Agreement                                                              3/1/2015            $0.00
Centauri Technologies, LP                                                                                                               Amyris, Inc.                                     Second Amendment to Mutual Confidential Disclosure Agreement                                                           2/28/2014             $0.00
Centauri Technologies, LP                                                                                                               Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            1/11/2013             $0.00
Centauri Technologies, LP                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/12/2012             $0.00
CENTAURI TECHNOLOGIES, LP                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/29/2010             $0.00
Center Design                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2022             $0.00
Centre national de la recherche scientifique                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/30/2013             $0.00
Centre national de la recherche scientifique                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/21/2012             $0.00
Centro de Tecnologia Canavieira S/A                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/25/2013             $0.00
Cercone Brown Corp                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/5/2020            $0.00
CERES, INC.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 1/1/2010            $0.00
Cerno Bioscience, LLC                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2020             $0.00
Ceruvia Lifesciences, LLC                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/27/2022             $0.00
Cesar Rodriguez                                                                                                                         Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/19/2011             $0.00
CEVA Freight Canada Corp.                                                                                                               Amyris, Inc.                                     Agency Agreement                                                                                                       7/13/2018         $1,845.32
Chan Li                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/24/2010             $0.00
Chance Elliott                                                                                                                          Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/21/2010             $0.00
Character SF, LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/22/2020             $0.00
Charles D. Kraft                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2012             $0.00
Charles River Laboratories, Inc.                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/30/2021             $0.00
Charlie Boone                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        1/7/2013            $0.00
Charlotte Products LTD.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/17/2014             $0.00
Chase Products Co                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/29/2014             $0.00
CHEM Group                                                                                                                              Amyris, Inc.                                     Services Agreement                                                                                                     5/15/2013        $25,008.54
CHEM GROUP                                                                                                                              Amyris, Inc.                                     Re: Modification to Amendment #3 to Service Agreement                                                                  12/4/2014             $0.00
CHEM Group                                                                                                                              Amyris, Inc.                                     Amendment #1 to Service Agreement                                                                                      8/20/2013             $0.00
CHEM Group                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/14/2013             $0.00
CHEM Group                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/14/2013             $0.00
Chem Group Inc                                                                                                                          Amyris, Inc.                                     Confident Ial Disclosure Agreement                                                                                     7/21/2011             $0.00
CHEMDESIGN PRODUCTS INC                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/23/2010             $0.00
ChemEOR                                                                                                                                 Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                           12/17/2014             $0.00
ChemEOR                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/17/2013             $0.00
Chemical Search International Limited                                                                                                   Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                             $0.00
Chemicals, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/18/2015             $0.00
Chemicals, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/18/2012             $0.00
ChemLogix LLC                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2011             $0.00
Chemo Biosynthesis S.r.l.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/28/2022             $0.00
Chemol Company, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/28/2013             $0.00
ChemQuest Group, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/18/2023             $0.00
Chemtura Corporation                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/12/2010             $0.00
Chemworld Marketing Corporation                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/21/2014             $0.00
Chevron Phillips Chemical Company LP                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure and Non-Analysis Agreement                                                                        6/7/2010             $0.00
Chevron Products Company                                                                                                                Amyris, Inc.                                     Second Addendum to Confidentiality Agreement                                                                           3/30/2010             $0.00
Chevron Products Company                                                                                                                Amyris, Inc.                                     First Addendum to Confidentiality Agreement                                                                           12/16/2009             $0.00
Chevron Products Company                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/13/2009             $0.00
Chi-Li Liu                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/10/2010             $0.00
Chilworth Technology, Inc.                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/28/2015             $0.00
CHINA GATEWAY LIFE SCIENCE (HOLDINGS) LIMITED                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/28/2011             $0.00
Chinmay Majmudar, Cipla                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/13/2011             $0.00
Chloe Productions, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/3/2023             $0.00
CHOBANI, LLC                                                                                                                            Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        2/16/2020             $0.00
Chr. Hansen Natural Colors A/S                                                                                                          Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                    5/30/2019             $0.00
Chris Bartlett                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/19/2013             $0.00
Chris Bocilla                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/25/2010             $0.00




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Chris Moore                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/3/2011              $0.00
Chris Paizis                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011              $0.00
Christian Duenas                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/14/2021              $0.00
Christina Capule                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/5/2012             $0.00
Christine Mwangi                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/16/2011              $0.00
Christopher B Fuller                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/15/2010              $0.00
Christopher Burns                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/13/2011              $0.00
Christopher Calderon                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/6/2013              $0.00
Christopher Calvey                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/17/2013              $0.00
Christopher Ryan                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/21/2013              $0.00
Christopher Scott                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/24/2011              $0.00
ChromaDex, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/13/2017              $0.00
Chrysea Limited                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/27/2023              $0.00
Chunbo Lou                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011              $0.00
Cigna Health and Life Insurance Company                                                                                                     Amyris, Inc.                                     Performance Guarantee Agreement                                                                                          1/1/2023             $0.00
Cigna Health and Life Insurance Company                                                                                                     Amyris, Inc.                                     Administrative Services Only Agreement                                                                                   1/1/2023             $0.00
CIGNA HEALTH AND LIFE INSURANCE COMPANY                                                                                                     Amyris, Inc.                                     Insurance - Stop Loss Agreement                                                                                                               $0.00
CIPLA LTD.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/29/2011              $0.00
Citibank, N.A.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/24/2012              $0.00
CJ CheilJedang Corp.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/25/2016              $0.00
CJ CheilJedang Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/18/2019              $0.00
CJ CheilJedang Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/24/2010              $0.00
CJ DO BRASIL INDUSTRIA E COMERCIO DE PRODUTOS ALIMETICIOS LTDA.                                                                             Amyris, Inc.                                     Mutual Confidential Disclowite Agreement                                                                                7/4/2011              $0.00
Clariant Corporation                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/6/2022              $0.00
Clariant International Ltd                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                              7/16/2014              $0.00
Clariant International Ltd                                                                                                                  Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         4/3/2012              $0.00
Clarke Mosquito Control Products, Inc.                                                                                                      Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            6/20/2016              $0.00
Claude Bensoussan                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/1/2014              $0.00
Claudia Vickers                                                                                                                             Amyris, Inc.                                     Amyris, Inc. . Nondisclosure Agreement                                                                                 1/20/2011              $0.00
Claudia Yu                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/17/2010              $0.00
Clean Label Project, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/25/2020              $0.00
Clear Spider Inc                                                                                                                            Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         2/10/2011              $0.00
CLEAR TASK, INC.                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/11/2010              $0.00
ClearWaterBay Technology, Inc                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/1/2012              $0.00
Click Bio, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/20/2018              $0.00
Clinical Research Laboratories                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/20/2015              $0.00
Clinton Health Access Initiative, Inc.                                                                                                      Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                          7/3/2014              $0.00
Clorox Services Company                                                                                                                     Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/23/2014              $0.00
CLOSER 2021 LTD                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/15/2022              $0.00
Clover Biopharmaceuticals AUS Pty Ltd                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/9/2021              $0.00
Clover Biopharmaceuticals USA, Inc.                                                                                                         Amyris, Inc.                                     Material Transfer Agreement                                                                                            8/11/2022              $0.00
Clover Biopharmaceuticals USA, Inc.                                                                                                         Amyris, Inc.                                     Materials Transfer Agreement                                                                                                                 $0.00
Coca-Cola Company                                                                                                                           Amyris, Inc.                                     Bilateral/Multilateral Non-Disclosure Agreement                                                                       10/17/2022              $0.00
Coca-Cola Company                                                                                                                           Amyris, Inc.                                     Bilateral/Multilateral Non-Disclosure Agreement                                                                        10/1/2011              $0.00
COFCO Nutrition and Health Research Institute Co., Ltd.                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2015              $0.00
Colorado Quality Products, LLC                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/7/2017              $0.00
ColorMatrix Group, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/24/2012              $0.00
Columbia Analytical Services, Inc                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/19/2011              $0.00
Columbia Cosmetics                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/8/2022              $0.00
Column5 Consulting Group, LLC                                                                                                               Amyris, Inc.                                     Mutual Non-Disclosure Agreement Between Column5 Consulting Group,                                                       4/9/2015              $0.00
                                                                                                                                                                                             Llc and Amyris, Inc.
Companhia Nacional de Aciicar e Alcool — CNAA                                                                                               Amyris, Inc.                                     Confidentiality Agreement                                                                                               7/5/2010             $0.00
Companhia Nitro Quimica Brasileira                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/22/2011             $0.00
COMPENSIA INC.                                                                                                                              Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         2/17/2010             $0.00
Compensia, Inc.                                                                                                                             Amyris, Inc.                                     Amendment to Terms of Compensia Engagement                                                                              6/1/2020             $0.00
Compliance Dynamics LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/12/2013             $0.00
CONEXUS CAPITAL ADVISORS, INC.                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/20/2011             $0.00




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CONEXUS CAPITAL ADVISORS, INC.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2010             $0.00
CONEXUS CAPITAL ADVISORS, INC.                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/26/2010             $0.00
Conservatoire National des Arts et Métiers                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/8/2018            $0.00
Conservatoire National des Arts et Métiers                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/8/2018            $0.00
Context Capital Management, LLC; Paul Hastings LLP; U.S. Bank National Association                                                           Amyris, Inc.                                     Confidentiality Agreement                                                                                                8/3/2023            $0.00
Continental Technologies LLC                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        2/2/2010            $0.00
Copernicus Group, Inc.                                                                                                                       Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                 5/1/2018            $0.00
Cordell Pharma International GmbH                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/7/2007            $0.00
Corden Pharma International GmbH                                                                                                             Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                            1/16/2019             $0.00
Corporate Renaissance Group                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/19/2011             $0.00
Correlia Biosystems                                                                                                                          Amyris, Inc.                                     Material Transfer Agreement                                                                                            3/31/2023             $0.00
Correlia Biosystems                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/15/2023             $0.00
COSAN S.A. INDUSTRIA E COMERCIO                                                                                                              Amyris, Inc.                                     Re: Permitted Disclosure of Agreements to Third Parties                                                                3/10/2010             $0.00
Cosmetech Co, Ltd.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/9/2014            $0.00
Cosmetech Laboratories, Inc                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/6/2012            $0.00
Cosmetix West                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/19/2015             $0.00
Cosmo Oil of U.S.A.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/14/2016             $0.00
Costco Wholesale Corporation                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/21/2016             $0.00
Coty Inc.                                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/17/2016             $0.00
Couple in the Kitchen LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/1/2019            $0.00
Coury Science & Engineering, PLLC                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/18/2016             $0.00
COVANCE INC.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/18/2020             $0.00
COVANCE LABORATORIES INC.                                                                                                                    Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/26/2018             $0.00
COVET PUBLIC RELATIONS, INC.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/31/2019             $0.00
Cowen and Company, LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/17/2015             $0.00
Cowen and Company, LLC                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        6/7/2013            $0.00
CPI INNOVATION SERVICES LIMITED                                                                                                              Amyris, Inc.                                     Agreement                                                                                                              9/18/2012             $0.00
Craftory Ltd                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/3/2023            $0.00
Craig Reeder                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/10/2010             $0.00
CRB Benelux BV                                                                                                                               Amyris, Inc.                                     First Amendment to Material Transfer Agreement                                                                         5/12/2015             $0.00
CRB Benelux BV                                                                                                                               Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          1/6/2015            $0.00
Creative Drive US LLC                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Creative Media Marketing, Inc.                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/25/2014             $0.00
Creative Sales and Marketing                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/5/2022             $0.00
Creature                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/8/2013             $0.00
Credit Suisse Securities (USA) LLC                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/21/2015             $0.00
CreditRiskMonitor.com, Inc.                                                                                                                  Amyris, Inc.                                     Trade Accounts Receivable Confidentiality Agreement                                                                     4/4/2012             $0.00
Croda Europe Limited                                                                                                                         Amyris, Inc.                                     Squalene Purchase Agreement and Exclusive License Agreement                                                            5/18/2023             $0.00
Croda Europe Limited                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                               3/1/2016             $0.00
Croda Europe Limited; GlaxoSmithKline Biologicals SA                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/3/2023             $0.00
Croda Inc.                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/1/2012             $0.00
CROLL REYNOLDS LLC; The Clean Air Group                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/5/2011             $0.00
Crybaby Productions                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/1/2021             $0.00
CSR Cosmetic Solutions INC.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/15/2020             $0.00
CTL Packaging USA                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       3/8/2019             $0.00
CULVER CAPITAL GROUP, INC,                                                                                                                   Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                          2/8/2010             $0.00
CURRENT LIFESTYLE MARKETING                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/2/2014             $0.00
Curtis Poulos                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/10/2010             $0.00
Custom Analytics LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/6/2021             $0.00
Custom Analytics LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/21/2019             $0.00
Custom Equipment Solutions Southeast, LLC                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/26/2020             $0.00
Custom Essence Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/14/2011             $0.00
Cvlt Studios, LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/10/2022             $0.00
Cyclo Industries, Inc                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/16/2017             $0.00
Cymer, LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/8/2015             $0.00
DAG Ventures                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/31/2012             $0.00
Damico                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00




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Damon Burk                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/13/2011             $0.00
Dan Clements                                                                                                                                 Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        12/3/2018             $0.00
Dan McAdam                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/1/2010             $0.00
Dan Wallner                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/14/2011             $0.00
Danae Lucas                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/19/2013             $0.00
DanChem                                                                                                                                      Amyris, Inc.                                     Purchase Agreement                                                                                                     7/11/2018             $0.00
DanChem                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/24/2021             $0.00
DanChem Technologies, Inc.                                                                                                                   Amyris, Inc.                                     Exhibit B                                                                                                             12/28/2015             $0.00
DanChem Technologies, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                    1/24/2017             $0.00
DanChem Technologies, Inc.                                                                                                                   Amyris, Inc.                                     Confidentiality Agreement                                                                                              12/9/2015             $0.00
Daniel Hollis                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/31/2011             $0.00
Daniel J. Kvltek                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/14/2012             $0.00
Danielle Tullman-Ercek                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/2/2013             $0.00
Danisco US Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/5/2020            $0.00
Danisco US Inc.                                                                                                                              Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        8/20/2015             $0.00
DANONE US, LLC                                                                                                                               Amyris, Inc.                                     Confidentiality Agreement                                                                                              12/2/2020             $0.00
Daptiv Solutions llc                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/3/2013             $0.00
Darktrace Holdings Limited                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/28/2022             $0.00
Dash Hudson Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/25/2022             $0.00
David Benjamin                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  8/8/2011            $0.00
David Botstein                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/15/2011             $0.00
David Dunning                                                                                                                                Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                 6/6/2010            $0.00
David Gray                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/22/2010             $0.00
David Gray                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  9/2/2010            $0.00
David Humbird                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/17/2010             $0.00
David Hustgen                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/5/2010            $0.00
David Kalez                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/3/2011            $0.00
David Little                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  6/6/2011            $0.00
David Tourigny                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/17/2023             $0.00
David Wheeler                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2010             $0.00
David Wilson                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  9/7/2011            $0.00
Dawn Thomspson, Ph.D.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/12/2015             $0.00
DBO ENGENHARIA LTDA; SAO MARTINHO S.A.; USINA BOA VISTA S.A.; USINA SAO MARTINHO S.A.                                                        Amyris, Inc.                                     Agreement for Confidentiality                                                                                                                $0.00

De Smet S.A Engineers & Contractors                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/28/2014             $0.00
Debjani Ghoshal                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/8/2010             $0.00
Deborah Sato Wong                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/11/2010             $0.00
Debra Thompson                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
Defense Advanced Research Projects Agency                                                                                                    Amyris, Inc.                                     Modification to Technology Investment Agreement                                                                                              $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                         4/4/2013             $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
DEFENSE ADVANCED RESEARCH PROJECTS AGENCY                                                                                                    Amyris, Inc.                                     Technology Investment Agreement                                                                                                              $0.00
DEG - Deutsche Investitions- und; Entwicklungsgesellschaft mbH                                                                               Amyris, Inc.                                     LMA Confidentiality Letter                                                                                              7/4/2012             $0.00
Dehua Zhao                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
Delfin Group USA                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/26/2011             $0.00
Delft Advanced Biofuels B.V.; Delft University of Technology                                                                                 Amyris, Inc.                                     Non-Disclosure and Evaluation Agreement                                                                                 7/2/2015             $0.00
Delft University of Technology                                                                                                               Amyris, Inc.                                     Non Disclosure Agreement                                                                                              10/31/2013             $0.00
Delft University of Technology                                                                                                               Amyris, Inc.                                     Non Disclosure Agreement                                                                                               3/20/2012             $0.00
Delft University of Technology                                                                                                               Amyris, Inc.                                     Non Disclosure Agreement                                                                                              12/14/2010             $0.00
Delft University of Technology                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/13/2010             $0.00
Denise Brodey                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/19/2022             $0.00
Denise Giang                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/3/2010             $0.00
Dennis Adkesson                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/16/2010             $0.00




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Denver Health and Hospital Authority                                                                                                          Amyris, Inc.                                     Confidentiality/Non-Disclosure Agreement                                                                               4/22/2015             $0.00
Desmet Ballestra North America, Inc.                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        5/3/2013            $0.00
Destination Maternity Corporation                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/25/2019             $0.00
Deutsche Lufthansa AG                                                                                                                         Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        7/25/2013             $0.00
Devereux Specialties, LLC                                                                                                                     Amyris, Inc.                                     Material Transfer Agreement                                                                                            2/29/2012             $0.00
Devries Global                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/25/2014             $0.00
Dewayne Bowlin                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/2/2011            $0.00
DGA CO., LTD.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/16/2021             $0.00
DHAP Digital, Inc.                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        9/9/2014            $0.00
Dhinakar S. Kompala                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/28/2011             $0.00
Diamond Wipes International, Inc.                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Diana Herrera                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/11/2011             $0.00
Diana Lee                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/3/2012             $0.00
Dionex Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/30/2010             $0.00
Distribution Management                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/4/2022             $0.00
Dixie Chemical Company, Inc.                                                                                                                  Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                   11/1/2013             $0.00
DIXIE CHEMICAL COMPANY, INC.                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/1/2012             $0.00
DIXIE CHEMICAL COMPANY, INC.                                                                                                                  Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         3/12/2010             $0.00
DKSH International Ltd.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/12/2015             $0.00
DLH Bowles                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
DMC LIMITED.                                                                                                                                  Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         10/9/2015             $0.00
DNA2.0, Inc.                                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                              4/22/2010             $0.00
DOBLE ENGINEERING COMPANY                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/10/2011             $0.00
DocuSmart Inc.                                                                                                                                Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        9/23/2022             $0.00
Dollar Shave Club, Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       12/6/2021             $0.00
Dome Construction Corp; Independent Project Analysis, Inc.                                                                                    Amyris, Inc.                                     Exhibit A Third Party Confidentiality Agreement                                                                         4/1/2010             $0.00
Dominic Lim                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/16/2010             $0.00
Domo, Inc.                                                                                                                                    Amyris, Inc.                                     Domo, Inc. Mutual Nondisclosure Agreement                                                                               2/5/2019             $0.00
Don Ballard                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Don Benoit                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/20/2011             $0.00
Donald J Misumi                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                      $0.00
Dottikon ES America, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/9/2018             $0.00
DOTTIKON EXCLUSIVE SYNTHESIS AG.                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/4/2011             $0.00
Douglas Koshland                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/7/2011             $0.00
Dow AgroSciences LLC.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/8/2019             $0.00
Dow Chemical Company                                                                                                                          Amyris, Inc.                                     Confidentiality Agreement                                                                                               4/9/2012             $0.00
DP Print Services Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/16/2021             $0.00
Dr. Brad Gibson                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/8/2013             $0.00
Dr. Bruce Novak                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/7/2010             $0.00
Dr. Elibio Rech                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     12/10/2010             $0.00
Dr. Ellen Yeh                                                                                                                                 Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         4/29/2010             $0.00
Dr. Greg Cost                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/17/2011             $0.00
DR. JENS SCHRADER                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/26/2010             $0.00
Dr. Kurt Thorn                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/19/2011             $0.00
Dr. Maria Ines Tiraboschi Ferro                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/31/2011             $0.00
Dr. Nina Botto                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/28/2021             $0.00
Dr. Rachel Brem                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/10/2011             $0.00
Dr. Randy Schekman                                                                                                                            Amyris, Inc.                                     Speaker Agreement                                                                                                       1/6/2014             $0.00
Dr. Roland Lill                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/21/2010             $0.00
Dr. Sergio Vieira                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/16/2017             $0.00
Dr. Vassily Hatzimanikatis                                                                                                                    Amyris, Inc.                                     Second Amendment to Confidential Disclosure Agreement                                                                   9/4/2014             $0.00
Dr. Vassily Hatzimanikatis                                                                                                                    Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                    6/1/2014             $0.00
DR. VASSILY HATZIMANIKATIS                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/17/2012             $0.00
Draths Corporation                                                                                                                            Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                          5/9/2011             $0.00
DSK BIOPHARMA, Inc.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/18/2020             $0.00
DSM Bio-based Products & Services B.V.                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/27/2017             $0.00
DSM Food Specialties B.V.                                                                                                                     Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        9/1/2017             $0.00




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DSM International B.V.                                                                                                                         Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          6/1/2018            $0.00
DSM IP Assets B.V. and DSM Food Specialties B.V.                                                                                               R&D                                              L-62 License Agreement                                                                                                 5/15/2023             $0.00
DSM Nutritional Product Ltd.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2016             $0.00
DSM Nutritional Product Ltd.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/21/2015             $0.00
DSM Nutritional Products AG                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                              11/1/2018             $0.00
DSM Nutritional Products Ltd                                                                                                                   Amyris, Inc.                                     Amendment to the Mutual Confidential Disclosure Agreement Dated 9                                                        3/9/2017            $0.00
                                                                                                                                                                                                March 2017
DSM Nutritional Products Ltd; Mead Johnson & Company, LLC                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/12/2017             $0.00
DSM Nutritional Products, LLC                                                                                                                  Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               2/24/2022             $0.00
DSM Nutritional Products, LLC                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/22/2020             $0.00
DSM PTG, INC.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/28/2010             $0.00
DUALFORM STUDIO                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/25/2014             $0.00
Durham Capital Corporation                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/15/2016             $0.00
DYNAMICS, INC.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/13/2011             $0.00
Dynasol Elastomeros, S.A. de C.V.                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/10/2014             $0.00
Eastman Kodak Company                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/16/2016             $0.00
Ecamricert srl                                                                                                                                 Amyris, Inc.                                     Material Transfer Agreement                                                                                            7/29/2022             $0.00
ECOCERT GREENLIFE                                                                                                                              Amyris, Inc.                                     Confidentiality Agreement                                                                                                                    $0.00
Ecolab                                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       1/3/2012             $0.00
Ecolab USA Inc.                                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                               5/8/2012             $0.00
Ecolab, Inc.                                                                                                                                   Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         5/5/2014             $0.00
Ecole Superieure de Chimie et Physique Industrielles de la Ville de Paris                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2018             $0.00
EcoPlum                                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/25/2022             $0.00
EcoSynth NV                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/25/2021             $0.00
Edeniq                                                                                                                                         Amyris, Inc.                                     Material Transfer and Valuation Agreement                                                                             12/19/2012             $0.00
Edeniq, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/18/2012             $0.00
Edge Retail Limited                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/8/2020             $0.00
Edrick Wong                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Edris Afghanzada                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/13/2010             $0.00
Eduardo Baralt                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Edward Hsiao                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/14/2010             $0.00
Efficient Collaborative Retail Marketing Co LLC                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/5/2022             $0.00
Ei LLC                                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/16/2014             $0.00
Eka Chemicals Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/7/2011             $0.00
Elbow River Marketing, LLP                                                                                                                     Amyris Fuels, LLC                                Mutual Confidential Disclosure Agreement                                                                               5/20/2012             $0.00
Elcan Industries                                                                                                                               Amyris, Inc.                                     Services Agreement                                                                                                     5/17/2017             $0.00
Elcan Industries                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/1/2017             $0.00
Elcan Industries, Inc.                                                                                                                         Amyris, Inc.                                     Amendment No. 1 to Services Agreement                                                                                   6/1/2020             $0.00
ELCOS AMERICA                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/7/2022             $0.00
Electrosynthesis Company, Inc.                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/25/2011             $0.00
Elegen Corp.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/14/2022             $0.00
Element Food Solutions, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/4/2021             $0.00
Element Packaging LLC                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/21/2019             $0.00
ELEMENTAL MiCORONALYSIS LTD.                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/1/2011             $0.00
Eleven, Inc.                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/17/2014             $0.00
ELICITYL S.A.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/7/2020             $0.00
Elisse Gabriel                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/22/2019             $0.00
Elizabeth Exter                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/19/2011             $0.00
Elizabeth Kazda                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/23/2012             $0.00
Ellen Maldonado                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/15/2010             $0.00
EMD Millipore Corporation                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/27/2021             $0.00
EMD Millipore Corporation                                                                                                                      Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        1/2/2013             $0.00
Emery Pharma                                                                                                                                   Amyris, Inc.                                     Amendment No. 1 to Confidential Disclosure Agreement                                                                    5/2/2018             $0.00
Emery Pharma                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/3/2017             $0.00
EMERYSTATION TRIANGLE, LLC                                                                                                                     Amyris, Inc.                                     Certain Lease dated April 25, 2008, as amended from time to time                                                      12/28/2023      $274,814.01
                                                                                                                                                                                                including as
                                                                                                                                                                                                amended by Fifth Amendment (5850 Hollist St, Emeryville, CA)includi
Emeryville Pharmaceutical Services                                                                                                             Amyris, Inc.                                     Services Agreement                                                                                                     9/13/2013             $0.00




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Emeryville Pharmaceutical Services                                                                                                            Amyris, Inc.                                     Amendment #1 to Service Agreement                                                                                      8/21/2014             $0.00
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Emily Coker                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/13/2010              $0.00
Empirical Labs, Inc                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/25/2022              $0.00
Enakshi Singh                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/18/2011              $0.00
Endre Kallai                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011              $0.00
Endurance Risk Solutions Assurance Co.                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019              $0.00
Enduro Genetics ApS                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/2/2022             $0.00
Engineering Biology Research Consortium                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/15/2020              $0.00
ENLASO Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/2/2020              $0.00
Enterprise Automation                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/11/2012              $0.00
Environmental Fluids, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/27/2020              $0.00
Environmental Packaging International Ltd                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/5/2019             $0.00
Environmental Resources Management                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     12/24/2011              $0.00
Environmental Working Group                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/14/2021              $0.00
EnviTreat, L.L.C.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/25/2012              $0.00
EnzBond Limited                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/17/2017              $0.00
Eppendorf North America, Inc.                                                                                                                 Amyris, Inc.                                     Quotation-No: Q23000387732                                                                                               3/1/2023             $0.00
Equality Translation Services, Inc.                                                                                                           Amyris, Inc.                                     Services Agreement                                                                                                    12/21/2012              $0.00
ERAN PICHERSKY, Ph.D.                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/12/2012              $0.00
Eric Freedman                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/17/2022              $0.00
Eric Hoefstetter                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/9/2010             $0.00
Eric Strait                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011              $0.00
Ericson Marino                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        7/1/2014             $0.00
Erik Freer                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011              $0.00
Erik Mazmanian                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011              $0.00
ERNEST ORLANDO LAWRENCE BERKELLY NATIONAL LABORATORY                                                                                          Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                 7/9/2014             $0.00
ERS GENOMICS LIMITED                                                                                                                          Amyris, Inc.                                     License Agreement                                                                                                        6/7/2021        $50,000.00
ERS Genomics Ltd                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/21/2020              $0.00
ES East, LLC                                                                                                                                  Amyris, Inc.                                     Certain Lease dated August 22, 2007, as amended from time to time                                                     12/28/2023     $1,234,520.43
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Essential Ingredients, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/10/2020             $0.00
Estee Lauder Inc.                                                                                                                             Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        8/25/2011             $0.00
Eugene Antipov                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/14/2010             $0.00
Eurofins Lancaster Laboratories, Inc. Eurofins Advantar Laboratories, Inc. Eurofins BioPharma Product                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/25/2021             $0.00
Testing Columbia, Inc. Eurofins BioPharma Product Testing Toronto, Inc.
Eurofins Nutrition Analysis Center                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/15/2017             $0.00
Eurofins Scientific, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/30/2021             $0.00
Eurofins, Scientific Inc.                                                                                                                     Amyris, Inc.                                     Quotation Number: Vky320180139-04                                                                                      7/27/2018             $0.00
Euzonfins Biodiagnostics                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/19/2016             $0.00
Evangeline Peterson                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/22/2011             $0.00
EVE Partners LP                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/13/2012             $0.00
Evea – Evaluation et Accompagnement; Givaudan International SA                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              10/3/2023             $0.00
Evea; Givaudan                                                                                                                                Amyris, Inc.                                     Amyris Givaudan Evea Confidentiality Agreement                                                                          6/1/2023             $0.00
Everett Graphics                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/29/2019             $0.00
Eviagenics, S.A.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/10/2012             $0.00
Evolva, Inc.                                                                                                                                  Amyris, Inc.                                     Asset Purchase Agreement                                                                                               10/8/2015             $0.00
EVOLVE BIOSYSTEMS, INC.; MEAD JOHNSON NUTRITION, LLC.                                                                                         Amyris, Inc.                                     Three-Way Mutual Confidential Disclosure Agreement                                                                     11/1/2018             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            1/26/2022             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Amendment No.3 to Mutual Confidential Disclosure Agreement                                                              3/3/2021             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                            9/20/2019             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                            9/20/2019             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                             9/6/2019             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/3/2021             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/14/2020             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/14/2020             $0.00
Evonik Corporation                                                                                                                            Amyris, Inc.                                     First Restated and Amended Mutual Confidential Disclosure Agreement                                                    1/20/2020             $0.00




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Evonik Corporation                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/19/2019            $0.00
Evonik Degussa Corporation                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       8/3/2011            $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of           Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Evonik Degussa GmbH                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/28/2010            $0.00
Evozyne, LLC                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/17/2021            $0.00
EW Biotech GmbH                                                                                                                               Amyris, Inc.                                     Amendment No. 1 to Material Transfer and Confidentiality Agreement                                                     5/21/2020            $0.00

EW Biotech GmbH                                                                                                                               Amyris, Inc.                                     Material Transfer and Confidentiality. Agreement                                                                       6/10/2019            $0.00
EW Nutrition GmbH                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/1/2019            $0.00
Exact Media Network Inc.                                                                                                                      Amyris, Inc.                                     Reciprocal Confidentiality Agreement                                                                                   3/25/2015            $0.00
EXOVA, INC.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/19/2011            $0.00
Expeditors International of Washington, Inc.                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/9/2010            $0.00
Expense Reduction Analysts, Inc.                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/22/2017            $0.00
Express Tubes- a Custom Manufacturing Company                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/1/2023            $0.00
Eyal Research Consultant                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/12/2012            $0.00
F. Hoffmann-La Roche Ltd                                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                               4/2/2015            $0.00
FabricNano Limited                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/12/2021            $0.00
Family Media Holdings LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/30/2019            $0.00
Far Eastern New Century Corporation                                                                                                           Amyris, Inc.                                     Multi-Party Confidential Disclosure Agreement                                                                          11/1/2011            $0.00
Farallon Capital Management, L.L.C.; FKG Capital-Gestao de Recursos Ltda.                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/13/2012            $0.00
Fausto Gotaire                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/4/2022            $0.00
FBR Capital Markets & Co.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/1/2016            $0.00
Federal Insurance Company                                                                                                                     Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                     8/2/2019            $0.00
FEDEX CORPORATE SERVICES, INC.                                                                                                                Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        3/23/2011            $0.00
FEDEX FREIGHT SYSTEM, INC.                                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure and Product Evaluation Agreement                                                                 3/16/2010            $0.00
FedEx Trade Networks Transport & Brokerage, Inc.                                                                                              Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        12/1/2010            $0.00
Felipe Baratho Beato                                                                                                                          Amyris, Inc.                                     Promise Contract for Employment Contrato Promessa DE Contrato DE                                                       6/12/2020            $0.00

FermCo Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/29/2018            $0.00
Fermic S.A. DE C.V.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/3/2015            $0.00
Fernando Martins de Mello                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/25/2010            $0.00
Fernando Martins de Mello                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/10/2010            $0.00
Feve Chocolates LLC                                                                                                                           Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                       10/30/2018            $0.00
Fidelity Workplace Services LLC                                                                                                               Amyris, Inc.                                     Amendment to the Service Agreement Regarding Amyris, Inc. 401(K)                                                       2/22/2022            $0.00
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Financial Strategies Consulting Group, LLC                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/13/2011            $0.00
Finesse Solutions, Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/5/2015            $0.00
Firework                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/18/2022            $0.00
Firmenich Incorporated                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/29/2014            $0.00
Firmenich SA                                                                                                                                  Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                           11/27/2012            $0.00
Firmenich SA                                                                                                                                  Amyris, Inc.                                     Bilateral Confidentiality Agreement                                                                                    7/24/2020            $0.00
Firmenich SA                                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                              3/23/2020            $0.00
Firmenich SA                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/9/2019            $0.00
FIRMENICH SA                                                                                                                                  Amyris, Inc.                                     Amyris, Inc. and Firmenich S.A. Mutual Confidential Disclosure                                                         5/10/2011            $0.00
                                                                                                                                                                                               Agreement
FIRMENICH SA                                                                                                                                  Amyris, Inc.                                     Addendum #3                                                                                                            7/26/2010             $0.00
FIRMENICH SA                                                                                                                                  Amyris, Inc.                                     Addendum #2                                                                                                            6/25/2009             $0.00
FIRMENICH SA                                                                                                                                  Amyris, Inc.                                     Bilateral Confidentiality Agreement                                                                                    4/26/2007             $0.00
Firmenich SA; Ingredion Incorporated                                                                                                          Amyris, Inc.                                     Multilateral Confidentiality Agreement                                                                                 1/10/2022             $0.00
Firmenich SA; SciSafe Inc.                                                                                                                    Amyris, Inc.                                     Escrow Agreement                                                                                                       8/22/2013             $0.00
Firmenich SA; SciSafe Inc.                                                                                                                    Amyris, Inc.                                     Amendment #1 to the Escrow Agreement                                                                                  12/23/2016             $0.00
First Digital                                                                                                                                 Amyris, Inc.                                     Service Order Agreement                                                                                                9/12/2023            $0.00
First National Capital Corporation                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/2/2012             $0.00
Fisher Scientific Company L.L.C.                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/27/2021             $0.00
Fisher Scientific Company L.L.C.                                                                                                              Amyris, Inc.                                     Biocom Pricing Confidentiality Agreement                                                                               6/16/2016             $0.00
Fivetran Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Flavia N. Campbell                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 2/3/2011             $0.00
FLG Partners, LLC                                                                                                                             Amyris, Inc.                                     Confidential Mutual Nondisclosure Agreement                                                                            4/12/2019             $0.00




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FLO Partners Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/15/2021             $0.00
Florachem Corp                                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        7/12/2018             $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of            Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
                                                                                                                                                         Debtor Party                                                                                                                                         Contract/Lease       Amount
Florida Chemical Supply, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/8/2016           $0.00
Florida Crystals Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/1/2017           $0.00
Flottweg Separation Technology, Inc.                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/1/2018           $0.00
FOCUS SCIENTIFIC FACILITIES, LLC                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/30/2020            $0.00
Folio3 Software Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/27/2020            $0.00
FOODLINER INC.                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/11/2011            $0.00
Fortis Industries USA Trading INC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/8/2022           $0.00
Fortis Industries USA Trading INC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/8/2022           $0.00
Fortmix Comércio de Concreto Ltda                                                                                                             Amyris, Inc.                                     Confidentiality Agreement                                                                                              6/26/2017            $0.00
FRANCESCA BATTISTA                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/17/2021            $0.00
Frank Reps                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/9/2021           $0.00
Frank Rivera                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/21/2022            $0.00
Frederic Pignault                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/30/2021            $0.00
FREE RADICAL TECHNOLOGY                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/18/2011            $0.00
Freedom Specialty Insurance Company                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019            $0.00
Freedom Specialty Insurance Company                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019            $0.00
Freesense Aps                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/16/2021            $0.00
Freeslate, Inc                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/3/2010           $0.00
Frenchie Group                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/16/2020            $0.00
FREY+LAU GmbH                                                                                                                                 Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/17/2018            $0.00
Fridays Films                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2019            $0.00
Frontier Communications of America, Inc.                                                                                                      Amyris, Inc.                                     Frontier Services Agreement                                                                                            3/10/2022            $0.00
Frulact S.A.                                                                                                                                  Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/17/2018            $0.00
Fuchs Europe Schmierstoffe                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/10/2011            $0.00
FUJIFILM Hunt Chemicals U.S.A., Inc.                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/9/2015           $0.00
Fuller Industries, LLC                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/4/2014            $0.00
Fusion Packaging I, LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/20/2020            $0.00
G.S. Cosmeceutical USA Inc.                                                                                                                   Amyris, Inc.                                     Confidentiality and Nondisclosure Agreement                                                                              9/9/2014           $0.00
Gail Zauder                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/24/2022            $0.00
Galbraith Laboratories, Inc. Cascade Chemistry                                                                                                Amyris, Inc.                                     Three-Way Mutual Confidential Disclosure Agreement                                                                     8/25/2021            $0.00
Gallery Media Group                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/20/2022            $0.00
GameChanger Products, LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/5/2019           $0.00
Gary Doyle                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/9/2012           $0.00
Gary Loeb                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/3/2011           $0.00
Gary Piermattei                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/29/2010            $0.00
GARY PISANO                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        9/7/2012           $0.00
Gates Ventures LLC                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        4/1/2011           $0.00
Gattefosse Holding                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/10/2012            $0.00
Gavilon, LLC                                                                                                                                  Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                      11/16/2011            $0.00
Gayle F. Semrad                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/24/2010            $0.00
GE Corporate Financial Services, Inc.                                                                                                         Amyris, Inc.                                     Re: Confidentiality Letter                                                                                            11/17/2011            $0.00
GE Healthcare                                                                                                                                 Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              12/22/2018            $0.00
GEA Mechanical Equipment US                                                                                                                   Amyris, Inc.                                     Re: Rental Agreement Between Gea Mechanical Equipment Us, and                                                          4/28/2021        $3,948.91
                                                                                                                                                                                               Amyris
GEA PROCESS ENGINEERING, INC.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/24/2011             $0.00
Gelest, Inc.                                                                                                                                  Amyris, Inc.                                     Services Agreement                                                                                                     4/12/2012             $0.00
Geltor, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        5/18/2022             $0.00
GEN9, INC.                                                                                                                                    Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         8/21/2013             $0.00
GEN9, INC.                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/26/2011             $0.00
GeneFerm Biotechnology Co., Ltd.                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/18/2017             $0.00
Genemarkers, LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/10/2020             $0.00
Genemarkers,LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/4/2021             $0.00
GENEWIZ, Inc.                                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/13/2012             $0.00
Genome Compiler Corporation                                                                                                                   Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            8/30/2014             $0.00
Genome Compiler Corporation                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/30/2013             $0.00




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Genoskin Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/23/2021             $0.00
GEODIS WILSON USA, INC                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/10/2011             $0.00
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                                              Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Geoff Duyk                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/26/2012             $0.00
Gerstel, Inc.                                                                                                                                Amyris, Inc.                                     Non-disclosure Agreement                                                                                               3/27/2013             $0.00
GERSTEL, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/1/2012            $0.00
Get Fabric, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/22/2022             $0.00
Getahun Hailu                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/16/2010             $0.00
GFA Systems North America LLC                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/18/2020             $0.00
Gina Kohler                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/23/2021             $0.00
Gingko Bioworks, Inc.                                                                                                                        Amyris, Inc.                                     Confidentiality Agreement                                                                                             12/12/2016             $0.00
Ginkgo Bioworks                                                                                                                              Amyris, Inc.                                     Amendment to May 11, 2016 Mutual Confidential Disclosure Agreement                                                     6/15/2016             $0.00

Ginkgo Bioworks                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/11/2016             $0.00
GINKGO BIOWORKS, INC.                                                                                                                        Amyris, Inc.                                     Partnership Agreement                                                                                                 10/20/2017             $0.00
GitLab Inc.                                                                                                                                  Amyris, Inc.                                     Renewal Order Form                                                                                                    12/31/2022             $0.00
Givaudan Fragrances Corporation                                                                                                              Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       3/29/2022             $0.00
Givaudan Schweiz AG                                                                                                                          Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                 11/30/2011             $0.00
Givaudan Schweiz AG                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/10/2015             $0.00
GIVAUDAN SCHWEIZ AG                                                                                                                          Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  12/7/2009             $0.00

GLAXOSMITHKLINE Biologicals S.A / N.V                                                                                                        Amyris, Inc.                                     Amendment Agreement 01                                                                                                  9/2/2021             $0.00
GLAXOSMITHKLINE Biologicals S.A/N.V                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/13/2020             $0.00
GlaxoSmithKline Biologicals SA                                                                                                               Amyris, Inc.                                     Material Transfer Agreement (The “Agreement”)                                                                           3/4/2022             $0.00
GlaxoSmithKline Biologicals SA                                                                                                               Amyris, Inc.                                     Extension of Material Transfer Agreement of March 4Th, 2022 and                                                        3/15/2023             $0.00
                                                                                                                                                                                              Sharing of Amyris Data With Eqdm
GLOBAL BIOENERGIES S.A.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/16/2011             $0.00
Global -e US Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/26/2022             $0.00
Global Life Sciences Solutions USA LLC                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/3/2021             $0.00
Global Mail, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/11/2018             $0.00
GLYCOTECH, INC.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/2/2010             $0.00
GOJO Industries, Inc                                                                                                                         Amyris, Inc.                                     Amendment 1 to Material Transfer and Confidentiality Agreement                                                         4/15/2015             $0.00
GOJO Industries, Inc.                                                                                                                        Amyris, Inc.                                     Confidential Nondisclosure Agreement                                                                                   5/13/2014             $0.00
GOJO Industries, Inc.                                                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        5/13/2014             $0.00
Golden Arrow Technology America Inc.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/16/2020             $0.00
Goldfish Social Inc                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2022             $0.00
GOLDMAN, SACHS & CO.                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              12/6/2012             $0.00
Goldman, Sachs & Co.                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                               4/9/2007             $0.00
Goncalo Guimaraes Pereira                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/22/2010             $0.00
Good Housekeeping                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/19/2022             $0.00
Google Inc.                                                                                                                                  Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               6/17/2015             $0.00
Google LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/31/2022             $0.00
Google LLC                                                                                                                                   Amyris, Inc.                                     Google Non-Disclosure Agreement                                                                                        1/16/2020             $0.00
Goop Inc.                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/8/2022             $0.00
Goop, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/12/2020             $0.00
Gopinathan Menon                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/11/2022             $0.00
Graham Cooper                                                                                                                                Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              11/23/2011             $0.00
Granite Packaging                                                                                                                            Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       12/1/2015             $0.00
Graver Technologies LLC                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/27/2017             $0.00
Green Biologics Ltd.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/1/2019             $0.00
Green Biologics, Inc.                                                                                                                        Amyris, Inc.                                     Green Biologics, Inc. Mutual Confidentiality, Non-Disclosure and                                                       4/19/2016             $0.00
                                                                                                                                                                                              Ownership Agreement
GREENFRESH INC.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/9/2023             $0.00
Greenhaus Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/21/2020             $0.00
Greenhill & Co., LLC                                                                                                                         Amyris, Inc.                                     Letter                                                                                                                  5/8/2015             $0.00
Greenwood Brands, LLC                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/24/2021             $0.00
Gregory Owen                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/31/2011             $0.00
Gretchen W. Harnick                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/27/2021             $0.00




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GRIN Technologies, Inc.                                                                                                                       Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                      5/11/2020             $0.00
GRO.com LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            7/28/2022             $0.00
                                                                                                                                                        Contract/Lease                                                                                                                                        Date of            Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Groendyke Transport Inc                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                   5/17/2011              $0.00
Grove LLC                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            4/19/2018              $0.00
GRSA CONSULTANTS AND ENGINEERS, INC.                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                   9/15/2010              $0.00
Grzegorz Wojciechowski                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                             5/11/2011              $0.00
GTC TECHNOLOGY US, LLC.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              4/6/2011             $0.00
GTE Consultores, SA                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            11/1/2020              $0.00
Guangzhou LICA Biotech Co., LTD                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            6/16/2015              $0.00
Guillaume Cambray                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                   3/24/2011              $0.00
Gulf Bayport Chemicals L.P.; Gulf Chemical International Corporation                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            2/24/2014              $0.00
Gulf Bayport Chemicals, LP                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            6/23/2011              $0.00
GW PHARMA LIMITED                                                                                                                             Amyris, Inc.                                     Confidentiality Agreement                                                                                           9/10/2015              $0.00
H Maxwell Joseph LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                           11/12/2021              $0.00
H.B. Puttgen                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                  11/28/2011              $0.00
Haejeon Jessica Lee                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            5/14/2022              $0.00
Halal Food Council of Europe                                                                                                                  Amyris, Inc.                                     Halal Supervision Agreement                                                                                         9/16/2020              $0.00
Half Helix, a Development Agency                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                           12/29/2021              $0.00
Hangzhou Ehne Biotechnology Co. (Bota Bio)                                                                                                    Amyris, Inc.                                     MNDA                                                                                                               10/20/2023              $0.00
Hannah Hilkey                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                               4/4/2011             $0.00
Hannah Hilliar Creative Agency                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            7/23/2021              $0.00
Happy Farm Botanicals, Inc.                                                                                                                   Amyris, Inc.                                     First Amendment to Amyris, Inc. Nondisclosure Agreement                                                               5/6/2022             $0.00
Happy Farm Botanicals, Inc.                                                                                                                   Amyris, Inc.                                     Amyris, Inc. Nondisclosure Agreement                                                                                3/24/2022              $0.00
Hapy Sweet Bee Ltd                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                   4/10/2019              $0.00
Hard Car Security LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                           12/17/2019              $0.00
Hardip Kalsi                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                             5/19/2011              $0.00
Hardy Diagnostics                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            1/23/2012              $0.00
Harlan Laboratories, Inc.                                                                                                                     Amyris, Inc.                                     First Amendment Nondisclosure Agreement                                                                             1/22/2013              $0.00
Harlan Laboratories, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            1/23/2012              $0.00
Haroon Rehman                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                             5/10/2010              $0.00
Harrison Research Laboratories, Inc.                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                   7/19/2012              $0.00
Harspring Capital Management, LLC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              1/4/2018             $0.00
Haskell Company                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            8/22/2013              $0.00
HCP Packaging Hong Kong Ltd.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                           10/19/2020              $0.00
HCP Packaging Hong Kong Ltd.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                           11/21/2019              $0.00
Hearthside Food Solutions, LLC                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            3/17/2022              $0.00
HEARTLAND AUTOMOTIVE SERVICES, INC.                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                               2/8/2011             $0.00
Hecho Studios, LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              9/1/2019             $0.00
HEINKEL Filtering Systems, inc.                                                                                                               Amyris, Inc.                                     Testing Services Agreement                                                                                          3/12/2021              $0.00
HEINKEL FILTERING SYSTEMS, INC.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            3/17/2021              $0.00
Hemanth Ramesha                                                                                                                               Amyris, Inc.                                     Amyrls Biotechnologies, Inc. Nondisclosure Agreement                                                                  4/8/2010             $0.00
Henkel AG                                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                          11/26/2014              $0.00
Henkel AG                                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                          11/26/2013              $0.00
Henkel Corporation                                                                                                                            Amyris, Inc.                                     Master Confidentiality Agreement                                                                                    3/26/2010              $0.00
Hercules Technology Growth Capital, Inc.                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                           2/28/2014              $0.00
Hercules Technology Growth Capital, Inc.                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                           1/11/2013              $0.00
Heurisko Gesellschaft fur Biologische Technologien mbH                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            2/24/2017              $0.00
HIGHLANDS ENVIROFUELS, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                            5/25/2010              $0.00
HighRes Biosolutions, Inc.                                                                                                                    Amyris, Inc.                                     Quote Number: 00026752                                                                                              11/1/2022              $0.00
Infectious Disease Research InstituteHITESH C PATEL                                                                                           Amyris, Inc.                                     Notice to Amyris of Opportunities to Exercise RofrNondisclosure Agreement                                     10/1/20218/2012              $0.00
Infectious Disease Research Institute                                                                                                         Amyris, Inc.                                     Engagement Letter                                                                                                    7/21/2020             $0.00
Infectious Disease Research InstituteHoffmann-La Roche Inc.                                                                                   Amyris, Inc.                                     First Amendment to Omnibus LicenseNon-Disclosure Agreement                                                 6/30/202110/8/2015              $0.00
Infectious Disease Research InstituteHoneywell International                                                                                  Amyris, Inc.                                     Amendment No. 9 to Material Transfer and Confidentiality Agreement                                        12/18/20207/16/2013              $0.00
Hornett Bros & Co Ltd.                                                                                                                        Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                           $0.00
Infectious Disease Research InstituteHornett Bros & Co Ltd.                                                                                   Amyris, Inc.                                     Amendment No. 8 to MaterialMaterials Transfer Agreement                   7/7/2020                                                        $0.00
Infectious Disease Research InstituteHottinguer Corporate Finance                                                                             Amyris, Inc.                                     Amendment No. 7 to Material TransferNon-Disclosure Agreement                   5/20/202017/2016                                            $0.00
Infectious Disease Research InstituteHouse Studios LTD                                                                                        Amyris, Inc.                                     Mutual Confidential DisclosureAmendment No. 5 to Material Transfer             8/28/201926/2022                                            $0.00
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HOW TO LIVE IT LLC                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/19/2021            $0.00
HOWARD HANG                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       12/2/2011            $0.00
Infectious Disease Research InstituteHowGood, Inc.                                                                                             Amyris, Inc.                                     Amendment No. 4 to Material TransferMutual Confidential Disclosure                                              5/21/20199/1/2022            $0.00
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                                                Contract Counterparty                                                                                     Debtor Party                                                     Contract/Lease Title                                                                Contract/Lease       Amount
Hoyer Global Inc.                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/13/2011              $0.00
Hubbard-Hall Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 1/5/2015             $0.00
Hubert Chaperon                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/2/2010             $0.00
HudsonAlpha Institute for Biotechnology; The Regents of the University of California                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                              2/6/2023             $0.00
HudsonAlpha Institute for Biotechnology; The Regents of the University of California                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                            1/29/2023              $0.00
Huvepharma AD                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/15/2013              $0.00
Huvepharma EOOD                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/7/2015             $0.00
Huvepharma EOOD, UIC 203631745                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2019              $0.00
Huvepharma Italia S.r. I.                                                                                                                      Amyris, Inc.                                     Material Transfer Agreement                                                                                              3/8/2022             $0.00
Huvepharma Italia S.r.l.                                                                                                                       Amyris, Inc.                                     License Agreement                                                                                                                            $0.00
Huverpharma EOOD, UIC 203631745                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/18/2016              $0.00
Hyasynth Biologicals Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/26/2021              $0.00
Hydrotex Partners, Ltd                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/3/2011              $0.00
Hyeok Hahn                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/1/2010              $0.00
Hyeok Hahn                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 3/8/2010              $0.00
HygraTek LLC                                                                                                                                   Amyris, Inc.                                     Confidential Non-Disclosure Agreement                                                                                 12/29/2015              $0.00
ICF Resources, LLC                                                                                                                             Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         5/6/2015              $0.00
ICM, Inc.                                                                                                                                      Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                             4/5/2013              $0.00
ICM, INC.                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/6/2011              $0.00
ICM, inc.                                                                                                                                      Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        6/1/2009              $0.00
IDEO LP                                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2021              $0.00
IDR Marketing Partners, LLC d/b/a BrandShare                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/26/2022              $0.00
Ignacio Urbelz                                                                                                                                 Amyris, Inc.                                     Amyris, Inc. Confidential Disclosure Agreement                                                                         9/12/2023              $0.00
Ignite Visibility                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/27/2022              $0.00
IHS Global Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidentiality and Nondisclosure Agreement                                                                    10/18/2011              $0.00
Illumina, Inc.                                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                               4/9/2019              $0.00
Illumina, Inc.                                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                             11/17/2011              $0.00
Illumio, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        3/12/2019              $0.00
Imperial College London                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/1/2017              $0.00
Imperial Petroleum Recovery Corp                                                                                                               Amyris, Inc.                                     Confidentiality & Non-Circumvent Agreement                                                                              2/4/2010              $0.00
InCatT BV                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/21/2011              $0.00
InChem Charlotte, LLC.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/17/2019              $0.00
InChem Rock Hill, LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2015              $0.00
INCON PROCESSING LLC.                                                                                                                          Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         2/25/2010              $0.00
InCon Processing, LLC                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/21/2012              $0.00
Independent Project Analysis, Inc.                                                                                                             Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/23/2010              $0.00
Indiana Biomass Refinery, LLC; United Power Company, LLC                                                                                       Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/10/2014              $0.00
INDUSTRIAL TOMOGRAPHY SYSTEMS PLC                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/6/2010              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 9 to Material Transfer Agreement                                                                        12/18/2020              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 8 to Material Transfer Agreement                                                                          7/7/2020              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 7 to Material Transfer Agreement                                                                         5/20/2020              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 5 to Material Transfer Agreement                                                                         8/28/2019              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 4 to Material Transfer Agreement                                                                         5/21/2019              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 2 to Material Transfer Agreement                                                                         2/27/2019              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 3 to Material Transfer Agreement                                                                         2/27/2019              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment to Material Transfer Agreement                                                                               8/30/2017              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                       11/12/2019              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/21/2018              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/30/2017              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/24/2015              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/24/2015              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Confidentiality and Non-Disclosure Agreement                                                                           6/18/2020              $0.00
Infectious Disease Research Institute                                                                                                          Amyris, Inc.                                     Amendment No. 6 to Material Transfer Agreement                                                                                               $0.00




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Infectious Disease Research Institute                                                                                                         Amyris, Inc.                                     Amendment No. 10 to Material Transfer Agreement                                                                                             $0.00
Infectious Disease Research Institute                                                                                                         Amyris, Inc.                                     Amendment No. 11 to Material Transfer Agreement                                                                                             $0.00
Infectious Disease Research Institute                                                                                                         Amyris, Inc.                                     Amendment No. 12 to Material Transfer Agreement                                                                                             $0.00
Infectious Disease Research Institute                                                                                                         Amyris, Inc.                                     Services Agreement                                                                                                                          $0.00
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                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Infectious Disease Research Institute                                                                                                                                                          Amendment to Services Agreement                                                                                                           $0.00
Influenster                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/22/2019           $0.00
Infogroup Inc.                                                                                                                                Amyris, Inc.                                     Confidentiality & Non-Disclosure Agreement                                                                             8/29/2017           $0.00
Ingenio Magdalena, Sociedad Anónima                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/19/2022           $0.00
Ingevity Corporation                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/17/2023           $0.00
Ingram & Company, Inc.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/26/2016           $0.00
Ingredion Incorporated                                                                                                                        Amyris, Inc.                                     Limited Guaranty                                                                                                        6/1/2021           $0.00
INGREDION INCORPORATED                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/5/2021           $0.00
Ingredion Incorporated; PureCircle USA Inc.                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/28/2020           $0.00
Ingrid Keir                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/8/2011           $0.00
InKemia Green Chemicals, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/11/2016           $0.00
Innovasource LLC                                                                                                                              Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        4/23/2020           $0.00
Innovasource, LLC                                                                                                                             Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                          4/7/2020           $0.00
INNOVATIVE RESOURCE MANAGEMENT                                                                                                                Amyris, Inc.                                     Purchase Order                                                                                                         3/18/2014           $0.00
Innovative Waste Management, Inc.                                                                                                             Amyris, Inc.                                     Services Agreement                                                                                                     5/15/2013           $0.00
Innovative Waste Management, Inc.                                                                                                             Amyris, Inc.                                     Amendment #2 to Service Agreement                                                                                      3/14/2014           $0.00
INSCRIPTA, INC                                                                                                                                Amyris, Inc.                                     Mad7™ Nuclease License Agreement                                                                                       5/13/2021           $0.00
INSCRIPTA, INC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure and Data Processing Agreement                                                           11/7/2021           $0.00
Inscripta, Inc.                                                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                             2/9/2022           $0.00
Inscripta, Inc.                                                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                             5/7/2021           $0.00
Inscripta, Inc.                                                                                                                               Amyris, Inc.                                     Amended and Restated Terms and Conditions Agreement                                                                    8/12/2022           $0.00
INSCRIPTA, INC.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/4/2019           $0.00
Insilico Biotechnology AG                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                               5/8/2013           $0.00
Insilico Biotechnology Corporation                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/9/2020           $0.00
INSPECTORATE AMERICA CORPORATION                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/15/2011           $0.00
INSTITUTO BUTANTAN                                                                                                                            Amyris, Inc.                                     Materials Transfer Agreement                                                                                                              $0.00
Instituto Butantan                                                                                                                            Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                           $0.00
Integrated Engineering Services                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/27/2015           $0.00
Integrated Project Management Company                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/13/2017           $0.00
Intellectual Property                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              6/12/2017           $0.00
Intelligen, Inc.                                                                                                                              Amyris, Inc.                                     MNDA                                                                                                                  11/16/2023           $0.00
Intelli-tech                                                                                                                                  Amyris, Inc.                                     Subject: Maintenance Agreement Renewal                                                                                  4/1/2013           $0.00
Intergulf Corporation                                                                                                                         Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/23/2012           $0.00
International Cosmetic Suppliers Ltd.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/19/2020           $0.00
International Cosmetic Suppliers Ltd.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/19/2020           $0.00
International Cosmetic Suppliers Ltd.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2019           $0.00
International Flavors & Fragrances Inc.                                                                                                       Amyris, Inc.                                     Amendment to Mutual Confidentiality Agreement                                                                          5/13/2019           $0.00
International Flavors & Fragrances Inc.                                                                                                       Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       5/14/2018           $0.00
International Flavors & Fragrances Inc.                                                                                                       Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        3/5/2015           $0.00
Intertek                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/15/2015           $0.00
Intertek Health Sciences Inc.                                                                                                                 Amyris, Inc.                                     Proposal                                                                                                               8/16/2023       $6,516.25
Intertek Health Sciences Inc.                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         7/3/2017           $0.00
Intertek USA Inc                                                                                                                              Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/12/2012           $0.00
Intertek USA, Inc.                                                                                                                            Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                8/1/2018           $0.00
Intrigo Systems, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/18/2012           $0.00
Invaio Sciences, Inc.                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                               6/1/2020           $0.00
Invention Machine Corporation                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/28/2012           $0.00
Inventure Renewables, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2017           $0.00
Iogen Corporation; Novozymes Canada Limited                                                                                                   Amyris, Inc.                                     Re: Mutual Confidentiality Disclosure Agreement Between Amyris, Inc.                                                    6/7/2010           $0.00
                                                                                                                                                                                               and Iogen Corporation Effective June 7, 2010 (The "Agreement")

Iowa State University of Science and Technology                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/16/2018            $0.00
Ipca Laboratories Ltd                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/26/2016            $0.00




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Ipca Laboratories Ltd.                                                                                                                       Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                            9/25/2017               $0.00
Ipiranga Produtos de Petroleo SA                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/3/2011               $0.00
Ira Janowitz                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/20/2011               $0.00
IROA Technologies                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/12/2023               $0.00
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IRON MOUNTAIN INFORMATION MANAGEMENT, INC.                                                                                                   Amyris, Inc.                                     Secure Shredding Services Agreement                                                                                    4/26/2012             $783.14
Irvine Pharmaceutical Services, Inc.                                                                                                         Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                          2/8/2012              $0.00
ISLAMIC FOOD AND NUTRITION COUNCIL OF AMERICA                                                                                                Amyris, Inc.                                     Halal Certification Agreement                                                                                          11/1/2019               $0.00
Islamic Food and Nutrition Council of America                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/27/2017               $0.00
ITOCHU Chemicals America Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/11/2017               $0.00
ITW Chemical Products Ltda.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/27/2011               $0.00
ITW Fluids NA                                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          7/9/2014              $0.00
Ivan Zamora                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                        $0.00
Ivanhoe Industries, Inc.                                                                                                                     Amyris, Inc.                                     Services Agreement                                                                                                     1/18/2012               $0.00
Ivanhoe Industries, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/31/2019               $0.00
J and M Scholl, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/29/2016               $0.00
J. Michael Ritzenthaler                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/22/2010               $0.00
J.P. MORGAN SECURITIES INC.                                                                                                                  Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                1/8/2010               $0.00
Jack Salazar                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/29/2010               $0.00
Jacqueline E. Limary                                                                                                                         Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2010               $0.00
Jaemin Lee                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/13/2011               $0.00
James Cortese                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/10/2011               $0.00
James Young Richardson                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/20/2010               $0.00
Janet Martinez                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011               $0.00
Janson Consulting                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/29/2017               $0.00
Jared W. Wenger                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 8/2/2011               $0.00
Jared Wenger                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/11/2011               $0.00
Jason Voogt                                                                                                                                  Amyris, Inc.                                     Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                                  3/17/2010               $0.00
Jason Wong                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011               $0.00
Jayson Cragg                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/3/2011               $0.00
Jayson Cragg                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2011               $0.00
JEF BOEKE                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/9/2012               $0.00
Jeff Curtis                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/20/2010               $0.00
Jefferies LLC                                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              5/11/2023               $0.00
Jefferies LLC                                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              9/12/2019               $0.00
Jefferson Lai                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 9/7/2010               $0.00
Jeffrey Johnson                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 7/1/2011               $0.00
Jell Pharmaceuticals PVT. LTD.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/10/2011               $0.00
Jenna Kaminsky                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                       $0.00
Jenny Lee                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010               $0.00
JEOL USA < Inc.                                                                                                                              Amyris, Inc.                                     Material Transfer Agreement                                                                                            7/18/2022               $0.00
Jeremy J Venter                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/23/2011               $0.00
Jerry S. Zacharatos                                                                                                                          Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/29/2010               $0.00
JetBlue Airways Corporation                                                                                                                  Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         5/5/2016               $0.00
Jetsoftpro LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/25/2023               $0.00
Jewish Congregations of America, Kashruth Division                                                                                           Amyris, Inc.                                     Agreement                                                                                                             10/31/2020               $0.00
Jin Ki Hong                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/10/2010               $0.00
Jodi Nunnari                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/24/2013               $0.00
Joe Lee                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2022               $0.00
Joel Freedman                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/23/2011               $0.00
Joel Velasco                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       3/6/2015               $0.00
JOHANN HALTERMANN LTD                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/25/2010               $0.00
Johanna Fischmann Chorfi, Weinacht & Associates Philippe Marliere Fortune S.A.                                                               Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               10/9/2012               $0.00
John E. Abdo                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/2/2016               $0.00
John Finn                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011               $0.00
John Hardt                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/7/2010               $0.00
John Jones                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/12/2010               $0.00
John Klingstiver                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/14/2013               $0.00




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John P. Castle                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/8/2010             $0.00
John Reyes                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/6/2010             $0.00
Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Amendment to Non-Disclosure Agreement                                                                                 12/15/2010             $0.00
Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Amendment to Non-Disclosure Agreement                                                                                  12/2/2009             $0.00
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                                                Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Joint Nondisclosure Agreement                                                                                          7/29/2008             $0.00
Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/29/2018             $0.00
Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/17/2015             $0.00
Johnson Matthey Inc.                                                                                                                           Amyris, Inc.                                     Joint Nondisclosure Agreement                                                                                          10/4/2007             $0.00
Johnson Matthey Public Limited Company                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/8/2012            $0.00
Joint Genome Institute for the U.S. Department of Energy; The Regents of the University of California                                          Amyris, Inc.                                     Material Transfer Agreement                                                                                              2/6/2023            $0.00
Jolene Mattson                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/20/2011             $0.00
Jon Rant                                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/1/2011            $0.00
Jon Rodriguez                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/26/2011             $0.00
Jonathan Paris                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011             $0.00
Jordan Thaeler                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/29/2010             $0.00
Joseph Doolan                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  6/5/2011            $0.00
Joshua Kim                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011             $0.00
Joshua Noble                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/14/2012             $0.00
Joyce Lee                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/26/2013             $0.00
JP Morgan Chase Bank, N.A.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/15/2012             $0.00
J-STAR RESEARCH INC.                                                                                                                           Amyris, Inc.                                     Amyris Biotechnologirs, Inc. Confidential Disclosure Agreement                                                         2/25/2010             $0.00
Juan (Karen) Huang                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/11/2011             $0.00
Juan Carlos Soto                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/16/2011             $0.00
Juan Palacio                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/10/2021             $0.00
Judith Denery                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Judy Cen                                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/23/2012             $0.00
Julie Dearnley                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/25/2011             $0.00
Juliet Wolf                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/25/2022             $0.00
Juliette Laoyan                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/4/2011             $0.00
Just Media                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/9/2018             $0.00
Justin Gerke                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/15/2010             $0.00
Justin Regele                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/13/2010             $0.00
Justin Wedepohl                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/22/2023             $0.00
Justin Wedepohl                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/21/2011             $0.00
Justuno Inc                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/28/2022             $0.00
Kaiser Foundation Health Plan, Inc.                                                                                                            Amyris, Inc.                                     Kaiser Permanente Health Plan Contract Printing Instruction Sheet                                                        1/1/2023            $0.00
KAISER OPTICAL SYSTEMS, INC.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/16/2011             $0.00
Kalsec, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/12/2023             $0.00
Karen Weaver                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/10/2011             $0.00
Kate Howell                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/10/2018             $0.00
Kate Melvin Design                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/27/2022             $0.00
Katherine Cronin                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/21/2011             $0.00
Kathleen Hirano                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2011             $0.00
Kathleen Monroe                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Kathryn Lee                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/21/2011             $0.00
Kathryn Watson                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/18/2022             $0.00
Kathy Kobayashi                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/29/2010             $0.00
Kathy Walsh                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/20/2011             $0.00
Kati C. Wu                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/16/2011             $0.00
Katie Frye                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/14/2022             $0.00
KATZEN International, Inc.                                                                                                                     Amyris, Inc.                                     Confidentiality & Non-Use Agreement                                                                                      6/9/2011            $0.00
Kaufman Container, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/19/2019             $0.00
Kavitha Sankar                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  3/5/2013            $0.00
kdm Communications Limited; Thermo Fisher Scientific Inc                                                                                       Amyris, Inc.                                     Confidentiality Agreement                                                                                              7/28/2023             $0.00
Kedar Patel                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/26/2010             $0.00
Kei Kitakata                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  9/9/2010            $0.00
Keith A. Hall                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2010             $0.00




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Keith Alsaker                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/30/2011            $0.00
Kelly Ibsen                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 9/9/2011            $0.00
Kelly Na                                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/2/2022            $0.00
Kelly Services Inc.                                                                                                                              Amyris, Inc.                                     Staffing Services Agreement                                                                                            5/23/2022            $0.00
                                                                                                                                                          Contract/Lease                                                                                                                                            Date of           Cure
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Kemin                                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                    $0.00
Kemin Industries, Inc.                                                                                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                            5/10/2023            $0.00
Ken Goldman                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/12/2012            $0.00
Kenshoo, Inc.                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/20/2022            $0.00
Keri Elizabeth Zook                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011            $0.00
Kerry do Brasil, Ltda.                                                                                                                           Amyris, Inc.                                     MNDA                                                                                                                   9/15/2023            $0.00
Kevin Just                                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/21/2010            $0.00
KFK, INC.                                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure and No-Shop Agreement                                                                    7/9/2010            $0.00
Kirt Stadler                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/16/2011            $0.00
KIuber Lubrication Munchen KG                                                                                                                    Amyris, Inc.                                     Addendum to the Secrecy Agreement                                                                                       8/2/2010            $0.00
KIVICO, Inc.                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/6/2012            $0.00
Kleen Test Products Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/20/2015            $0.00
KLJ Resource LTD.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/10/2011            $0.00
Klocke of America, Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/11/2019            $0.00
KLOCKE OF AMERICA, INC.                                                                                                                          Amyris, Inc.                                     Mutual Nondisclosure and Confidentiality Agreement                                                                     1/22/2015            $0.00
Kluber Lubrication Munchen KG                                                                                                                    Amyris, Inc.                                     Secrecy Agreement                                                                                                       2/8/2010            $0.00
KM LIQUIDS TERMINALS LLC                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              6/24/2011            $0.00
KMCO INC.                                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/13/2010            $0.00
KMCO, L.P.                                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/8/2011            $0.00
Knechtel, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/1/2019            $0.00
Koch Biological Solutions, LLC                                                                                                                   Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         3/5/2018            $0.00
Koch Modular Process Systems, LLC                                                                                                                Amyris, Inc.                                     Second Amendment to Mutual Confidential Disclosure Agreement                                                           1/15/2012            $0.00
Koch Modular Process Systems, LLC                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2021            $0.00
Koch Modular Process Systems, LLC                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/6/2013            $0.00
Koch Modular Process Systems, LLC                                                                                                                Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  1/27/2010            $0.00

Koch Modular Process Systems, LLC.                                                                                                               Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                  1/14/2011            $0.00
Koninklijke Nedalco B.V.                                                                                                                         Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        1/17/2011            $0.00
Kovarus                                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/11/2018            $0.00
Kraft Heinz Foods Company                                                                                                                        Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               5/16/2022            $0.00
Kraton Polymers LLC                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/10/2016            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                                    Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                  5/23/2016            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/30/2020            $0.00
Kumho Petrochemical Co., Ltd.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/9/2014            $0.00
Kunlun Ouyang                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011            $0.00
Kuraray America, Inc.; Kuraray Co. LTD.                                                                                                          Amyris, Inc.                                     Amendment # 2 to Mutual Confidential Disclosure Agreement                                                              9/12/2011            $0.00
Kuraray America, Inc.; Kuraray Co. LTD.                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclsosu Re Agreement                                                                             3/17/2010            $0.00
Kuraray Co., Ltd.                                                                                                                                Amyris, Inc.                                     Re: Consent to 5 Year Confidentiality Term in Pirelli Secrecy Agreement                                                7/21/2011            $0.00

KURARAY CO., LTD.                                                                                                                                Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  9/24/2009            $0.00

KURARAY CO; Nike, Inc.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2013            $0.00
Kyle Wente                                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011            $0.00
L.E.K. Consulting LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/20/2023            $0.00
L’ORÉAL USA S / D, INC.                                                                                                                          Amyris, Inc.                                     Exclusive Material Evaluation Agreement                                                                                6/15/2023            $0.00
L’ORÉAL USA S/D, Inc.                                                                                                                            Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/19/2022            $0.00
LABCYTE INC.                                                                                                                                     Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        4/12/2017            $0.00
Lab-Machines, Inc.                                                                                                                               Amyris, Inc.                                     Estimate 35626                                                                                                          7/5/2023            $0.00
Lab-Machines, Inc.                                                                                                                               Amyris, Inc.                                     Quote 1575                                                                                                                                  $0.00
Labstep Ltd.                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/21/2020            $0.00
Laetitia Coudray                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/30/2011            $0.00
Laia Huerga Valles                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/17/2012            $0.00
Lallemand Specialties, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/28/2016            $0.00




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Lana Spencer                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/2/2011            $0.00
Lance Hulsey                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 7/1/2010            $0.00
LANXESS CORPORATION                                                                                                                           Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential. Disclosure Agreement                                                        2/11/2010            $0.00
Lanxess Deutschland GmbH                                                                                                                      Amyris, Inc.                                     Confidentiality and Material Transfer Agreement                                                                        7/15/2014            $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of           Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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LANXESS Deutschland GmbH                                                                                                                      Amyris, Inc.                                     Confidentiality and Material Transfer Agreement Between Amyris Inc.                                                    7/15/2014            $0.00
                                                                                                                                                                                               and Lanxess Deutschland Gmbh
Lanxess Deutschland GmbH                                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/15/2012            $0.00
Lanxess, Inc.                                                                                                                                 Amyris, Inc.                                     Confidentiality and Material Transfer Agreement                                                                       10/10/2014            $0.00
Lares Consulting                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/7/2018            $0.00
Laserson SA                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/28/2013            $0.00
Lauren McDougald                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/27/2012            $0.00
Lauren Pickens                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/18/2011            $0.00
LAVVAN Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/15/2019            $0.00
Lawrence Ha                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/27/2010            $0.00
Laxai LifeSciences                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2017            $0.00
Lazard Asset Management LLC; Paul Hastings LLP; U.S. Bank National Association                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                               8/3/2023            $0.00
Lazard Capital Markets LLC; Lazard Freres & Co. LLC                                                                                           Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              10/28/2013            $0.00
LCS Advances Solutions, LLC                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/19/2015            $0.00
Lede Company                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                1/3/2023            $0.00
LEK Consulting                                                                                                                                Amyris, Inc.                                     Amyris LEK NDA                                                                                                         9/20/2023            $0.00
Lesaffre International S.A.R.L.                                                                                                               Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        9/23/2010            $0.00
Leslie Stanton                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 5/9/2011            $0.00
Lewis Brothers Bakeries, Inc.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/9/2021            $0.00
LG Chem Ltd.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/25/2014            $0.00
LG Chem, Ltd.                                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        12/1/2022            $0.00
Lica Enterprises Corporation                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/20/2015            $0.00
Lieberman Research Worldwide                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/20/2020            $0.00
Life Technologies Corporation                                                                                                                 Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               4/20/2012            $0.00
Lifetech Resources, LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/9/2019            $0.00
LIGAND PHARMACEUTICALS INCORPORATED                                                                                                           Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       5/12/2023            $0.00
Lila Cheung                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/8/2011            $0.00
Linden Advisors LP; Paul Hastings LLP; U.S. Bank National Association                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                               8/3/2023            $0.00
Lindsay Flint                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 2/8/2011            $0.00
Lindsey Oh                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2011            $0.00
Linsay King-Miller                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/17/2022            $0.00
Lipo Chemicals, Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/1/2011            $0.00
LIQUID AGENCY                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/15/2010            $0.00
Litmedia productions                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/17/2022            $0.00
Little Bear Studios                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/16/2022            $0.00
Livewith, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/25/2022            $0.00
LIVINGSTON INTERNATIONAL INC.                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/12/2011            $0.00
Liza Lopez                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/14/2011            $0.00
Lockheed Martin Space                                                                                                                         Amyris, Inc.                                     Amendment No. 1 to Lockheed Martin Space Bilateral Nondisclosure                                                       6/22/2023            $0.00
                                                                                                                                                                                               Agreement
Lockheed Martin; Sandia Corporation; The Regents of the University of California                                                              Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        9/17/2013            $0.00
logen Bio-Products Corporation                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/7/2010            $0.00
LOGISTICA Y SERVICIOS JANEZ, S.L,                                                                                                             Amyris, Inc.                                     Warehousing and Logistics Agreement                                                                                    5/21/2019            $0.00
Logoplaste                                                                                                                                    Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            9/12/2013            $0.00
Logoplaste                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/13/2012            $0.00
Logoplaste USA Inc.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/11/2019            $0.00
Lucio and Mauricio TomasielloLogos Technologies, Inc.                                                                                         Amyris, Inc.                                     Instrumento Particular De Contrato De Locação De Imóvel Não                                                             4/6/2010            $0.00
                                                                                                                                                                                               ResidencialNon-Disclosure Agreement
L'Onvie Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/30/2018            $0.00
L'Onvie Inc; Universidade Catolica Portuguesa                                                                                                 Amyris, Inc.                                     Three-Way Mutual Confidential Disclosure Agreement                                                                      5/4/2018            $0.00
Lonza Biologics Inc.                                                                                                                          Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/10/2020            $0.00
Lonza Biologics, Inc.                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/13/2012            $0.00
Lonza Ltd                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/13/2019            $0.00
L'Oreal USA S / D, Inc.                                                                                                                       Amyris, Inc.                                     First Amendment to Confidentiality Agreement (C220407)                                                                10/18/2022            $0.00




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Lorelai Robideaux                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/10/2021             $0.00
Loren Perelman                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/22/2012             $0.00
Lorna Jo Champagne                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/10/2011             $0.00
Los POGYVIPIMInZtAfiltileInnd COMPANY                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/8/2022             $0.00
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                                                Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Lotus Labels                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/21/2020             $0.00
Love Social Media, LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 7/8/2022            $0.00
Lovebite S L.                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        6/6/2014            $0.00
Lovesocial                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/6/2014             $0.00
Lubline Lubricants and additives                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/21/2011             $0.00
Lubrizol Corporation                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/5/2017            $0.00
Lubrizol Corporation                                                                                                                           Amyris, Inc.                                     Secrecy Agreement Lubrizol No. 30538                                                                                     7/7/2010            $0.00
Lucas Handley                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/21/2022             $0.00
Lucas Handley                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/11/2021             $0.00
Lucio and Mauricio Tomasiello                                                                                                                  Amyris, Inc.                                     Instrumento Particular De Contrato De Locação De Imóvel Não                                                                                  $0.00
                                                                                                                                                                                                Residencial
Lurgi, Inc.                                                                                                                                    Amyris, Inc.                                     Confidentiality and Restricted Use Agreement                                                                           11/3/2010              $0.00
Luuk van der Wielen                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/17/2010              $0.00
Lux Research Inc                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2021              $0.00
Lydia Wei                                                                                                                                      Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               6/24/2011              $0.00
Lygos, Inc.                                                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         6/4/2020              $0.00
M&L Laboratories                                                                                                                               Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/19/2012              $0.00
M+H PLASTICS INC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                      $0.00
M2i Biocontrol                                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                              $0.00
M2i Biocontrol                                                                                                                                 Amyris, Inc.                                     Materials Transfer Agreement                                                                                                                 $0.00
m2p-labs GmbH                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/25/2014              $0.00
Made Thought Design Limited                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2023              $0.00
Maggie Lindsey                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/29/2018              $0.00
Magnolia Bluff Productions                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/19/2020              $0.00
Magothy Consulting Group, LLC.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/17/2022              $0.00
Magritek Inc.                                                                                                                                  Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        12/1/2020              $0.00
Magritek Inc.                                                                                                                                  Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                         4/8/2019              $0.00
Mallinckrodt LLC                                                                                                                               Amyris, Inc.                                     Non-Disclosure Agreement                                                                                                7/7/2015              $0.00
Man Hong Lam                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 8/6/2010              $0.00
Mana Products, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                1/1/2019              $0.00
Mana Products, Inc.                                                                                                                            Amyris, Inc.                                     Confidentiality and Nondisclosure Agreement                                                                            4/20/2014              $0.00
Manifest LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/15/2022              $0.00
Manufacture Francaise des Pneumatiques Michelin                                                                                                Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                   4/5/2011              $0.00
Marc Gottesman                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/31/2022              $0.00
Marc Roussel                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/1/2011              $0.00
Marco Falcioni                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/7/2010              $0.00
Mari Beauty Inc                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/1/2022              $0.00
Maria Francisca Lopes                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/14/2022              $0.00
Maria Salvaterra Garcia                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement 24                                                                                   1/22/2013              $0.00
MARIA SANCHEZ LIERA                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2022              $0.00
Marian Corpus                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2013              $0.00
Marianne Gesner                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2010              $0.00
Mark Caporale                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/10/2011              $0.00
Mark Grant                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/2/2012              $0.00
Mark Hornor                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                       $0.00
Mark Micklatcher                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011              $0.00
Mark Patel                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 1/7/2010              $0.00
Mark Segal, Ph. D.                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/13/2010              $0.00
Mark Westley                                                                                                                                   Amyris, Inc.                                     Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                                  5/21/2010              $0.00
Markel Corporation                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2015              $0.00
Marketing Arm Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2019              $0.00
Marrone Bio Innovations, Inc.                                                                                                                  Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         11/7/2014              $0.00
Marrs Printing 5                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/19/2020              $0.00




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Martin Gresho                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/29/2010             $0.00
Mary Maxon                                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/27/2013             $0.00
Mary Udoh                                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/9/2010             $0.00
Mary Weston                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010             $0.00
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Maryborough Sugar Factory Limited; Tableland Canegrowers LTD.                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                              9/13/2010             $0.00
Mascoma, LLC                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/5/2015            $0.00
Massachusetts Institute of Technology                                                                                                            Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        5/15/2019             $0.00
Materia, Inc.                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/31/2011             $0.00
Materia, Inc.                                                                                                                                    Amyris, Inc.                                     Addendum to Mutual Confidential Disclosure Agreement                                                                  10/31/2011             $0.00
Matt Youngblood                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/24/2011             $0.00
Matthew Ball                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/29/2016             $0.00
Matthew Burns                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/13/2011             $0.00
Matthew Mattozi                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2010             $0.00
Matthew Nieder                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  5/3/2011            $0.00
Matthew Sullivan                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Maurbeni Corporation                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/29/2015             $0.00
Mawo Tominaga                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/20/2012             $0.00
Max G. Schubert                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/16/2011             $0.00
Max H. Braunstein                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/10/2013             $0.00
May Nguyen                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/29/2022             $0.00
MCCAMPBELL ANALYTICAL INC                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/14/2011             $0.00
McCampbell Analytical, Inc.                                                                                                                      Amyris, Inc.                                     Material Transfer Agreement                                                                                            3/13/2023             $0.00
McCampbell Analytical, Inc.                                                                                                                      Amyris, Inc.                                     Amendment No. 1 to Material Transfer and Confidentiality Agreement                                                     6/10/2020             $0.00

McCampbell Analytical, Inc.                                                                                                                      Amyris, Inc.                                     Exhibit A-2 to Material Transfer and Confidentiality Agreement Between                                                 6/11/2019             $0.00
                                                                                                                                                                                                  Amyris, Inc. and Mc Campbell Analytical, Inc.,
McCampbell Analytical, Inc.                                                                                                                      Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         6/8/2018              $0.00
McKinley Resources, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/6/2015              $0.00
Mead Johnson & Company LLC                                                                                                                       Amyris, Inc.                                     Two Way Confidentiality Agreement                                                                                     10/19/2022              $0.00
MeadWestvaco Corporation                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/10/2015              $0.00
Mecca Allah                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/9/2021              $0.00
Medallion Laboratories                                                                                                                           Amyris, Inc.                                     Services Agreement                                                                                                     5/23/2012              $0.00
MEDICAL CANNABOARD, LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/1/2020              $0.00
Medley LLC                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2015              $0.00
Meihua ( Shanghai ) Biotechnology Co. Ltd                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/18/2018              $0.00
Melissa Navarro                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/22/2010              $0.00
Melody Business Finance, LLC                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                              9/22/2015              $0.00
Membrane Specialists LLC                                                                                                                         Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        4/20/2018              $0.00
Merck & Cie                                                                                                                                      Amyris, Inc.                                     Materials Transfer Agreement                                                                                                                 $0.00
Merck KGaA                                                                                                                                       Amyris, Inc.                                     Confidentiality Agreement                                                                                             11/19/2020              $0.00
Merck Sharp & Dohme Corp.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/26/2016              $0.00
Merja Penttila                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/27/2015              $0.00
Metabolon, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2017              $0.00
Metabolon, Inc.                                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                               7/6/2011              $0.00
Metagenomi.co                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/4/2020              $0.00
Metallix Refining Inc.                                                                                                                           Aprinnova, LLC                                   Mutual Confidential Disclosure Agreement                                                                              10/24/2017              $0.00
METALLIX REFINING, INC.                                                                                                                          Amyris, Inc.                                     Confidentiality, Non-Disclosure and Use Agreement                                                                     11/19/2012              $0.00
Metalytics, LLC                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/6/2017              $0.00
Metamixis, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/19/2016              $0.00
METGEN                                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2011              $0.00
Method Products Inc.                                                                                                                             Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                           10/15/2012              $0.00
Method Products, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        6/27/2011              $0.00
MetLife Legal Plans, Inc.                                                                                                                        Amyris, Inc.                                     Group Legal Services Plan                                                                                               1/1/2023              $0.00
Metropolitan Life Insurance Company                                                                                                              Amyris, Inc.                                     Dental Care Benefits Administrative Services Agreement                                                                  1/1/2023              $0.00
Metropolitan Life Insurance Company                                                                                                              Amyris, Inc.                                     Agent Deposit Account Agreement                                                                                        12/7/2022              $0.00
Mettler Toledo AutoChem Inc.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/5/2018              $0.00
Mettler-Toledo, LLC                                                                                                                              Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                       10/19/2018              $0.00




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Michael Arbuckle                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2010             $0.00
Michael Bishop                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/19/2011             $0.00
Michael Bissell                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/9/2010             $0.00
Michael Flaschen                                                                                                                              Amyris, Inc.                                     Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                                  1/20/2010             $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of            Cure
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Michael Harris                                                                                                                                Amyris, Inc.                       Nondisclosure Agreement                                                                                                              6/24/2011             $0.00
Michael Hoehner                                                                                                                               Amyris, Inc.                       Nondisclosure Agreement                                                                                                              6/20/2011             $0.00
Michael Pailer - SSB                                                                                                                          Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                    11/1/2011             $0.00
Michael Reichman                                                                                                                              Amyris, Inc.                       Nondisclosure Agreement                                                                                                             10/14/2010             $0.00
Michael Smyers                                                                                                                                Amyris, Inc.                       Nondisclosure Agreement                                                                                                              8/25/2010             $0.00
Michael Wachs                                                                                                                                 Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            10/31/2022             $0.00
Michaela Chigango                                                                                                                             Amyris, Inc.                       Nondisclosure Agreement                                                                                                              5/19/2011             $0.00
Michelle Kanemitsu                                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            10/26/2022             $0.00
Michigan Biotechnology Institute                                                                                                              Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             9/25/2013             $0.00
Michigan Biotechnology Institute                                                                                                              Amyris, Inc.                       Mutual Nondisclosure Agreement                                                                                                         3/2/2016            $0.00
Michigan Biotechnology Institute                                                                                                              Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                      7/8/2014            $0.00
Michigan State University                                                                                                                     Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            12/10/2021             $0.00
Michigan State University                                                                                                                     Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                    6/20/2018             $0.00
MICROBIOGEN PTY LTD                                                                                                                           Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                               7/2/2010            $0.00
Microbiogen Pty Ltd.                                                                                                                          Amyris, Inc.                       Materials Transfer Agreement                                                                                                                               $0.00
MICROSOFT CORPORATION                                                                                                                         Amyris, Inc.                       Non-Disclosure Agreement                                                                                                             4/26/2011             $0.00
MICROVI BIOTECH, INC.                                                                                                                         Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             11/9/2017             $0.00
Mid-Atlantic Technology, Research & Innovation, Inc.                                                                                          Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                              2/5/2018             $0.00
MIDCAP FINANCIAL TRUST                                                                                                                        Amyris, Inc.                       Re: Confidentiality Agreement                                                                                                        9/17/2015             $0.00
MidContinental Chemical, Inc.                                                                                                                 Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             6/10/2010             $0.00
MIDI LABS, Inc.                                                                                                                               Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                     7/8/2011             $0.00
Midwest Laboratories Inc.                                                                                                                     Amyris, Inc.                       Amendment No. 1 to the Services Agreement                                                                                            4/10/2022             $0.00
Miles Label Co., Inc.                                                                                                                         Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                              4/1/2022             $0.00
MILLIKEN & COMPANY                                                                                                                            Amyris, Inc.                       Confidentiality Agreement                                                                                                             4/4/2016             $0.00
Minafin SARL                                                                                                                                  Amyris, Inc.                       Non-Disclosure Agreement                                                                                                              4/1/2014             $0.00
Minakem SAS                                                                                                                                   Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            10/13/2020             $0.00
Mintel Group Ltd.                                                                                                                             Amyris, Inc.                       Order for Services                                                                                                                   10/1/2023             $0.00
Mirco Benatti                                                                                                                                 Amyris, Inc.                       Mutual Confidentiality Agreement                                                                                                      3/8/2017             $0.00
Mischtechnik GmbH                                                                                                                             Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             2/26/2020             $0.00
Mitsui & Co.                                                                                                                                  Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             1/15/2014             $0.00
Models Inc Talent Agency                                                                                                                      Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            12/22/2022             $0.00
Modern Meadow Inc.                                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                              3/9/2016             $0.00
MOLECULAR DEVICES, LLC                                                                                                                        Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                    9/20/2012             $0.00
Momentive Performance Materials Inc.                                                                                                          Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                              7/5/2013             $0.00
MommyCon LLC                                                                                                                                  Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             7/30/2019             $0.00
Monnet Design                                                                                                                                 Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                    1/20/2015             $0.00
Morgan Stanley & Co. Incorporated                                                                                                             Amyris, Inc.                       Confidentiality Agreement                                                                                                             1/7/2010             $0.00
Morgan Stanley & Co. LLC                                                                                                                      Amyris, Inc.                       Confidentiality Agreement                                                                                                            4/28/2014             $0.00
Morinaga Milk Industry Co., Ltd.                                                                                                              Amyris, Inc.                       Mutual Confidentiality Agreement                                                                                                     7/28/2023             $0.00
Morningside Translations, Inc.                                                                                                                Amyris, Inc.                       Services Agreement                                                                                                                  10/20/2014             $0.00
Morrison B. Mac                                                                                                                               Amyris, Inc.                       Nondisclosure Agreement                                                                                                               1/3/2011             $0.00
Moss Adams LLP                                                                                                                                Amyris, Inc.                       Engagement Letter                                                                                                                     6/5/2023             $0.00
Motherly, Inc.                                                                                                                                Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             7/23/2019             $0.00
MOTT CORPORATION                                                                                                                              Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             2/17/2011             $0.00
MOVERS AND SHAKERS LLC                                                                                                                        Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                            11/30/2020             $0.00
MSDSonline, Inc.                                                                                                                              Amyris, Inc.                       Customer Order Form                                                                                                                 11/14/2013             $0.00
Multi Packaging Solution                                                                                                                      Amyris, Inc.                       Confidential Disclosure Agreement                                                                                                    1/22/2015             $0.00
Mutesix LLC                                                                                                                                   Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             1/21/2022             $0.00
Myers Vacuum Repair Services, Inc.                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                              7/6/2018             $0.00
Myra Lee M. Martinez                                                                                                                          Amyris, Inc.                       Nondisclosure Agreement                                                                                                               6/9/2010             $0.00
Nababy LLC                                                                                                                                    Amyris, Inc.; Amyris Clean Beauty, Mutual Release and Settlement Agreement                                                                                              5/19/2023             $0.00
                                                                                                                                              Inc.
NAGASE & CO., LTD.                                                                                                                            Amyris, Inc.                       Mutual Confidential Disclosure Agreement                                                                                             5/21/2018             $0.00




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Nalco Company                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/1/2012            $0.00
Nalien Vongtharangsy                                                                                                                         Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/1/2010            $0.00
Namsiang Company, Ltd.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2012            $0.00
Nanophase Technologies Corporation                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/21/2015            $0.00
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Nanoscience Instruments, Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/10/2019            $0.00
Napo Pharmaceuticals Inc                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/29/2017            $0.00
NARCHEM CORPORATION                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/9/2010            $0.00
NATION FORD CHEMICAL COMPANY                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/10/2010            $0.00
NATIONAL AGRICULTURAL RESEARCH INSTITUTE                                                                                                     Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/29/2019            $0.00
NATIONAL ASSOCIATION FOR STOCK CAR AUTO RACING, INC.                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/13/2011            $0.00
National Food Laboratory, Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/12/2021            $0.00
National Packaging Co., Inc.                                                                                                                 Amyris, Inc.                                     Material Sampling and Mutual Confidentiality and Non-Use Agreement                                                     9/13/2019            $0.00

NATIONAL POLYMER LABORATORIES                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/7/2010             $0.00
Natrium Capital Limited                                                                                                                      Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                             $0.00
Natural Food Certifiers Inc                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/25/2022             $0.00
NatureWorks, LLC                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/31/2011             $0.00
Naturochim S.A.S.; VALAGRO CARBONE RENOUVELABLE POITOU-CHARENTES                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/12/2012             $0.00
NAVAL AIR WARFARE CENTER AIRCRAFT DIVISION PATUXENT RIVER                                                                                    Amyris, Inc.                                     A Limited Purpose Cooperative Research and Development Agreement                                                       7/14/2014             $0.00
                                                                                                                                                                                              (Lp-Crada) for Equipment or Material Transfer (From Non-Navy Provider
                                                                                                                                                                                              to Navy Recipient)
Naval Air Warfare Center Weapons Division                                                                                                    Amyris, Inc.                                     Non-Standard Navy Cooperative Research and Development                                                                 5/10/2021            $0.00
                                                                                                                                                                                              Agreement
Naval Air Warfare Center Weapons Division                                                                                                    Amyris, Inc.                                     First Amendment to Non-standard Cooperative R&D Agreement                                                              4/20/2023           $0.00
Naval Air Warfare Center Weapons Division                                                                                                    Amyris, Inc.                                     Second Amendment to Non-standard Cooperative R&D Agreement                                                            10/19/2023           $0.00
NAVEX Global, Inc.                                                                                                                           Amyris, Inc.                                     Order Form 561351                                                                                                      6/30/2022       $3,108.64
NAVEX Global, Inc.                                                                                                                           Amyris, Inc.                                     ORDERFORM607532                                                                                                        6/30/2023           $0.00
NAVEX Global, Inc.                                                                                                                           Amyris, Inc.                                     Order Form 490557                                                                                                      2/18/2021           $0.00
Navia Benefit Solutions, Inc.                                                                                                                Amyris, Inc.                                     Contract Information Page                                                                                               1/1/2019           $0.00
Navilon Inc.                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/5/2012           $0.00
Navin Ramachandran                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/29/2010           $0.00
NegotiumBio, LLC                                                                                                                             Amyris, Inc.                                     Consulting Agreement                                                                                                  11/30/2021           $0.00
NegotiumBio, LLC                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/21/2021           $0.00
Neil Canter                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/7/2010           $0.00
Neil Grady                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/11/2010           $0.00
Neo-morgan laboratory                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/12/2014           $0.00
Neste Oyj                                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                              5/16/2016           $0.00
Neudesic, LLC                                                                                                                                Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         4/29/2013           $0.00
Neumann Systems Group, Inc                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/28/2011           $0.00
NEUMANN SYSTEMS GROUP, INC.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/8/2011           $0.00
Neuter &Co., Inc.                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/30/2015           $0.00
New Engen                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/21/2020           $0.00
New Relic, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2018           $0.00
Nexant, Inc.                                                                                                                                 Amyris, Inc.                                     First Amendment to Mutual Confidential Disclsoure Agreement                                                            6/13/2012           $0.00
NEXANT, INC.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/6/2011           $0.00
NEXANT, INC.                                                                                                                                 Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         3/17/2010           $0.00
Nguyen Tarbet LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/1/2022           $0.00
Niche Chemicals Sdn Bhd                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/1/2015           $0.00
Nick Rosser                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                   $0.00
Niekamp Law                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/18/2023           $0.00
Nikki Pratchios                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 2/8/2011           $0.00
Nikko Chemicals Co. Ltd.                                                                                                                     Amyris, Inc.                                     Amendment #1 to Material Transfer Agreement                                                                            11/1/2011           $0.00
Nikko Chemicals Co. Ltd.                                                                                                                     Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                           $0.00
Nikko Chemicals Co. Ltd.                                                                                                                     Amyris, Inc.; Aprinnova, LLC                     Termination Agreement                                                                                                 12/15/2022           $0.00
Nikko Chemicals Co. Ltd.                                                                                                                     Amyris, Inc.; Aprinnova, LLC                     Second A&R Aprinnova Operating Agreement                                                                              12/15/2022           $0.00
Nikko Chemicals Co., Ltd.                                                                                                                    Amyris, Inc.                                     Third Amendment to Mutual Confidential Disclosure Agreement                                                             9/1/2014           $0.00
Nikko Chemicals Co., Ltd.                                                                                                                    Amyris, Inc.                                     Second Amendment to Mutual Confidential Disclosure Agreement                                                           8/21/2013           $0.00




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Nikko Chemicals Co., Ltd.                                                                                                                   Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            9/21/2012             $0.00
Nikko Chemicals Co., Ltd.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/11/2014             $0.00
NIKKO CHEMICALS CO., LTD.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/18/2011             $0.00
Nilanjana Cabrera                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/19/2011             $0.00
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                                             Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Nina F. Del Prado                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/21/2012            $0.00
Nippon Refine                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/5/2012           $0.00
NIPPON TERPENE CHEMICALS, INC.                                                                                                              Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        12/3/2014            $0.00
Nirvana Solutions LTD Limited Company (UK)                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/4/2022           $0.00
Nisha Masharani                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/31/2011            $0.00
Nishant Patni                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011            $0.00
Nomis Bay Ltd.                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        5/4/2016           $0.00
North Dakota State University                                                                                                               Amyris, Inc.                                     Statement of Work No. 3                                                                                                6/14/2023            $0.00
North Dakota State University                                                                                                               Amyris, Inc.                                     Master Services Agreement                                                                                              8/26/2022            $0.00
North Dakota State University                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/23/2022            $0.00
NorthEast Products, Inc.                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                                                   $0.00
Northland Laboratories                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/2/2012            $0.00
Nova Molecular Technologies, Inc.                                                                                                           Amyris, Inc.                                     Services Agreement                                                                                                      4/1/2014            $0.00
Nova Molecular Technologies, Inc.                                                                                                           Amyris, Inc.                                     Amendment #1 to Service Agreement                                                                                      5/12/2014            $0.00
Nova Molecular Technologies, Inc.                                                                                                           Amyris, Inc.                                     Third Amendment to Mutual Confidential Disclosure Agreement                                                             3/1/2015            $0.00
Nova Molecular Technologies, Inc.                                                                                                           Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                             3/7/2013            $0.00
NOVA MOLECULAR TECHNOLOGIES, INC.                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2018            $0.00
Nova Molecular Technologies, Inc.                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/8/2012            $0.00
NOVA MOLECULAR TECHNOLOGIES, INC.                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/20/2010            $0.00
Novasep, Inc.                                                                                                                               Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                             3/8/2012            $0.00
Novasep, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/23/2012            $0.00
Novasep, LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/7/2020            $0.00
Novasep, LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/9/2018            $0.00
Novogy, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/22/2015            $0.00
Novozymes Canada Limited                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/14/2015            $0.00
Novozymes Canada Limited                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/12/2013            $0.00
Novozymes Latin America Ltda                                                                                                                Amyris, Inc.                                     Confidential Disclosure and Sampling Agreement                                                                        12/21/2016            $0.00
Novus International                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/3/2014            $0.00
Novus International                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/28/2011            $0.00
Novvi LLC                                                                                                                                   Amyris, Inc.                                     Amendment #1 to Ip License Agreement                                                                                   3/21/2016        $6,315.00
Novvi LLC                                                                                                                                   Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                           11/17/2015            $0.00
Novvi LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/25/2013            $0.00
Novvi LLC                                                                                                                                   Apprinova, LLC                                   Lease Agreement dated 10th of August, 2022                                                                              7/1/2022           $0.00
NPD Group, Inc.                                                                                                                             Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            8/28/2014            $0.00
NPD Group, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/5/2014            $0.00
NSF International                                                                                                                           Amyris, Inc.                                     Agreement for Nondisclosure of Confidential Information                                                               11/18/2014            $0.00
Numerica Corporation                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/1/2013            $0.00
NuSil Technology LLC                                                                                                                        Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                          9/5/2019            $0.00
Nutrasource Diagnostics Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/23/2019            $0.00
NUTRASWEET COMPANY                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/6/2010            $0.00
NYE LUBRICANTS, INC.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/26/2011            $0.00
Nynas AB                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/10/2011            $0.00
O. Berk Company of New England                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/5/2022            $0.00
Oak Cliff Beverage Works, Inc.                                                                                                              Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/17/2018            $0.00
OfficeSpace Software Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidentiality and Nondisclosure Agreement                                                                    11/18/2020            $0.00
Okta, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                        10/16/2012            $0.00
Old Republic Professional, Inc.                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019            $0.00
Olga Keeley                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010            $0.00
OligoCo, Inc.                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/14/2013            $0.00
OLIGOCO, INC.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/29/2011            $0.00
Oliver Liu                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 7/6/2011            $0.00
Olon Ricerca Bioscience, LLC                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2017            $0.00
ONO AGENCY                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/3/2021            $0.00




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ONO Agency                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                         9/1/2022                $0.00
Optima Chemical Group, LLC                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        7/22/2015                $0.00
ORACLE                                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                3/1/2011                $0.00
OrbiMed Advisors LLC                                                                                                                          Amyris, Inc.                                     Confidentiality Agreement                                                                                       9/23/2015                $0.00
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          Orchard International Inc.                                                                                                                          Amyris, Inc.                                      Mutual Confidential Disclosure Agreement                                                                                         $0.0
          Oreste Fieschi                                                                                                                                      Amyris, Inc.                                      Confidential Disclosure Agreement                                                                           1/23/2019            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Seventeenth Amendment to Service Agreement                                                                  10/5/2020            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Sixteenth Amendment to Service Agreement                                                                    4/15/2020            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Fifteenth Amendment to Service Agreement                                                                     3/6/2019            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Fourteenth Amendment to Service Agreement                                                                  11/13/2018            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amyris Thirteenth Amendment to Service Agreement                                                            1/10/2018            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Twelfth Amendment to Service Agreement                                                                      5/10/2017            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Eleventh Amendment to Service Agreement                                                                     9/14/2016            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amended and Restated Ninth Amendment to Service Agreement                                                   3/28/2016            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Eighth Amendment to Services Agreement                                                                       1/1/2016            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #7 to Service Agreement                                                                          10/12/2015            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #6 to Service Agreement                                                                           6/23/2015            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Re: Second Modification to Amendment 43 to Service Agreement                                                 6/9/2015            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #5 to Service Agreement                                                                           1/27/2015            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #4 to Service Agreement                                                                          12/11/2014            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #4 to Service Agreement                                                                          11/13/2014            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #3 to Service Agreement                                                                           7/17/2014            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Amendment #2 to Service Agreement                                                                            4/9/2014            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Third Amendment to Mutual Confidential Disclosure Agreement                                                11/13/2018            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Second Amendment to Mutual Confidential Disclosure Agreement                                                 5/3/2017            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      First Amendment to Mutual Confidential Disclosure Agreement                                                  1/1/2015            $0.0
          ORG CHEM Group                                                                                                                                      Amyris, Inc.                                      Mutual Confidential Disclosure Agreement                                                                     9/3/2021            $0.0

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ORG CHEM GROUP LLC                                                                                                                            Amyris, Inc.                                     Material Transfer Addendum                                                                                     11/19/2021                $0.00
ORG CHEM GROUP LLC                                                                                                                            Amyris, Inc.                                     21St Amendment to Service Agreement                                                                             3/29/2023                $0.00
ORG CHEM GROUP LLC                                                                                                                            Amyris, Inc.                                     Nineteenth Amendment to Service Agreement                                                                        9/1/2022                $0.00
ORG CHEM GROUP LLC                                                                                                                            Amyris, Inc.                                     Twentieth Amendment to Service Agreement                                                                        3/25/2022                $0.00
ORG CHEM GROUP LLC                                                                                                                            Amyris, Inc.                                     Eighteenth Amendment to Service Agreement                                                                       2/15/2021                $0.00
Organic Consultants Inc.; Pressure Chemical Co                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                       12/21/2020                $0.00
Organic Consultants Inc.; Synthonix, Inc.                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        2/19/2021                $0.00
Organic Consultants, Inc                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                4/4/2018                $0.00
ORGANIC FUELS ALGAE TECHNOLOGIES, LLC                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                       9/14/2011                $0.00
Organic Technologies                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        6/14/2017                $0.00
Organic Technologies                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                         1/3/2017                $0.00
Organic Technologies                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                         4/1/2013                $0.00
Organix Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        5/29/2020                $0.00
Oscar Kegel                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                  $0.00
Osuge Food                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                         3/4/2022                $0.00
Oterra A/S                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                       10/12/2022                $0.00
Oxford Advisory Services, LLC                                                                                                                 Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                      4/2/2020                $0.00
Oxford Advisory Services, LLC                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                         4/3/2019                $0.00
OXFORD INSTRUMENTS INDUSTRIAL PRODUCTS LIMITED                                                                                                Amyris, Inc.                                     Mutual Confidentiality Agreement for Possible Collaborative Venture                                             5/25/2011                $0.00
Oxford Instruments Industrial Products Ltd                                                                                                    Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                 12/1/2020                $0.00
Oxiteno S.A. Industria e Comercio                                                                                                             Amyris, Inc.                                     Disclosure Authorization                                                                                         2/8/2010                $0.00
Oyl + Water                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                1/8/2015                $0.00
OZEN ENGINEERING, INC.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                               3/22/2011                $0.00
P.P.C., Inc                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        10/7/2021                $0.00
Pacific Biosciences of California, Inc.                                                                                                       Amyris, Inc.                                     Reciprocal Non-Disclosure Agreement                                                                             10/9/2015                $0.00
Pack Tech A/S                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                 $0.00
PACKAGING PROGRAMAÇÃO VISUAL LTDA                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                        8/29/2019                $0.00




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Pall Corporation                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/16/2022              $0.00
Pall Corporation                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/26/2010              $0.00
PANACEA BIOTEC LIMITED                                                                                                                        Amyris, Inc.                                     Materials Transfer Agreement                                                                                                                 $0.00
Panacea Biotec Limited                                                                                                                        Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                              $0.00
PANAMA PETROCHEM LTD                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/2/2011              $0.00
Parade                                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/20/2015              $0.00
PARKER HANNIFIN CORPORATION                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2011              $0.00
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                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Partek Incorporated                                                                                                                           Amyris, Inc.                                     Quotation                                                                                                             10/31/2012             $0.00
Particle Sciences, Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/10/2021             $0.00
Particle Technology Group, LLC                                                                                                                Amyris, Inc.                                     Material Transfer Agreement                                                                                            2/15/2022             $0.00
Patagonia, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/4/2015            $0.00
PATH Drug Solutions                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        1/3/2014            $0.00
Patheon API Inc.                                                                                                                              Amyris, Inc.                                     Amendment No. 1                                                                                                        10/8/2021             $0.00
Patheon API Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/22/2020             $0.00
Patil Arrmenian                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/10/2010             $0.00
Patrice Yursik, DBA as Afrobella LLC                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/31/2022             $0.00
Paul Hastings LLP; Silverback Asset Management, LLC; U.S. Bank National Association                                                           Amyris, Inc.                                     Confidentiality Agreement                                                                                                8/3/2023            $0.00
Paul Hastings LLP; U.S. Bank National Association; Wolverine Flagship Fund Trading Limited                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                                8/3/2023            $0.00
Paul J. Grimmer                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/22/2010             $0.00
Paul Sun                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/3/2021             $0.00
Paula Roach Vettel                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  9/7/2010            $0.00
Pavan Maholtra                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/10/2010             $0.00
PAXIO, Inc.                                                                                                                                   Amyris, Inc.                                     Quote No. Q000593                                                                                                      5/15/2023             $0.00
PDC PROCESS DESIGN CENTER, INC.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/2/2011            $0.00
PellePharm, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/7/2017            $0.00
Penman Consulting                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/28/2013             $0.00
Penn A Kem LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/18/2016             $0.00
Penn A Kem, LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/9/2013            $0.00
PENN SCHOEN BERLAND                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     12/17/2010             $0.00
PepsiCo, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidentiality and Non-Use Agreement                                                                          10/13/2020             $0.00
PepsiCo, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidentiality and Non-Use Agreement                                                                          10/24/2019             $0.00
Percy Works Ltd                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/14/2021             $0.00
Performance Based Ergonomics, Inc.                                                                                                            Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         4/20/2010             $0.00
PERIGON INTERNATIONAL, INC.                                                                                                                   Amyris, Inc.                                     Confidential. Disclosure Agreement                                                                                     3/29/2011             $0.00
Peter Allan                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/23/2018             $0.00
Peter Owen                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/13/2010             $0.00
Peter Sattari                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/25/2011             $0.00
Petrizzo Group, Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/11/2020             $0.00
Petrobras Biocombustivel SA; Total Gas & Power Ventures S.A.S                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                              12/6/2010             $0.00
PETRONAS BASE OIL SDN BHD                                                                                                                     Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                    4/2/2010            $0.00

Petroyag Kimyasallar San. Tic. A.S.                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/10/2012             $0.00
Petty Cash, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2022             $0.00
Pfaudler, Inc.                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/3/2013             $0.00
PFIZER INC.                                                                                                                                   Amyris, Inc.                                     Confidentiality Agreement                                                                                              2/29/2016             $0.00
Pfizer Inc.                                                                                                                                   Amyris, Inc.                                     Confidentiality Agreement                                                                                              3/16/2010             $0.00
Pharma Cos S.r. I.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2020             $0.00
Pharma Developability Solutions Consulting, LLC                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                            6/24/2021             $0.00
PharmaBioSource, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/29/2021             $0.00
PHAULDER, INC.                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/11/2011             $0.00
Phenomenex, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        10/9/2014             $0.00
Phi Pham                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/4/2010             $0.00
Phibro Animal Health Corporation                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/3/2018             $0.00
Phibro Animal Health Corporation                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/8/2015             $0.00
Phibro Animal Health Corporation                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/1/2011             $0.00
Phidel Digital LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/11/2022             $0.00
Phillip Lovasik                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/11/2010             $0.00




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Phoenix Bio Industries, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/2/2011            $0.00
Phycus Biotechnologies Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/8/2019            $0.00
Phyto Tech Corp                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/2/2016            $0.00
picoSpin, LLC                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/31/2011            $0.00
Pierre Monsan                                                                                                                                     Amyris, Inc.                                     Engagement Spécifique DE Confidentialité                                                                                                    $0.00
Pierre-Alay Ceralli                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/10/2017            $0.00
Ping Wei                                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011            $0.00
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PINOVA HOLDINGS, INC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/16/2012            $0.00
Pioneer Sales Co                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/17/2022            $0.00
PK4 Media, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/22/2019            $0.00
PlanSource Benefits Administration, Inc.                                                                                                          Amyris, Inc.                                     Open Enrollment Renewal Statement of Work                                                                                                   $0.00
PLANSOURCE BENEFITS ADMINISTRATION, INC.                                                                                                          Amyris, Inc.                                     End User Services Agreement Order Form # Q-61839                                                                        8/1/2023            $0.00
Plant Bioscience Limited                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/2/2016            $0.00
Plastic Technologies, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/1/2012            $0.00
Plex Systems, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        1/24/2019            $0.00
Plotly Technologies Inc                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/30/2021            $0.00
PLZ Corp.                                                                                                                                         Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                   10/29/2022            $0.00
PM Group International, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/1/2011            $0.00
PMG Worldwide, LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/3/2020            $0.00
P-more Trading Co., Ltd.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/22/2014            $0.00
POET LLC                                                                                                                                          Amyris, Inc.                                     3-way Non Disclosure Agreement                                                                                         12/3/2014            $0.00
Poet, LLC                                                                                                                                         Amyris, Inc.                                     First Amendment to Non-Disclosure Agreement                                                                             3/2/2016            $0.00
Poet, LLC                                                                                                                                         Amyris, Inc.                                     First Amendment to Non-Disclosure Agreement                                                                           11/10/2015            $0.00
POET, LLC                                                                                                                                         Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              11/30/2015            $0.00
POET, LLC                                                                                                                                         Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               4/10/2014            $0.00
POET, LLC                                                                                                                                         Amyris, Inc.                                     Poet Non-Disclosure Agreement                                                                                         12/16/2013            $0.00
Poet, LLC                                                                                                                                         Amyris, Inc.                                     Poet Non-Disclosure Agreement                                                                                          8/19/2013            $0.00
Polar Bear Kitchen                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/27/2021            $0.00
Pollen Technologies Inc.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/19/2022            $0.00
PolyCarbon Industries                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/1/2017            $0.00
PolyCarbon Industries Inc.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/26/2014            $0.00
Polycom, Inc.                                                                                                                                     Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         9/4/2014            $0.00
POLYHEDRON LABORATORIES, INC.                                                                                                                     Amyris, Inc.                                     Confidential Information Agreement                                                                                     7/13/2011            $0.00
PolyInsight, LLC                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2014            $0.00
Polymer Diagnostic, Inc.                                                                                                                          Amyris, Inc.                                     Services Agreement                                                                                                      1/5/2012            $0.00
Polymer Source, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/5/2013            $0.00
Polymer Source, Inc.                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/28/2010            $0.00
POLYMER STANDARDS SERVICE-USA, INC                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/15/2011            $0.00
POLYONE CORP                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/14/2011            $0.00
PolyOne Corporation                                                                                                                               Amyris, Inc.                                     Amendment to Mutual Confidential Disclosure Agreement                                                                 12/21/2011            $0.00
PolyOne Corporation                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/15/2017            $0.00
POLYSCIENCES, INC.                                                                                                                                Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         6/22/2010            $0.00
Poly-Tainer, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/15/2018            $0.00
Poonam Saija                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/28/2011            $0.00
Pope Scientific Inc                                                                                                                               Amyris, Inc.                                     Quotation                                                                                                              1/24/2022            $0.00
Pope Scientific Inc.                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/19/2015            $0.00
Pope Scientific, Inc                                                                                                                              Amyris, Inc.                                     Services Agreement                                                                                                     12/1/2011            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Services Agreement                                                                                                     12/1/2011            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment #5 to Service Agreement                                                                                      2/26/2013            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment #4 to Service Agreement                                                                                      10/1/2012            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment No. 2 to Mutual Confidential Disclosure Agreement                                                             7/5/2020            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                             7/5/2019            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Third Amendment to Confidential Disclosure Agreement                                                                   9/27/2012            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                         11/5/2010            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                        10/21/2009            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/20/2021            $0.00
Pope Scientific, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/6/2018            $0.00




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Porton Pharma Solutions Ltd                                                                                                                  Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/28/2018             $0.00
POS Management Corp.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/16/2018             $0.00
POSITIVE EDGE SOLUTIONS                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/18/2010             $0.00
Power Digital Marketing, Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/8/2023             $0.00
POWER OFFSET                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2022             $0.00
Powerfrnot Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/28/2022             $0.00
PPG Industries, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/26/2012             $0.00
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PRAJ INDUSTIRES LIMITED                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/16/2012             $0.00
Praj Industries Limited                                                                                                                      Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          9/8/2015            $0.00
Praneet Mungara                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        2/3/2012            $0.00
Praveen Kumar                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2010             $0.00
Praxair, Inc                                                                                                                                 Amyris, Inc.                                     Joint Nondisclosure Agreement                                                                                            4/5/2012            $0.00
Praxair, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/20/2014             $0.00
PRAXAIR, INC.                                                                                                                                Amyris, Inc.                                     Agreement to Extend Nondisclosure Agreement                                                                              4/5/2012            $0.00
PRD Tech, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Non•Disclosure Agreement                                                                                        9/15/2010             $0.00
Premalux, LLC                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/29/2014             $0.00
Pressure Chemical                                                                                                                            Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                     9/1/2012            $0.00
Pressure Chemical Co Patheon API Inc.                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/20/2021             $0.00
Pressure Chemical Co.                                                                                                                        Amyris, Inc.                                     Services Agreement                                                                                                       3/9/2012            $0.00
Pressure Chemical Co.                                                                                                                        Amyris, Inc.                                     Statement of Work No. 3                                                                                                11/4/2021             $0.00
Pressure Chemical Co.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/21/2022             $0.00
Pressure Chemical Co.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/21/2020             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Fifth Amendment to Services Agreement                                                                                 12/10/2015             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Fourth Amendment to Services Agreement                                                                                 12/2/2015             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Third Amendment to Services Agreement                                                                                 11/11/2015             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Amendment No. 2 To Service Agreement                                                                                   4/13/2015             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Amendment #1 to Service Agreement                                                                                      8/28/2012             $0.00
Pressure Chemical Company                                                                                                                    Amyris, Inc.                                     Second Amendment to Confidential Disclosure Agreement                                                                    3/6/2015            $0.00
PRESSURE CHEMICAL COMPANY                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/14/2010             $0.00
Prime Sales & Marking Group, Inc.                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/7/2020            $0.00
Princeton University                                                                                                                         Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        2/20/2013             $0.00
PRINOVA US LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       2/19/2021             $0.00
Promoveo Health LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/12/2019             $0.00
ProPharma Group The Netherlands B.V.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/26/2020             $0.00
PROQUIP INC.                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        4/6/2011            $0.00
ProSep, Ltd.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/19/2018             $0.00
Protein Technologies Limited; SORSO LIMITED                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/18/2012             $0.00
PT. Bahtera Adi Jaya                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/16/2014             $0.00
PT. Sinergi Multi Lestarindo                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2015             $0.00
Pulse Combustion Systems                                                                                                                     Amyris, Inc.                                     Material Transfer Agreement                                                                                              5/2/2023            $0.00
Purac Biochem B.V.                                                                                                                           Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                         9/9/2014            $0.00
Purac Biochem B.V. (Corbion)                                                                                                                 Amyris, Inc.                                     MNDA                                                                                                                   7/24/2023             $0.00
Purdue University                                                                                                                            Amyris, Inc.                                     Material Transfer, Testing and Confidentiality Agreement                                                                 5/1/2018            $0.00
PureCircle Limited                                                                                                                           Amyris, Inc.                                     U.S. Assignment and Assumption Agreement                                                                                 6/1/2021            $0.00
PureCircle Limited                                                                                                                           Amyris, Inc.                                     Sales Agreement                                                                                                          6/1/2021            $0.00
PureCircle Limited                                                                                                                           Amyris, Inc.                                     Framework Supply Agreement                                                                                             12/6/2018             $0.00
PureCircle Limited                                                                                                                           Amyris, Inc.                                     Intellectual Property License Agreement                                                                                  6/1/2021            $0.00
PureCircle Limited                                                                                                                           Amyris, Inc.                                     Common Interest Agreement                                                                                              10/2/2015             $0.00
PureCircle, Ltd.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/14/2014             $0.00
QB3/Chemistry Mass Spectrometry Facility                                                                                                     Amyris, Inc.                                     Services Agreement                                                                                                     12/4/2014             $0.00
QDICCI                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/29/2022             $0.00
QDiligence, LLC                                                                                                                              Amyris, Inc.                                     Non-Disclosure Agreement                                                                                              12/10/2014             $0.00
Qiao Ren                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  7/1/2011            $0.00
Qingdao Vland Biotech Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/1/2020            $0.00
Quail Capital Corp                                                                                                                           Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                       12/29/2015             $0.00
Qualipac America                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Quality Resourcing Services                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/17/2017             $0.00




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QUALITY TECHNICAL SERVICES, LLC                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/31/2011             $0.00
Queeny Dong                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/8/2010             $0.00
Quiet Logistics, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2021             $0.00
Quinn Mitrovich                                                                                                                         Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/13/2010             $0.00
R. W. Beck, Inc.                                                                                                                        Amyris, Inc.                                     Confidentiality Agreement                                                                                               1/7/2010             $0.00
R2DIO, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/5/2022             $0.00
R2DIO, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/29/2021             $0.00
                                                                                                                                                 Contract/Lease                                                                                                                                            Date of            Cure
                                         Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Rachel Griggs                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/23/2018             $0.00
Rachel Shea                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/9/2022            $0.00
Radial, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2021             $0.00
Radiant Genomics, Inc.                                                                                                                  Amyris, Inc.                                     Asset Purchase Agreement                                                                                                 7/9/2013            $0.00
Radici Chimica S.p.A.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure-Agreement                                                                                 5/2/2016            $0.00
Radient Technologies Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/8/2017            $0.00
Rae Chen                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/4/2022            $0.00
Raffi Asadorian                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/4/2014             $0.00
Rainin Instrument, LLC                                                                                                                  Amyris, Inc.                                     Pre-Production Nondisclosure Agreement                                                                                   2/7/2011            $0.00
Raizen Energia S/A                                                                                                                      Amyris, Inc.                                     Lease Agreement                                                                                                                              $0.00
Rakuten Marketing LLC                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/10/2019             $0.00
Ralph Scarborough                                                                                                                       Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/19/2010             $0.00
Ramboll Environ US Corporation                                                                                                          Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                          8/9/2017             $0.00
Randy Hampton                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/20/2012             $0.00
Randy Rigg                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/20/2022             $0.00
Rave Wireless, Inc.                                                                                                                     Amyris, Inc.                                     License & Services Order Form                                                                                          1/15/2019             $0.00
Raymond James & Associates, Inc.                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/13/2023             $0.00
Raymond James & Associates, Inc.                                                                                                        Amyris, Inc.                                     Re: Confidentiality Agreement                                                                                          6/23/2015             $0.00
Razi Capital Group, Inc.                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              11/4/2016             $0.00
RCA BEAUTY LLC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/3/2020             $0.00
Recipharm AB (publ)                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/12/2020             $0.00
Recovery Technologies Corporation                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2016             $0.00
Red Antler LIC                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/9/2018             $0.00
RED SHIELD ACQUISITION LLC                                                                                                              Amyris, Inc.                                     Material Transfer and Confidential Testing Agreement                                                                   9/11/2012             $0.00
Red Star Yeast Company, LLC                                                                                                             Amyris, Inc.                                     Amendment to Mutual Non-Disclosure Agreement                                                                            4/4/2011             $0.00
Redpoll, LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/24/2021             $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                                 Amyris, Inc.                                     Services Agreement Between the Regents of the University of California                                                 4/12/2012             $0.00
                                                                                                                                                                                         and Amyris, Inc.
Regents of the University of California                                                                                                 Amyris, Inc.                                     Appendix A-1 to User Agreement No. Fp00016024                                                                           2/7/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Non-Proprietary User Agreement No. FP00016024                                                                           2/7/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Facilities User Agreement                                                                                              1/29/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Non-Proprietary User Agreement                                                                                         1/29/2023             $0.00
Regents Of The University Of California                                                                                                 Amyris, Inc.                                     Material Transfer Agreement                                                                                            1/29/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Mutual Material Transfer Agreement                                                                                     12/8/2021             $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                                 Amyris, Inc.                                     Material Transfer Agreement                                                                                            8/13/2014             $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                                 Amyris, Inc.                                     ( University of California, Office of Technology Licensing                                                             1/11/2008             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Collaboration Agreement                                                                                                10/1/2019             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Industrial Membership Agreement Between the Regents of the University                                                  5/30/2013             $0.00
                                                                                                                                                                                         of California for the Synthetic Biology Engineering Research Center and
                                                                                                                                                                                         Amyris, Inc.
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                                 Amyris, Inc.                                     Amendment #1 to Collaboration Research Agreement                                                                      11/14/2014             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Appendix A-2 to User Agreement No. FP00016024                                                                           2/7/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Appendix A-2 to User Agreement No. FP00016024                                                                           1/7/2023             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Modification No. 01 to Subcontract No. 7099141                                                                         8/26/2014             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Renewal                                                                                                                 6/1/2016             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/29/2014             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         5/8/2017             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/4/2016             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/9/2015             $0.00
Regents of the University of California                                                                                                 Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               5/27/2015             $0.00




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Regents of the University of California                                                                                                          Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        7/15/2014             $0.00
Regents of the University of California                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/9/2014             $0.00
REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/25/2014             $0.00
Regents of the University of California                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/28/2011             $0.00
Regents of the University of California Lawrence Berkeley National Laboratory                                                                    Amyris, Inc.                                     Statement of Work                                                                                                      5/13/2014             $0.00
Regents of the University of Minnesota                                                                                                           Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        3/10/2015             $0.00
REGI US                                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/29/2020             $0.00
                                                                                                                                                          Contract/Lease                                                                                                                                            Date of            Cure
                                                  Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Reliance Industries Limited                                                                                                                      Amyris, Inc.                                     Non Disclosure Agreement                                                                                               6/19/2012             $0.00
Remilk Ltd.                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/21/2022             $0.00
Renata de Abreu LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/11/2021             $0.00
Renmatix, Inc.                                                                                                                                   Amyris, Inc.                                     Amendment No. 1 to Material Transfer and Confidentiality Agreement                                                       8/8/2018            $0.00

Renmatix, Inc.                                                                                                                                   Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        7/25/2018             $0.00
Renmatix, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/20/2016             $0.00
Renmatix, Inc.; Total Energies Nouvelles Activites USA                                                                                           Amyris, Inc.                                     Confidentiality and Material Transfer Agreement                                                                        8/10/2015             $0.00
Renmatix, Inc.; Total Energies Nouvelles Activites USA SAS; UPM-Kymmene Corporation                                                              Amyris, Inc.                                     Confidentiality Agreement                                                                                              3/14/2016             $0.00
REPSOL NUEVAS ENERGIAS, S.A.                                                                                                                     Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/24/2011             $0.00
Research Triangle Institute                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/30/2012             $0.00
Resodyn Acoustic Mixers, Inc.                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       3/7/2018             $0.00
Revieve Oy                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/11/2022             $0.00
Revolution Marketing LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/11/2022             $0.00
Rewind Software Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2023             $0.00
RFIBinder Partners, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        3/13/2014             $0.00
RHODIA POLIAMIDA E ESPECIALIDADES LTDA,                                                                                                          Amyris, Inc.                                     Reciprocal Confidentiality Agreement                                                                                   12/3/2015             $0.00
RHODIA POLIAMIDA E ESPECIALIDADES LTDA.                                                                                                          Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/11/2014             $0.00
Ricardo Madureira                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 7/8/2010             $0.00
Ricerca Biosciences, LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/16/2011             $0.00
Richard Adam                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/24/2010             $0.00
Richard L. Hansen                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Richard Lee                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/12/2011             $0.00
Richard Romack                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/8/2012             $0.00
Richard Wool                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/23/2011             $0.00
Richman Chemical Inc.                                                                                                                            Aprinnova, LLC                                   Confidentiality and Non-Circumvention Agreement                                                                         4/3/2017             $0.00
Rick Parham                                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/27/2014             $0.00
Rika Regentin                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                      $0.00
Ring Power Corporation                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2011             $0.00
Ripple Foods, PBC                                                                                                                                Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                         1/9/2019             $0.00
Rishi Rakhit                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/1/2013             $0.00
RJT Cornpuquest Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/22/2015             $0.00
RLI Insurance Company                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019             $0.00
Rob Dario                                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010             $0.00
Robert Dahl                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/20/2011             $0.00
Robert J. Fawcett                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/26/2010             $0.00
ROBERTET FLAVORS, INC.                                                                                                                           Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        10/9/2018             $0.00
Robertet USA, Inc.                                                                                                                               Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                             1/9/2013             $0.00
Robertet USA, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/20/2012             $0.00
Rodrigo Gonzalez                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/20/2010             $0.00
Rogelio Denegri                                                                                                                                  Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               6/14/2010             $0.00
Roger Clemens                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/20/2020             $0.00
Roger Sippl                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/31/2011             $0.00
Rohner AG                                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/19/2012             $0.00
ROHNER AG                                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2011             $0.00
Rolando Gerodias                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Ronald F. Koniz                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/6/2011             $0.00
Rosangel Gratz                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/28/2011             $0.00
Roselyn Lima                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/16/2010             $0.00
Rosemead Oil Products, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/10/2011             $0.00




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Rosemead Oil Products, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/26/2011             $0.00
Ross D. King                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/27/2012             $0.00
Ross Eppler                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/29/2010             $0.00
Rothschild Inc.                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       2/3/2017             $0.00
Roy Kishony                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/7/2013             $0.00
ROYAL PURPLE, INC.                                                                                                                            Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  4/26/2010             $0.00

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                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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RR DON ELLEY & SONS                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/17/2018             $0.00
RSC Chemical Solutions                                                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          5/8/2014            $0.00
RSC Chemical Solutions                                                                                                                        Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       5/16/2016             $0.00
Rubicon Results, LLC                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/25/2015             $0.00
Ruprecht-Karls- Universitat Heidelberg                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/12/2015             $0.00
RXD Nova Pharmaceuticals, Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/1/2021             $0.00
Ryan Roark                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/1/2020             $0.00
S&V                                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/14/2017             $0.00
S.A. Ajinomoto Omnichem N.V.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/17/2021             $0.00
Saama Technologies, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         3/31/2015             $0.00
Sabah International Incorporated                                                                                                              Amyris, Inc.                                     Service Contract - Fire Protection System                                                                              11/7/2011             $0.00
Saddle Creek Corporation                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/3/2021            $0.00
SafeBridge Consultants, Inc.                                                                                                                  Amyris, Inc.                                     Amendment No. 1 to Agreement                                                                                             5/1/2018            $0.00
SafeBridge Consultants, Inc.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/19/2018             $0.00
SafeBridge Consultants, Inc.                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/29/2010             $0.00
SafeGuard World International Ltd.                                                                                                            Amyris, Inc.                                     Global Employment Outsourcing Services Agreement                                                                         7/1/2014            $0.00
Sage Bioproducts, LLC                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/12/2015             $0.00
Saira Velasquez                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/14/2011             $0.00
Sammy Lee                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/18/2011             $0.00
SAMSUNG PETROCHEMICALS                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/16/2011             $0.00
Samuel D. Shelanski                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/29/2011             $0.00
Samuel Humphries                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/19/2010             $0.00
Sandhill Pharma, Inc.                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/30/2018             $0.00
Sandia Corporation; THE REGENTS OF THE UNIVERSITY OF CALIFORNIA                                                                               Amyris, Inc.                                     Amendment No. 1 to the Mutual Non-Disclosure Agreement                                                                 4/24/2014             $0.00
Sangamo BioSciences, Inc.                                                                                                                     Amyris, Inc.                                     Material Transfer Agreement                                                                                           11/28/2011             $0.00
Sanjay Hoskeri                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/17/2011             $0.00
SANOFI CHIMIE                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/1/2013             $0.00
SANOFI CHIMIE                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/8/2013            $0.00
Sanofi Pasteur Biologics, LLC                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/13/2020             $0.00
Sanofi Pasteur Biologics, LLC                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/10/2017             $0.00
Sanofi Pasteur SA                                                                                                                             Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                          7/7/2020            $0.00
Sanofi Pasteur SA                                                                                                                             Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/28/2020             $0.00
SantoLubes, LLC.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/19/2013             $0.00
Sanyo Chemical Industries, Ltd.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/15/2018             $0.00
SÃO MARTINHO S.A. SMA INDÚSTRIA QUÍMICA LTDA ..                                                                                               Amyris, Inc.                                     Terceiro Aditivo Ao Contrato Particular De Locação E Outras Avenças                                                      1/9/2016            $0.00

SÃO MARTINHO S.A. SMA INDÚSTRIA QUÍMICA S.A.                                                                                                  Amyris, Inc.                                     Segundo Aditivo Ao Contrato Particular De Locação E Outras Avenças                                                     8/31/2015             $0.00

Sao Martinho S.A.; Usina Boa Vista S.A.; Usina Sao Martinho S.A.                                                                              Amyris, Inc.                                     Agreement for Confidentiality Herein Agreement for Confidentiality Is                                                                        $0.00
                                                                                                                                                                                               Executed
                                                                                                                                                                                               by the Parties Below:
Sao Martinho SA                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2021             $0.00
Sao Martinho SA SMA Industria Quimica LTA                                                                                                     Amyris, Inc.                                     Quarto Aditivo Ao Contrato Particular De Locação E Outras Avenças                                                     12/26/2017             $0.00

Sarfam Comercial Importadora Ltda                                                                                                             Amyris, Inc.                                     First Amendment Mutual Confidential Disclosure Agreement                                                               7/30/2013             $0.00
Sarfam Comercial Importadora Ltda                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/30/2012             $0.00
Sartorius Stedim North America, Inc.                                                                                                          Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        8/15/2018             $0.00
Sarvenaz Zand                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/25/2022             $0.00
SAURABH SRIVASTAVA                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/12/2013             $0.00
SCHNEIDER NATIONAL BULK CARRIERS, INC.                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/20/2011             $0.00
Schottenfeld Opportunities Fund II LP                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/21/2023             $0.00




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Schrodinger, LLC                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/22/2014             $0.00
Schwabe North America, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       4/28/2016             $0.00
SCHWARTZ COMMUNICATIONS                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/14/2011             $0.00
Scienion US Inc.                                                                                                                              Amyris, Inc.                                     Material Transfer Agreement                                                                                            4/25/2023             $0.00
Scientific Research Consortium, Inc.                                                                                                          Amyris, Inc.                                     Confidentiality an D Material Transfer Agreement                                                                        2/3/2014             $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.; Aprinnova, LLC                     Escrow Agreement                                                                                                      12/12/2016             $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Escrow Agreement                                                                                                       6/30/2018             $0.00
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SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Escrow Agreement                                                                                                       12/1/2012            $0.00
ScISafe Inc.                                                                                                                                  Amyris, Inc.                                     Sample Storage Proposal                                                                                                  2/8/2012           $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Strain Escrow Agreement                                                                                                9/28/2018            $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Escrow Agreement                                                                                                       8/22/2013            $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Escrow Agreement                                                                                                       8/22/2013            $0.00
SciSafe Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/28/2021            $0.00
SciSafe Inc.; Xinfu Science & Tech Co Ltd.                                                                                                    Amyris, Inc.                                     Escrow Agreement                                                                                                       11/2/2019            $0.00
SciSafe Inc.; Xinfu Science & Tech Co. Ltd                                                                                                    Amyris, Inc.                                     Escrow Agreement                                                                                                                            $0.00
Scott Baker                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               11/20/2010            $0.00
Scott Chinn                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 9/8/2010            $0.00
SCOTT-MACON, LTD.                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/19/2010            $0.00
Scripps Institution of Oceanography                                                                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                            3/30/2023            $0.00
SDG, Inc.                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/29/2021            $0.00
Sea Lion Technology, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/28/2013            $0.00
Sea Lion Technology, Inc.                                                                                                                     Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                       10/15/2012            $0.00
SEA LION TECHNOLOGY, INC.                                                                                                                     Amyris, Inc.                                     Confidential. Disclosure Agreement                                                                                     9/15/2011            $0.00
Seacliff Beauty Packaging                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/27/2020            $0.00
Securecell LLC                                                                                                                                Amyris, Inc.                                     Quotation # S00560                                                                                                                          $0.00
Securecell LLC                                                                                                                                Amyris, Inc.                                     Quotation # S00385                                                                                                                          $0.00
Securecell LLC                                                                                                                                Amyris, Inc.                                     Agreement for Lucullus Software, Maintenance, and Development                                                                               $0.00
Securecell LLC                                                                                                                                Amyris, Inc.                                     Quotation # S00902                                                                                                                          $0.00
Securimate, Inc.; Steele International, Inc.                                                                                                  Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                                             $0.00
SEE ME Creative Inc                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/20/2022            $0.00
SEEK, Inc.                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/24/2014            $0.00
SENOMYX, INC.                                                                                                                                 Amyris, Inc.                                     Amendment to Mutual Non-Disclosure Agreement                                                                           6/14/2016            $0.00
SENOMYX, INC.                                                                                                                                 Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        6/14/2016            $0.00
Sensient Colors LLC                                                                                                                           Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        8/3/2022            $0.00
Sensory Spectrum, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/15/2018            $0.00
Sensory Spectrum, Inc.                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/27/2012            $0.00
Senthil Annamabi                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/17/2007            $0.00
Sentry BioPharma Services, Inc.                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/13/2021            $0.00
Separation Solutions                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/26/2014            $0.00
Sephora Mexico S. de R.L. de C.V.                                                                                                             Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        11/1/2018            $0.00
SEPPIC INC                                                                                                                                    Amyris, Inc.                                     Non Disclosure Agreement                                                                                                2/9/2021            $0.00
Seppic Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/10/2022            $0.00
SEPPIC, Inc.                                                                                                                                  Amyris, Inc.                                     Material Transfer Agreement                                                                                            6/10/2022            $0.00
SEPPIC, Inc.                                                                                                                                  Amyris, Inc.                                     Materials Transfer Agreement                                                                                                               $0.00
SEPPIC, Societe d'Exploitation de Produits pour les Industries Chimiques                                                                      Amyris, Inc.                                     First Amendment to Non Disclosure Agreement                                                                             9/1/2012            $0.00
SEPPIC, Societe d'Exploitation de Produits pour les Industries Chimiques                                                                      Amyris, Inc.                                     Non Disclosure Agreement                                                                                              10/10/2011            $0.00
Seqirus Inc.                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/21/2020            $0.00
Seqirus Inc.                                                                                                                                  Amyris, Inc.                                     Materials Transfer Agreement                                                                                                               $0.00
Sequoia Fisher                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/16/2012            $0.00
Sergey Boyarskiy                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/2/2013            $0.00
Serus Corporation                                                                                                                             Amyris, Inc.                                     Mutual. Confidential Disclosure Agreement                                                                              1/10/2012            $0.00
Servipharma ( Beijing ) Co., Ltd.                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/28/2016            $0.00
Sestina Bio, LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/27/2022            $0.00
Seven Bridges Genomics Inc.                                                                                                                   Amyris, Inc.                                     Services Agreement                                                                                                     8/18/2021        $1,054.74
Seven Bridges Genomics Inc.                                                                                                                   Amyris, Inc.                                     Proof of Concept                                                                                                       6/21/2021            $0.00
Seven Bridges Genomics Inc.                                                                                                                   Amyris, Inc.                                     Amendment No. 1 to Seven Bridges Genomics Inc. Services Agreement                                                      8/18/2021            $0.00




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Seven Bridges Genomics Inc.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/9/2021             $0.00
SEVENTH GENERATION, INC.                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/6/2015             $0.00
Sezaneh Taherian                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/31/2010             $0.00
SGS Agency, LLC                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/12/2018             $0.00
SGS North America Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/17/2022             $0.00
SGS NORTH AMERICA INC.                                                                                                                       Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        6/10/2016             $0.00
SGS NORTH AMERICA INC.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/6/2011             $0.00
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                                              Contract Counterparty                                                                                                                                                                Contract/Lease Title
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SGS North America, Inc.                                                                                                                      Amyris, Inc.                                     Master Services Agreement                                                                                              10/3/2022             $0.00
Shahan Nazar                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/24/2019             $0.00
Shakeel Tirmizi                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                11/5/2010             $0.00
Shaklee Corporation                                                                                                                          Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                          2/9/2016            $0.00
Shanghai Acebright Pharmaceuticals Group Co., Ltd.                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/12/2017             $0.00
Shanghai Chicmax Cosmetic Co., Ltd                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/20/2021             $0.00
Shanghai Fanying Trading Co., Ltd.                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/10/2014             $0.00
Shanghai Fosun Pharmaceutical Development Co., Ltd.                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/2/2015            $0.00
Shanghai Institute of Organic Chemistry, Chinese Academy of Sciences                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/7/2019             $0.00
Shanghai Wisecko Trading Co., Ltd                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/26/2015             $0.00
Shanghai Wisecko Trading Co., Ltd                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/26/2015             $0.00
Share Local Media, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/6/2019            $0.00
Sharon Fernandez                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/7/2011             $0.00
Sharon Tan                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/11/2013             $0.00
Shaw Industries Group, Inc.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/1/2014             $0.00
Shayri Roychoudhury                                                                                                                          Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Shelley Boyd                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/2/2011            $0.00
SHERWIN-WILLIAMS COMPANY (SW)                                                                                                                Amyris, Inc.                                     Confidentiality Agreement ("Agreement")                                                                                  5/7/2011            $0.00
ShipBob, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/24/2020             $0.00
Shipman Associates, LLC                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/18/2021             $0.00
Shortlist                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Showfields                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/7/2022             $0.00
ShyaHsin Packaging USA                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/20/2021             $0.00
Siew-Loon Ooi                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/29/2011             $0.00
Siew-Loon Ooi                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
SighWall. Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/3/2020             $0.00
Sigma-Aldrich Co LLC                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/8/2014             $0.00
SIGNIFYD, Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/28/2020             $0.00
Silicon Valley Bank                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/13/2012             $0.00
SiliCycle Inc.                                                                                                                               Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               3/10/2015             $0.00
SILVERSON MACHINES, INC                                                                                                                      Amyris, Inc.                                     Equipment Trial Agreement                                                                                              1/12/2012             $0.00
Silvia Sanchez-Vindas                                                                                                                        Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/5/2011             $0.00
Simon B Morch                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/28/2022             $0.00
Simon Zhang                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/28/2010             $0.00
SINOVA SPECIALTIES INC.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/11/2011             $0.00
Sinova Specialties, Inc.                                                                                                                     Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                   5/10/2012             $0.00
SIP, Ltd.                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/1/2016             $0.00
Sirius Automation Group Inc.                                                                                                                 Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        7/14/2020             $0.00
SK Chemicals Co., Ltd.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/17/2013             $0.00
SK CHEMICALS CO., LTD.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/4/2011             $0.00
Slack Technologies, Inc.                                                                                                                     Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                       10/31/2018             $0.00
Slate Studios LLC                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/11/2022             $0.00
Smithers ERS Limited                                                                                                                         Amyris, Inc.                                     Quotation for Studies to Be Conducted at Smithers Environmental Risk                                                   10/7/2022             $0.00
                                                                                                                                                                                              Sciences Division
Snapdragon Chemistry, Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/1/2021             $0.00
SNECMA                                                                                                                                       Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        1/18/2013             $0.00
Snjezana Uranejes                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/27/2010             $0.00
Snowflake Inc.                                                                                                                               Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        9/13/2022             $0.00
Socer Brasil Industria e Comercio Ltda                                                                                                       Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         9/6/2016             $0.00
SOCIETE INDUSTRIELLE LESAFFRE S.A.                                                                                                           Amyris, Inc.                                     First Amendment to Confidential Disclosure Agreement                                                                   11/4/2014             $0.00




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SOCIETE INDUSTRIELLE LESAFFRE S.A. Division Fermentis                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              11/4/2013             $0.00
SOFTA CORPORATION                                                                                                                             Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                          2/8/2010             $0.00
Solid State Pharma Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/29/2021             $0.00
SOLVAY SA                                                                                                                                     Amyris, Inc.                                     Reciprocal Confidentiality Agreement                                                                                  12/15/2011             $0.00
Solvay USA Inc.                                                                                                                               Aprinnova, LLC                                   Unilateral Confidentiality Agreement                                                                                    2/5/2018             $0.00
Solvias AG                                                                                                                                    Amyris, Inc.                                     Re: Consent to Disclose Certain Information                                                                           10/26/2010             $0.00
Solvias AG                                                                                                                                    Amyris, Inc.                                     Secrecy Agreement                                                                                                     10/20/2010             $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of            Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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SOLVOYO CO.                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/24/2010             $0.00
Sonic Packaging                                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/21/2019             $0.00
Sonneborn Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/29/2011             $0.00
Soom Creative INC                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/14/2022             $0.00
SORBENT TECHNOLOGIES, INC.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/17/2011             $0.00
Southwest Research Institute                                                                                                                  Amyris, Inc.                                     Amendment #1 to Service Agreement                                                                                      10/9/2014             $0.00
Soylent Nutrition, Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/15/2019             $0.00
SPARKPR                                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/14/2011             $0.00
Sparks Marketing Corp.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/1/2019            $0.00
Spartan Chemical Company, Inc.                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/23/2014             $0.00
Spectroscopic Solutions, LLC                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        2/3/2016            $0.00
Spectrum Corporation                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/26/2011             $0.00
Spinx Digital                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/22/2014             $0.00
Spirax Sarc                                                                                                                                   Amyris, Inc.                                     Inspection and Preventative Maintenance Service Proposal                                                                 2/5/2015            $0.00
Spirax Sarco                                                                                                                                  Amyris, Inc.                                     Inspection and Prevenatitive Maintenance Service Proposal                                                                1/9/2012            $0.00
SporeGen a UK Limited Company                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/15/2018             $0.00
SPT Labtech Limited                                                                                                                           Amyris, Inc.                                     Arktic® -80C Reliance Complete Service Contract                                                                                              $0.00
Square 1 Bank                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/30/2015             $0.00
Squared Circles                                                                                                                               Amyris, Inc.                                     Material Transfer Agreement                                                                                             8/1/2023             $0.00
Sriya Chadalavada                                                                                                                             Amyris, Inc.                                     Confidentiality Agreement                                                                                               1/9/2023             $0.00
SSI Chusei, Inc.                                                                                                                              Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                        11/29/2011             $0.00
SSI Chusei, Inc.                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/12/2011             $0.00
Starr Indemnity & Liability Company                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/6/2019             $0.00
Stars Management, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
State Industrial Products                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/29/2015             $0.00
State Industrial Products                                                                                                                     Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        6/16/2014             $0.00
Stefan Moser                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/2/2013             $0.00
Stepan Company                                                                                                                                Amyris, Inc.                                     First Amendment to Material Transfer Agreement                                                                          5/5/2015             $0.00
Stepan Company                                                                                                                                Amyris, Inc.                                     Third Amendment to Mutual Confidential Disclosure Agreement                                                            10/2/2014             $0.00
Stepan Company                                                                                                                                Amyris, Inc.                                     Second Amendment to Mutual Confidential Disclosure Agreement                                                           10/2/2013             $0.00
Stepan Company                                                                                                                                Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                            10/2/2012             $0.00
Stepan Company                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/3/2011             $0.00
Stephanie Morrison                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 9/6/2011             $0.00
Stephen Gould Corporation                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       5/1/2019             $0.00
Stephen Greenberg, Ph.D.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       9/4/2012             $0.00
Stephen Owens                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/26/2010             $0.00
STERIS Corporation                                                                                                                            Amyris, Inc.                                     Confidentiality Agreement                                                                                               6/5/2023             $0.00
STERLING CHEMICALS, INC.                                                                                                                      Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        4/4/2011             $0.00
Sterling Pharma Solutions Limited                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/1/2019             $0.00
Steve Chen                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                               12/13/2010             $0.00
Steve Redford                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/19/2016             $0.00
Steve Seligson                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/21/2010             $0.00
Steven C. DeFina                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 6/6/2011             $0.00
Steven Furcich                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/26/2011             $0.00
Steven Gregory Photography                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/22/2019             $0.00
Steven Li                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
Steven Waxmonsky                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/18/2012             $0.00
Stoa Consulting LLC                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/18/2012             $0.00
STOLT-NIELSEN (USA) INC.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/13/2011             $0.00
Stringr                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/12/2020             $0.00




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Strukmyer Medical                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/1/2021             $0.00
Stuart Miller                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/21/2011             $0.00
Studio Adele Park                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/8/2019             $0.00
Studio of Joshua Levi, Inc A New York Corporation                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/2/2022             $0.00
Stuntman PR                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/25/2014             $0.00
Submittable Holdings, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       3/20/2020             $0.00
Succession Energy, LLC                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/12/2016             $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of            Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
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Sugati, Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/19/2016             $0.00
Suitcase Innovation                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 9/5/2014            $0.00
Su-Ju Lin                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/22/2010             $0.00
Sukhindra K. Mata                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/2/2011            $0.00
Sulzer Chemtech USA, Inc.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/15/2013             $0.00
Sumitomo Rubber Industries, Ltd                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/5/2014            $0.00
SUMITOMO RUBBER INDUSTRIES, LTD.                                                                                                              Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       7/17/2015             $0.00
Summit Partners Credit Advisors, L.P.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2015             $0.00
SUMO CREATIVE LTD                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 7/3/2022            $0.00
Sun Life Financial                                                                                                                            Amyris, Inc.                                     Policy of Incorporation - Accident                                                                                       1/1/2023            $0.00
Sun Life Financial                                                                                                                            Amyris, Inc.                                     Policy of Incorporation - Accident                                                                                       1/1/2023            $0.00
Sun Life Financial                                                                                                                            Amyris, Inc.                                     Policy of Incorporation - Critical Illness                                                                               1/1/2023            $0.00
Sun Life Financial                                                                                                                            Amyris, Inc.                                     Policy of Incorporation - Accident                                                                                       1/1/2023            $0.00
Sun Life Financial                                                                                                                            Amyris, Inc.                                     Policy of Incorporation - Critical Illness                                                                               1/1/2023            $0.00
Sungho Yoo                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        3/9/2015            $0.00
Sunny BioDiscovery, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidentiality and Non-Disclosure Agreement                                                                      9/9/2011            $0.00
Sunrise Genetics, Inc.                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/19/2019             $0.00
Sunshine Sachs                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        1/7/2015            $0.00
Surface Chemists of Florida, Inc.                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/16/2014             $0.00
Susan Berg                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  2/8/2011            $0.00
Susan Schofer                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/1/2020            $0.00
Susan Schofer                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/26/2010             $0.00
Sustainable Steam & Water Solutions Inc.                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 5/1/2012            $0.00
Suzanne Ma                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/10/2011             $0.00
Svenska Statoil AB                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/30/2010             $0.00
Svetlana Borisova                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/27/2011             $0.00
Swenson Technology, Inc.                                                                                                                      Amyris, Inc.                                     Client Confidentiality Agreement                                                                                       4/12/2011             $0.00
Sylvia Manman Kang                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/26/2010             $0.00
Symphony Capital, LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/25/2014             $0.00
Symrise AG                                                                                                                                    Amyris, Inc.                                     First Amendment to Mutual Confidential Disclosure Agreement                                                           12/15/2012             $0.00
Symrise Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              10/27/2021             $0.00
SYMRSISE AG                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/16/2011             $0.00
Synergy Life Science                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/17/2021             $0.00
Syngene International Limited                                                                                                                 Amyris, Inc.                                     Confidentiality and Non- Disclosure Agreement                                                                            8/2/2013            $0.00
Syngenta Crop Protection AG                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/19/2017             $0.00
Syngenta Crop Protection AG                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/10/2014             $0.00
Syngenta Crop Protection, LLC                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/3/2015            $0.00
Synonym Inc.                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2023             $0.00
SYNTHETIC GENOMICS, INC.                                                                                                                      Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                       11/20/2017             $0.00
Synthetic Genomics, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                           1/8/2013            $0.00
SYRAL Belgium N.V.                                                                                                                            Amyris, Inc.                                     Confidentiality Agreement                                                                                              7/18/2011             $0.00
T.A. Brewer Consulting, Inc.                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/24/2012             $0.00
TA INSTRUMENTS                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        9/7/2010            $0.00
TA PROFESSIONAL SERVICES                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/12/2011             $0.00
Tahera Iqbal                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                      $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Feasibility Agreement                                                                                                 12/27/2012             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Re: Consent Letter                                                                                                    12/18/2015             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Third Amendment to Development Agreement                                                                                6/2/2015             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Second Amendment to Development Agreement                                                                               4/8/2015             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     First Amendment to Development Agreement                                                                              10/30/2014             $0.00




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Takasago International Corporation                                                                                                            Amyris, Inc.                                     Third Amendment to Feasibility Agreement                                                                               8/13/2013             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Second Amendment to Feasibility Agreement                                                                              7/25/2013             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     First Amendment to Feasibility Agreement                                                                               7/15/2013             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               1/16/2020             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/26/2018             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/30/2011             $0.00
Takasago International Corporation                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/13/2011             $0.00
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Tammy Duong                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/28/2010             $0.00
Tania Pirozzi                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/12/2022             $0.00
Tara Burkhart-Grove                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/1/2012             $0.00
Tarka Group Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/31/2020             $0.00
Tasmin Meyer Ersahin                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/24/2021             $0.00
TCG Lifesciences Private Ltd.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/24/2020             $0.00
TD RESEARCH, LTD.                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/2/2011             $0.00
Technobis Crystallization Systems B.V.                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/30/2018             $0.00
Technology Finance Corporation                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        6/7/2018            $0.00
Techwood Consulting                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/11/2019             $0.00
Teledyne Tekmar                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/20/2011             $0.00
TEMASEK CAPITAL MANAGEMENT PTE. LTD.                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/1/2014             $0.00
Tennenbaum Capital Partners, LLC                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      7/31/2015             $0.00
Tennenbaum Capital Partners, LLC                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/21/2014             $0.00
TEQ Analytical Labs                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/5/2016             $0.00
Tereos                                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/14/2012             $0.00
Terrace Consulting, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/1/2018            $0.00
TerraCycle, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/23/2018             $0.00
Terranol A/S                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure and Sampling Agreement                                                                        10/22/2012             $0.00
Terry J. Burkhardt                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/10/2011             $0.00
Tetra Financial Group                                                                                                                         Amyris, Inc.                                     Confidentiality Agreement                                                                                              10/3/2011             $0.00
Tetra Pak Inc.                                                                                                                                Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                          4/4/2010            $0.00
Texas A&M Engineering Experiment Station                                                                                                      Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        1/19/2018             $0.00
Th3 Toolbox                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/30/2021             $0.00
THERMAL KINETICS ENGINEERING, PLLC                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/25/2011             $0.00
Thermo Electron North America LLC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/3/2019            $0.00
Thermo Electron North America LLC                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/7/2011            $0.00
Thermo Finnigan LLC                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/18/2017             $0.00
Thermo Fisher                                                                                                                                 Amyris, Inc.                                     Amyris Cda_Signature Final Audit Report                                                                                                      $0.00
Thermo Fisher Scientific Inc.                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                               9/12/2013            $0.00
Thermo Fisher Scientific Inc.                                                                                                                 Amyris, Inc.                                     Confidentiality Agreement                                                                                               1/11/2012            $0.00
TUC OFFICE OWNER 1, L.P.Thibiant International, Inc.                                                                                          Amyris, Inc.                                     Office LeaseMutual Agreement Regarding Non-Disclosure, Confidentiality                                         2/28/20227/20/2015            $0.00
                                                                                                                                                                                               and Other
                                                                                                                                                                                               Matters
Third Party Validation and Verification LLC                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 4/3/2020            $0.00
TUC OFFICE OWNER 1, L.P.Thomas D. Sharkey, Ph.D                                                                                               Amyris, Inc.                                     First Amendment to Office Lease (One Urban Centre & Two Urban                                                  4/27/20239/12/2013            $0.00
                                                                                                                                                                                               Centre)Confidential Disclosure Agreement
Thomas D. Sharkey, Ph.D.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/13/2012             $0.00
Thomas E. Duley                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                2/10/2010             $0.00
Thomas Group                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/5/2022             $0.00
Thomas J. Scherbart                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/28/2011             $0.00
Thomas Pochapsky                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                1/9/2017             $0.00
Thomas Schwei                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/6/2010             $0.00
Thomas Weisel Partners LLC                                                                                                                    Amyris, Inc.                                     Confidentiality Agreement                                                                                               1/6/2010             $0.00
Thoro Packaging                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/22/2023             $0.00
Thu Huong Nguyen                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/8/2010             $0.00
Tiber, LLC                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/10/2021             $0.00
Tiffany L Hughes                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/13/2020             $0.00
TIGG Corporation                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/9/2011             $0.00
Tim Brennan                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       7/5/2011             $0.00
Timothy R Geistlinger                                                                                                                         Amyris, Inc.                                     Nondisclosure Agreement                                                                                                                      $0.00




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Timothy Shiau                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/10/2011             $0.00
Tuttnauer USATinuiti, Inc.                                                                                                                      Amyris, Inc.                                     Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal #                                                 47/12/20122022             $0.00
                                                                                                                                                                                                 Nylikp35.Mutual Confidential Disclosure Agreement
Tinuiti, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/4/2021             $0.00
Tuttnauer USA Co. Ltd.TIORCO, LLC                                                                                                               Amyris, Inc.                                     Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal # Pm 14-                                           3/149/25/2014             $0.00
                                                                                                                                                                                                 014.Material Transfer and Mutual Confidentiality Agreement
Tipton Mills Foods, LLC                                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2020             $0.00
Titan Securities                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       6/2/2016             $0.00
TM Chemicals Limited Partnership                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/19/2012             $0.00
TM CHEMICALS LIMITED PARTNERSHIP                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/13/2011             $0.00
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                                                 Contract Counterparty                                                                                                                                                                Contract/Lease Title
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TMC INDUSTRIES INC.                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                        4/8/2011            $0.00
Tobias Sanderson                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/26/2010             $0.00
Todd Slary                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/9/2010            $0.00
Tokio Marine HCC – D&O Group                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/14/2019             $0.00
Tolstoy Interactive I                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/10/2022             $0.00
Tomas Markevicius                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/1/2021             $0.00
TOMUSIAK BIOSEPARATIONS CONSULTING LLC                                                                                                          Amyris, Inc.                                     Amyris Biotechnologies, Inc. Confidential Disclosure Agreement                                                         4/20/2010             $0.00
TOP Beauty                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                     $0.00
Topaz Biosciences, Inc                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/29/2023             $0.00
Toray Industries, Inc.                                                                                                                          Amyris, Inc.                                     MNDA                                                                                                                   12/8/2023             $0.00
Tornado Spectral Systems Inc.                                                                                                                   Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                       10/30/2020             $0.00
Tornado Spectral Systems Inc.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/26/2020             $0.00
Total Additifs et Carburants Speciaux                                                                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                             1/5/2012             $0.00
Total Energie Developpement S.A; Total Gas & Power Ventures SAS                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/14/2011             $0.00
Total Energies Nouvelles Activites USA                                                                                                          Amyris, Inc.                                     Common Interest Agreement                                                                                              6/21/2010             $0.00
Total Energies Nouvelles Activites USA                                                                                                          Amyris, Inc.                                     Amended and Restated Mutual Confidential Disclosure Agreement                                                           6/1/2015             $0.00
Total Energy Ventures International; Total Gas & Power Ventures, SAS                                                                            Amyris, Inc.                                     Amendment N° 1 to Mutual Confidential Disclosure Agreement                                                              3/2/2010             $0.00
Total Gas & Power USA SAS                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/12/2015             $0.00
Total Gas & Power USA SAS                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       6/1/2014             $0.00
Total Gas & Power USA SAS                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/17/2012             $0.00
Total Gas & Power USA SAS                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/16/2014             $0.00
Total Gas & Power USA SAS                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/17/2013             $0.00
TOTAL GAS & POWER VENTURES                                                                                                                      Amyris, Inc.                                     Subject: Mutual Confidential Disclosure Agreement                                                                      4/28/2010             $0.00
Total Gas & Power Ventures S.A.S                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/27/2010             $0.00
Total Gas & Power Ventures S.A.S                                                                                                                Amyris, Inc.                                     Confidentiality Agreement                                                                                              9/27/2010             $0.00
Total Gas & Power Ventures, S.A.S                                                                                                               Amyris, Inc.                                     Confidentiality Agreement                                                                                               7/7/2011             $0.00
Toyota Motor Corporation                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/13/2019             $0.00
TOYOTA MOTOR CORPORATION                                                                                                                        Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/13/2010             $0.00
TPG CAPITAL. LP.                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      11/1/2011             $0.00
Transport Service Co.                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/17/2011             $0.00
Travis Bledsoe                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/19/2010             $0.00
Treeline Companies                                                                                                                              Aprinnova, LLC                                   Mutual Confidential Disclosure Agreement                                                                               3/15/2021             $0.00
Trendmood, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/4/2020             $0.00
Triclinic Labs, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/1/2018             $0.00
TRIDIAGONAL SOLUTIONS INC                                                                                                                       Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      4/21/2011             $0.00
TRI-K Industries, Inc.                                                                                                                          Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/14/2012             $0.00
TRIMAC TRANSPORTATION                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/27/2011             $0.00
Tri-Pac, Inc.                                                                                                                                   Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/29/2014             $0.00
TRITEST, INC.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/17/2011             $0.00
True Beauty Digital, Inc                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/28/2022             $0.00
TRUSOUTH OIL, LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/3/2011             $0.00
TULSTAR PRODUCTS, INC.                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/19/2011             $0.00
Turn Marketon                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/21/2020             $0.00
Tuscon Media Studio                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/18/2022             $0.00
Tuttnauer USA                                                                                                                                   Amyris, Inc.                                     Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal #                                                      4/12/2012             $0.00
                                                                                                                                                                                                 Nylikp35.
Tuttnauer USA Co. Ltd.                                                                                                                          Amyris, Inc.                                     Re: Tuttnauer Parts and Labor Preventative Maintenance Proposal # Pm                                                   3/14/2014             $0.00
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Tuyet Mai T. Ho                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011            $0.00
Twincraft, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/4/2019            $0.00
Twist Bioscience Corporation                                                                                                                 Amyris, Inc.                                     Master Supply Agreement                                                                                                10/1/2018       $41,978.51
Twist Bioscience Corporation                                                                                                                 Amyris, Inc.                                     Api License Agreement                                                                                                  10/1/2018            $0.00
Tyton BioSciences LLC                                                                                                                        Aprinnova, LLC                                   Nondisclosure Agreement                                                                                                 1/4/2018            $0.00
U.S. Bank Technology Banking Group                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/1/2012            $0.00
U.S. Nonwovens Corp.                                                                                                                         Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       10/9/2018            $0.00
U.S. VENTURE, INC.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/5/2015            $0.00
U.S. Venture, Inc.                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       1/1/2011            $0.00
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U.S. VENTURE, INC.                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/22/2010            $0.00
UDI INC.                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                                    $0.00
UL Verification Services Inc.                                                                                                                Amyris, Inc.                                     Statement of Work                                                                                                      9/21/2021            $0.00
Ulta Beauty, Inc.                                                                                                                            Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                        6/8/2020            $0.00
Ulta Inc.                                                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        7/18/2022            $0.00
UMBC                                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/18/2017            $0.00
UniFirst Corporation                                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/3/2015            $0.00
UniFirst Corporation; UniFirst Holdings, Inc.                                                                                                Amyris, Inc.                                     Customer Service Agreement                                                                                              4/1/2015            $0.00
Uniglo Manufacturing LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/4/2019            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                                   Amyris, Inc.                                     Mutual Material Transfer Agreement                                                                                      4/6/2023            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                                   Amyris, Inc.                                     Confidential Amendment to MA-2021-01972N                                                                               10/6/2021            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                                   Amyris, Inc.                                     Urazver First Amending Agreement                                                                                       10/6/2021            $0.00
UNILEVER GLOBAL IP LIMITED                                                                                                                   Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        10/6/2021            $0.00
UNILEVER U.K. CENTRAL RESOURCES LIMITED                                                                                                      Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        10/6/2020            $0.00
Unilever UK Central Resources Limited                                                                                                        Amyris, Inc.                                     Second Amendment to Confidentiality Agreement                                                                          4/15/2018            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                                        Amyris, Inc.                                     First Amendment to Confidentiality Agreement                                                                           7/13/2017            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                                        Amyris, Inc.                                     Confidentiality Agreement                                                                                              4/16/2016            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                                        Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/14/2014            $0.00
UNILEVER UK CENTRAL RESOURCES LIMITED                                                                                                        Amyris, Inc.                                     Confidentiality Agreement                                                                                              6/16/2011            $0.00
UNIPEX INNOVATIONS INC.                                                                                                                      Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/14/2012            $0.00
UNIQUE DISTINCTION, a INC.                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/17/2021            $0.00
United Healthcare                                                                                                                            Amyris, Inc.                                     Health Care Reform Act - Public Goods Pool                                                                              1/1/2023            $0.00
United Technologies Corporation                                                                                                              Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        8/15/2013            $0.00
UNIVAR S.A.S.                                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        3/14/2012            $0.00
Univar Solutions USA Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/29/2022            $0.00
Univar Solutions USA Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                7/6/2020            $0.00
Univar USA Inc.                                                                                                                              Amyris, Inc.                                     Confidentiality Agreement                                                                                             10/12/2016            $0.00
Universal Lubricants LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                6/2/2011            $0.00
Universidade Catolica Portuguesa-Escola Superior de Biotecnologia                                                                            Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        5/15/2017            $0.00
UNIVERSITAT ZURICH LABOR FUR PROZESSFORSCHUNG                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/26/2010            $0.00
UNIVERSITY OF BRITISH COLUMBIA                                                                                                               Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               6/21/2011            $0.00
University of California at Berkeley                                                                                                         Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/22/2017            $0.00
University of California researchers Robert Leachman, Thomas Treynor, and Taras Goral                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/18/2023            $0.00
University of Hawai'i                                                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        6/29/2021            $0.00
University of Portsmouth Higher Education Corporation                                                                                        Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                         9/6/2018            $0.00
University of Stuttgart                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               2/10/2023            $0.00
University of Texas at Austin                                                                                                                Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               12/5/2014            $0.00
University of Texas at Austin                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       8/7/2012            $0.00
University of Texas at Austin                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        1/14/2014            $0.00
University of Tokyo                                                                                                                          Amyris, Inc.                                     Mutual Confidential Nondisclosure Agreement                                                                            10/1/2022            $0.00
UNIVERSITY OF YORK                                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/13/2012            $0.00
Unni Productions                                                                                                                             Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/25/2015            $0.00
Urban Venture Group, Inc.                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                9/7/2021            $0.00
UT-Battelle, LLC                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                10/5/2015            $0.00
UT-Battelle, LLC                                                                                                                             Amyris, Inc.                                     Nondisclosure Agreement                                                                                                12/3/2014            $0.00
UTI, UNITED STATES INC.                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      5/11/2011            $0.00
UVENTO, LLC                                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/26/2018            $0.00
Valent BioSciences Corporation                                                                                                               Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      10/7/2014            $0.00




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Valentine Chemicals, LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/4/2020             $0.00
Valiantys America Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2023             $0.00
Vamsi Karri                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 1/4/2012             $0.00
Van Steenwyk Ag                                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     10/10/2018             $0.00
Vanderlyn Hospitality Group                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/2/2022             $0.00
Vanessa More                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/3/2002             $0.00
Vanessa Stevens and Company, Inc.                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/9/2021             $0.00
Vanguard Packaging                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               10/3/2022             $0.00
Vanton Research Laboratory, LLC                                                                                                              Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/12/2015             $0.00
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VenConnect LLC                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/3/2022            $0.00
Verdezyne Inc.                                                                                                                               Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       11/1/2011             $0.00
Verescence North America Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/22/2022             $0.00
Viavi Solutions Inc.                                                                                                                         Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        2/29/2016             $0.00
VICTAULIC COMPANY                                                                                                                            Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/15/2010             $0.00
Victor Galea                                                                                                                                 Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/31/2011             $0.00
Victor Stevko                                                                                                                                Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/23/2010             $0.00
Viewstream, Inc.                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 3/6/2020            $0.00
Vineet Shastry                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/18/2012             $0.00
Virachack Chanthara                                                                                                                          Amyris, Inc.                                     Nondisclosure Agreement                                                                                                9/21/2010             $0.00
Vision Service Plan                                                                                                                          Amyris, Inc.                                     Business Associate Agreement                                                                                             6/1/2023            $0.00
Visolis, Inc.                                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/16/2022             $0.00
VitalSensors Technologies LLC                                                                                                                Amyris, Inc.                                     For Bi-Lateral Disclosure Confidentiality Agreement                                                                    2/23/2011             $0.00
Vitech International Inc.                                                                                                                    Amyris, Inc.                                     Mutual Non-Disclosure Agreement                                                                                        8/28/2015             $0.00
Viva Healthcare Packaging (USA) Inc.                                                                                                         Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 6/3/2021            $0.00
Viva Marketing (Canada) Ltd.                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/13/2019             $0.00
Vivian Xian                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                6/29/2010             $0.00
Vobis, LLC                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 2/7/2013            $0.00
Volkswagen Aktiengesellschaft                                                                                                                Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               4/23/2012             $0.00
Volkswagen Aktiengesellschaft                                                                                                                Amyris, Inc.                                     Non-Disclosure Agreement                                                                                               5/16/2011             $0.00
Volkswagen Group of America, Inc.                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/21/2013             $0.00
Voodoo Scientific USA                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/8/2022            $0.00
VOTORANTIM INDUSTRIAL S.A.                                                                                                                   Amyris, Inc.                                     Confidentiality Agreement                                                                                                4/5/2011            $0.00
VWR INTERNATIONAL, LLC                                                                                                                       Amyris, Inc.                                     Amendment #1 to Agreement Between Vwr International, Llc and Amyris                                                      6/4/2021      $270,038.27
                                                                                                                                                                                              Inc
W.S. Dodge Oil Co Inc.                                                                                                                       Amyris, Inc.                                     Mutual Confidential. Disclosure Agreement                                                                              2/14/2011             $0.00
W20 Food Innovation                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/23/2022             $0.00
Wacker Chemie AG                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                4/4/2019             $0.00
Wagner Life Science, LLC                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/6/2015             $0.00
WANHUA CHEMICAL COMPANY                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/21/2016             $0.00
Wasatch Product Developthent, LLC                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/7/2017             $0.00
WASHINGTON UNIVERSITY                                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/13/2010             $0.00
WASHINGTON UNIVERSITY Department of Chemistry                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      8/31/2011             $0.00
Waters Technologies Corporation                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/22/2021             $0.00
WATERS TECHNOLOGIES CORPORATION                                                                                                              Amyris, Inc.                                     Disclosure Agreement                                                                                                   9/27/2011             $0.00
Watson Building, University                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/17/2023             $0.00
Wayne Szeto                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
WD-40 Company                                                                                                                                Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        4/15/2014             $0.00
WebFilings LLC                                                                                                                               Amyris, Inc.                                     Confidentiality Agreement                                                                                               3/1/2011             $0.00
Webgistix                                                                                                                                    Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/27/2021             $0.00
Weblux Inc DBA Black & Black Creative                                                                                                        Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              12/24/2021             $0.00
Wecircular SA.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/5/2022             $0.00
Wecircular SA.                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/5/2022             $0.00
WEIDMANN Electrical Technology Inc.                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      6/25/2012             $0.00
WELLS FARGO BANK, NATIONAL ASSOCIATION                                                                                                       Amyris, Inc.                                     Confidentiality Agreement (Commercial Credit Request)                                                                  3/29/2012             $0.00
WeMedia Shopping Network Technology Company Limited                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/15/2020             $0.00
Wendy Lam                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/31/2011             $0.00
Wendy Palmer Management Consulting                                                                                                           Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      12/2/2011             $0.00




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WeylChem Innotec GmbH                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/25/2019             $0.00
WeylChem Innotec GmbH                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/25/2019             $0.00
WeylChem International GmbH                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/15/2013             $0.00
Whitney Allen                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/17/2010             $0.00
WILD Flavors, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                      11/30/2015             $0.00
WILDLIFE INTERNATIONAL LTD.                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/21/2010             $0.00
Wildlife International, LTD                                                                                                                     Amyris, Inc.                                     Amendment to Confidential Disclosure Agreement                                                                        11/21/2011             $0.00
Wiley Companies                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/15/2020             $0.00
Wiley Organics, Inc.                                                                                                                            Amyris, Inc.                                     Amendment No. 1To Mutual Confidential Disclosure Agreement                                                              2/6/2019             $0.00
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WILEY ORGANICS, INC.                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/26/2018             $0.00
Wiley Orhganics, Inc.                                                                                                                           Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        6/11/2018             $0.00
William A. Schroeder                                                                                                                            Amyris, Inc.                                     Amyris Bioteciinologies, Inc. Nondisclosure Agreement                                                                  3/15/2010             $0.00
William A. Schroeder                                                                                                                            Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/15/2010             $0.00
William Akers                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                4/29/2011             $0.00
William J. Clinton Foundation                                                                                                                   Amyris, Inc.                                     Mutual Nondisclosure Agreement                                                                                         3/24/2011             $0.00
William Patrick                                                                                                                                 Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/29/2016             $0.00
William S. Howarth                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                                3/28/2010             $0.00
William Sippl                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                  4/4/2011            $0.00
Willis Insurance Services of California, Inc.                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      2/17/2011             $0.00
WILLS TRANSFER LIMITED                                                                                                                          Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/30/2001             $0.00
WILMAR INTERNATIONAL, LTD.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               5/28/2011             $0.00
Wilmer Sugar Pty Limited                                                                                                                        Amyris, Inc.                                     Material Sampling and Confidentiality Agreement                                                                        9/18/2018             $0.00
Wilson Chau                                                                                                                                     Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/14/2011             $0.00
Win Chemicals Ltd                                                                                                                               Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        2/27/2014             $0.00
Wingify Software Private Limited                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               7/18/2022             $0.00
Wisconsin BioProduct                                                                                                                            Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/15/2018             $0.00
Wisconsin BioProducts                                                                                                                           Amyris, Inc.                                     Material Transfer Agreement                                                                                            4/13/2020             $0.00
Wisconsin BioProducts                                                                                                                           Amyris, Inc.                                     Amendment No. 1 to Material Transfer Agreement                                                                         4/16/2020             $0.00
Wisconsin BioProducts                                                                                                                           Amyris, Inc.                                     Amendment No. 1 to Confidential Disclosure Agreement                                                                   6/14/2019             $0.00
Wisconsin BioProducts                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/17/2012             $0.00
Wisconsin BioProducts                                                                                                                           Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                   3/4/2010             $0.00

Within LLC                                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                5/8/2023             $0.00
Wm Wrigley Jr Company                                                                                                                           Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               9/25/2018             $0.00
Wondersauce, LLC                                                                                                                                Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/7/2015             $0.00
World Wide Packaging, LLC                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               12/3/2019             $0.00
World Wildlife Fund                                                                                                                             Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                3/8/2022             $0.00
World Wildlife Fund, Inc.                                                                                                                       Amyris, Inc.                                     Confidentiality Agreement                                                                                              7/20/2011             $0.00
Worley Group, Inc.                                                                                                                              Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/2/2021             $0.00
Wui Sum Willbe Ho                                                                                                                               Amyris, Inc.                                     Nondisclosure Agreement                                                                                                1/25/2011             $0.00
Wuxi AppTec                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/3/2020             $0.00
WuXi AppTec                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/29/2014             $0.00
Wuxi AppTec (HongKong) Limited                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                8/3/2020             $0.00
Xenon Arc, Inc.                                                                                                                                 Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               11/5/2015             $0.00
Xiaosi Gao                                                                                                                                      Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/23/2018             $0.00
Xiaotong Zhang                                                                                                                                  Amyris, Inc.                                     Nondisclosure Agreement                                                                                                8/15/2011             $0.00
Xinchang NHU Vitamins Co. Ltd.                                                                                                                  Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                2/8/2016             $0.00
Xinfu Science & Tech Co. Ltd.                                                                                                                   Amyris, Inc.                                     Material Transfer Agreement                                                                                            11/8/2021             $0.00
XL Insurance America, Inc.                                                                                                                      Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/13/2019             $0.00
XPO Logistics Supply Chain, Inc.                                                                                                                Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               4/28/2021             $0.00
Xytel, Inc.                                                                                                                                     Amyris, Inc.                                     Mutual Confidential. Disclosure Agreement                                                                              1/15/2013             $0.00
Yao-ming Huang                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                     11/27/2013             $0.00
Yaser Marafee                                                                                                                                   Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      1/23/2018             $0.00
Yasuhara Chemical                                                                                                                               Amyris, Inc.                                     Amendment No. 1 to Mutual Confidential Disclosure Agreement                                                            7/13/2018             $0.00
Yasuhara Chemical                                                                                                                               Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               8/29/2017             $0.00
Yellow Loft                                                                                                                                     Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                       4/3/2015             $0.00
Yergeniy Yaroslavskiy                                                                                                                           Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 3/1/2012             $0.00




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                                                                                                  Assumed   ScheduleContracts
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                                                                                                                                            Leases, including       Leases,
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YG Laboratories, Inc                                                                                                                          Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                              11/20/2015             $0.00
Yifan Pharmaceutical Co., Ltd                                                                                                                 Amyris, Inc.                                     Material Transfer and Confidentiality Agreement                                                                        6/13/2018             $0.00
Ying-Ja Chen                                                                                                                                  Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      3/24/2011             $0.00
Yue Yang                                                                                                                                      Amyris, Inc.                                     Nondisclosure Agreement                                                                                                7/22/2011             $0.00
Yujiro Hata                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/18/2011             $0.00
Yutomi Corporation                                                                                                                            Amyris, Inc.                                     Amyris Biotechnologies, Inc. Mutual Confidential Disclosure Agreement                                                  2/23/2010             $0.00

Yvette M. Jaquez                                                                                                                              Amyris, Inc.                                     Nondisclosure Agreement                                                                                               10/12/2011             $0.00
Zach Hogan                                                                                                                                    Amyris, Inc.                                     Nondisclosure Agreement                                                                                                 4/9/2010             $0.00
                                                                                                                                                       Contract/Lease                                                                                                                                            Date of            Cure
                                               Contract Counterparty                                                                                                                                                                Contract/Lease Title
                                                                                                                                                         Debtor Party                                                                                                                                         Contract/Lease       Amount
Zeal, LLC                                                                                                                                     Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               3/11/2019              $0.00
ZETON INC.                                                                                                                                    Amyris, Inc.                                     Confidential Disclosure Agreement                                                                                      9/21/2010              $0.00
Zeton, Inc.                                                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               1/15/2013              $0.00
Zhejiang Changhai Pharmaceuticals Co., Ltd.                                                                                                   Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                                 8/2/2019             $0.00
Zhejiang Raybow Pharmaceutical Co., Ltd.                                                                                                      Amyris, Inc.                                     Confidentiality Agreement                                                                                              8/17/2020              $0.00
Zhilan Zeng                                                                                                                                   Amyris, Inc.                                     Nondisclosure Agreement                                                                                                5/19/2010              $0.00
Zoetis LLC                                                                                                                                    Amyris, Inc.                                     Mutual Confidentiality Agreement                                                                                       8/24/2017              $0.00
ZPE LLC                                                                                                                                       Amyris, Inc.                                     Mutual Confidential Disclosure Agreement                                                                               6/30/2020              $0.00
Zynerba Pharmaceuticals, Inc.                                                                                                                 Amyris, Inc.                                     Confidentiality and Nondisclosure Agreement                                                                            9/10/2015             $0.00




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